      Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 1 of 599




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

WSOU INVESTMENTS, LLC D/B/A                         Case Numbers:
BRAZOS LICENSING AND DEVELOPMENT,                   6:20-cv-00473-ADA1
                                                    6:20-cv-00474-ADA
               Plaintiff,
                                                    6:20-cv-00475-ADA
       v.                                           6:20-cv-00476-ADA
DELL TECHNOLOGIES INC., DELL INC.,                  6:20-cv-00477-ADA
EMC CORPORATION, AND VMWARE, INC.,                  6:20-cv-00478-ADA
                                                    6:20-cv-00479-ADA
               Defendants.                          6:20-cv-00480-ADA
                                                    6:20-cv-00481-ADA
                                                    6:20-cv-00482-ADA
                                                    6:20-cv-00485-ADA
                                                    6:20-cv-00486-ADA

WSOU INVESTMENTS, LLC D/B/A                         Case Numbers:
BRAZOS LICENSING AND DEVELOPMENT,                   6:20-cv-00487-ADA
                                                    6:20-cv-00488-ADA
               Plaintiff,
                                                    6:20-cv-00489-ADA
       v.                                           6:20-cv-00490-ADA
ZTE CORPORATION,                                    6:20-cv-00491-ADA
                                                    6:20-cv-00492-ADA
               Defendant.                           6:20-cv-00493-ADA
                                                    6:20-cv-00494-ADA
                                                    6:20-cv-00495-ADA
                                                    6:20-cv-00496-ADA
                                                    6:20-cv-00497-ADA

WSOU INVESTMENTS, LLC D/B/A                         Case Numbers:
BRAZOS LICENSING AND DEVELOPMENT,                   6:20-cv-00571-ADA
                                                    6:20-cv-00572-ADA
               Plaintiff,
                                                    6:20-cv-00573-ADA
       v.                                           6:20-cv-00575-ADA
GOOGLE, LLC,                                        6:20-cv-00576-ADA
                                                    6:20-cv-00579-ADA
               Defendant.                           6:20-cv-00580-ADA
                                                    6:20-cv-00583-ADA
                                                    6:20-cv-00584-ADA
                                                    6:20-cv-00585-ADA


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 To avoid inundating the Court’s docket with duplicative filings, this document is being e-filed
only in the low-number proceedings, as indicated by the case numbers with bold typeface.
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 2 of 599




WSOU INVESTMENTS, LLC D/B/A                Case Numbers:
BRAZOS LICENSING AND DEVELOPMENT,          6:20-cv-00725-ADA
                                           6:20-cv-00726-ADA
           Plaintiff,
                                           6:20-cv-00728-ADA
     v.                                    6:20-cv-00730-ADA
HEWLETT PACKARD ENTERPRISE                 6:20-cv-00783-ADA
COMPANY,
           Defendant.

GOOGLE, LLC,                               Case Number:
                                           6:21-mc-01269-ADA
           Petitioner,
     v.
TERRIER SSC, LLC,
           Respondent.

GOOGLE, LLC,                               Case Number:
                                           6:21-mc-01270-ADA
           Petitioner,
     v.
BP FUNDING TRUST,
           Respondent.

GOOGLE, LLC,                               Case Number:
                                           6:21-mc-01309-ADA
           Petitioner,
     v.
AQUA LICENSING, LLC,
           Respondent.



                         DECLARATION OF MORGAN E. PIETZ
                              WITH EXHIBITS 1 TO 17




                                       2
       Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 3 of 599




I, Morgan E. Pietz, am over the age of 18, competent to testify, have personal knowledge as to

those facts set forward below, and if called to do so, I hereby declare that I could and would

testify in this action as follows:

        1.      I am an attorney licensed to practice law in the State of California, and I am

admitted to all the state and federal courts in California, including the U.S. District Court for the

Central District of California. I represent the “Requesting Non-Parties” BP Funding Trust,

BasePoint Administrative, LLC, Terrier SSC, LLC, and Aqua Licensing, LLC. I am admitted

pro hac vice in the three miscellaneous proceedings before this Court involving some of those

clients, case numbers: 6:21-mc-01269-ADA, 6:21-mc-01270-ADA, and 6:21-mc-01309-ADA.

And my application for general purpose admission to the Western District of Texas was

submitted in December and is currently in process. Once admitted, I intend to appear in the four

low-number cases identified in the captions above.

        2.      Attached hereto as Exhibit 1 is a true and correct copy of the subpoenas that

Google served on BP Funding Trust, Terrier, and Aqua. Through prior counsel, Aqua timely

objected to the subpoena to it on August 17, 2021.

        3.      Attached hereto as Exhibit 2 is a true and correct copy of the subpoenas that ZTE

served on BP Funding Trust, Terrier, and Aqua. ZTE’s subpoenas were identical to the Google

subpoenas, apart from the party names and certain definitions, but including the same typos. All

three subpoena recipients timely objected to the subpoenas from ZTE on November 8, 2021.

        4.      Attached hereto as Exhibit 3 is a true and correct copy of the subpoenas that Dell

served on Aqua and BasePoint Administrative, LLC. Aqua timely objected on September 10,




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2021 and later served supplemental objections on November 9, 2021. BasePoint Administrative,

LLC objected on November 11, 2021, although the timeliness of the objections by BasePoint

Administrative, LLC is apparently in dispute.

        5.      Attached hereto as Exhibit 4 is a true and correct copy of the subpoenas that HPE

served on Aqua. Aqua timely objected to these subpoenas on January 12, 2022.

        6.      Attached hereto as Exhibit 5 is a true and correct copy of an email chain with

Google and with the Court, which I was forwarded and then responded to Google on, regarding

the setting of the hearing on the Google Motions related to my clients.

        7.      Attached hereto as Exhibit 6 is a true and correct copy of a scheduling

memorandum that my co-counsel, Dan MacLemore sent to the Court, copying me, on December

21, 2021.

        8.      Attached hereto as Exhibit 7 is the transmittal email chain related to Exhibit 6, on

which the Court replied, cancelling the December 27, 2021 hearing.

        9.      Attached hereto as Exhibit 8 is a true and correct copy of my email to counsel for

WSOU, Google, Dell, HPE and ZTE, which I sent on January 6, 2022. My email had two

attachments: the scheduling memorandum Mr. MacLemore had previously sent the Court on

December 23 (Exhibit 6), and also my proposed order as to consolidation, which, as I explained,

I was circulating to all counsel concerned in the cases proposed for consolidation (Exhibit 9).

        10.     Attached hereto as Exhibit 9 is a true and correct copy of the “[PROPOSED]

ORDER GRANTING CONSOLIDATION AS TO CERTAIN NON-PARTY DISCOVERY” that I

circulated to counsel for WSOU, Google, Dell, HPE, and ZTE on January 6, 2022. Along with this

motion and declaration, we are filing a revised proposed order, which deletes out the word

“proposed,” add the miscellaneous proceedings to the caption, and fills in the blank parts stating that




                                                   4
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the defendants oppose, but, as to substance, this Exhibit 9 circulated on January 6, 2022, and the

proposed order being filed as a proposed order along with the motion, are identical.

       11.     Attached hereto as Exhibit 10 is a true and correct copy of an email thread that

represents the first of several exchanges I had with counsel for ZTE, Mr. Lavenue. His messages

to me on January 7, 2022, which was the day after I forwarded him my consolidation proposal,

are where he insists on reserving ZTE’s right to file motions to compel in Delaware. See page 1.

       12.     Attached hereto as Exhibit 11 is a true and correct copy of the lengthy email chain

I exchanged with counsel for all of the defendants, trying to get them to participate in a meet and

confer phone call about this motion. The chain ends today, January 21, with the final position of

Dell. Counsel for Google, ZTE, and HPE also participated in the back and forth. To the extent I

summarize any phone conversations in my emails, or quote anyone, my summaries and quotes

are accurate to the best of my recollection. As of 7:30 p.m. Central time today, the day ZTE

knew this motion was being filed, ZTE never responded to my request on the 1/20 call that it

reduce its position to writing.

       13.     Attached hereto as Exhibit 12 is a true and correct copy of an email chain I

conducted with Google starting before the holidays and continuing until January 11, 2022. It

accurately memorializes my initial meet and confer call with Google, which Google asked that

the other defendants not participate in. With Google’s permission, I forwarded this entire email

to the other defendants on January 11, 2022 (see Exhibit 11 at p. 36).

       14.     Attached hereto as Exhibit 13 is a true and correct copy of an email I received

from Jen Kash, counsel for Google, on January 20, 2022, about scheduling a deposition of Aqua.

       15.     Attached hereto as Exhibit 14 is a true and correct copy of an email I received

from Michal Franzinger, counsel for Dell, on January 20, 2022, about scheduling the deposition

of Aqua, and HPE’s final position on this motion.


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       16.       Attached hereto as Exhibit 15 is a true and correct copy of an email from Jen

Kash to Rob Millimet, dated October 5, 2021, previously filed by Google in support of its

motion to compel, wherein Ms. Kash outlines the terms of Google’s oral agreement with BP

Funding Trust.

       17.       Attached hereto as Exhibit 16 is a true and correct copy of a thread between Dell

and counsel for BasePoint Administrative, LLC. At pages 3-4, in an email dated October 8,

2021, Mr. Millimet explains to Mr. Shelton, counsel for Dell, the terms of the deal BP Funding

Trust had recently reached with Google, and explores whether Dell might be interested in the

same deal. The numbered points in this email are identical to those in Exhibit 15.

       18.       Attached hereto as Exhibit 17 is a true and correct copy of my meet and confer

letter to Dell, dated November 11, 2021, which was the transmittal for the more formal

objections for BasePoint Administrative, LLC that my office served on Dell as of that date, in

response to Mr. Shelton’s email of November 3, 2021 (Exhibit 16 at p. 3).



I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed on January 21, 2022 at Los Angeles, California by ___________________________

                                                                     Morgan E. Pietz




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   EXHIBIT 1
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a                    §       6:20-cv-571
BRAZOS LICENSING AND                           §       6:20-cv-572
DEVELOPMENT,                                   §       6:20-cv-573
                                               §       6:20-cv-574
     Plaintiff,                                §       6:20-cv-575
                                               §       6:20-cv-576
v.                                             §       6:20-cv-577
                                               §       6:20-cv-578
GOOGLE LLC,                                    §       6:20-cv-579
                                               §       6:20-cv-580
     Defendant.                                §       6:20-cv-583
                                               §       6:20-cv-584
                                               §       6:20-cv-585


                                  NOTICE OF SUBPOENA

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that Defendant Google LLC will serve the attached subpoena

for deposition and the production of documents and things.

Date: July 9, 2021                             Respectfully submitted,


                                               Michael E. Jones (Texas Bar No. 10929400)
                                               Patrick C. Clutter (Texas Bar No. 24036374)
                                               Potter Minton, P.C.
                                               110 North College, Suite 500
                                               Tyler, Texas, 75702
                                               +1 (903) 597-8311
                                               +1 (903) 593-0846 facsimile
                                               mikejones@potterminton.com
                                               patrickclutter@potterminton.com

                                               Matthew S. Warren (California Bar No. 230565)
                                               Jennifer A. Kash (California Bar No. 203679)
                                               (pro hac vice)
                                               Erika Warren (California Bar No. 295570)
                                               Warren Lex LLP


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                                                2261 Market Street, No. 606
                                                San Francisco, California, 94114
                                                +1 (415) 895-2940
                                                +1 (415) 895-2964 facsimile
                                                20-585@cases.warrenlex.com

                                                Tharan G. Lanier (California Bar No. 138784)
                                                (pro hac vice)
                                                Jones Day
                                                1755 Embarcadero Road
                                                Palo Alto, California, 94303
                                                +1 (650) 739-3939
                                                +1 (650) 739-3900 facsimile
                                                tglanier@jonesday.com

                                                Attorneys for Defendant Google LLC


                                  CERTIFICATE OF SERVICE

       I certify that on July 9, 2021, I served the foregoing Notice of Subpoena by electronic

mail to counsel of record.

                                                /s/ Ellie Silberhorn
                                                Ellie Silberhorn




                                              –2–
                  Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 10 of 599
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

                                                                                                                 6:20-cv-571
                                       UNITED STATES DISTRICT COURT                                              6:20-cv-572
                                                                            for the                              6:20-cv-573
                                                                                                                 6:20-cv-574
                                                          Western District
                                                       __________ District of
                                                                           of Texas
                                                                              __________                         6:20-cv-575
                   WSOU Investments LLC                                                                          6:20-cv-576
                                                                               )                                 6:20-cv-577
                               Plaintiff                                       )                                 6:20-cv-578
                                  v.                                           )      Civil Action No.           6:20-cv-579
                                                                               )                                 6:20-cv-580
                           Google LLC                                          )                                 6:20-cv-582
                              Defendant                                        )                                 6:20-cv-584
                                                                                                                 6:20-cv-585
                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:         Aqua Licensing LLC
            18709 Meter Street, 12th Floor, San Francisco, CA 94105
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:


 Place: First Legal                                                                    Date and Time:
           580 California Street
           12th & 16th Floors, San Francisco, CA 94104                                     July 26, 2021

          The deposition will be recorded by this method:                      Stenographic, video and audio recording

      ✔
      ’ Production:     You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:


           See Exhibit A

       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
            July 9, 2021
Date:
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                 Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                Google LLC                                              , who issues or requests this subpoena, are:
    Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 11 of 599
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                   Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 12 of 599

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             EXHIBIT A

                                           DEFINITIONS

        1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

6:20-cv-00573, 6:20-cv-00574, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00577, 6:20-cv-00578,

6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583, 6:20-cv-00584, 6:20-cv-00585.

        2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

directors, principals, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

common control with it, and all predecessors and successors in interest to such entities.

        3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

individually or collectively, any and all of its past and present officers, directors, partners,

trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

representatives, and attorneys.

        4.      The term “AQUA,” “you,” and “your” shall mean Aqua Licensing, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share
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common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        5.      The term “asserted patent” shall mean any patent asserted in the WSOU v. Google

litigations, including without limitation, U.S. Patent Nos. 7,620,967, 7,777,728, 7,817,858,

7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180, 8,737,961, 8,751,585, 8,803,697,

8,965,045, 9,335,825.

        6.      The term “AST” shall mean Allied Security Trust, a Delaware statutory trust; and

their trustees, managers, agents, representatives, employees, attorneys, or entities acting in

conjunction, joint venture, or partnership with any of them.

        7.      The term “affiliates” shall mean any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a

party, as well as all predecessors and successors of such entities. For this purpose “control”

means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

or at least 50% of the ownership interest representing either the irrevocable right to name a

majority of the members of the governing body of such entity, or the right to make binding

decisions for the entity.

        8.      The term “related application” shall mean any patent or application related to a

patent, including any application or other filing from which the patent claims priority, any

foreign counterpart patents or applications, whether by continuation, continuation-in-part,

division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.




                                                –2–
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       9.      The term “related patent” shall mean any patent, including any foreign

counterpart patent and any patent which may have been opposed, contested or subjected to any

nullity proceedings, that is based in whole or in part on any related application.

       10.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.

       11.     The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.

       12.     The term “asserted claim” shall mean any claim of any asserted patent that

WSOU contends has been infringed by Google.

       13.     The terms “including” or “that includes” mean including without limitation.

       14.     The term “person” includes any individual, corporation, proprietorship,

association, joint venture, company, partnership or other business or legal entity, including

governmental bodies and agencies.

       15.     The term “prior patent owner” shall mean any person that owned any interest in

the patent-in-suit or any application leading to the patent-in-suit.

       16.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

particular subject shall mean, without limitation, concerning, constituting, contradicting,

comprising, commenting on, containing, describing, discussing, embodying, evidencing,

identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

responding to, stating, supporting, tending to support or refute, relating or referring (directly or

indirectly) to or in any way, the particular subject matter identified, in whole or in part.




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       17.     The term “document,” as used herein, has the same meaning it has under Rule 34

of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded

material, including microfilms or other film records or impressions, electronically stored

information regardless of the form of storage medium, tape recordings or computer cards, floppy

disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

notes of telephone calls, inter-office memoranda or written communications, recordings of

conversations either in writing on any mechanical or electronic recording device, including

email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

any way, including by the addition of handwritten notations or other written or printed matter,

from the original, and further includes information stored in a computer database and capable of

being generated in documentary form, such as electronic mail.

       18.     “Communications” includes any transmission, conveyance or exchange of a word,

statement, fact, thing, idea, document, instruction, information, demand or question by any

medium, whether by written, oral or other means, including but not limited to, electronic

communications and electronic mail.

       19.     Use of the singular also includes the plural and vice-versa.




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       20.      The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

appear, and neither of these words shall be interpreted to limit the scope of these discovery

requests.

       21.      The words “any” and “each” shall be construed to encompass the word “all.”

       22.      A verb in any tense shall mean the verb in all other tenses.

       23.      The term “Alcatel” shall mean Alcatel-Lucent International and all parents,

subsidiaries, affiliates, predecessors, successors, including but not limited to Alcatel and Lucent

Technologies.

       24.      “Nokia” shall mean Nokia Corporation and all parents, subsidiaries, affiliates,

predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions and

Networks BV.

       25.      “Other WSOU Defendants” shall mean any and all companies that WSOU haas

sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

VMWare, Inc.; Huawei Technologies Co.,Ltd., Huawei Technologies USA Inc., Huawei Device

(Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

Networks, Inc.;Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.; Canon,

Inc.;TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.; Salesforce.com;

Cisco Systems, Inc.; Netgear, Inc..




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                                        INSTRUCTIONS

        1.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to

encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

        2.      In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.

        3.      In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

        4.      If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information

for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.




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       5.       If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

       6.       If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

            a. The date the document was created;

            b. The names of the owner or author(s)/sender(s) of the document;

            c. If the document is an email, the name of the recipient(s), including copy and blind

                copy recipients;

            d. A brief description of the document and type of legal advice; and

            e. The grounds for the claim or privilege (e.g., attorney work product,

                attorney-client communication).

       The sender(s) and recipient(s) shall be identified by position and entity (corporation or

firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with

certification that all elements of the claimed privilege have been met and not waived with respect

to each document.




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        7.      Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

        8.      To the extent that any portion of an request requires the production of documents

that were at one time within Aqua’s possession, custody, or control, but which are now in the

possession, custody, or control of another, Aqua is directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by Aqua to have been in possession, custody, or control of such documents.

                                REQUESTS FOR PRODUCTION

        1.      All documents concerning each agreement, proposal, offer or other discussions by

you or your predecessors in interest, including any prior patent owner, regarding actual or

potential licensing or sale of any asserted patent, related patent, or related application, whether

individually or in combination with any other patents or applications, including communications

regarding such a proposal, draft agreements, and executed agreements.

        2.      Documents sufficient to identify all attempts to license, sell, or assign: (1) any

asserted patent, related patent, or related application, and/or (2) any rights to or interests in any

asserted patent, related patent, or related application, and the people responsible for any attempts

to license, sell, or assign any asserted patent.




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        3.      All documents concerning any decision to license, sell, or assign any asserted

patent, related patent, or related application and/or any rights to or interests in any asserted

patent, related patent, or related application.

        4.      Documents sufficient to identify all entities which have participated in the

licensing, assignment, or sale of any asserted patent, related patent, or related application.

        5.      Documents sufficient to identify all entities of which you are aware that are

currently, or were previously, licensed to any asserted patent, related patent, or related

application including but not limited to those entities listed in the Telecommunications White

List dated August 22, 2017.

        6.      Documents sufficient to identify all products of which you are/were aware that

practiced or currently practice any claim of any asserted patent, related patent, or related

application and all allegations of which you are/were aware that products practiced or currently

practice any claim of any asserted patent, related patent, or related application.

        7.      All documents concerning any proposals to license, negotiations, discussions,

offers to license, presentations, or any other communications, regarding any potential agreement

concerning any asserted patent, related patent, or related application, including communications,

draft agreements, and executed agreements concerning any potential license including any

asserted patent, related patent, or related application.

        8.      All documents concerning any current or former right, title, or interest in any

asserted patent, related patent, or related application, including the chain of title, as well as all

promises, transfers, liens, assignments, encumbrances, and agreements.




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        9.      All documents concerning the value of, any valuations of or attempts to value any

asserted patent, related patent, or related application, whether individually or in combination

with any other patents or applications, including of any portfolio containing any asserted patent

or related patent.

        10.     All documents concerning any ranking (in terms of strength, value, or otherwise)

or rating of, or attempts to rank or rate any asserted patent, related patent, related application,

whether individually or in combination with any other patents or applications, or any portfolio

containing any asserted patent or related patent.

        11.     All documents concerning any evaluation or analysis of any asserted patent, any

related patent, or any related application, whether individually or in combination with any other

patents or applications, including any evaluation or analysis of infringement, validity, or

commercialization.

        12.     All documents concerning each proposal, offer or other discussions by you or

your predecessors in interest, regarding actual or potential agreements with Allied Security Trust,

or WSOU regarding any asserted patent including communications regarding such a proposal,

draft agreements, and executed agreements.

        13.     All documents concerning any agreement with WSOU.

        14.     All documents concerning each proposal, offer or other discussions by you or

your predecessors in interest, regarding actual or potential agreements with WSOU or any

subsidiary or affiliate of WSOU including communications regarding such a proposal, draft

agreements, and executed agreements.




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       15.     All communications with Google regarding any asserted patents or related

patents, including communications regarding your 2017 offer to Google to license a portfolio of

former Nokia and Alcatel-Lucent Telecommunications patents.

       16.     All documents regarding your 2017 offer to Google to license a portfolio of

former Nokia and Alcatel-Lucent Telecommunications patents.

       17.     All documents regarding any discussions or proposals with Google subsequent to

2017 regarding WSOU and/or a portfolio of former Nokia and Alcatel-Lucent

Telecommunications.

       18.     Any spreadsheet provided to Google by Mark McMillian at Aqua Licensing by

email dated September 24, 2018.

       19.     Any communications with Alcatel or Nokia regarding the asserted or related

patents.

       20.     Any communications with one or more of the Other WSOU Defendants

concerning WSOU, the asserted patents, or the related patents.

                                   TOPICS FOR DEPOSITION

       1.      The subject matter of all requests for production listed above.

       2.      The authenticity of the documents produced in response to this subpoena.

       3.      All attempts to license, sell, or assign: (1) any asserted patent, related patent, or

related application, and/or (2) any rights to or interests in any asserted patent, related patent, or

related application, and the people responsible for any attempts to license, sell, or assign any

asserted patent.




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        4.      Any decision to license, sell, or assign any asserted patent, related patent, or

related application and/or any rights to or interests in any asserted patent, related patent, or

related application.

        5.      The identity of all entities which have participated in the licensing, assignment,

or sale of any asserted patent, related patent, or related application.

        6.      The current or former right, title, or interest in any asserted patent, related patent,

or related application, including the chain of title, as well as all promises, transfers, liens,

assignments, encumbrances, and agreements.

        7.      The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of any portfolio containing any asserted patent or related patent.

        8.      Your current or former right, title, or interest in any asserted patent, related patent,

or related application, including the chain of title, as well as all promises, transfers, liens,

assignments, encumbrances, and agreements.

        9.      The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of or any portfolio containing any asserted patent or related patent.

        10.     Your ranking (in terms of strength, value, or otherwise) or rating of, or attempts

to rank or rate any asserted patent, related patent, related application, whether individually or in

combination with any other patents or applications, or any portfolio containing any asserted

patent or related patent.




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       11.     Your evaluation or analysis of any asserted patent, any related patent, or any

related application, whether individually or in combination with any other patents or

applications, including any evaluation or analysis of infringement, validity, or

commercialization.

       12.     Your proposals, offers or other discussions by you or your predecessors in

interest, regarding actual or potential agreements with Allied Security Trust, or WSOU, LLC

regarding any asserted patent including communications regarding such a proposal, draft

agreements, and executed agreements.

       13.     All agreements between you and WSOU.

       14.     Proposals, offers or other discussions by you or your predecessors in interest,

regarding actual or potential agreements with WSOU or any subsidiary or affiliate of WSOU

including communications regarding such a proposal, draft agreements, and executed

agreements.

       15.     Your communications with Google regarding any asserted patents or related

patents, including communications regarding your 2017 offer to Google to license a portfolio of

former Nokia and Alcatel-Lucent Telecommunications patents.

       16.     Your 2017 offer to Google to license a portfolio of former Nokia and

Alcatel-Lucent Telecommunications patents.

       17.     Any communications with Alcatel or Nokia regarding the asserted or related

patents.

       18.     Any communications with one of more of the Other WSOU Defendants

concerning WSOU, the asserted patents, or the related patents.




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a                    §       6:20-cv-571
BRAZOS LICENSING AND                           §       6:20-cv-572
DEVELOPMENT,                                   §       6:20-cv-573
                                               §       6:20-cv-574
     Plaintiff,                                §       6:20-cv-575
                                               §       6:20-cv-576
v.                                             §       6:20-cv-577
                                               §       6:20-cv-578
GOOGLE LLC,                                    §       6:20-cv-579
                                               §       6:20-cv-580
     Defendant.                                §       6:20-cv-583
                                               §       6:20-cv-584
                                               §       6:20-cv-585


                                  NOTICE OF SUBPOENA

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that Defendant Google LLC will serve the attached subpoena

for deposition and the production of documents and things.

Date: July 21, 2021                            Respectfully submitted,


                                               Michael E. Jones (Texas Bar No. 10929400)
                                               Patrick C. Clutter (Texas Bar No. 24036374)
                                               Potter Minton, P.C.
                                               110 North College, Suite 500
                                               Tyler, Texas, 75702
                                               +1 (903) 597-8311
                                               +1 (903) 593-0846 facsimile
                                               mikejones@potterminton.com
                                               patrickclutter@potterminton.com

                                               Matthew S. Warren (California Bar No. 230565)
                                               Jennifer A. Kash (California Bar No. 203679)
                                               (pro hac vice)
                                               Erika Warren (California Bar No. 295570)
                                               Warren Lex LLP


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                                                2261 Market Street, No. 606
                                                San Francisco, California, 94114
                                                +1 (415) 895-2940
                                                +1 (415) 895-2964 facsimile
                                                20-585@cases.warrenlex.com

                                                Tharan G. Lanier (California Bar No. 138784)
                                                (pro hac vice)
                                                Jones Day
                                                1755 Embarcadero Road
                                                Palo Alto, California, 94303
                                                +1 (650) 739-3939
                                                +1 (650) 739-3900 facsimile
                                                tglanier@jonesday.com

                                                Attorneys for Defendant Google LLC


                                   CERTIFICATE OF SERVICE

       I certify that on July 21, 2021, I served the foregoing Notice of Subpoena by

electronic mail to counsel of record.


                                                Ellie Silberhorn




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                  Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 28 of 599
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

                                                                                                                 6:20-cv-571
                                       UNITED STATES DISTRICT COURT                                              6:20-cv-572
                                                                            for the                              6:20-cv-573
                                                                                                                 6:20-cv-574
                                                          Western District
                                                       __________ District of
                                                                           of Texas
                                                                              __________                         6:20-cv-575
                   WSOU Investments LLC                                                                          6:20-cv-576
                                                                               )                                 6:20-cv-577
                               Plaintiff                                       )                                 6:20-cv-578
                                  v.                                           )      Civil Action No.           6:20-cv-579
                                                                               )                                 6:20-cv-580
                           Google LLC                                          )                                 6:20-cv-582
                              Defendant                                        )                                 6:20-cv-584
                                                                                                                 6:20-cv-585
                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:         Aqua Licensing LLC
            9 E. Loockerman Street, Suite 311, Dover, Delaware 19901
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:


 Place: 1568 North Dupont Highway                                                      Date and Time:
           Dover, Delaware 19901                                                           August 4, 2021

          The deposition will be recorded by this method:                      Stenographic, video and audio recording

      ✔
      ’ Production:     You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:


           See Exhibit A

       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
            July 21, 2021
Date:
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                 Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                Google LLC                                              , who issues or requests this subpoena, are:
    Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 29 of 599
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                   Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 30 of 599

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             EXHIBIT A

                                           DEFINITIONS

        1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

6:20-cv-00573, 6:20-cv-00574, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00577, 6:20-cv-00578,

6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583, 6:20-cv-00584, 6:20-cv-00585.

        2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

directors, principals, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

common control with it, and all predecessors and successors in interest to such entities.

        3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

individually or collectively, any and all of its past and present officers, directors, partners,

trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

representatives, and attorneys.

        4.      The term “AQUA,” “you,” and “your” shall mean Aqua Licensing, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share
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common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        5.      The term “asserted patent” shall mean any patent asserted in the WSOU v. Google

litigations, including without limitation, U.S. Patent Nos. 7,620,967, 7,777,728, 7,817,858,

7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180, 8,737,961, 8,751,585, 8,803,697,

8,965,045, 9,335,825.

        6.      The term “AST” shall mean Allied Security Trust, a Delaware statutory trust; and

their trustees, managers, agents, representatives, employees, attorneys, or entities acting in

conjunction, joint venture, or partnership with any of them.

        7.      The term “affiliates” shall mean any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a

party, as well as all predecessors and successors of such entities. For this purpose “control”

means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

or at least 50% of the ownership interest representing either the irrevocable right to name a

majority of the members of the governing body of such entity, or the right to make binding

decisions for the entity.

        8.      The term “related application” shall mean any patent or application related to a

patent, including any application or other filing from which the patent claims priority, any

foreign counterpart patents or applications, whether by continuation, continuation-in-part,

division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.




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       9.      The term “related patent” shall mean any patent, including any foreign

counterpart patent and any patent which may have been opposed, contested or subjected to any

nullity proceedings, that is based in whole or in part on any related application.

       10.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.

       11.     The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.

       12.     The term “asserted claim” shall mean any claim of any asserted patent that

WSOU contends has been infringed by Google.

       13.     The terms “including” or “that includes” mean including without limitation.

       14.     The term “person” includes any individual, corporation, proprietorship,

association, joint venture, company, partnership or other business or legal entity, including

governmental bodies and agencies.

       15.     The term “prior patent owner” shall mean any person that owned any interest in

the patent-in-suit or any application leading to the patent-in-suit.

       16.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

particular subject shall mean, without limitation, concerning, constituting, contradicting,

comprising, commenting on, containing, describing, discussing, embodying, evidencing,

identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

responding to, stating, supporting, tending to support or refute, relating or referring (directly or

indirectly) to or in any way, the particular subject matter identified, in whole or in part.




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       17.     The term “document,” as used herein, has the same meaning it has under Rule 34

of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded

material, including microfilms or other film records or impressions, electronically stored

information regardless of the form of storage medium, tape recordings or computer cards, floppy

disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

notes of telephone calls, inter-office memoranda or written communications, recordings of

conversations either in writing on any mechanical or electronic recording device, including

email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

any way, including by the addition of handwritten notations or other written or printed matter,

from the original, and further includes information stored in a computer database and capable of

being generated in documentary form, such as electronic mail.

       18.     “Communications” includes any transmission, conveyance or exchange of a word,

statement, fact, thing, idea, document, instruction, information, demand or question by any

medium, whether by written, oral or other means, including but not limited to, electronic

communications and electronic mail.

       19.     Use of the singular also includes the plural and vice-versa.




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       20.      The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

appear, and neither of these words shall be interpreted to limit the scope of these discovery

requests.

       21.      The words “any” and “each” shall be construed to encompass the word “all.”

       22.      A verb in any tense shall mean the verb in all other tenses.

       23.      The term “Alcatel” shall mean Alcatel-Lucent International and all parents,

subsidiaries, affiliates, predecessors, successors, including but not limited to Alcatel and Lucent

Technologies.

       24.      “Nokia” shall mean Nokia Corporation and all parents, subsidiaries, affiliates,

predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions and

Networks BV.

       25.      “Other WSOU Defendants” shall mean any and all companies that WSOU haas

sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

VMWare, Inc.; Huawei Technologies Co.,Ltd., Huawei Technologies USA Inc., Huawei Device

(Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

Networks, Inc.;Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.; Canon,

Inc.;TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.; Salesforce.com;

Cisco Systems, Inc.; Netgear, Inc..




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                                        INSTRUCTIONS

        1.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to

encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

        2.      In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.

        3.      In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

        4.      If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information

for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.




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       5.       If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

       6.       If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

            a. The date the document was created;

            b. The names of the owner or author(s)/sender(s) of the document;

            c. If the document is an email, the name of the recipient(s), including copy and blind

                copy recipients;

            d. A brief description of the document and type of legal advice; and

            e. The grounds for the claim or privilege (e.g., attorney work product,

                attorney-client communication).

       The sender(s) and recipient(s) shall be identified by position and entity (corporation or

firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with

certification that all elements of the claimed privilege have been met and not waived with respect

to each document.




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        7.      Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

        8.      To the extent that any portion of an request requires the production of documents

that were at one time within Aqua’s possession, custody, or control, but which are now in the

possession, custody, or control of another, Aqua is directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by Aqua to have been in possession, custody, or control of such documents.

                                REQUESTS FOR PRODUCTION

        1.      All documents concerning each agreement, proposal, offer or other discussions by

you or your predecessors in interest, including any prior patent owner, regarding actual or

potential licensing or sale of any asserted patent, related patent, or related application, whether

individually or in combination with any other patents or applications, including communications

regarding such a proposal, draft agreements, and executed agreements.

        2.      Documents sufficient to identify all attempts to license, sell, or assign: (1) any

asserted patent, related patent, or related application, and/or (2) any rights to or interests in any

asserted patent, related patent, or related application, and the people responsible for any attempts

to license, sell, or assign any asserted patent.




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        3.      All documents concerning any decision to license, sell, or assign any asserted

patent, related patent, or related application and/or any rights to or interests in any asserted

patent, related patent, or related application.

        4.      Documents sufficient to identify all entities which have participated in the

licensing, assignment, or sale of any asserted patent, related patent, or related application.

        5.      Documents sufficient to identify all entities of which you are aware that are

currently, or were previously, licensed to any asserted patent, related patent, or related

application including but not limited to those entities listed in the Telecommunications White

List dated August 22, 2017.

        6.      Documents sufficient to identify all products of which you are/were aware that

practiced or currently practice any claim of any asserted patent, related patent, or related

application and all allegations of which you are/were aware that products practiced or currently

practice any claim of any asserted patent, related patent, or related application.

        7.      All documents concerning any proposals to license, negotiations, discussions,

offers to license, presentations, or any other communications, regarding any potential agreement

concerning any asserted patent, related patent, or related application, including communications,

draft agreements, and executed agreements concerning any potential license including any

asserted patent, related patent, or related application.

        8.      All documents concerning any current or former right, title, or interest in any

asserted patent, related patent, or related application, including the chain of title, as well as all

promises, transfers, liens, assignments, encumbrances, and agreements.




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        9.      All documents concerning the value of, any valuations of or attempts to value any

asserted patent, related patent, or related application, whether individually or in combination

with any other patents or applications, including of any portfolio containing any asserted patent

or related patent.

        10.     All documents concerning any ranking (in terms of strength, value, or otherwise)

or rating of, or attempts to rank or rate any asserted patent, related patent, related application,

whether individually or in combination with any other patents or applications, or any portfolio

containing any asserted patent or related patent.

        11.     All documents concerning any evaluation or analysis of any asserted patent, any

related patent, or any related application, whether individually or in combination with any other

patents or applications, including any evaluation or analysis of infringement, validity, or

commercialization.

        12.     All documents concerning each proposal, offer or other discussions by you or

your predecessors in interest, regarding actual or potential agreements with Allied Security Trust,

or WSOU regarding any asserted patent including communications regarding such a proposal,

draft agreements, and executed agreements.

        13.     All documents concerning any agreement with WSOU.

        14.     All documents concerning each proposal, offer or other discussions by you or

your predecessors in interest, regarding actual or potential agreements with WSOU or any

subsidiary or affiliate of WSOU including communications regarding such a proposal, draft

agreements, and executed agreements.




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       15.     All communications with Google regarding any asserted patents or related

patents, including communications regarding your 2017 offer to Google to license a portfolio of

former Nokia and Alcatel-Lucent Telecommunications patents.

       16.     All documents regarding your 2017 offer to Google to license a portfolio of

former Nokia and Alcatel-Lucent Telecommunications patents.

       17.     All documents regarding any discussions or proposals with Google subsequent to

2017 regarding WSOU and/or a portfolio of former Nokia and Alcatel-Lucent

Telecommunications.

       18.     Any spreadsheet provided to Google by Mark McMillian at Aqua Licensing by

email dated September 24, 2018.

       19.     Any communications with Alcatel or Nokia regarding the asserted or related

patents.

       20.     Any communications with one or more of the Other WSOU Defendants

concerning WSOU, the asserted patents, or the related patents.

                                   TOPICS FOR DEPOSITION

       1.      The subject matter of all requests for production listed above.

       2.      The authenticity of the documents produced in response to this subpoena.

       3.      All attempts to license, sell, or assign: (1) any asserted patent, related patent, or

related application, and/or (2) any rights to or interests in any asserted patent, related patent, or

related application, and the people responsible for any attempts to license, sell, or assign any

asserted patent.




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        4.      Any decision to license, sell, or assign any asserted patent, related patent, or

related application and/or any rights to or interests in any asserted patent, related patent, or

related application.

        5.      The identity of all entities which have participated in the licensing, assignment,

or sale of any asserted patent, related patent, or related application.

        6.      The current or former right, title, or interest in any asserted patent, related patent,

or related application, including the chain of title, as well as all promises, transfers, liens,

assignments, encumbrances, and agreements.

        7.      The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of any portfolio containing any asserted patent or related patent.

        8.      Your current or former right, title, or interest in any asserted patent, related patent,

or related application, including the chain of title, as well as all promises, transfers, liens,

assignments, encumbrances, and agreements.

        9.      The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of or any portfolio containing any asserted patent or related patent.

        10.     Your ranking (in terms of strength, value, or otherwise) or rating of, or attempts

to rank or rate any asserted patent, related patent, related application, whether individually or in

combination with any other patents or applications, or any portfolio containing any asserted

patent or related patent.




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       11.     Your evaluation or analysis of any asserted patent, any related patent, or any

related application, whether individually or in combination with any other patents or

applications, including any evaluation or analysis of infringement, validity, or

commercialization.

       12.     Your proposals, offers or other discussions by you or your predecessors in

interest, regarding actual or potential agreements with Allied Security Trust, or WSOU, LLC

regarding any asserted patent including communications regarding such a proposal, draft

agreements, and executed agreements.

       13.     All agreements between you and WSOU.

       14.     Proposals, offers or other discussions by you or your predecessors in interest,

regarding actual or potential agreements with WSOU or any subsidiary or affiliate of WSOU

including communications regarding such a proposal, draft agreements, and executed

agreements.

       15.     Your communications with Google regarding any asserted patents or related

patents, including communications regarding your 2017 offer to Google to license a portfolio of

former Nokia and Alcatel-Lucent Telecommunications patents.

       16.     Your 2017 offer to Google to license a portfolio of former Nokia and

Alcatel-Lucent Telecommunications patents.

       17.     Any communications with Alcatel or Nokia regarding the asserted or related

patents.

       18.     Any communications with one of more of the Other WSOU Defendants

concerning WSOU, the asserted patents, or the related patents.




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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                                                                                                           20-571
                                       UNITED STATES DISTRICT COURT                                                        20-572
                                                                           for the                                         20-573
                                                                                                                           20-575
                                                          Western District
                                                       __________ District of
                                                                           of Texas
                                                                              __________                                   20-576
                                                                                                                           20-579
                    WSOU Investments LLC                                      )                                            20-580
                               Plaintiff                                      )                                            20-583
                                  v.                                          )        Civil Action No.                    20-584
                                                                              )                                            20-585
                           Google LLC                                         )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
        BP Funding Trust
To: c/o Wilmington Savings Fund Society, FSB, 500 Delaware Avenue, 11th Floor, Wilmington, Delaware 19801

    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material:

      See Exhibit A


 Place:                                                                                 Date and Time:
    Basye Santiago Reporting                                                               September 22, 2021
    1201 N. Orange Street, Suite 7013, Wilmington, Delaware 19801

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:     September 7, 2021

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)
                 Google LLC                                             , who issues or requests this subpoena, are:


Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
                   Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 46 of 599
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                                             EXHIBIT A

                                           DEFINITIONS

        1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

6:20-cv-00573, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583,

6:20-cv-00584, 6:20-cv-00585.

        2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

directors, principals, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

common control with it, and all predecessors and successors in interest to such entities.

        3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

individually or collectively, any and all of its past and present officers, directors, partners,

trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

representatives, and attorneys.

        4.      The term “BP Funding Trust” or “you” or “your” means Basepoint

Administrative LLC and BP Funding Trust, a Delaware statutory trust; BP Funding Trust, Series

SPL-VI, a statutory series of BP Funding Trust; and their trustees, managers, agents,

representatives, employees, attorneys, or entities acting in conjunction, joint venture, or

partnership with any of them including but not limited to Basepoint Capital LLC, Basepoint Tax

Funding Trust, Venture 4th Basepoint 1, LLC, Basepoint Administrative LLC, Basepoint Asset

Recovery LLC, or any other “Basepoint” entity or related entity thereto.



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        5.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        6.      The term “WCFT Cayman” means WCFT Cayman, its current and former

officers, directors, employees, counsel, agents, consultants, representatives, affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

any other persons acting on behalf of any of the foregoing, and any other entities that own or

control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        7.      The term “Wade and Company” means Wade and Company or Wade & Company,

its current and former officers, directors, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        8.      The term “Omega Credit Opportunities Master Fund” means Omega Advisors,

Inc.; Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a

Credit Opportunities Master Fund, LP), and their trustees, managers, agents, representatives,



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employees, attorneys, or entities acting in conjunction, joint venture, or partnership with any of

them.

         9.     The term “Nokia” means Nokia of America Corporation, Nokia Corporation,

Nokia Networks, Nokia Abp, Nokia Solutions and Networks Holdings USA Inc., Nokia USA

Inc., Nokia Oyj, Nokia Technologies Oyj, Nokia Solutions and Networks B.V., Nokia Solutions

and Networks Oyj, their current and former officers, directors, principals, employees, counsel,

agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

of any of the foregoing, and any other entities that own or control or are owned or controlled by

or share common ownership or control with any of the foregoing (including Alcatel Lucent,

Alcatel Lucent Enterprises, Alcatel-Lucent International, Alcatel and Lucent Technologies), as

well as predecessors and successors in interest to such entities.

         10.    The term “AQUA” shall mean Aqua Licensing, LLC, its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that

own or control or are owned or controlled by or share common ownership or control with any of

the foregoing, as well as predecessors and successors in interest to such entities.

         11.    The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that




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own or control or are owned or controlled by or share common ownership or control with any of

the foregoing, as well as predecessors and successors in interest to such entities.

        12.     The term “Terrier” shall mean Terrier SSC, LLC, OT WSOU Terrier Holdings,

LLC, its current and former officers, directors, principals, employees, counsel, agents,

consultants, representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees,

assigns, predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        13.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        14.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.




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        15.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        16.     The term “asserted patent” or “asserted patents” shall mean one or more of any

patent asserted in the WSOU v. Google litigations, including without limitation, U.S. Patent Nos.

7,620,967, 7,777,728, 7,817,858, 7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180,

8,737,961, 8,803,697.

        17.     The term “affiliates” shall mean any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a

party, as well as all predecessors and successors of such entities. For this purpose “control”

means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

or at least 50% of the ownership interest representing either the irrevocable right to name a

majority of the members of the governing body of such entity, or the right to make binding

decisions for the entity.

        18.     The term “related application” shall mean any patent or application related to a

patent, including any application or other filing from which the patent claims priority, any

foreign counterpart patents or applications, whether by continuation, continuation-in-part,

division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.



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       19.     The term “related patent” shall mean any patent, including any foreign

counterpart patent and any patent which may have been opposed, contested or subjected to any

nullity proceedings, that is based in whole or in part on any related application.

       20.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.

       21.     The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.

       22.     The term “asserted claim” shall mean any claim of any asserted patent that

WSOU contends has been infringed by Google.

       23.     The terms “including” or “that includes” mean including without limitation.

       24.     The term “person” includes any individual, corporation, proprietorship,

association, joint venture, company, partnership or other business or legal entity, including

governmental bodies and agencies.

       25.     The term “prior patent owner” shall mean any person that owned any interest in

the patent-in-suit or any application leading to the patent-in-suit.

       26.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

particular subject shall mean, without limitation, concerning, constituting, contradicting,

comprising, commenting on, containing, describing, discussing, embodying, evidencing,

identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

responding to, stating, supporting, tending to support or refute, relating or referring (directly or

indirectly) to or in any way, the particular subject matter identified, in whole or in part.

       27.     The term “document,” as used herein, has the same meaning it has under Rule 34

of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded



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material, including microfilms or other film records or impressions, electronically stored

information regardless of the form of storage medium, tape recordings or computer cards, floppy

disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

notes of telephone calls, inter-office memoranda or written communications, recordings of

conversations either in writing on any mechanical or electronic recording device, including

email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

any way, including by the addition of handwritten notations or other written or printed matter,

from the original, and further includes information stored in a computer database and capable of

being generated in documentary form, such as electronic mail.

       28.     “Communications” includes any transmission, conveyance or exchange of a word,

statement, fact, thing, idea, document, instruction, information, demand or question by any

medium, whether by written, oral or other means, including but not limited to, electronic

communications and electronic mail.

       29.     Use of the singular also includes the plural and vice-versa.

       30.     The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

appear, and neither of these words shall be interpreted to limit the scope of these discovery

requests.

       31.     The words “any” and “each” shall be construed to encompass the word “all.”

       32.     A verb in any tense shall mean the verb in all other tenses.



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        33.     “Other WSOU Defendants” shall mean any and all companies that WSOU has

sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

VMWare, Inc.; Huawei Technologies Co., Ltd., Huawei Technologies USA Inc., Huawei Device

(Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

Networks, Inc.; Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.;

Canon, Inc.; TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.;

Salesforce.com; Cisco Systems, Inc.; Netgear, Inc.

                                        INSTRUCTIONS

        1.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to

encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

        2.      In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.




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       3.       In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

       4.       If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information

for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.

       5.       If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

       6.       If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

            a. The date the document was created;

            b. The names of the owner or author(s)/sender(s) of the document;

            c. If the document is an email, the name of the recipient(s), including copy and blind

                copy recipients;

            d. A brief description of the document and type of legal advice; and




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            e. The grounds for the claim or privilege (e.g., attorney work product,

               attorney-client communication).

       The sender(s) and recipient(s) shall be identified by position and entity (corporation or

firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with

certification that all elements of the claimed privilege have been met and not waived with respect

to each document.

       7.      Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

       8.      To the extent that any portion of a request requires the production of documents

that were at one time within your possession, custody, or control, but which are now in the

possession, custody, or control of another, you are directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by you to have been in possession, custody, or control of such documents.

                               REQUESTS FOR PRODUCTION

       1.      Documents concerning the formation of BP Funding Trust.

       2.      Documents concerning your relationship to NextPoint Acquisition Corp.



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        3.      Documents concerning your corporate structure.

        4.      Documents concerning your investments or interests in the asserted patents,

including assignment, licensing, acquisition, financial interest, security interest, lien, sale,

transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

obtain rights to, or licenses any of the asserted patents.

        5.      Documents concerning discussions with NextPoint Acquisition Corp. regarding

any asserted patent, a portfolio including an asserted patent, assignment of any interest in any

asserted patent or a portfolio including an asserted patent, or the acquisition or potential

acquisition of any portfolio that might have included an asserted patent.

        6.      Documents concerning discussions with Terrier regarding any asserted patent, a

portfolio including an asserted patent, assignment of any interest in any asserted patent or a

portfolio including an asserted patent, or the acquisition or potential acquisition of any portfolio

that might have included an asserted patent.

        7.      Agreements with Terrier concerning any potential or actual transaction regarding

any asserted patent, a portfolio including an asserted patent, or the acquisition or potential

acquisition of any portfolio that might have included an asserted patent.

        8.      Agreements with the named inventor(s) of any of the asserted patents, including

assignment agreements, consulting agreements, employment agreements and any agreements

pertaining to litigation involving the asserted patents or any related patents.

        9.      Compensation, cost-sharing, or profit sharing agreements with any of the named

inventor(s) of the asserted patent(s).




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        10.     Documents regarding the assignment, licensing, acquisition, financial interest,

security interest, lien, sale, transfer of rights (in whole or in part) and any other disposition of or

any offers to buy, sell, obtain rights to, or licenses any of the asserted patents.

        11.     Documents concerning the nature and scope of any rights you had in the past or

currently have in each of the asserted patents, related applications or related patents from the

time each alleged invention was conceived through the present, including the right to control any

portion of litigation, future royalties, payment for licenses, contingent rights, or payments

depending on the outcome of litigation.

        12.     Documents regarding agreements relating to each of the asserted patents (or any

portfolio including any of the asserted patents), including assurances, covenants not to sue and

understandings not to assert any of the asserted patents against potential licensees.

        13.     Documents regarding agreements between you and WSOU, Allied Security Trust,

AQUA Licensing, LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange

Holdings, Wade and Company, Omega Credit Opportunities Master Fund, Terrier, Juniper

Capital Partners, Coast Asset Management, or WCFT Cayman, regarding any asserted patent, a

portfolio including an asserted patent, or the acquisition or potential acquisition of any portfolio

that might have included an asserted patent, including any amendment, modification,

supplementation, abrogation, or termination of any such agreements.

        14.     Documents regarding agreements with Nokia or other WSOU Defendants

regarding an asserted patent or a portfolio including an asserted patent.

        15.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or



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WCFT Cayman regarding an asserted patent, a portfolio including an asserted patent, or actual or

potential litigation relating to an asserted patent.

          16.   Documents concerning communications with any of the named inventors

regarding any of the asserted patents, this litigation or Google.

          17.   Communications with WSOU regarding the asserted patent, related patents, this

litigation or Google.

          18.   Documents concerning communications between you and any other entity relating

to the possibility of patent litigation regarding the asserted patent and related patents, including

any actual or potential patent litigation against Google and the WSOU v. Google Litigations.

          19.   Documents concerning any contemplated acquisition of patents or rights in

patents from Nokia.

          20.   Documents sufficient to show any interests (current or prior) in WSOU.

          21.   Documents sufficient to show any actual, contingent, or potential (1) right to

license or sublicense any asserted patent, (2) right to control the licensing of any asserted patent,

or (3) right to control or be involved in the resolution of any litigation involving any asserted

patent.

          22.   Documents sufficient to show your relationship with Stuart A. Shanus, Eric

Schneider, Andrew Neuberger, Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU,

Uniloc USA, Inc., WCFT Cayman, Omega Credit Opportunities Master Fund, Wade and

Company, and Terrier, or any entity associated with the foregoing.

          23.   Documents concerning communications with Omega Credit Opportunities Master

Fund.




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       24.        Documents concerning the “Patent Security Agreement” recorded at USPTO Reel

09235 Frame 0068, signed May 16, 2019, the circumstances of this agreement, and any related

agreements.

       25.        Documents concerning the value of, any valuations of or attempts to value any

asserted patent, related patent, or related application, whether individually or in combination

with any other patents or applications, including any portfolio containing any asserted patent or

related patent.

       26.        Documents concerning any evaluation or analysis of any asserted patent, any

related patent, or any related application, whether individually or in combination with any other

patents or applications, including any evaluation or analysis of infringement, validity, or

commercialization.

       27.        Documents produced in response to a subpoena served by any other WSOU

Defendant.




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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT                                             20-571
                                                                            for the                             20-572
                                                                                                                20-573
                                                          Western District
                                                       __________ District of
                                                                           of Texas
                                                                              __________
                                                                                                                20-575
                                                                                                                20-576
                   WSOU Investments LLC                                        )                                20-579
                               Plaintiff                                       )                                20-580
                                  v.                                           )      Civil Action No.          20-583
                                                                               )                                20-584
                           Google LLC                                          )                                20-585
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:     BP Funding Trust
        c/o Wilmington Savings Fund Society, FSB, 500 Delaware Avenue, 11th Floor, Wilmington, Delaware 19801
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
 See Exhibit A

 Place:                                                                                Date and Time:
    Basye Santiago Reporting
    1201 N. Orange Street, Suite 7013, Wilmington, Delaware 19801                       September 22, 2021

          The deposition will be recorded by this method:                    Stenographic, video and audio recording

      ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
        electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
        material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: September 7, 2021
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                 Google LLC                                             , who issues or requests this subpoena, are:
Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             EXHIBIT A

                                           DEFINITIONS

        1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

6:20-cv-00573, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583,

6:20-cv-00584, 6:20-cv-00585.

        2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

directors, principals, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

common control with it, and all predecessors and successors in interest to such entities.

        3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

individually or collectively, any and all of its past and present officers, directors, partners,

trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

representatives, and attorneys.

        4.      The term “BP Funding Trust” or “you” or “your” means Basepoint

Administrative LLC and BP Funding Trust, a Delaware statutory trust; BP Funding Trust, Series

SPL-VI, a statutory series of BP Funding Trust; and their trustees, managers, agents,

representatives, employees, attorneys, or entities acting in conjunction, joint venture, or

partnership with any of them including but not limited to Basepoint Capital LLC, Basepoint Tax

Funding Trust, Venture 4th Basepoint 1, LLC, Basepoint Administrative LLC, Basepoint Asset

Recovery LLC, or any other “Basepoint” entity or related entity thereto.



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        5.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        6.      The term “WCFT Cayman” means WCFT Cayman, its current and former

officers, directors, employees, counsel, agents, consultants, representatives, affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

any other persons acting on behalf of any of the foregoing, and any other entities that own or

control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        7.      The term “Wade and Company” means Wade and Company or Wade & Company,

its current and former officers, directors, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        8.      The term “Omega Credit Opportunities Master Fund” means Omega Advisors,

Inc.; Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a

Credit Opportunities Master Fund, LP), and their trustees, managers, agents, representatives,



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employees, attorneys, or entities acting in conjunction, joint venture, or partnership with any of

them.

         9.     The term “Nokia” means Nokia of America Corporation, Nokia Corporation,

Nokia Networks, Nokia Abp, Nokia Solutions and Networks Holdings USA Inc., Nokia USA

Inc., Nokia Oyj, Nokia Technologies Oyj, Nokia Solutions and Networks B.V., Nokia Solutions

and Networks Oyj, their current and former officers, directors, principals, employees, counsel,

agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

of any of the foregoing, and any other entities that own or control or are owned or controlled by

or share common ownership or control with any of the foregoing (including Alcatel Lucent,

Alcatel Lucent Enterprises, Alcatel-Lucent International, Alcatel and Lucent Technologies), as

well as predecessors and successors in interest to such entities.

         10.    The term “AQUA” shall mean Aqua Licensing, LLC, its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that

own or control or are owned or controlled by or share common ownership or control with any of

the foregoing, as well as predecessors and successors in interest to such entities.

         11.    The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that




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own or control or are owned or controlled by or share common ownership or control with any of

the foregoing, as well as predecessors and successors in interest to such entities.

        12.     The term “Terrier” shall mean Terrier SSC, LLC, OT WSOU Terrier Holdings,

LLC, its current and former officers, directors, principals, employees, counsel, agents,

consultants, representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees,

assigns, predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        13.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        14.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.




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        15.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        16.     The term “asserted patent” or “asserted patents” shall mean one or more of any

patent asserted in the WSOU v. Google litigations, including without limitation, U.S. Patent Nos.

7,620,967, 7,777,728, 7,817,858, 7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180,

8,737,961, 8,803,697.

        17.     The term “affiliates” shall mean any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a

party, as well as all predecessors and successors of such entities. For this purpose “control”

means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

or at least 50% of the ownership interest representing either the irrevocable right to name a

majority of the members of the governing body of such entity, or the right to make binding

decisions for the entity.

        18.     The term “related application” shall mean any patent or application related to a

patent, including any application or other filing from which the patent claims priority, any

foreign counterpart patents or applications, whether by continuation, continuation-in-part,

division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.



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       19.     The term “related patent” shall mean any patent, including any foreign

counterpart patent and any patent which may have been opposed, contested or subjected to any

nullity proceedings, that is based in whole or in part on any related application.

       20.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.

       21.     The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.

       22.     The term “asserted claim” shall mean any claim of any asserted patent that

WSOU contends has been infringed by Google.

       23.     The terms “including” or “that includes” mean including without limitation.

       24.     The term “person” includes any individual, corporation, proprietorship,

association, joint venture, company, partnership or other business or legal entity, including

governmental bodies and agencies.

       25.     The term “prior patent owner” shall mean any person that owned any interest in

the patent-in-suit or any application leading to the patent-in-suit.

       26.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

particular subject shall mean, without limitation, concerning, constituting, contradicting,

comprising, commenting on, containing, describing, discussing, embodying, evidencing,

identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

responding to, stating, supporting, tending to support or refute, relating or referring (directly or

indirectly) to or in any way, the particular subject matter identified, in whole or in part.

       27.     The term “document,” as used herein, has the same meaning it has under Rule 34

of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded



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material, including microfilms or other film records or impressions, electronically stored

information regardless of the form of storage medium, tape recordings or computer cards, floppy

disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

notes of telephone calls, inter-office memoranda or written communications, recordings of

conversations either in writing on any mechanical or electronic recording device, including

email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

any way, including by the addition of handwritten notations or other written or printed matter,

from the original, and further includes information stored in a computer database and capable of

being generated in documentary form, such as electronic mail.

       28.     “Communications” includes any transmission, conveyance or exchange of a word,

statement, fact, thing, idea, document, instruction, information, demand or question by any

medium, whether by written, oral or other means, including but not limited to, electronic

communications and electronic mail.

       29.     Use of the singular also includes the plural and vice-versa.

       30.     The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

appear, and neither of these words shall be interpreted to limit the scope of these discovery

requests.

       31.     The words “any” and “each” shall be construed to encompass the word “all.”

       32.     A verb in any tense shall mean the verb in all other tenses.



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        33.     “Other WSOU Defendants” shall mean any and all companies that WSOU has

sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

VMWare, Inc.; Huawei Technologies Co., Ltd., Huawei Technologies USA Inc., Huawei Device

(Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

Networks, Inc.; Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.;

Canon, Inc.; TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.;

Salesforce.com; Cisco Systems, Inc.; Netgear, Inc.

                                        INSTRUCTIONS

        1.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to

encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

        2.      In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.




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       3.       In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

       4.       If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information

for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.

       5.       If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

       6.       If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

            a. The date the document was created;

            b. The names of the owner or author(s)/sender(s) of the document;

            c. If the document is an email, the name of the recipient(s), including copy and blind

                copy recipients;

            d. A brief description of the document and type of legal advice; and




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            e. The grounds for the claim or privilege (e.g., attorney work product,

               attorney-client communication).

       The sender(s) and recipient(s) shall be identified by position and entity (corporation or

firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with

certification that all elements of the claimed privilege have been met and not waived with respect

to each document.

       7.      Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

       8.      To the extent that any portion of a request requires the production of documents

that were at one time within your possession, custody, or control, but which are now in the

possession, custody, or control of another, you are directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by you to have been in possession, custody, or control of such documents.

                                  TOPICS FOR DEPOSITION

       1.      The subject matter of all requests for production in the concurrently served

document subpoena.



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        2.      The authenticity of the documents produced in response to the concurrently

served document subpoena.

        3.      The formation of BP Funding Trust.

        4.      Your relationship to NextPoint Acquisition Corp.

        5.      Your corporate structure.

        6.      Your investments or interests in the asserted patents, including assignment,

licensing, acquisition, financial interest, security interest, lien, sale, transfer of rights (in whole or

in part) and any other disposition of or any offers to buy, sell, obtain rights to, or licenses any of

the asserted patents.

        7.      Discussions with NextPoint Acquisition Corp. regarding any asserted patent, a

portfolio including an asserted patent, assignment of any interest in any asserted patent or a

portfolio including an asserted patent, or the acquisition or potential acquisition of any portfolio

that might have included an asserted patent.

        8.      Discussions with Terrier regarding any asserted patent, a portfolio including an

asserted patent, assignment of any interest in any asserted patent or a portfolio including an

asserted patent, or the acquisition or potential acquisition of any portfolio that might have

included an asserted patent.

        9.      Agreements with Terrier concerning any potential or actual transaction regarding

any asserted patent, a portfolio including an asserted patent, or the acquisition or potential

acquisition of any portfolio that might have included an asserted patent.

        10.     Agreements with the named inventor(s) of any of the asserted patents, including

assignment agreements, consulting agreements, employment agreements and any agreements

pertaining to litigation involving the asserted patents or any related patents.



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        11.    Compensation, cost-sharing, or profit sharing agreements with any of the named

inventor(s) of the asserted patent(s).

        12.    The assignment, licensing, acquisition, financial interest, security interest, lien,

sale, transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

obtain rights to, or licenses any of the asserted patents.

        13.    The nature and scope of any rights you had in the past or currently have in each of

the asserted patents, related applications or related patents from the time each alleged invention

was conceived through the present, including the right to control any portion of litigation, future

royalties, payment for licenses, contingent rights, or payments depending on the outcome of

litigation.

        14.    Agreements relating to each of the asserted patents (or any portfolio including any

of the asserted patents), including assurances, covenants not to sue and understandings not to

assert any of the asserted patents against potential licensees.

        15.    Agreements between you and WSOU, Allied Security Trust, AQUA Licensing,

LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange Holdings, Wade and

Company, Omega Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast

Asset Management, or WCFT Cayman, regarding any asserted patent, a portfolio including an

asserted patent, or the acquisition or potential acquisition of any portfolio that might have

included an asserted patent, including any amendment, modification, supplementation,

abrogation, or termination of any such agreements.

        16.    Agreements with Nokia or other WSOU Defendants regarding an asserted patent

or a portfolio including an asserted patent.




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        17.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or

WCFT Cayman regarding an asserted patent, a portfolio including an asserted patent, or actual or

potential litigation relating to an asserted patent.

        18.     Communications with any of the named inventors regarding any of the asserted

patents, this litigation or Google.

        19.     Communications with WSOU regarding the asserted patent, related patents, this

litigation or Google.

        20.     Communications between you and any other entity relating to the possibility of

patent litigation regarding the asserted patent and related patents, including any actual or

potential patent litigation against Google and the WSOU v. Google Litigations.

        21.     Any contemplated acquisition of patents or rights in patents from Nokia.

        22.     Any interests (current or prior) in WSOU.

        23.     Any actual, contingent, or potential (1) right to license or sublicense any asserted

patent, (2) right to control the licensing of any asserted patent, or (3) right to control or be

involved in the resolution of any litigation involving any asserted patent.

        24.     Your relationship with Stuart A. Shanus, Eric Schneider, Andrew Neuberger,

Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU, Uniloc USA, Inc., WCFT Cayman,

Omega Credit Opportunities Master Fund, Wade and Company, and Terrier, or or any entity

associated with the foregoing.

        25.     Communications with Omega Credit Opportunities Master Fund.




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       26.     The “Patent Security Agreement” recorded at USPTO Reel 09235 Frame 0068,

signed May 16, 2019, the circumstances of this agreement, and any related agreements.

       27.     The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of any portfolio containing any asserted patent or related patent.

       28.     Any evaluation or analysis of any asserted patent, any related patent, or any

related application, whether individually or in combination with any other patents or

applications, including any evaluation or analysis of infringement, validity, or

commercialization.

       29.     Responses to subpoenas served by any other WSOU Defendant.




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    EXHIBIT 2
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 WSOU INVESTMENTS LLC D/B/A                       §
 BRAZOS LICENSING AND                             §    C.A. NO. 6:20-cv-00487-ADA
 DEVELOPMENT,                                     §    C.A. NO. 6:20-cv-00488-ADA
                                                  §    C.A. NO. 6:20-cv-00489-ADA
                         Plaintiff,               §    C.A. NO. 6:20-cv-00490-ADA
                                                  §    C.A. NO. 6:20-cv-00491-ADA
 v.                                               §    C.A. NO. 6:20-cv-00492-ADA
                                                  §    C.A. NO. 6:20-cv-00493-ADA
 ZTE CORPORATION                                  §    C.A. NO. 6:20-cv-00494-ADA
                                                  §    C.A. NO. 6:20-cv-00495-ADA
                         Defendant.               §    C.A. NO. 6:20-cv-00496-ADA
                                                  §    C.A. NO. 6:20-cv-00497-ADA
                                                  §

                                      NOTICE OF SUBPOENA


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that Defendant ZTE Corporation will serve the attached

subpoena for deposition and the production of documents and things.

Date: October 25, 2021

                                                  /s/ Lionel M. Lavenue
                                                  Lionel M. Lavenue
                                                  Virginia Bar No. 49,005
                                                  lionel.lavenue@finnegan.com
                                                  Bradford C. Schulz
                                                  Virginia Bar No. 91,057
                                                  Bradford.schulz@finnegan.com
                                                  FINNEGAN, HENDERSON, FARABOW,
                                                  GARRETT & DUNNER, LLP
                                                  1875 Explorer Street, Suite 800
                                                  Reston, VA 20190
                                                    Phone: (571) 203-2700
                                                    Fax:     (202) 408-4400

                                                      Attorneys for Defendant,
                                                      ZTE Corporation




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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record, who are deemed to have consented to

electronic service, are being served on October 25, 2021 with a copy of this document via

email.


                                                     /s/Lionel M. Lavenue
                                                     Lionel M. Lavenue




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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Western District of __________
                                                       __________              Texas

  WSOU INVESTMENTS, LLC d/b/a BRAZOS LICEN                                     )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      6:20-CV-(487 through 497)-ADA
                     ZTE CORPORATION                                           )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                           AQUA Licensing, LLC,
                                           18709 Meter Street, 12th Floor, San Francisco, California, 94105
                                                       (Name of person to whom this subpoena is directed)

     ✔
     u Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See Attached Attachment A


 Place: Finnegan, Henderson, Farabow, Garrett & Dunner, LLP                            Date and Time:
           3300 Hillview Avenue                                                                          11/24/2021 11:00 am
           Palo Alto, CA 94304-1203

          The deposition will be recorded by this method:

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: See Attached Attachment A




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR
                                                                                                              /s/Bradford Schulz
                                            Signature of Clerk or Deputy Clerk                                 Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant,
ZTE Corporation                                                         , who issues or requests this subpoena, are:
Finnegan, Henderson LLP by Bradford Schulz, 1875 Explorer Street, Suite 800, Reston, VA 20190-6023

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 6:20-CV-(487 through 497)-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                       ATTACHMENT A

        Pursuant to Rules 30, 34, and 45 of the Federal Rules of Civil Procedure, Defendant ZTE

Corporation requests that Aqua Licensing, LLC produce testimony as requested below.

                                         DEFINITIONS

        The following definitions are applicable herein, regardless of whether upper or lower case

letters are used:

        1.      “Defendant” and “ZTE” refer collectively to ZTE Corporation (“ZTE”).

        2.      The term “AQUA,” “you,” and “your” shall mean Aqua Licensing, LLC, its current

and former officers, directors, principals, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        3.      “Plaintiff” and “WSOU” refer collectively to WSOU Investments, LLC d/b/a

Brazos Licensing and Development (“WSOU”), its predecessors-in-interest, parents, subsidiaries,

joint ventures, affiliates, and other legal entities that are wholly or partially owned or controlled

by WSOU, either directly or indirectly, and the principals, directors, officers, owners, members,

representatives, employees, agents, consultants, accountants, and attorneys of these same entities.

        4.      References to this “lawsuit,” “case,” or “action” mean the above-captioned actions.

        5.      The “’505 patent” means U.S. Patent No. 7,203,505.

        6.      The “’071 patent” means U.S. Patent No. 8,147,071.

        7.      The “’905 patent” means U.S. Patent No. 8,730,905.

        8.      The “’960 patent” means U.S. Patent No. 8,179,960.




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       9.      The “’240 patent” means U.S. Patent No. 7,487,240.

       10.     The “’929 patent” means U.S. Patent No. 7,489,929.

       11.     The “’839 patent” means U.S. Patent No. 8,451,839.

       12.     The “’232 patent” means U.S. Patent No. 9,258,232.

       13.     The “’036 patent” means U.S. Patent No. 9,185,036.

       14.     The “’060 patent” means U.S. Patent No. 9,294,060.

       15.     The “’534 patent” means U.S. Patent No. 7,742,534.

       16.     The term “WSOU Asserted Patent(s)” means the ’505 patent, ’071 patent, ’905

patent, ’960 patent, ’240 patent, ’929 patent, ’839 patent, ’232 patent, ’036 patent, ’060 patent,

’534 patent, collectively, any other patent that may be added to this litigation by Plaintiff, and the

applications that led to the issuance of any of the foregoing patents.

       17.     “Related Patents and Patent Applications” means any issued patent or patent

application having a relation by continuation application, continuation-in-part application, and/or

divisional application, as defined by the Manual of Patent Examining Procedure (Ninth Edition,

Revision 07.2015) §§ 201.06–08, with respect to the Patents-in-Suit. “Related Patent Application”

includes any international application and/or foreign counterpart of the Patents-in-Suit. “Related

Patent Application” also includes any patent application or issued patent within a chain of

copendency with respect to any of the Patents-in-Suit.

       18.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.

       19.     The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.




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       20.      The term “asserted claim” shall mean any claim of any asserted patent that WSOU

contends has been infringed by ZTE.

       21.      The term “Prior Art” is used in these Requests in the same sense that it is used in

35 U.S.C. §§ 102 or 103 and includes without limitation, any patent, publication, physical device,

prototype, knowledge, use, sale, offer for sale, any documents or other items evidencing any of the

foregoing, and/or any other act or event defined in 35 U.S.C. § 102, taken singly or in combination,

and having or occurring at a date such as to be potentially relevant under any subsection of 35

U.S.C. §§ 102 or 103.

       22.      The term “AST” shall mean Allied Security Trust, a Delaware statutory trust; and

their trustees, managers, agents, representatives, employees, attorneys, or entities acting in

conjunction, joint venture, or partnership with any of them.

       23.      The term “Alcatel” shall mean Alcatel-Lucent International and all parents,

subsidiaries, affiliates, predecessors, successors, including but not limited to Alcatel and Lucent

Technologies.

       24.      The term “Nokia” shall mean Nokia Corporation and all parents, subsidiaries,

affiliates, predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions

and Networks BV.

       25.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its current

and former officers, directors, principals, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.




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        26.     The term “WCFT Cayman” means WCFT Cayman, its current and former officers,

directors, employees, counsel, agents, consultants, representatives, affiliates, parents, divisions,

joint ventures, licensees, franchisees, assigns, predecessors and successors in interest, any other

persons acting on behalf of any of the foregoing, and any other entities that own or control or are

owned or controlled by or share common ownership or control with any of the foregoing, as well

as predecessors and successors in interest to such entities.

        27.     The term “Wade and Company” means Wade and Company or Wade & Company,

its current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        28.     The term “Omega Credit Opportunities Master Fund” means Omega Advisors, Inc.;

Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a Credit

Opportunities Master Fund, LP), and their trustees, managers, agents, representatives, employees,

attorneys, or entities acting in conjunction, joint venture, or partnership with any of them.

        29.     The term “Terrier,” shall mean Terrier SSC, LLC, OT WSOU Terrier Holdings,

LLC, its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the foregoing,

and any other entities that own or control or are owned or controlled by or share common

ownership or control with any of the foregoing, as well as predecessors and successors in interest

to such entities.




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        30.     The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that own

or control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        31.     The term “BP Funding Trust” means Basepoint Administrative LLC and BP

Funding Trust, a Delaware statutory trust; BP Funding Trust, Series SPL-VI, a statutory series of

BP Funding Trust; and their trustees, managers, agents, representatives, employees, attorneys, or

entities acting in conjunction, joint venture, or partnership with any of them including but not

limited to Basepoint Capital LLC, Basepoint Tax Funding Trust, Venture 4th Basepoint 1, LLC,

Basepoint Administrative LLC, Basepoint Asset Recovery LLC, or any other “Basepoint” entity

or related entity thereto.

        32.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        33.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the foregoing,




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and any other entities that own or control or are owned or controlled by or share common

ownership or control with any of the foregoing, as well as predecessors and successors in interest

to such entities.

        34.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the foregoing,

and any other entities that own or control or are owned or controlled by or share common

ownership or control with any of the foregoing, as well as predecessors and successors in interest

to such entities.

        35.     “Other WSOU Defendants” shall mean any and all companies that WSOU has sued

in patent litigation matters, including but not limited to Google LLC,; Microsoft Corporation; Dell

Technologies, Inc., Dell Inc., EMC Corporation, VMWare, Inc.; Huawei Technologies Co.,Ltd.,

Huawei Technologies USA Inc., Huawei Device (Shenzen) Co., Ltd. (f/k/a Huawei Device Co.,

Ltd.), Huawei Device USA, Inc., Huawei Investment & Holding Co., Ltd.; Hewlett Packard

Enterprise Company; Juniper Enterprise Networks, Inc.;Xilinx, Inc.; NEC Corporation; OnePlus

Technology (Shenzen) Co., Ltd.; Canon, Inc.;TP-Link Technology Co., Ltd.; F5 Networks, Inc.;

Arista Networks, Inc.; Salesforce.com; Cisco Systems, Inc.; Netgear, Inc..

                                           Instructions

        1.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to




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encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

        2.      In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.

        3.      In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

        4.      If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information

for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.

        5.      If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

        6.      If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the




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claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

            a. The date the document was created;

            b. The names of the owner or author(s)/sender(s) of the document;

            c. If the document is an email, the name of the recipient(s), including copy and blind

               copy recipients;

            d. A brief description of the document and type of legal advice; and

            e. The grounds for the claim or privilege (e.g., attorney work product, attorney-

               client communication).

   The sender(s) and recipient(s) shall be identified by position and entity (corporation or firm,

etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with

certification that all elements of the claimed privilege have been met and not waived with respect

to each document.

       7.      Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

       8.      To the extent that any portion of an request requires the production of documents

that were at one time within Aqua’s possession, custody, or control, but which are now in the




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possession, custody, or control of another, Aqua is directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by Aqua to have been in possession, custody, or control of such documents.

                                      Requests for Production

        1.      All documents concerning each agreement, proposal, offer or other discussions by

you or your predecessors in interest, including any prior patent owner, regarding actual or potential

licensing or sale of any asserted patent, related patent, or related application, whether individually

or in combination with any other patents or applications, including communications regarding such

a proposal, draft agreements, and executed agreements.

        2.      Documents sufficient to identify all attempts to license, sell, or assign: (1) any

asserted patent, related patent, or related application, and/or (2) any rights to or interests in any

asserted patent, related patent, or related application, and the people responsible for any attempts

to license, sell, or assign any asserted patent.


        3.      All documents concerning any decision to license, sell, or assign any asserted

patent, related patent, or related application and/or any rights to or interests in any asserted patent,

related patent, or related application.


        4.      Documents sufficient to identify all entities which have participated in the

licensing, assignment, or sale of any asserted patent, related patent, or related application.


        5.      Documents sufficient to identify all entities of which you are aware that are

currently, or were previously, licensed to any asserted patent, related patent, or related application




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including but not limited to those entities listed in the Telecommunications White List dated

August 22, 2017.


        6.        Documents sufficient to identify all products of which you are/were aware that

practiced or currently practice any claim of any asserted patent, related patent, or related

application and all allegations of which you are/were aware that products practiced or currently

practice any claim of any asserted patent, related patent, or related application.


        7.        All documents concerning any proposals to license, negotiations, discussions,

offers to license, presentations, or any other communications, regarding any potential agreement

concerning any asserted patent, related patent, or related application, including communications,

draft agreements, and executed agreements concerning any potential license including any asserted

patent, related patent, or related application.


        8.        All documents concerning any current or former right, title, or interest in any

asserted patent, related patent, or related application, including the chain of title, as well as all

promises, transfers, liens, assignments, encumbrances, and agreements.


        9.        All documents concerning the value of, any valuations of or attempts to value any

asserted patent, related patent, or related application, whether individually or in combination with

any other patents or applications, including of any portfolio containing any asserted patent or

related patent.


        10.       All documents concerning any ranking (in terms of strength, value, or otherwise)

or rating of, or attempts to rank or rate any asserted patent, related patent, related application,




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whether individually or in combination with any other patents or applications, or any portfolio

containing any asserted patent or related patent.


       11.     All documents concerning any evaluation or analysis of any asserted patent, any

related patent, or any related application, whether individually or in combination with any other

patents or applications, including any evaluation or analysis of infringement, validity, or

commercialization.


       12.     All documents concerning each proposal, offer or other discussions by you or your

predecessors in interest, regarding actual or potential agreements with Allied Security Trust, or

WSOU regarding any asserted patent including communications regarding such a proposal, draft

agreements, and executed agreements.


       13.     All documents concerning any agreement with WSOU.


       14.     All documents concerning each proposal, offer or other discussions by you or your

predecessors in interest, regarding actual or potential agreements with WSOU or any subsidiary or

affiliate of WSOU including communications regarding such a proposal, draft agreements, and

executed agreements.


       15.     All communications with Google regarding any asserted patents or related patents,

including communications regarding your 2017 offer to Google to license a portfolio of former

Nokia and Alcatel-Lucent Telecommunications patents.


       16.     All documents regarding your 2017 offer to Google to license a portfolio of former

Nokia and Alcatel-Lucent Telecommunications patents.




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        17.    All documents regarding any discussions or proposals with Google subsequent to

2017    regarding   WSOU      and/or    a   portfolio   of   former    Nokia    and    Alcatel-Lucent

Telecommunications.


        18.    Any spreadsheet provided to Google by Mark McMillian at Aqua Licensing by

email dated September 24, 2018.


        19.    Any communications with Alcatel or Nokia regarding the asserted or related

patents.


        20.    Any communications with one or more of the Other WSOU Defendants concerning

WSOU, the asserted patents, or the related patents.


                                  TOPICS FOR DEPOSITION

        1.     The subject matter of all requests for production listed above.


        2.     The authenticity of the documents produced in response to this subpoena.


        3.     All attempts to license, sell, or assign: (1) any asserted patent, related patent, or

related application, and/or (2) any rights to or interests in any asserted patent, related patent, or

related application, and the people responsible for any attempts to license, sell, or assign any

asserted patent.


        4.     Any decision to license, sell, or assign any asserted patent, related patent, or related

application and/or any rights to or interests in any asserted patent, related patent, or related

application.




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        5.      The identity of all entities which have participated in the licensing, assignment, or

sale of any asserted patent, related patent, or related application.


       6.      The current or former right, title, or interest in any asserted patent, related patent,

or related application, including the chain of title, as well as all promises, transfers, liens,

assignments, encumbrances, and agreements.


        7.      The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of any portfolio containing any asserted patent or related patent.


        8.      Your current or former right, title, or interest in any asserted patent, related patent,

or related application, including the chain of title, as well as all promises, transfers, liens,

assignments, encumbrances, and agreements.


        9.      The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of or any portfolio containing any asserted patent or related patent.


        10.     Your ranking (in terms of strength, value, or otherwise) or rating of, or attempts to

rank or rate any asserted patent, related patent, related application, whether individually or in

combination with any other patents or applications, or any portfolio containing any asserted patent

or related patent.


       11.     Your evaluation or analysis of any asserted patent, any related patent, or any related

application, whether individually or in combination with any other patents or applications,

including any evaluation or analysis of infringement, validity, or commercialization.



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       12.     Your proposals, offers or other discussions by you or your predecessors in interest,

regarding actual or potential agreements with Allied Security Trust, or WSOU, LLC regarding any

asserted patent including communications regarding such a proposal, draft agreements, and

executed agreements.


       13.     All agreements between you and WSOU.


       14.     Proposals, offers or other discussions by you or your predecessors in interest,

regarding actual or potential agreements with WSOU or any subsidiary or affiliate of WSOU

including communications regarding such a proposal, draft agreements, and executed agreements.


       15.     Your communications with Google regarding any asserted patents or related

patents, including communications regarding your 2017 offer to Google to license a portfolio of

former Nokia and Alcatel-Lucent Telecommunications patents.


       16.     Your 2017 offer to Google to license a portfolio of former Nokia and Alcatel-

Lucent Telecommunications patents.


       17.     Any communications with Alcatel or Nokia regarding the asserted or related

patents.


       18.     Any communications with one of more of the Other WSOU Defendants concerning

WSOU, the asserted patents, or the related patents.




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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

    WSOU INVESTMENTS, LLC D/B/A                    §    CIVIL ACTION 6:20-CV-00487-ADA
    BRAZOS LICENSING AND                           §    CIVIL ACTION 6:20-CV-00488-ADA
    DEVELOPMENT,                                   §    CIVIL ACTION 6:20-CV-00489-ADA
                                                   §    CIVIL ACTION 6:20-CV-00490-ADA
           Plaintiff,                              §    CIVIL ACTION 6:20-CV-00491-ADA
                                                   §    CIVIL ACTION 6:20-CV-00492-ADA
    v.                                             §    CIVIL ACTION 6:20-CV-00493-ADA
                                                   §    CIVIL ACTION 6:20-CV-00494-ADA
    ZTE CORPORATION ET AL,                         §    CIVIL ACTION 6:20-CV-00495-ADA
                                                   §    CIVIL ACTION 6:20-CV-00496-ADA
           Defendant.                              §    CIVIL ACTION 6:20-CV-00497-ADA
                                                   §
                                                   §    PATENT CASE
                                                   §
                                                   §
                                                   §    JURY TRIAL DEMANDED

                                       PROTECTIVE ORDER
WHEREAS, Plaintiff and Defendants, hereafter referred to as “the Parties,” believe that certain

information that is or will be encompassed by discovery demands by the Parties involves the

production or disclosure of trade secrets, confidential business information, or other proprietary

information in this Action 1;

WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with Federal

Rule of Civil Procedure 26(c):

THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.        Each Party may designate as confidential for protection under this Order, in whole or in part,

          any document, information, or material that constitutes or includes, in whole or in part,

          confidential or proprietary information or trade secrets of the Party or a Third Party to whom

          the Party reasonably believes it owes an obligation of confidentiality with respect to such


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    Action means the Case Nos. 6:20-cv-0487 through 6:20-cv-00497.


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      document, information, or material (“Protected Material”). Protected Material shall be

      designated by the Party producing it by affixing a legend or stamp on such document,

      information, or material as follows: “CONFIDENTIAL,” “CONFIDENTIAL -

      ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

      ONLY,” or “CONFIDENTIAL - SOURCE CODE” (“DESIGNATED MATERIAL”). 2

      The appropriate designation shall be placed clearly on each page of the Protected Material

      (except deposition and hearing transcripts) for which such protection is sought. For

      deposition and hearing transcripts, the appropriate designation shall be placed on the cover

      page of the transcript (if not already present on the cover page of the transcript when

      received from the court reporter) by each attorney receiving a copy of the transcript

      after that attorney receives notice of the designation of some or all of that transcript is

      designated as containing Protected Material.

2.    Any document produced before issuance of this Order, including pursuant to the Court’s

      Order Governing Proceedings - Patent Case, with the designation “Confidential” or the like

      shall receive the same treatment as if designated “CONFIDENTIAL” under this order and

      any such documents produced with the designation “Confidential - Outside Attorneys’

      Eyes Only,” or the like shall receive the same treatment as if designated “CONFIDENTIAL

      - OUTSIDE ATTORNEYS’ EYES ONLY” under this Order, unless and until such

      document is re-designated to have a different classification under this Order.

3.    With respect to documents, information, or DESIGNATED MATERIAL (i.e.




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  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES
ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL
- SOURCE CODE,” both individually and collectively.


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      “CONFIDENTIAL,”          “CONFIDENTIAL          -    ATTORNEYS’          EYES      ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE”) subject to the provisions herein and unless otherwise stated, this Order

      governs, without limitation: (a) all documents, electronically stored information, and/or

      things as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing or

      deposition testimony, or documents marked as exhibits or for identification in depositions

      and hearings; (c) pretrial pleadings, exhibits to pleadings and other court filings; (d)

      affidavits; and (e) stipulations. All copies, reproductions, extracts, digests, and complete

      or partial summaries prepared from any DESIGNATED MATERIALS shall also be

      considered DESIGNATED MATERIAL and treated as such under this Order.

4.    A   designation   of   Protected   Material    (DESIGNATED        MATERIAL        such   as

      “CONFIDENTIAL,”           “CONFIDENTIAL             -ATTORNEYS’         EYES       ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE”) may be made at any time. Inadvertent or unintentional production of

      documents, information, or material that has not been designated as DESIGNATED

      MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

      treatment.   Any Party that inadvertently or unintentionally produces Protected Material

      without designating it as DESIGNATED MATERIAL may request destruction of that

      Protected Material by notifying the recipient(s) as soon as reasonably possible after the

      producing Party becomes aware of the inadvertent or unintentional disclosure, and

      providing replacement Protected Material that is properly designated. The recipient(s) shall

      then destroy all copies of the inadvertently or unintentionally produced Protected Materials

      and any documents, information, or material derived from or based thereon.




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5.    “CONFIDENTIAL” documents, information, and material may be disclosed only to the

      following persons, except upon receipt of the prior written consent of the designating Party,

      upon order of the Court, or as set forth in paragraph 13 herein:

      (a)    Outside counsel of record in this Action for the Parties.

      (b)    Employees of such counsel assigned to and reasonably necessary to assist such
             counsel in the litigation of this Action.

      (c)    In-house counsel for the Parties who either have responsibility for making decisions
             dealing directly with the litigation of this Action, or who are assisting outside
             counsel in the litigation of this Action.

      (d)    Up to and including three (3) designated representatives of each of the Parties to the
             extent reasonably necessary for the litigation of this Action, except that any Party
             may in good faith request the other Party’s consent to designate one or more
             additional representatives, the other Party shall not unreasonably withhold such
             consent, and the requesting Party may seek leave of Court to designate such
             additional representative(s) if the requesting Party believes the other Party has
             unreasonably withheld such consent.

      (e)    Outside consultants or experts retained for the purpose of this litigation, provided
             that: (1) such consultants or experts are not presently employed by the Parties or
             of an affiliate of a Party hereto for purposes other than this Action; (2) before access
             is given, the consultant or expert has completed the Undertaking attached as
             Appendix A hereto and the same is served upon the producing Party with a current
             curriculum vitae of the consultant or expert at least ten (10) days before access to
             the Protected Material is to be given to that consultant or expert to object to and
             notify the receiving Party in writing that it objects to disclosure of Protected
             Material to the consultant or expert. The Parties agree to promptly confer and use
             good faith to resolve any such objection. If the Parties are unable to resolve any
             objection, the objecting Party may file a motion with the Court within fifteen (15)
             days of receipt of the notice, or within such other time as the Parties may agree,
             seeking a protective order with respect to the proposed disclosure. The objecting
             Party shall have the burden of proving the need for a protective order. No disclosure
             shall occur until all such objections are resolved by agreement or Court order.

      (f)    Independent litigation support services, including persons working for or as court
             reporters, graphics or design services, jury or trial consulting services, and
             photocopy, document imaging, and database services retained by counsel and
             reasonably necessary to assist counsel with the litigation of this Action.

      (g)    The Court and its personnel.




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6.    A Party shall designate documents, information, or material as “CONFIDENTIAL” only

      upon a good faith belief that the documents, information, or material contains confidential

      or proprietary information or trade secrets of the Party or a Third Party to whom the Party

      reasonably believes it owes an obligation of confidentiality with respect to such documents,

      information, or material.

7.    Documents, information, or material produced pursuant to any discovery request in this

      Action, including but not limited to Protected Material designated as DESIGNATED

      MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

      be used for any other purpose. Any person or entity who obtains access to DESIGNATED

      MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

      duplicates, extracts, summaries, or descriptions of such DESIGNATED MATERIAL or any

      portion thereof except as may be reasonably necessary in the litigation of this Action. Any

      such copies, duplicates, extracts, summaries, or descriptions shall be classified

      DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.    To the extent a producing Party believes that certain Protected Material qualifying to be

      designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

      limitation, the producing Party may designate such Protected Material “CONFIDENTIAL

      - ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

      source code and/or live data (that is, data as it exists residing in a database or databases)

      (“Source Code Material”), the producing Party may designate such Protected Material as

      “CONFIDENTIAL - SOURCE CODE.”

9.    For Protected Material designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY,

      access to, and disclosure of, such Protected Material shall be limited to individuals listed




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       in paragraphs 5(a–c) and (e–g); provided, however, that access by in-house counsel pursuant

       to paragraph 5(c) be limited to in-house counsel who exercise no competitive decision-

       making authority on behalf of the client.

10.    For Protected Material designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

       ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

       listed in paragraphs 5(a–b) and (e–g); provided, however, that the designating Party shall

       accommodate reasonable requests to provide summary information to in-house counsel

       designated pursuant to paragraph 5(c) who exercise no competitive decision-making

       authority on behalf of the client and reasonably require access to such information.

11.    For Protected Material designated “CONFIDENTIAL - SOURCE CODE” (e.g., “Source

       Code Material”), the following additional restrictions apply:

       (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
              computer(s) (that is, the computer may not be linked to any network, including a
              local area network (“LAN”), an intranet or the Internet). The stand-alone
              computer(s) may be connected to (i) a printer, or (ii) a device capable of
              temporarily storing electronic copies solely for the limited purposes permitted
              pursuant to paragraphs 11(h and k) below. Additionally, except as provided in
              paragraph 11(k) below, the stand-alone computer(s) may only be located at the
              offices of the producing Party’s outside counsel or its vendors.

       (b)    The receiving Party shall make reasonable efforts to restrict its requests for such
              access to the stand-alone computer(s) to normal business hours, which for purposes
              of this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable
              notice from the receiving Party, the producing Party shall make reasonable efforts to
              accommodate the receiving Party’s request for access to the stand-alone computer(s)
              outside of normal business hours. The Parties agree to cooperate in good faith such
              that maintaining the producing Party’s Source Code Material at the offices of its
              outside counsel or its vendors shall not unreasonably hinder the receiving Party’s
              ability to efficiently and effectively conduct the prosecution or defense of this
              Action.

       (c)    The producing Party shall provide the receiving Party with information explaining
              how to start, log on to, and operate the stand-alone computer(s) in order to access the
              produced Source Code Material on the stand-alone computer(s).




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       (d)     The producing Party will produce Source Code Material in computer searchable
               format on the stand-alone computer(s) as described above.

       (e)     Access to Source Code Material shall be limited to outside counsel and up to three
               (3) outside consultants or experts 3 (i.e., not existing employees or affiliates of a
               Party or an affiliate of a Party or competitor identified by the Producing Party with
               reasonable specificity) retained for the purpose of this litigation and approved to
               access such Protected Materials pursuant to paragraph 5(e) above. A receiving
               Party may include excerpts of Source Code Material in an exhibit to a pleading,
               expert report, or deposition transcript (collectively, “Source Code Exhibits”),
               provided that the Source Code Exhibits are appropriately marked under this Order,
               restricted to those who are entitled to have access to them as specified herein, and,
               if filed with the Court, filed under seal in accordance with the Court’s rules,
               procedures, and orders.

       (f)     To the extent portions of Source Code Material are quoted in a Source Code
               Exhibit, either (1) the entire Source Code Exhibit will be stamped and treated as
               CONFIDENTIAL - SOURCE CODE or (2) those pages containing quoted Source
               Code Material will be separately stamped and treated as CONFIDENTIAL -
               SOURCE CODE.

       (g)     Except as set forth in paragraph 11(k) below, no electronic copies of Source Code
               Material shall be made without prior written consent of the producing Party, except
               as necessary to create documents that, pursuant to the Court’s rules, procedures,
               and order, must be filed or served electronically.

       (h)     The receiving Party shall be permitted to make a reasonable number of printouts and
               photocopies of Source Code Material, which shall presumptively be a total of ten
               (10), all of which shall be designated and clearly labeled “CONFIDENTIAL -
               SOURCE CODE,” and the receiving Party shall maintain a log of all such files that
               are printed or photocopied.

       (i)     Should such printouts or photocopies be permissibly transferred back to electronic
               media, such media shall be labeled “CONFIDENTIAL - SOURCE CODE” and
               shall continue to be treated as such.

       (j)     If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a

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 For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
consultant or expert who employs others within his or her firm to help in his or her analysis shall
count as a disclosure to a single consultant or expert, provided that such personnel helping in the
analysis of Source Code Material shall be disclosed pursuant to Paragraph 5(e).


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              secured locked area in the offices of such outside counsel, consultants, or expert.
              The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
              Court for any proceedings(s) relating to the Source Code Material, for the dates
              associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
              the Source Code Material are taken, for the dates associated with the deposition(s);
              and (iii) any intermediate location reasonably necessary to transport the printouts or
              photocopies (e.g., a hotel prior to a Court proceeding or deposition).

       (k)    A producing Party’s Source Code Material may only be transported by the receiving
              Party at the direction of a person authorized under paragraph 11(e) above to another
              person authorized under paragraph 11(e) above, on paper or removable electronic
              media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry, Federal
              Express, or other similarly reliable courier. Source Code Material may not be
              transported or transmitted electronically over a network of any kind, including a
              LAN, an intranet, or the Internet. Source Code Material may only be transported
              electronically for the purpose of Court proceeding(s) or deposition(s) as set forth
              in paragraph 11(j) above and is at all times subject to the transport restrictions set
              forth herein. But, for those purposes only, the Source Code Materials may be loaded
              onto a stand-alone computer.

12.    Any attorney representing a Party, whether in-house or outside counsel, and any person

       associated with a Party and permitted to receive the other Party’s Protected Material that is

       designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY, CONFIDENTIAL -

       OUTSIDE ATTORNEYS’ EYES ONLY, and/or CONFIDENTIAL - SOURCE CODE

       (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, has access to,

       or otherwise learns, in whole or in part, the other Party’s HIGHLY SENSITIVE

       MATERIAL under this Order shall not prepare, prosecute, supervise, or assist in the

       preparation or prosecution of any patent application pertaining to the field of the invention

       of the patents-in-suit during the pendency of this Action and for one year after its conclusion,

       including any appeals. To ensure compliance with the purpose of this provision, each Party

       shall create an “Ethical Wall” between those persons with access to HIGHLY SENSITIVE

       MATERIAL and any individuals who prepare, prosecute, supervise or assist in the

       preparation or prosecution of any patent application pertaining to the field of invention of




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       the patent-in-suit. Nothing in this Order shall prevent a person with access to HIGHLY

       SENSITIVE MATERIAL from participating in a PTO proceeding, e.g., IPR or PGR,

       except for that person shall not participate—directly or indirectly—in the amendment of

       any claim(s).

13.    Nothing in this Order shall require production of documents, information, or other material

       that a Party contends is protected from disclosure by the attorney-client privilege, the work

       product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

       other material subject to a claim of attorney-client privilege, work product doctrine, or other

       privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

       production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

       any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

       produces documents, information, or other material it reasonably believes are protected

       under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

       immunity may obtain the return of such documents, information, or other material by

       promptly notifying the recipient(s) and providing a privilege log for the inadvertently or

       unintentionally produced documents, information, or other material.          The recipient(s)

       shall gather and return all copies of such documents, information, or other material to the

       producing Party, except for any pages containing privileged or otherwise protected markings

       by the recipient(s), which pages shall instead be destroyed and certified as such to the

       producing Party.

14.    There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

       to have access thereto to any person who is not authorized for such access under this Order.

       The Parties are hereby ORDERED to safeguard all such documents, information, and




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       material to protect against disclosure to any unauthorized persons or entities.

15.    Nothing contained herein shall be construed to prejudice any Party’s right to use any

       DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

       the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

       access to the DESIGNATED MATERIAL by virtue of his or her employment with the

       designating Party; (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

       or copy recipient of such information; (iii) although not identified as an author, addressee,

       or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

       business, seen such DESIGNATED MATERIAL; (iv) a current or former officer, director

       or employee of the producing Party or a current or former officer, director, or employee

       of a company affiliated with the producing Party; (v) counsel for a Party, including outside

       counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

       contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

       reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

       access to DESIGNATED MATERIAL.                  DESIGNATED MATERIAL shall not be

       disclosed to any other persons unless prior authorization is obtained from counsel

       representing the producing Party or from the Court.

16.    Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

       deposition or hearing transcript, designate the deposition or hearing transcript or any portion

       thereof as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” pursuant to this Order. Access to the deposition or hearing transcript so

       designated shall be limited in accordance with the terms of this Order. Until expiration of




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       the 30-day period, the entire deposition or hearing transcript shall be treated as

       CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY.

17.    Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

       shall remain under seal until further order of the Court. The filing Party shall be responsible

       for informing the Clerk of the Court that the filing should be sealed and for placing the

       legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

       caption and conspicuously on each page of the filing.      Exhibits to a filing shall conform

       to the labeling requirements set forth in this Order. If a pretrial pleading filed with the

       Court, or an exhibit thereto, discloses or relies on DESIGNATED MATERIAL, such

       confidential portions shall be redacted to the extent necessary and the pleading or exhibit

       filed publicly with the Court.

18.    The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

       the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

       this Action, or from using any information contained in DESIGNATED MATERIAL at

       the trial of this Action, subject to any pretrial order issued by this Court.

19.    A Party may request in writing to the other Party that the designation given to any

       DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

       not agree to re-designation within ten (10) days of receipt of the written request, the

       requesting Party may apply to the Court for relief. Upon any such application to the Court,

       the burden shall be on the designating Party to show why its classification is proper. Such

       application shall be treated procedurally as a motion to compel pursuant to Federal Rule

       of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

       such application, the requirements of the Federal Rules of Civil Procedure and the Local




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       Rules of the Court shall be met. Pending the Court’s determination of the application, the

       designation of the designating Party shall be maintained.

20.    Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

       accordance with the terms of this Order shall be advised by counsel of the terms of this

       Order, shall be informed that they are subject to the terms and conditions of this Order, and

       shall sign an acknowledgment that they have received a copy of, have read, and have

       agreed to be bound by this Order. A copy of the acknowledgment form is attached as

       Appendix A.

21.    To the extent that any discovery is taken of persons who are not Parties to this Action

       (“Third Parties”) and in the event that such Third Parties contend the discovery sought

       involves trade secrets, confidential business information, or other proprietary information,

       then such Third Parties may agree to be bound by this Order.

22.    To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

       designate as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       or   “CONFIDENTIAL          -   OUTSIDE       ATTORNEYS’         EYES     ONLY,”      and/or

       “CONFIDENTIAL - SOURCE CODE” any documents, information, or other material, in

       whole or in part, produced by such Third Parties. The Third Parties shall have ten (10) days

       after production of such documents, information, or other materials to make such a

       designation.    Until that time period lapses or until such a designation has been made,

       whichever occurs sooner, all documents, information, or other material so produced or given

       shall be treated as “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” in

       accordance with this Order.

23.    Within thirty (30) days of final termination of this Action, including any appeals, all




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       DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

       descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

       into any privileged memoranda of the Parties), shall at the producing Party’s election either

       be returned to the producing Party or be destroyed.        The receiving Party shall verify the

       return or destruction by affidavit furnished to the producing Party, upon the producing

       Party’s request.

24.    The failure to designate documents, information, or material in accordance with this Order

       and the failure to object to a designation at a given time shall not preclude the filing of a

       motion at a later date seeking to impose such designation or challenging the propriety

       thereof. The entry of this Order and/or the production of documents, information, or

       material hereunder shall in no way constitute a waiver of any objection to the furnishing

       thereof, all such objections being hereby preserved.

25.    Any Party knowing or believing that any other Party is in violation of or intends to violate

       this Order and has raised the question of violation or potential violation with the opposing

       Party and has been unable to resolve the matter by agreement may move the Court for such

       relief as may be appropriate in the circumstances.        Pending disposition of the motion by

       the Court, the Party alleged to be in violation of or intending to violate this Order shall

       discontinue the performance of and/or shall not undertake the further performance of any

       action alleged to constitute a violation of this Order.

26.    Production of DESIGNATED MATERIAL by any Party shall not be deemed a

       publication of the documents, information, or material (or the contents thereof) produced

       so as to void or make voidable whatever claim the Parties may have as to the proprietary and

       confidential nature of the documents, information, or other material or its contents.




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27.    Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of any

       kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

28.    Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

       Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

       if reasonably necessary to prepare and present this Action; and (b) to apply for additional

       protection of DESIGNATED MATERIAL.


       Signed on June 1st, 2021.




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                    §    CIVIL ACTION 6:20-CV-00487-ADA
 BRAZOS LICENSING AND                           §    CIVIL ACTION 6:20-CV-00488-ADA
 DEVELOPMENT,                                   §    CIVIL ACTION 6:20-CV-00489-ADA
                                                §    CIVIL ACTION 6:20-CV-00490-ADA
        Plaintiff,                              §    CIVIL ACTION 6:20-CV-00491-ADA
                                                §    CIVIL ACTION 6:20-CV-00492-ADA
 v.                                             §    CIVIL ACTION 6:20-CV-00493-ADA
                                                §    CIVIL ACTION 6:20-CV-00494-ADA
 ZTE CORPORATION ET AL,                         §    CIVIL ACTION 6:20-CV-00495-ADA
                                                §    CIVIL ACTION 6:20-CV-00496-ADA
        Defendant.                              §    CIVIL ACTION 6:20-CV-00497-ADA
                                                §
                                                §    PATENT CASE
                                                §
                                                §
                                                §    JURY TRIAL DEMANDED


                             APPENDIX A
          UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                         PROTECTIVE ORDER
I, ___________________________________________, declare that:

1.     My address is _________________________________________________________.

       My current employer is _________________________________________________.

       My current occupation is ________________________________________________.

2.     I have received a copy of the Protective Order in this action. I have carefully read and

       understand the provisions of the Protective Order.

3.     I will comply with all of the provisions of the Protective Order. I will hold in confidence,

       will not disclose to anyone not qualified under the Protective Order, and will use only for

       purposes      of this   action   any   information   designated   as   “CONFIDENTIAL,”

       “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE

       ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE” that is


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       disclosed to me.

4.     Promptly upon termination of these actions, I will return all documents and things

       designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” that came into my possession, and all documents and things that I have

       prepared relating thereto, to the outside counsel for the Party by whom I am employed.

5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

I declare under penalty of perjury that the foregoing is true and correct.

Signature ________________________________________

Date ______________________________




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 WSOU INVESTMENTS LLC D/B/A                       §
 BRAZOS LICENSING AND                             §    C.A. NO. 6:20-cv-00487-ADA
 DEVELOPMENT,                                     §    C.A. NO. 6:20-cv-00488-ADA
                                                  §    C.A. NO. 6:20-cv-00489-ADA
                         Plaintiff,               §    C.A. NO. 6:20-cv-00490-ADA
                                                  §    C.A. NO. 6:20-cv-00491-ADA
 v.                                               §    C.A. NO. 6:20-cv-00492-ADA
                                                  §    C.A. NO. 6:20-cv-00493-ADA
 ZTE CORPORATION                                  §    C.A. NO. 6:20-cv-00494-ADA
                                                  §    C.A. NO. 6:20-cv-00495-ADA
                         Defendant.               §    C.A. NO. 6:20-cv-00496-ADA
                                                  §    C.A. NO. 6:20-cv-00497-ADA
                                                  §

                                      NOTICE OF SUBPOENA


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that Defendant ZTE Corporation will serve the attached

subpoena for deposition and the production of documents and things.

Date: October 25, 2021

                                                  /s/ Lionel M. Lavenue
                                                  Lionel M. Lavenue
                                                  Virginia Bar No. 49,005
                                                  lionel.lavenue@finnegan.com
                                                  Bradford C. Schulz
                                                  Virginia Bar No. 91,057
                                                  Bradford.schulz@finnegan.com
                                                  FINNEGAN, HENDERSON, FARABOW,
                                                  GARRETT & DUNNER, LLP
                                                  1875 Explorer Street, Suite 800
                                                  Reston, VA 20190
                                                    Phone: (571) 203-2700
                                                    Fax:     (202) 408-4400

                                                      Attorneys for Defendant,
                                                      ZTE Corporation




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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record, who are deemed to have consented to

electronic service, are being served on October 25, 2021 with a copy of this document via

email.




                                                     /s/Lionel M. Lavenue
                                                     Lionel M. Lavenue




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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Western District of __________
                                                       __________              Texas

  WSOU INVESTMENTS, LLC d/b/a BRAZOS LICEN                                     )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      6:20-CV-(487 through 497)-ADA
                     ZTE CORPORATION                                           )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                   BP Funding Trust
            c/o Wilmington Savings Fund Society, FSB, 500 Delaware Avenue, 11th Floor, Wilmington, Delaware 19801
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See Attached Attachment A


 Place: Finnegan, Henderson, Farabow, Garrett & Dunner, LLP                            Date and Time:
           1875 Explorer Street, Suite 800                                                               11/24/2021 11:00 am
           Reston, VA 20190-6023

          The deposition will be recorded by this method:

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: See Attached Attachment A




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR
                                                                                                              /s/Bradford Schulz
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant,
ZTE Corporation                                                         , who issues or requests this subpoena, are:
Finnegan, Henderson LLP by Bradford Schulz, 1875 Explorer Street, Suite 800, Reston, VA 20190-6023

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 6:20-CV-(487 through 497)-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                       ATTACHMENT A

        Pursuant to Rules 30, 34, and 45 of the Federal Rules of Civil Procedure, Defendant ZTE

Corporation requests that BP Funding Trust produce testimony as requested below.

                                         DEFINITIONS

        The following definitions are applicable herein, regardless of whether upper or lower case

letters are used:

        1.      “Defendant” and “ZTE” refer collectively to ZTE Corporation (“ZTE”).

        2.      The term “BP Funding Trust,” “you,” and “your” shall mean Basepoint

Administrative LLC and BP Funding Trust, a Delaware statutory trust; BP Funding Trust, Series

SPL-VI, a statutory series of BP Funding Trust; and their trustees, managers, agents,

representatives, employees, attorneys, or entities acting in conjunction, joint venture, or

partnership with any of them including but not limited to Basepoint Capital LLC, Basepoint Tax

Funding Trust, Venture 4th Basepoint 1, LLC, Basepoint Administrative LLC, Basepoint Asset

Recovery LLC, or any other “Basepoint” entity or related entity thereto.

        3.      “Plaintiff” and “WSOU” refer collectively to WSOU Investments, LLC d/b/a

Brazos Licensing and Development (“WSOU”), its predecessors-in-interest, parents, subsidiaries,

joint ventures, affiliates, and other legal entities that are wholly or partially owned or controlled

by WSOU, either directly or indirectly, and the principals, directors, officers, owners, members,

representatives, employees, agents, consultants, accountants, and attorneys of these same entities.

        4.      References to this “lawsuit,” “case,” “action,” or “ZTE Litigations” mean the

above-captioned actions.

        5.      The “’505 patent” means U.S. Patent No. 7,203,505.

        6.      The “’071 patent” means U.S. Patent No. 8,147,071.




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       7.      The “’905 patent” means U.S. Patent No. 8,730,905.

       8.      The “’960 patent” means U.S. Patent No. 8,179,960.

       9.      The “’240 patent” means U.S. Patent No. 7,487,240.

       10.     The “’929 patent” means U.S. Patent No. 7,489,929.

       11.     The “’839 patent” means U.S. Patent No. 8,451,839.

       12.     The “’232 patent” means U.S. Patent No. 9,258,232.

       13.     The “’036 patent” means U.S. Patent No. 9,185,036.

       14.     The “’060 patent” means U.S. Patent No. 9,294,060.

       15.     The “’534 patent” means U.S. Patent No. 7,742,534.

       16.     The term “WSOU Asserted Patent(s)” means the ’505 patent, ’071 patent, ’905

patent, ’960 patent, ’240 patent, ’929 patent, ’839 patent, ’232 patent, ’036 patent, ’060 patent,

’534 patent, collectively, any other patent that may be added to this litigation by Plaintiff, and the

applications that led to the issuance of any of the foregoing patents.

       17.     “Related Patents and Patent Applications” means any issued patent or patent

application having a relation by continuation application, continuation-in-part application, and/or

divisional application, as defined by the Manual of Patent Examining Procedure (Ninth Edition,

Revision 07.2015) §§ 201.06–08, with respect to the Patents-in-Suit. “Related Patent Application”

includes any international application and/or foreign counterpart of the Patents-in-Suit. “Related

Patent Application” also includes any patent application or issued patent within a chain of

copendency with respect to any of the Patents-in-Suit.

       18.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.




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       19.      The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.

       20.      The term “asserted claim” shall mean any claim of any asserted patent that WSOU

contends has been infringed by ZTE.

       21.      The term “Prior Art” is used in these Requests in the same sense that it is used in

35 U.S.C. §§ 102 or 103 and includes without limitation, any patent, publication, physical device,

prototype, knowledge, use, sale, offer for sale, any documents or other items evidencing any of the

foregoing, and/or any other act or event defined in 35 U.S.C. § 102, taken singly or in combination,

and having or occurring at a date such as to be potentially relevant under any subsection of 35

U.S.C. §§ 102 or 103.

       22.      The term “AST” shall mean Allied Security Trust, a Delaware statutory trust; and

their trustees, managers, agents, representatives, employees, attorneys, or entities acting in

conjunction, joint venture, or partnership with any of them.

       23.      The term “Alcatel” shall mean Alcatel-Lucent International and all parents,

subsidiaries, affiliates, predecessors, successors, including but not limited to Alcatel and Lucent

Technologies.

       24.      The term “Nokia” shall mean Nokia Corporation and all parents, subsidiaries,

affiliates, predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions

and Networks BV.

       25.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its current

and former officers, directors, principals, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other




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entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

       26.     The term “WCFT Cayman” means WCFT Cayman, its current and former officers,

directors, employees, counsel, agents, consultants, representatives, affiliates, parents, divisions,

joint ventures, licensees, franchisees, assigns, predecessors and successors in interest, any other

persons acting on behalf of any of the foregoing, and any other entities that own or control or are

owned or controlled by or share common ownership or control with any of the foregoing, as well

as predecessors and successors in interest to such entities.

       27.     The term “Wade and Company” means Wade and Company or Wade & Company,

its current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

       28.     The term “Omega Credit Opportunities Master Fund” means Omega Advisors, Inc.;

Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a Credit

Opportunities Master Fund, LP), and their trustees, managers, agents, representatives, employees,

attorneys, or entities acting in conjunction, joint venture, or partnership with any of them.

       29.     The term “AQUA” shall mean Aqua Licensing, LLC, its current and form officers,

directors, principals, employees, counsel, agents, consultants, representatives, affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

any other persons acting on behalf of any of the foregoing, and any other entities that own or




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control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        30.     The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that own

or control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        31.     The term “Terrier,” shall mean Terrier SSC, LLC, OT WSOU Terrier Holdings,

LLC, its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the foregoing,

and any other entities that own or control or are owned or controlled by or share common

ownership or control with any of the foregoing, as well as predecessors and successors in interest

to such entities.

        32.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        33.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,




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representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the foregoing,

and any other entities that own or control or are owned or controlled by or share common

ownership or control with any of the foregoing, as well as predecessors and successors in interest

to such entities.

        34.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the foregoing,

and any other entities that own or control or are owned or controlled by or share common

ownership or control with any of the foregoing, as well as predecessors and successors in interest

to such entities.

        35.     “Other WSOU Defendants” shall mean any and all companies that WSOU has sued

in patent litigation matters, including but not limited to Google LLC,; Microsoft Corporation; Dell

Technologies, Inc., Dell Inc., EMC Corporation, VMWare, Inc.; Huawei Technologies Co.,Ltd.,

Huawei Technologies USA Inc., Huawei Device (Shenzen) Co., Ltd. (f/k/a Huawei Device Co.,

Ltd.), Huawei Device USA, Inc., Huawei Investment & Holding Co., Ltd.; Hewlett Packard

Enterprise Company; Juniper Enterprise Networks, Inc.;Xilinx, Inc.; NEC Corporation; OnePlus

Technology (Shenzen) Co., Ltd.; Canon, Inc.;TP-Link Technology Co., Ltd.; F5 Networks, Inc.;

Arista Networks, Inc.; Salesforce.com; Cisco Systems, Inc.; Netgear, Inc..

        36.     The term “affiliates” shall mean any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a party,




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as well as all predecessors and successors of such entities. For this purpose “control” means direct

or indirect ownership of, or the right to exercise, at least 50% of the voting power, or at least 50%

of the ownership interest representing either the irrevocable right to name a majority of the

members of the governing body of such entity, or the right to make binding decisions for the entity.

       37.     The terms “Person” and “Individual” mean any natural person.

       38.     The term “Document” is synonymous in meaning and equal in scope to the usage

of the term “documents or electronically stored information” in Rule 34(a)(l)(A) of the Federal

Rules of Civil Procedure. A draft or non-identical copy is a separate document within the meaning

of this term. By way of illustration, and without limitation, documents include at least the

following: originals, drafts, and all non-identical copies of memoranda, reports, notes, graphs,

laboratory notebooks, correspondence, interoffice communications, letters, diaries, calendars,

photographs, motion pictures, sketches, drawings, promotional material, technical papers, printed

publications, patents, records, reports, and all other writings, as well as all non-paper information

storage means such as sound reproductions, computer inputs and outputs, tape, film and computer

memory devices, as well as tangible things such as models, modules, prototypes, and commercially

saleable products.

       39.     The term “Thing” means any tangible item, including without limitation, models,

prototypes and samples of any device or apparatus or product.

       40.     The term “Communication” means every manner or method of the disclosure,

transfer, or exchange of information, whether orally, electronically, or by Document, and whether

face to face or by telephone, mail, facsimile, E-mail, video, instant message, internet

Communication, or otherwise.




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        41.     Definitions or usages of words or phrases in these Topics are not intended to be,

and shall not be, construed as admissions as to the meaning of words or phrases at issue in the

action, and shall have no binding effect on Defendant in this or in any other proceeding.

                                           Instructions

        1.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to

encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

        2.      In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.

        3.      In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

        4.      If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information




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for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.

       5.       If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

       6.       If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

            a. The date the document was created;

            b. The names of the owner or author(s)/sender(s) of the document;

            c. If the document is an email, the name of the recipient(s), including copy and blind

                copy recipients;

            d. A brief description of the document and type of legal advice; and

            e. The grounds for the claim or privilege (e.g., attorney work product, attorney-

                client communication).

   The sender(s) and recipient(s) shall be identified by position and entity (corporation or firm,

etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with




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certification that all elements of the claimed privilege have been met and not waived with respect

to each document.

        7.      Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

        8.      To the extent that any portion of an request requires the production of documents

that were at one time within Aqua’s possession, custody, or control, but which are now in the

possession, custody, or control of another, Aqua is directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by Aqua to have been in possession, custody, or control of such documents.

                                      Requests for Production

        1.      Documents concerning the formation of BP Funding Trust.

        2.      Documents concerning your relationship to NextPoint Acquisition Corp.

        3.      Documents concerning your corporate structure.

        4.      Documents concerning your investments or interests in the asserted patents,

including assignment, licensing, acquisition, financial interest, security interest, lien, sale, transfer

of rights (in whole or in part) and any other disposition of or any offers to buy, sell, obtain rights

to, or licenses any of the asserted patents.

        5.      Documents concerning discussions with NextPoint Acquisition Corp. regarding

any asserted patent, a portfolio including an asserted patent, assignment of any interest in any




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asserted patent or a portfolio including an asserted patent, or the acquisition or potential acquisition

of any portfolio that might have included an asserted patent.

        6.      Documents concerning discussions with Terrier regarding any asserted patent, a

portfolio including an asserted patent, assignment of any interest in any asserted patent or a

portfolio including an asserted patent, or the acquisition or potential acquisition of any portfolio

that might have included an asserted patent.

        7.      Agreements with Terrier concerning any potential or actual transaction regarding

any asserted patent, a portfolio including an asserted patent, or the acquisition or potential

acquisition of any portfolio that might have included an asserted patent.

        8.      Agreements with the named inventor(s) of any of the asserted patents, including

assignment agreements, consulting agreements, employment agreements and any agreements

pertaining to litigation involving the asserted patents or any related patents.

        9.      Compensation, cost-sharing, or profit sharing agreements with any of the named

inventor(s) of the asserted patent(s).

        10.     Documents regarding the assignment, licensing, acquisition, financial interest,

security interest, lien, sale, transfer of rights (in whole or in part) and any other disposition of or

any offers to buy, sell, obtain rights to, or licenses any of the asserted patents.

        11.     Documents concerning the nature and scope of any rights you had in the past or

currently have in each of the asserted patents, related applications or related patents from the time

each alleged invention was conceived through the present, including the right to control any

portion of litigation, future royalties, payment for licenses, contingent rights, or payments

depending on the outcome of litigation.




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        12.     Documents regarding agreements relating to each of the asserted patents (or any

portfolio including any of the asserted patents), including assurances, covenants not to sue and

understandings not to assert any of the asserted patents against potential licensees.

        13.     Documents regarding agreements between you and WSOU, Allied Security Trust,

AQUA Licensing, LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange Holdings,

Wade and Company, Omega Credit Opportunities Master Fund, Terrier, Juniper Capital Partners,

Coast Asset Management, or WCFT Cayman, regarding any asserted patent, a portfolio including

an asserted patent, or the acquisition or potential acquisition of any portfolio that might have

included an asserted patent, including any amendment, modification, supplementation, abrogation,

or termination of any such agreements.

        14.     Documents regarding agreements with Nokia or other WSOU Defendants

regarding an asserted patent or a portfolio including an asserted patent.

        15.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or

WCFT Cayman regarding an asserted patent, a portfolio including an asserted patent, or actual or

potential litigation relating to an asserted patent.

        16.     Documents concerning communications with any of the named inventors regarding

any of the asserted patents, this litigation or ZTE

        17.     Communications with WSOU regarding the asserted patent, related patents, this

litigation or ZTE.




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          18.   Documents concerning communications between you and any other entity relating

to the possibility of patent litigation regarding the asserted patent and related patents, including

any actual or potential patent litigation against ZTE and the WSOU v. ZTE Litigations.

          19.   Documents concerning any contemplated acquisition of patents or rights in patents

from Nokia.

          20.   Documents sufficient to show any interests (current or prior) in WSOU.

          21.   Documents sufficient to show any actual, contingent, or potential (1) right to license

or sublicense any asserted patent, (2) right to control the licensing of any asserted patent, or (3)

right to control or be involved in the resolution of any litigation involving any asserted patent.

          22.   Documents sufficient to show your relationship with Stuart A. Shanus, Eric

Schneider, Andrew Neuberger, Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU,

Uniloc USA, Inc., WCFT Cayman, Omega Credit Opportunities Master Fund, Wade and

Company, and Terrier, or any entity associated with the foregoing.

          23.   Documents concerning communications with Omega Credit Opportunities Master

Fund.

          24.   Documents concerning the “Patent Security Agreement” recorded at USPTO Reel

09235 Frame 0068, signed May 16, 2019, the circumstances of this agreement, and any related

agreements.

          25.   Documents concerning the value of, any valuations of or attempts to value any

asserted patent, related patent, or related application, whether individually or in combination with

any other patents or applications, including any portfolio containing any asserted patent or related

patent.




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        26.     Documents concerning any evaluation or analysis of any asserted patent, any

related patent, or any related application, whether individually or in combination with any other

patents or applications, including any evaluation or analysis of infringement, validity, or

commercialization.

        27.     Documents produced in response to a subpoena served by any other WSOU

Defendant.

                                   TOPICS FOR DEPOSITION

        1.      The subject matter of all requests for production in the concurrently served

document subpoena.

        2.      The authenticity of the documents produced in response to the concurrently

served document subpoena.

        3.      The formation of BP Funding Trust.

        4.      Your relationship to NextPoint Acquisition Corp.

        5.      Your corporate structure.

        6.      Your investments or interests in the asserted patents, including assignment,

licensing, acquisition, financial interest, security interest, lien, sale, transfer of rights (in whole or

in part) and any other disposition of or any offers to buy, sell, obtain rights to, or licenses any of

the asserted patents.

        7.      Discussions with NextPoint Acquisition Corp. regarding any asserted patent, a

portfolio including an asserted patent, assignment of any interest in any asserted patent or a

portfolio including an asserted patent, or the acquisition or potential acquisition of any portfolio

that might have included an asserted patent.




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        8.     Discussions with Terrier regarding any asserted patent, a portfolio including an

asserted patent, assignment of any interest in any asserted patent or a portfolio including an

asserted patent, or the acquisition or potential acquisition of any portfolio that might have

included an asserted patent.

        9.     Agreements with Terrier concerning any potential or actual transaction regarding

any asserted patent, a portfolio including an asserted patent, or the acquisition or potential

acquisition of any portfolio that might have included an asserted patent.

        10.    Agreements with the named inventor(s) of any of the asserted patents, including

assignment agreements, consulting agreements, employment agreements and any agreements

pertaining to litigation involving the asserted patents or any related patents.

        11.    Compensation, cost-sharing, or profit sharing agreements with any of the named

inventor(s) of the asserted patent(s).

        12.    The assignment, licensing, acquisition, financial interest, security interest, lien,

sale, transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

obtain rights to, or licenses any of the asserted patents.

        13.    The nature and scope of any rights you had in the past or currently have in each of

the asserted patents, related applications or related patents from the time each alleged invention

was conceived through the present, including the right to control any portion of litigation, future

royalties, payment for licenses, contingent rights, or payments depending on the outcome of

litigation.

        14.    Agreements relating to each of the asserted patents (or any portfolio including any

of the asserted patents), including assurances, covenants not to sue and understandings not to

assert any of the asserted patents against potential licensees.




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        15.     Agreements between you and WSOU, Allied Security Trust, AQUA Licensing,

LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange Holdings, Wade and

Company, Omega Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast

Asset Management, or WCFT Cayman, regarding any asserted patent, a portfolio including an

asserted patent, or the acquisition or potential acquisition of any portfolio that might have

included an asserted patent, including any amendment, modification, supplementation,

abrogation, or termination of any such agreements.

        16.     Agreements with Nokia or other WSOU Defendants regarding an asserted patent

or a portfolio including an asserted patent.

        17.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management,

or WCFT Cayman regarding an asserted patent, a portfolio including an asserted patent, or actual

or potential litigation relating to an asserted patent.

        18.     Communications with any of the named inventors regarding any of the asserted

patents, this litigation or ZTE.

        19.     Communications with WSOU regarding the asserted patent, related patents, this

litigation or ZTE.

        20.     Communications between you and any other entity relating to the possibility of

patent litigation regarding the asserted patent and related patents, including any actual or

potential patent litigation against ZTE and the WSOU v. ZTE Litigations.

        21.     Any contemplated acquisition of patents or rights in patents from Nokia.

        22.     Any interests (current or prior) in WSOU.




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        23.     Any actual, contingent, or potential (1) right to license or sublicense any asserted

patent, (2) right to control the licensing of any asserted patent, or (3) right to control or be

involved in the resolution of any litigation involving any asserted patent.

        24.     Your relationship with Stuart A. Shanus, Eric Schneider, Andrew Neuberger,

Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU, Uniloc USA, Inc., WCFT Cayman,

Omega Credit Opportunities Master Fund, Wade and Company, and Terrier, or or any entity

associated with the foregoing.

        25.     Communications with Omega Credit Opportunities Master Fund.

        26.     The “Patent Security Agreement” recorded at USPTO Reel 09235 Frame 0068,

signed May 16, 2019, the circumstances of this agreement, and any related agreements.

        27.     The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of any portfolio containing any asserted patent or related patent.

        28.     Any evaluation or analysis of any asserted patent, any related patent, or any

related application, whether individually or in combination with any other patents or

applications, including any evaluation or analysis of infringement, validity, or

commercialization.

        29.     Responses to subpoenas served by any other WSOU Defendant.




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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

    WSOU INVESTMENTS, LLC D/B/A                    §    CIVIL ACTION 6:20-CV-00487-ADA
    BRAZOS LICENSING AND                           §    CIVIL ACTION 6:20-CV-00488-ADA
    DEVELOPMENT,                                   §    CIVIL ACTION 6:20-CV-00489-ADA
                                                   §    CIVIL ACTION 6:20-CV-00490-ADA
           Plaintiff,                              §    CIVIL ACTION 6:20-CV-00491-ADA
                                                   §    CIVIL ACTION 6:20-CV-00492-ADA
    v.                                             §    CIVIL ACTION 6:20-CV-00493-ADA
                                                   §    CIVIL ACTION 6:20-CV-00494-ADA
    ZTE CORPORATION ET AL,                         §    CIVIL ACTION 6:20-CV-00495-ADA
                                                   §    CIVIL ACTION 6:20-CV-00496-ADA
           Defendant.                              §    CIVIL ACTION 6:20-CV-00497-ADA
                                                   §
                                                   §    PATENT CASE
                                                   §
                                                   §
                                                   §    JURY TRIAL DEMANDED

                                       PROTECTIVE ORDER
WHEREAS, Plaintiff and Defendants, hereafter referred to as “the Parties,” believe that certain

information that is or will be encompassed by discovery demands by the Parties involves the

production or disclosure of trade secrets, confidential business information, or other proprietary

information in this Action 1;

WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with Federal

Rule of Civil Procedure 26(c):

THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.        Each Party may designate as confidential for protection under this Order, in whole or in part,

          any document, information, or material that constitutes or includes, in whole or in part,

          confidential or proprietary information or trade secrets of the Party or a Third Party to whom

          the Party reasonably believes it owes an obligation of confidentiality with respect to such


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    Action means the Case Nos. 6:20-cv-0487 through 6:20-cv-00497.


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      document, information, or material (“Protected Material”). Protected Material shall be

      designated by the Party producing it by affixing a legend or stamp on such document,

      information, or material as follows: “CONFIDENTIAL,” “CONFIDENTIAL -

      ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

      ONLY,” or “CONFIDENTIAL - SOURCE CODE” (“DESIGNATED MATERIAL”). 2

      The appropriate designation shall be placed clearly on each page of the Protected Material

      (except deposition and hearing transcripts) for which such protection is sought. For

      deposition and hearing transcripts, the appropriate designation shall be placed on the cover

      page of the transcript (if not already present on the cover page of the transcript when

      received from the court reporter) by each attorney receiving a copy of the transcript

      after that attorney receives notice of the designation of some or all of that transcript is

      designated as containing Protected Material.

2.    Any document produced before issuance of this Order, including pursuant to the Court’s

      Order Governing Proceedings - Patent Case, with the designation “Confidential” or the like

      shall receive the same treatment as if designated “CONFIDENTIAL” under this order and

      any such documents produced with the designation “Confidential - Outside Attorneys’

      Eyes Only,” or the like shall receive the same treatment as if designated “CONFIDENTIAL

      - OUTSIDE ATTORNEYS’ EYES ONLY” under this Order, unless and until such

      document is re-designated to have a different classification under this Order.

3.    With respect to documents, information, or DESIGNATED MATERIAL (i.e.




2
  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES
ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL
- SOURCE CODE,” both individually and collectively.


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      “CONFIDENTIAL,”          “CONFIDENTIAL          -    ATTORNEYS’          EYES      ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE”) subject to the provisions herein and unless otherwise stated, this Order

      governs, without limitation: (a) all documents, electronically stored information, and/or

      things as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing or

      deposition testimony, or documents marked as exhibits or for identification in depositions

      and hearings; (c) pretrial pleadings, exhibits to pleadings and other court filings; (d)

      affidavits; and (e) stipulations. All copies, reproductions, extracts, digests, and complete

      or partial summaries prepared from any DESIGNATED MATERIALS shall also be

      considered DESIGNATED MATERIAL and treated as such under this Order.

4.    A   designation   of   Protected   Material    (DESIGNATED        MATERIAL        such   as

      “CONFIDENTIAL,”           “CONFIDENTIAL             -ATTORNEYS’         EYES       ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE”) may be made at any time. Inadvertent or unintentional production of

      documents, information, or material that has not been designated as DESIGNATED

      MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

      treatment.   Any Party that inadvertently or unintentionally produces Protected Material

      without designating it as DESIGNATED MATERIAL may request destruction of that

      Protected Material by notifying the recipient(s) as soon as reasonably possible after the

      producing Party becomes aware of the inadvertent or unintentional disclosure, and

      providing replacement Protected Material that is properly designated. The recipient(s) shall

      then destroy all copies of the inadvertently or unintentionally produced Protected Materials

      and any documents, information, or material derived from or based thereon.




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5.    “CONFIDENTIAL” documents, information, and material may be disclosed only to the

      following persons, except upon receipt of the prior written consent of the designating Party,

      upon order of the Court, or as set forth in paragraph 13 herein:

      (a)    Outside counsel of record in this Action for the Parties.

      (b)    Employees of such counsel assigned to and reasonably necessary to assist such
             counsel in the litigation of this Action.

      (c)    In-house counsel for the Parties who either have responsibility for making decisions
             dealing directly with the litigation of this Action, or who are assisting outside
             counsel in the litigation of this Action.

      (d)    Up to and including three (3) designated representatives of each of the Parties to the
             extent reasonably necessary for the litigation of this Action, except that any Party
             may in good faith request the other Party’s consent to designate one or more
             additional representatives, the other Party shall not unreasonably withhold such
             consent, and the requesting Party may seek leave of Court to designate such
             additional representative(s) if the requesting Party believes the other Party has
             unreasonably withheld such consent.

      (e)    Outside consultants or experts retained for the purpose of this litigation, provided
             that: (1) such consultants or experts are not presently employed by the Parties or
             of an affiliate of a Party hereto for purposes other than this Action; (2) before access
             is given, the consultant or expert has completed the Undertaking attached as
             Appendix A hereto and the same is served upon the producing Party with a current
             curriculum vitae of the consultant or expert at least ten (10) days before access to
             the Protected Material is to be given to that consultant or expert to object to and
             notify the receiving Party in writing that it objects to disclosure of Protected
             Material to the consultant or expert. The Parties agree to promptly confer and use
             good faith to resolve any such objection. If the Parties are unable to resolve any
             objection, the objecting Party may file a motion with the Court within fifteen (15)
             days of receipt of the notice, or within such other time as the Parties may agree,
             seeking a protective order with respect to the proposed disclosure. The objecting
             Party shall have the burden of proving the need for a protective order. No disclosure
             shall occur until all such objections are resolved by agreement or Court order.

      (f)    Independent litigation support services, including persons working for or as court
             reporters, graphics or design services, jury or trial consulting services, and
             photocopy, document imaging, and database services retained by counsel and
             reasonably necessary to assist counsel with the litigation of this Action.

      (g)    The Court and its personnel.




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6.    A Party shall designate documents, information, or material as “CONFIDENTIAL” only

      upon a good faith belief that the documents, information, or material contains confidential

      or proprietary information or trade secrets of the Party or a Third Party to whom the Party

      reasonably believes it owes an obligation of confidentiality with respect to such documents,

      information, or material.

7.    Documents, information, or material produced pursuant to any discovery request in this

      Action, including but not limited to Protected Material designated as DESIGNATED

      MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

      be used for any other purpose. Any person or entity who obtains access to DESIGNATED

      MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

      duplicates, extracts, summaries, or descriptions of such DESIGNATED MATERIAL or any

      portion thereof except as may be reasonably necessary in the litigation of this Action. Any

      such copies, duplicates, extracts, summaries, or descriptions shall be classified

      DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.    To the extent a producing Party believes that certain Protected Material qualifying to be

      designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

      limitation, the producing Party may designate such Protected Material “CONFIDENTIAL

      - ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

      source code and/or live data (that is, data as it exists residing in a database or databases)

      (“Source Code Material”), the producing Party may designate such Protected Material as

      “CONFIDENTIAL - SOURCE CODE.”

9.    For Protected Material designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY,

      access to, and disclosure of, such Protected Material shall be limited to individuals listed




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       in paragraphs 5(a–c) and (e–g); provided, however, that access by in-house counsel pursuant

       to paragraph 5(c) be limited to in-house counsel who exercise no competitive decision-

       making authority on behalf of the client.

10.    For Protected Material designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

       ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

       listed in paragraphs 5(a–b) and (e–g); provided, however, that the designating Party shall

       accommodate reasonable requests to provide summary information to in-house counsel

       designated pursuant to paragraph 5(c) who exercise no competitive decision-making

       authority on behalf of the client and reasonably require access to such information.

11.    For Protected Material designated “CONFIDENTIAL - SOURCE CODE” (e.g., “Source

       Code Material”), the following additional restrictions apply:

       (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
              computer(s) (that is, the computer may not be linked to any network, including a
              local area network (“LAN”), an intranet or the Internet). The stand-alone
              computer(s) may be connected to (i) a printer, or (ii) a device capable of
              temporarily storing electronic copies solely for the limited purposes permitted
              pursuant to paragraphs 11(h and k) below. Additionally, except as provided in
              paragraph 11(k) below, the stand-alone computer(s) may only be located at the
              offices of the producing Party’s outside counsel or its vendors.

       (b)    The receiving Party shall make reasonable efforts to restrict its requests for such
              access to the stand-alone computer(s) to normal business hours, which for purposes
              of this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable
              notice from the receiving Party, the producing Party shall make reasonable efforts to
              accommodate the receiving Party’s request for access to the stand-alone computer(s)
              outside of normal business hours. The Parties agree to cooperate in good faith such
              that maintaining the producing Party’s Source Code Material at the offices of its
              outside counsel or its vendors shall not unreasonably hinder the receiving Party’s
              ability to efficiently and effectively conduct the prosecution or defense of this
              Action.

       (c)    The producing Party shall provide the receiving Party with information explaining
              how to start, log on to, and operate the stand-alone computer(s) in order to access the
              produced Source Code Material on the stand-alone computer(s).




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       (d)     The producing Party will produce Source Code Material in computer searchable
               format on the stand-alone computer(s) as described above.

       (e)     Access to Source Code Material shall be limited to outside counsel and up to three
               (3) outside consultants or experts 3 (i.e., not existing employees or affiliates of a
               Party or an affiliate of a Party or competitor identified by the Producing Party with
               reasonable specificity) retained for the purpose of this litigation and approved to
               access such Protected Materials pursuant to paragraph 5(e) above. A receiving
               Party may include excerpts of Source Code Material in an exhibit to a pleading,
               expert report, or deposition transcript (collectively, “Source Code Exhibits”),
               provided that the Source Code Exhibits are appropriately marked under this Order,
               restricted to those who are entitled to have access to them as specified herein, and,
               if filed with the Court, filed under seal in accordance with the Court’s rules,
               procedures, and orders.

       (f)     To the extent portions of Source Code Material are quoted in a Source Code
               Exhibit, either (1) the entire Source Code Exhibit will be stamped and treated as
               CONFIDENTIAL - SOURCE CODE or (2) those pages containing quoted Source
               Code Material will be separately stamped and treated as CONFIDENTIAL -
               SOURCE CODE.

       (g)     Except as set forth in paragraph 11(k) below, no electronic copies of Source Code
               Material shall be made without prior written consent of the producing Party, except
               as necessary to create documents that, pursuant to the Court’s rules, procedures,
               and order, must be filed or served electronically.

       (h)     The receiving Party shall be permitted to make a reasonable number of printouts and
               photocopies of Source Code Material, which shall presumptively be a total of ten
               (10), all of which shall be designated and clearly labeled “CONFIDENTIAL -
               SOURCE CODE,” and the receiving Party shall maintain a log of all such files that
               are printed or photocopied.

       (i)     Should such printouts or photocopies be permissibly transferred back to electronic
               media, such media shall be labeled “CONFIDENTIAL - SOURCE CODE” and
               shall continue to be treated as such.

       (j)     If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a

3
 For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
consultant or expert who employs others within his or her firm to help in his or her analysis shall
count as a disclosure to a single consultant or expert, provided that such personnel helping in the
analysis of Source Code Material shall be disclosed pursuant to Paragraph 5(e).


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              secured locked area in the offices of such outside counsel, consultants, or expert.
              The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
              Court for any proceedings(s) relating to the Source Code Material, for the dates
              associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
              the Source Code Material are taken, for the dates associated with the deposition(s);
              and (iii) any intermediate location reasonably necessary to transport the printouts or
              photocopies (e.g., a hotel prior to a Court proceeding or deposition).

       (k)    A producing Party’s Source Code Material may only be transported by the receiving
              Party at the direction of a person authorized under paragraph 11(e) above to another
              person authorized under paragraph 11(e) above, on paper or removable electronic
              media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry, Federal
              Express, or other similarly reliable courier. Source Code Material may not be
              transported or transmitted electronically over a network of any kind, including a
              LAN, an intranet, or the Internet. Source Code Material may only be transported
              electronically for the purpose of Court proceeding(s) or deposition(s) as set forth
              in paragraph 11(j) above and is at all times subject to the transport restrictions set
              forth herein. But, for those purposes only, the Source Code Materials may be loaded
              onto a stand-alone computer.

12.    Any attorney representing a Party, whether in-house or outside counsel, and any person

       associated with a Party and permitted to receive the other Party’s Protected Material that is

       designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY, CONFIDENTIAL -

       OUTSIDE ATTORNEYS’ EYES ONLY, and/or CONFIDENTIAL - SOURCE CODE

       (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, has access to,

       or otherwise learns, in whole or in part, the other Party’s HIGHLY SENSITIVE

       MATERIAL under this Order shall not prepare, prosecute, supervise, or assist in the

       preparation or prosecution of any patent application pertaining to the field of the invention

       of the patents-in-suit during the pendency of this Action and for one year after its conclusion,

       including any appeals. To ensure compliance with the purpose of this provision, each Party

       shall create an “Ethical Wall” between those persons with access to HIGHLY SENSITIVE

       MATERIAL and any individuals who prepare, prosecute, supervise or assist in the

       preparation or prosecution of any patent application pertaining to the field of invention of




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       the patent-in-suit. Nothing in this Order shall prevent a person with access to HIGHLY

       SENSITIVE MATERIAL from participating in a PTO proceeding, e.g., IPR or PGR,

       except for that person shall not participate—directly or indirectly—in the amendment of

       any claim(s).

13.    Nothing in this Order shall require production of documents, information, or other material

       that a Party contends is protected from disclosure by the attorney-client privilege, the work

       product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

       other material subject to a claim of attorney-client privilege, work product doctrine, or other

       privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

       production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

       any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

       produces documents, information, or other material it reasonably believes are protected

       under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

       immunity may obtain the return of such documents, information, or other material by

       promptly notifying the recipient(s) and providing a privilege log for the inadvertently or

       unintentionally produced documents, information, or other material.          The recipient(s)

       shall gather and return all copies of such documents, information, or other material to the

       producing Party, except for any pages containing privileged or otherwise protected markings

       by the recipient(s), which pages shall instead be destroyed and certified as such to the

       producing Party.

14.    There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

       to have access thereto to any person who is not authorized for such access under this Order.

       The Parties are hereby ORDERED to safeguard all such documents, information, and




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       material to protect against disclosure to any unauthorized persons or entities.

15.    Nothing contained herein shall be construed to prejudice any Party’s right to use any

       DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

       the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

       access to the DESIGNATED MATERIAL by virtue of his or her employment with the

       designating Party; (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

       or copy recipient of such information; (iii) although not identified as an author, addressee,

       or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

       business, seen such DESIGNATED MATERIAL; (iv) a current or former officer, director

       or employee of the producing Party or a current or former officer, director, or employee

       of a company affiliated with the producing Party; (v) counsel for a Party, including outside

       counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

       contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

       reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

       access to DESIGNATED MATERIAL.                  DESIGNATED MATERIAL shall not be

       disclosed to any other persons unless prior authorization is obtained from counsel

       representing the producing Party or from the Court.

16.    Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

       deposition or hearing transcript, designate the deposition or hearing transcript or any portion

       thereof as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” pursuant to this Order. Access to the deposition or hearing transcript so

       designated shall be limited in accordance with the terms of this Order. Until expiration of




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       the 30-day period, the entire deposition or hearing transcript shall be treated as

       CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY.

17.    Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

       shall remain under seal until further order of the Court. The filing Party shall be responsible

       for informing the Clerk of the Court that the filing should be sealed and for placing the

       legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

       caption and conspicuously on each page of the filing.      Exhibits to a filing shall conform

       to the labeling requirements set forth in this Order. If a pretrial pleading filed with the

       Court, or an exhibit thereto, discloses or relies on DESIGNATED MATERIAL, such

       confidential portions shall be redacted to the extent necessary and the pleading or exhibit

       filed publicly with the Court.

18.    The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

       the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

       this Action, or from using any information contained in DESIGNATED MATERIAL at

       the trial of this Action, subject to any pretrial order issued by this Court.

19.    A Party may request in writing to the other Party that the designation given to any

       DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

       not agree to re-designation within ten (10) days of receipt of the written request, the

       requesting Party may apply to the Court for relief. Upon any such application to the Court,

       the burden shall be on the designating Party to show why its classification is proper. Such

       application shall be treated procedurally as a motion to compel pursuant to Federal Rule

       of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

       such application, the requirements of the Federal Rules of Civil Procedure and the Local




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       Rules of the Court shall be met. Pending the Court’s determination of the application, the

       designation of the designating Party shall be maintained.

20.    Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

       accordance with the terms of this Order shall be advised by counsel of the terms of this

       Order, shall be informed that they are subject to the terms and conditions of this Order, and

       shall sign an acknowledgment that they have received a copy of, have read, and have

       agreed to be bound by this Order. A copy of the acknowledgment form is attached as

       Appendix A.

21.    To the extent that any discovery is taken of persons who are not Parties to this Action

       (“Third Parties”) and in the event that such Third Parties contend the discovery sought

       involves trade secrets, confidential business information, or other proprietary information,

       then such Third Parties may agree to be bound by this Order.

22.    To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

       designate as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       or   “CONFIDENTIAL          -   OUTSIDE       ATTORNEYS’         EYES     ONLY,”      and/or

       “CONFIDENTIAL - SOURCE CODE” any documents, information, or other material, in

       whole or in part, produced by such Third Parties. The Third Parties shall have ten (10) days

       after production of such documents, information, or other materials to make such a

       designation.    Until that time period lapses or until such a designation has been made,

       whichever occurs sooner, all documents, information, or other material so produced or given

       shall be treated as “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” in

       accordance with this Order.

23.    Within thirty (30) days of final termination of this Action, including any appeals, all




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       DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

       descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

       into any privileged memoranda of the Parties), shall at the producing Party’s election either

       be returned to the producing Party or be destroyed.        The receiving Party shall verify the

       return or destruction by affidavit furnished to the producing Party, upon the producing

       Party’s request.

24.    The failure to designate documents, information, or material in accordance with this Order

       and the failure to object to a designation at a given time shall not preclude the filing of a

       motion at a later date seeking to impose such designation or challenging the propriety

       thereof. The entry of this Order and/or the production of documents, information, or

       material hereunder shall in no way constitute a waiver of any objection to the furnishing

       thereof, all such objections being hereby preserved.

25.    Any Party knowing or believing that any other Party is in violation of or intends to violate

       this Order and has raised the question of violation or potential violation with the opposing

       Party and has been unable to resolve the matter by agreement may move the Court for such

       relief as may be appropriate in the circumstances.        Pending disposition of the motion by

       the Court, the Party alleged to be in violation of or intending to violate this Order shall

       discontinue the performance of and/or shall not undertake the further performance of any

       action alleged to constitute a violation of this Order.

26.    Production of DESIGNATED MATERIAL by any Party shall not be deemed a

       publication of the documents, information, or material (or the contents thereof) produced

       so as to void or make voidable whatever claim the Parties may have as to the proprietary and

       confidential nature of the documents, information, or other material or its contents.




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27.    Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of any

       kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

28.    Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

       Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

       if reasonably necessary to prepare and present this Action; and (b) to apply for additional

       protection of DESIGNATED MATERIAL.


       Signed on June 1st, 2021.




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                    §    CIVIL ACTION 6:20-CV-00487-ADA
 BRAZOS LICENSING AND                           §    CIVIL ACTION 6:20-CV-00488-ADA
 DEVELOPMENT,                                   §    CIVIL ACTION 6:20-CV-00489-ADA
                                                §    CIVIL ACTION 6:20-CV-00490-ADA
        Plaintiff,                              §    CIVIL ACTION 6:20-CV-00491-ADA
                                                §    CIVIL ACTION 6:20-CV-00492-ADA
 v.                                             §    CIVIL ACTION 6:20-CV-00493-ADA
                                                §    CIVIL ACTION 6:20-CV-00494-ADA
 ZTE CORPORATION ET AL,                         §    CIVIL ACTION 6:20-CV-00495-ADA
                                                §    CIVIL ACTION 6:20-CV-00496-ADA
        Defendant.                              §    CIVIL ACTION 6:20-CV-00497-ADA
                                                §
                                                §    PATENT CASE
                                                §
                                                §
                                                §    JURY TRIAL DEMANDED


                             APPENDIX A
          UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                         PROTECTIVE ORDER
I, ___________________________________________, declare that:

1.     My address is _________________________________________________________.

       My current employer is _________________________________________________.

       My current occupation is ________________________________________________.

2.     I have received a copy of the Protective Order in this action. I have carefully read and

       understand the provisions of the Protective Order.

3.     I will comply with all of the provisions of the Protective Order. I will hold in confidence,

       will not disclose to anyone not qualified under the Protective Order, and will use only for

       purposes      of this   action   any   information   designated   as   “CONFIDENTIAL,”

       “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE

       ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE” that is


                                                 1
     Case
       Case
          6:21-mc-01270-ADA
             6:20-cv-00487-ADADocument
                               Document33-1
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       disclosed to me.

4.     Promptly upon termination of these actions, I will return all documents and things

       designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” that came into my possession, and all documents and things that I have

       prepared relating thereto, to the outside counsel for the Party by whom I am employed.

5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

I declare under penalty of perjury that the foregoing is true and correct.

Signature ________________________________________

Date ______________________________




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 WSOU INVESTMENTS LLC D/B/A                       §
 BRAZOS LICENSING AND                             §    C.A. NO. 6:20-cv-00487-ADA
 DEVELOPMENT,                                     §    C.A. NO. 6:20-cv-00488-ADA
                                                  §    C.A. NO. 6:20-cv-00489-ADA
                         Plaintiff,               §    C.A. NO. 6:20-cv-00490-ADA
                                                  §    C.A. NO. 6:20-cv-00491-ADA
 v.                                               §    C.A. NO. 6:20-cv-00492-ADA
                                                  §    C.A. NO. 6:20-cv-00493-ADA
 ZTE CORPORATION                                  §    C.A. NO. 6:20-cv-00494-ADA
                                                  §    C.A. NO. 6:20-cv-00495-ADA
                         Defendant.               §    C.A. NO. 6:20-cv-00496-ADA
                                                  §    C.A. NO. 6:20-cv-00497-ADA
                                                  §

                                      NOTICE OF SUBPOENA


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that Defendant ZTE Corporation will serve the attached

subpoena for deposition and the production of documents and things.

Date: October 25, 2021

                                                  /s/ Lionel M. Lavenue
                                                  Lionel M. Lavenue
                                                  Virginia Bar No. 49,005
                                                  lionel.lavenue@finnegan.com
                                                  Bradford C. Schulz
                                                  Virginia Bar No. 91,057
                                                  Bradford.schulz@finnegan.com
                                                  FINNEGAN, HENDERSON, FARABOW,
                                                  GARRETT & DUNNER, LLP
                                                  1875 Explorer Street, Suite 800
                                                  Reston, VA 20190
                                                    Phone: (571) 203-2700
                                                    Fax:     (202) 408-4400

                                                      Attorneys for Defendant,
                                                      ZTE Corporation




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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record, who are deemed to have consented to

electronic service, are being served on October 25, 2021 with a copy of this document via

email.


                                                     /s/Lionel M. Lavenue
                                                     Lionel M. Lavenue




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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Western District of __________
                                                       __________              Texas

  WSOU INVESTMENTS, LLC d/b/a BRAZOS LICEN                                     )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      6:20-CV-(487 through 497)-ADA
                     ZTE CORPORATION                                           )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                    Terrier SSC LLC
                        c/o VCORP Services, LLC, 1013 Centre Road, Suite 403-B, Wilmington, Delaware 19805
                                                       (Name of person to whom this subpoena is directed)

     ✔
     u Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See Attached Attachment A


 Place: Finnegan, Henderson, Farabow, Garrett & Dunner, LLP                            Date and Time:
           1875 Explorer Street, Suite 800                                                               11/24/2021 11:00 am
           Reston, VA 20190-6023

          The deposition will be recorded by this method:

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: See Attached Attachment A




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR
                                                                                                              /s/Bradford Schulz
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant,
ZTE Corporation                                                         , who issues or requests this subpoena, are:
Finnegan, Henderson LLP by Bradford Schulz, 1875 Explorer Street, Suite 800, Reston, VA 20190-6023

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 6:20-CV-(487 through 497)-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                  Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 190 of 599

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

        Pursuant to Rules 30, 34, and 45 of the Federal Rules of Civil Procedure, Defendant ZTE

Corporation requests that Terrier SSC, LLC produce testimony as requested below.

                                            DEFINITIONS

        The following definitions are applicable herein, regardless of whether upper or lower case

letters are used:

        1.      “Defendant” and “ZTE” refer collectively to ZTE Corporation (“ZTE”).

        2.      The term “Terrier,” “you,” and “your” shall mean Terrier SSC, LLC, OT WSOU

Terrier Holdings, LLC, its current and former officers, directors, principals, employees, counsel,

agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf of

any of the foregoing, and any other entities that own or control or are owned or controlled by or

share common ownership or control with any of the foregoing, as well as predecessors and

successors in interest to such entities.

        3.      “Plaintiff” and “WSOU” refer collectively to WSOU Investments, LLC d/b/a

Brazos Licensing and Development (“WSOU”), its predecessors-in-interest, parents, subsidiaries,

joint ventures, affiliates, and other legal entities that are wholly or partially owned or controlled

by WSOU, either directly or indirectly, and the principals, directors, officers, owners, members,

representatives, employees, agents, consultants, accountants, and attorneys of these same entities.

        4.      References to this “lawsuit,” “case,” “action,” or “ZTE Litigations” mean the

above-captioned actions.

        5.      The “’505 patent” means U.S. Patent No. 7,203,505.

        6.      The “’071 patent” means U.S. Patent No. 8,147,071.




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       7.      The “’905 patent” means U.S. Patent No. 8,730,905.

       8.      The “’960 patent” means U.S. Patent No. 8,179,960.

       9.      The “’240 patent” means U.S. Patent No. 7,487,240.

       10.     The “’929 patent” means U.S. Patent No. 7,489,929.

       11.     The “’839 patent” means U.S. Patent No. 8,451,839.

       12.     The “’232 patent” means U.S. Patent No. 9,258,232.

       13.     The “’036 patent” means U.S. Patent No. 9,185,036.

       14.     The “’060 patent” means U.S. Patent No. 9,294,060.

       15.     The “’534 patent” means U.S. Patent No. 7,742,534.

       16.     The term “WSOU Asserted Patent(s)” means the ’505 patent, ’071 patent, ’905

patent, ’960 patent, ’240 patent, ’929 patent, ’839 patent, ’232 patent, ’036 patent, ’060 patent,

’534 patent, collectively, any other patent that may be added to this litigation by Plaintiff, and the

applications that led to the issuance of any of the foregoing patents.

       17.     “Related Patents and Patent Applications” means any issued patent or patent

application having a relation by continuation application, continuation-in-part application, and/or

divisional application, as defined by the Manual of Patent Examining Procedure (Ninth Edition,

Revision 07.2015) §§ 201.06–08, with respect to the Patents-in-Suit. “Related Patent Application”

includes any international application and/or foreign counterpart of the Patents-in-Suit. “Related

Patent Application” also includes any patent application or issued patent within a chain of

copendency with respect to any of the Patents-in-Suit.

       18.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.




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       19.      The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.

       20.      The term “asserted claim” shall mean any claim of any asserted patent that WSOU

contends has been infringed by ZTE.

       21.      The term “Prior Art” is used in these Requests in the same sense that it is used in

35 U.S.C. §§ 102 or 103 and includes without limitation, any patent, publication, physical device,

prototype, knowledge, use, sale, offer for sale, any documents or other items evidencing any of the

foregoing, and/or any other act or event defined in 35 U.S.C. § 102, taken singly or in combination,

and having or occurring at a date such as to be potentially relevant under any subsection of 35

U.S.C. §§ 102 or 103.

       22.      The term “AST” shall mean Allied Security Trust, a Delaware statutory trust; and

their trustees, managers, agents, representatives, employees, attorneys, or entities acting in

conjunction, joint venture, or partnership with any of them.

       23.      The term “Alcatel” shall mean Alcatel-Lucent International and all parents,

subsidiaries, affiliates, predecessors, successors, including but not limited to Alcatel and Lucent

Technologies.

       24.      The term “Nokia” shall mean Nokia Corporation and all parents, subsidiaries,

affiliates, predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions

and Networks BV.

       25.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its current

and former officers, directors, principals, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other




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entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

       26.     The term “WCFT Cayman” means WCFT Cayman, its current and former officers,

directors, employees, counsel, agents, consultants, representatives, affiliates, parents, divisions,

joint ventures, licensees, franchisees, assigns, predecessors and successors in interest, any other

persons acting on behalf of any of the foregoing, and any other entities that own or control or are

owned or controlled by or share common ownership or control with any of the foregoing, as well

as predecessors and successors in interest to such entities.

       27.     The term “Wade and Company” means Wade and Company or Wade & Company,

its current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

       28.     The term “Omega Credit Opportunities Master Fund” means Omega Advisors, Inc.;

Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a Credit

Opportunities Master Fund, LP), and their trustees, managers, agents, representatives, employees,

attorneys, or entities acting in conjunction, joint venture, or partnership with any of them.

       29.     The term “AQUA” shall mean Aqua Licensing, LLC, its current and form officers,

directors, principals, employees, counsel, agents, consultants, representatives, affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

any other persons acting on behalf of any of the foregoing, and any other entities that own or




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control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        30.     The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that own

or control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        31.     The term “BP Funding Trust” means Basepoint Administrative LLC and BP

Funding Trust, a Delaware statutory trust; BP Funding Trust, Series SPL-VI, a statutory series of

BP Funding Trust; and their trustees, managers, agents, representatives, employees, attorneys, or

entities acting in conjunction, joint venture, or partnership with any of them including but not

limited to Basepoint Capital LLC, Basepoint Tax Funding Trust, Venture 4th Basepoint 1, LLC,

Basepoint Administrative LLC, Basepoint Asset Recovery LLC, or any other “Basepoint” entity

or related entity thereto.

        32.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        33.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,




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representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the foregoing,

and any other entities that own or control or are owned or controlled by or share common

ownership or control with any of the foregoing, as well as predecessors and successors in interest

to such entities.

        34.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the foregoing,

and any other entities that own or control or are owned or controlled by or share common

ownership or control with any of the foregoing, as well as predecessors and successors in interest

to such entities.

        35.     “Other WSOU Defendants” shall mean any and all companies that WSOU has sued

in patent litigation matters, including but not limited to Google LLC,; Microsoft Corporation; Dell

Technologies, Inc., Dell Inc., EMC Corporation, VMWare, Inc.; Huawei Technologies Co.,Ltd.,

Huawei Technologies USA Inc., Huawei Device (Shenzen) Co., Ltd. (f/k/a Huawei Device Co.,

Ltd.), Huawei Device USA, Inc., Huawei Investment & Holding Co., Ltd.; Hewlett Packard

Enterprise Company; Juniper Enterprise Networks, Inc.;Xilinx, Inc.; NEC Corporation; OnePlus

Technology (Shenzen) Co., Ltd.; Canon, Inc.;TP-Link Technology Co., Ltd.; F5 Networks, Inc.;

Arista Networks, Inc.; Salesforce.com; Cisco Systems, Inc.; Netgear, Inc..

        36.     The term “affiliates” shall mean any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a party,




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as well as all predecessors and successors of such entities. For this purpose “control” means direct

or indirect ownership of, or the right to exercise, at least 50% of the voting power, or at least 50%

of the ownership interest representing either the irrevocable right to name a majority of the

members of the governing body of such entity, or the right to make binding decisions for the entity.

       37.     The terms “Person” and “Individual” mean any natural person.

       38.     The term “Document” is synonymous in meaning and equal in scope to the usage

of the term “documents or electronically stored information” in Rule 34(a)(l)(A) of the Federal

Rules of Civil Procedure. A draft or non-identical copy is a separate document within the meaning

of this term. By way of illustration, and without limitation, documents include at least the

following: originals, drafts, and all non-identical copies of memoranda, reports, notes, graphs,

laboratory notebooks, correspondence, interoffice communications, letters, diaries, calendars,

photographs, motion pictures, sketches, drawings, promotional material, technical papers, printed

publications, patents, records, reports, and all other writings, as well as all non-paper information

storage means such as sound reproductions, computer inputs and outputs, tape, film and computer

memory devices, as well as tangible things such as models, modules, prototypes, and commercially

saleable products.

       39.     The term “Thing” means any tangible item, including without limitation, models,

prototypes and samples of any device or apparatus or product.

       40.     The term “Communication” means every manner or method of the disclosure,

transfer, or exchange of information, whether orally, electronically, or by Document, and whether

face to face or by telephone, mail, facsimile, E-mail, video, instant message, internet

Communication, or otherwise.




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       41.     Definitions or usages of words or phrases in these Topics are not intended to be,

and shall not be, construed as admissions as to the meaning of words or phrases at issue in the

action, and shall have no binding effect on Defendant in this or in any other proceeding.

                                           Instructions

       1.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to

encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

       2.      In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.

       3.      In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

       4.      If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information




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for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.

       5.       If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

       6.       If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

            a. The date the document was created;

            b. The names of the owner or author(s)/sender(s) of the document;

            c. If the document is an email, the name of the recipient(s), including copy and blind

                copy recipients;

            d. A brief description of the document and type of legal advice; and

            e. The grounds for the claim or privilege (e.g., attorney work product, attorney-

                client communication).

   The sender(s) and recipient(s) shall be identified by position and entity (corporation or firm,

etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with




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certification that all elements of the claimed privilege have been met and not waived with respect

to each document.

        7.      Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

        8.      To the extent that any portion of an request requires the production of documents

that were at one time within Aqua’s possession, custody, or control, but which are now in the

possession, custody, or control of another, Aqua is directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by Aqua to have been in possession, custody, or control of such documents.

                                      Requests for Production

        1.      Documents concerning the formation of Terrier.

        2.      Documents concerning the formation of OT WSOU Terrier Holdings, LLC.

        3.      Documents concerning your corporate structure.

        4.      Documents concerning your investments or interests in the asserted patents,

including assignment, licensing, acquisition, financial interest, security interest, lien, sale, transfer

of rights (in whole or in part) and any other disposition of or any offers to buy, sell, obtain rights

to, or licenses any of the asserted patents.

        5.      Documents concerning discussions with BP Funding Trust regarding any asserted

patent, a portfolio including an asserted patent, assignment of any interest in any asserted patent




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or a portfolio including an asserted patent, or the acquisition or potential acquisition of any

portfolio that might have included an asserted patent.

        6.      Agreements with BP Funding Trust concerning any potential or actual transaction

regarding any asserted patent, a portfolio including an asserted patent, or the acquisition or

potential acquisition of any portfolio that might have included an asserted patent.

        7.      Agreements with the named inventor(s) of any of the asserted patents, including

assignment agreements, consulting agreements, employment agreements and any agreements

pertaining to litigation involving the asserted patents or any related patents.

        8.      Compensation, cost-sharing, or profit sharing agreements with any of the named

inventor(s) of the asserted patent(s).

        9.      Documents regarding the assignment, licensing, acquisition, financial interest,

security interest, lien, sale, transfer of rights (in whole or in part) and any other disposition of or

any offers to buy, sell, obtain rights to, or licenses any of the asserted patents.

        10.     Documents concerning the nature and scope of any rights you had in the past or

currently have in each of the asserted patents, related applications or related patents from the time

each alleged invention was conceived through the present, including the right to control any

portion of litigation, future royalties, payment for licenses, contingent rights, or payments

depending on the outcome of litigation.

        11.     Documents regarding agreements relating to each of the asserted patents (or any

portfolio including any of the asserted patents), including assurances, covenants not to sue and

understandings not to assert any of the asserted patents against potential licensees.

        12.     Documents regarding agreements between you and WSOU, Allied Security Trust,

AQUA Licensing, LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange Holdings,




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Wade and Company, Omega Credit Opportunities Master Fund, Terrier, Juniper Capital Partners,

Coast Asset Management, or WCFT Cayman, regarding any asserted patent, a portfolio including

an asserted patent, or the acquisition or potential acquisition of any portfolio that might have

included an asserted patent, including any amendment, modification, supplementation, abrogation,

or termination of any such agreements.

        13.     Documents regarding agreements with Nokia or other WSOU Defendants

regarding an asserted patent or a portfolio including an asserted patent.

        14.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or

WCFT Cayman regarding an asserted patent, a portfolio including an asserted patent, or actual or

potential litigation relating to an asserted patent.

        15.     Documents concerning communications with any of the named inventors regarding

any of the asserted patents, this litigation or ZTE.

        16.     Communications with WSOU regarding the asserted patent, related patents, this

litigation or ZTE.

        17.     Documents concerning communications between you and any other entity relating

to the possibility of patent litigation regarding the asserted patent and related patents, including

any actual or potential patent litigation against ZTE and the WSOU v. ZTE Litigations.

        18.     Documents concerning the formation of WSOU.

        19.     Documents concerning any contemplated acquisition of patents or rights in patents

from Nokia.

        20.     Documents sufficient to show any interests (current or prior) in WSOU.




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          21.   Documents sufficient to show any actual, contingent, or potential (1) right to license

or sublicense any asserted patent, (2) right to control the licensing of any asserted patent, or (3)

right to control or be involved in the resolution of any litigation involving any asserted patent.

          22.   Documents sufficient to show your relationship with Stuart A. Shanus, Eric

Schneider, Andrew Neuberger, Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU,

Uniloc USA, Inc., WCFT Cayman, Omega Credit Opportunities Master Fund, Wade and

Company, and Terrier, or any entity associated with the foregoing.

          23.   Documents concerning the “Patent Security Agreement” recorded at USPTO Reel

09235 Frame 0068, signed May 16, 2019, the circumstances of this agreement, and any related

agreements.

          24.   Documents concerning the May 16, 2019 “Patent Security Agreement” and any

related agreements, including the circumstances surrounding the recorded release of your security

interest regarding the “Patent Security Agreement.”

          25.   Documents concerning the release of your security interest, recorded June 3, 2021,

at USPTO Reel 056526 Frame 0093, the circumstances of this agreement, and any related

agreements.

          26.   Documents concerning the value of, any valuations of or attempts to value any

asserted patent, related patent, or related application, whether individually or in combination with

any other patents or applications, including any portfolio containing any asserted patent or related

patent.

          27.   Documents concerning any evaluation or analysis of any asserted patent, any

related patent, or any related application, whether individually or in combination with any other




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patents or applications, including any evaluation or analysis of infringement, validity, or

commercialization.

        28.     Documents produced in response to a subpoena served by any other WSOU

Defendant.

                                   TOPICS FOR DEPOSITION

        1.      The subject matter of all requests for production in the concurrently served

document subpoena.

        2.      The authenticity of the documents produced in response to the concurrently served

document subpoena.

        3.      The formation of Terrier.

        4.      The formation of OT WSOU Terrier Holdings, LLC.

        5.      Your corporate structure.

        6.      Your investments or interests in the asserted patents, including assignment,

licensing, acquisition, financial interest, security interest, lien, sale, transfer of rights (in whole or

in part) and any other disposition of or any offers to buy, sell, obtain rights to, or licenses any of

the asserted patents.

        7.      Discussions with BP Funding Trust regarding any asserted patent, a portfolio

including an asserted patent, assignment of any interest in any asserted patent or a portfolio

including an asserted patent, or the acquisition or potential acquisition of any portfolio that might

have included an asserted patent.

        8.      Agreements with BP Funding Trust concerning any potential or actual transaction

regarding any asserted patent, a portfolio including an asserted patent, or the acquisition or

potential acquisition of any portfolio that might have included an asserted patent.




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        9.     Agreements with the named inventor(s) of any of the asserted patents, including

assignment agreements, consulting agreements, employment agreements and any agreements

pertaining to litigation involving the asserted patents or any related patents.

        10.    Compensation, cost-sharing, or profit sharing agreements with any of the named

inventor(s) of the asserted patent(s).

        11.    The assignment, licensing, acquisition, financial interest, security interest, lien,

sale, transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

obtain rights to, or licenses any of the asserted patents.

        12.    The nature and scope of any rights you had in the past or currently have in each of

the asserted patents, related applications or related patents from the time each alleged invention

was conceived through the present, including the right to control any portion of litigation, future

royalties, payment for licenses, contingent rights, or payments depending on the outcome of

litigation.

        13.    Agreements relating to each of the asserted patents (or any portfolio including any

of the asserted patents), including assurances, covenants not to sue and understandings not to assert

any of the asserted patents against potential licensees.

        14.    Agreements between you and WSOU, Allied Security Trust, AQUA Licensing,

LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange Holdings, Wade and

Company, Omega Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast

Asset Management, or WCFT Cayman, regarding any asserted patent, a portfolio including an

asserted patent, or the acquisition or potential acquisition of any portfolio that might have included

an asserted patent, including any amendment, modification, supplementation, abrogation, or

termination of any such agreements.




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        15.     Agreements with Nokia or other WSOU Defendants regarding an asserted patent

or a portfolio including an asserted patent.

        16.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

Credit Opportunities Master Fund, Terrier, Juniper Capital Partners, Coast Asset Management, or

WCFT Cayman regarding an asserted patent, a portfolio including an asserted patent, or actual or

potential litigation relating to an asserted patent.

        17.     Communications with any of the named inventors regarding any of the asserted

patents, this litigation or ZTE.

        18.     Communications with WSOU regarding the asserted patent, related patents, this

litigation or ZTE.

        19.     Communications between you and any other entity relating to the possibility of

patent litigation regarding the asserted patent and related patents, including any actual or potential

patent litigation against ZTE and the WSOU v. ZTE Litigations.

        20.     The formation of WSOU.

        21.     Any contemplated acquisition of patents or rights in patents from Nokia.

        22.     Any interests (current or prior) in WSOU.

        23.     Any actual, contingent, or potential (1) right to license or sublicense any asserted

patent, (2) right to control the licensing of any asserted patent, or (3) right to control or be involved

in the resolution of any litigation involving any asserted patent.

        24.     Your relationship with Stuart A. Shanus, Eric Schneider, Andrew Neuberger, Marc

Wade, or Craig Etchegoyen, Orange Holdings, WSOU, Uniloc USA, Inc., WCFT Cayman, Omega




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Credit Opportunities Master Fund, Wade and Company, and Terrier, or or any entity associated

with the foregoing.

       25.     The “Patent Security Agreement” recorded at USPTO Reel 09235 Frame 0068,

signed May 16, 2019, the circumstances of this agreement, and any related agreements.

       26.     Communications regarding the May 16, 2019 “Patent Security Agreement” and any

related agreements, including the circumstances surrounding the recorded release of your security

interest regarding the “Patent Security Agreement.”

       27.     The release of your security interest, dated June 3, 2021, recorded at USPTO Reel

056526 Frame 0093, the circumstances of this agreement, and any related agreements.

       28.     The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including of any portfolio containing any asserted patent or related patent.

       29.     Any evaluation or analysis of any asserted patent, any related patent, or any related

application, whether individually or in combination with any other patents or applications,

including any evaluation or analysis of infringement, validity, or commercialization.

       30.     Responses to subpoenas served by any other WSOU Defendant.




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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

    WSOU INVESTMENTS, LLC D/B/A                    §    CIVIL ACTION 6:20-CV-00487-ADA
    BRAZOS LICENSING AND                           §    CIVIL ACTION 6:20-CV-00488-ADA
    DEVELOPMENT,                                   §    CIVIL ACTION 6:20-CV-00489-ADA
                                                   §    CIVIL ACTION 6:20-CV-00490-ADA
           Plaintiff,                              §    CIVIL ACTION 6:20-CV-00491-ADA
                                                   §    CIVIL ACTION 6:20-CV-00492-ADA
    v.                                             §    CIVIL ACTION 6:20-CV-00493-ADA
                                                   §    CIVIL ACTION 6:20-CV-00494-ADA
    ZTE CORPORATION ET AL,                         §    CIVIL ACTION 6:20-CV-00495-ADA
                                                   §    CIVIL ACTION 6:20-CV-00496-ADA
           Defendant.                              §    CIVIL ACTION 6:20-CV-00497-ADA
                                                   §
                                                   §    PATENT CASE
                                                   §
                                                   §
                                                   §    JURY TRIAL DEMANDED

                                       PROTECTIVE ORDER
WHEREAS, Plaintiff and Defendants, hereafter referred to as “the Parties,” believe that certain

information that is or will be encompassed by discovery demands by the Parties involves the

production or disclosure of trade secrets, confidential business information, or other proprietary

information in this Action 1;

WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with Federal

Rule of Civil Procedure 26(c):

THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.        Each Party may designate as confidential for protection under this Order, in whole or in part,

          any document, information, or material that constitutes or includes, in whole or in part,

          confidential or proprietary information or trade secrets of the Party or a Third Party to whom

          the Party reasonably believes it owes an obligation of confidentiality with respect to such


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    Action means the Case Nos. 6:20-cv-0487 through 6:20-cv-00497.


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      document, information, or material (“Protected Material”). Protected Material shall be

      designated by the Party producing it by affixing a legend or stamp on such document,

      information, or material as follows: “CONFIDENTIAL,” “CONFIDENTIAL -

      ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

      ONLY,” or “CONFIDENTIAL - SOURCE CODE” (“DESIGNATED MATERIAL”). 2

      The appropriate designation shall be placed clearly on each page of the Protected Material

      (except deposition and hearing transcripts) for which such protection is sought. For

      deposition and hearing transcripts, the appropriate designation shall be placed on the cover

      page of the transcript (if not already present on the cover page of the transcript when

      received from the court reporter) by each attorney receiving a copy of the transcript

      after that attorney receives notice of the designation of some or all of that transcript is

      designated as containing Protected Material.

2.    Any document produced before issuance of this Order, including pursuant to the Court’s

      Order Governing Proceedings - Patent Case, with the designation “Confidential” or the like

      shall receive the same treatment as if designated “CONFIDENTIAL” under this order and

      any such documents produced with the designation “Confidential - Outside Attorneys’

      Eyes Only,” or the like shall receive the same treatment as if designated “CONFIDENTIAL

      - OUTSIDE ATTORNEYS’ EYES ONLY” under this Order, unless and until such

      document is re-designated to have a different classification under this Order.

3.    With respect to documents, information, or DESIGNATED MATERIAL (i.e.




2
  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES
ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL
- SOURCE CODE,” both individually and collectively.


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      “CONFIDENTIAL,”          “CONFIDENTIAL          -    ATTORNEYS’          EYES      ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE”) subject to the provisions herein and unless otherwise stated, this Order

      governs, without limitation: (a) all documents, electronically stored information, and/or

      things as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing or

      deposition testimony, or documents marked as exhibits or for identification in depositions

      and hearings; (c) pretrial pleadings, exhibits to pleadings and other court filings; (d)

      affidavits; and (e) stipulations. All copies, reproductions, extracts, digests, and complete

      or partial summaries prepared from any DESIGNATED MATERIALS shall also be

      considered DESIGNATED MATERIAL and treated as such under this Order.

4.    A   designation   of   Protected   Material    (DESIGNATED        MATERIAL        such   as

      “CONFIDENTIAL,”           “CONFIDENTIAL             -ATTORNEYS’         EYES       ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE”) may be made at any time. Inadvertent or unintentional production of

      documents, information, or material that has not been designated as DESIGNATED

      MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

      treatment.   Any Party that inadvertently or unintentionally produces Protected Material

      without designating it as DESIGNATED MATERIAL may request destruction of that

      Protected Material by notifying the recipient(s) as soon as reasonably possible after the

      producing Party becomes aware of the inadvertent or unintentional disclosure, and

      providing replacement Protected Material that is properly designated. The recipient(s) shall

      then destroy all copies of the inadvertently or unintentionally produced Protected Materials

      and any documents, information, or material derived from or based thereon.




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5.    “CONFIDENTIAL” documents, information, and material may be disclosed only to the

      following persons, except upon receipt of the prior written consent of the designating Party,

      upon order of the Court, or as set forth in paragraph 13 herein:

      (a)    Outside counsel of record in this Action for the Parties.

      (b)    Employees of such counsel assigned to and reasonably necessary to assist such
             counsel in the litigation of this Action.

      (c)    In-house counsel for the Parties who either have responsibility for making decisions
             dealing directly with the litigation of this Action, or who are assisting outside
             counsel in the litigation of this Action.

      (d)    Up to and including three (3) designated representatives of each of the Parties to the
             extent reasonably necessary for the litigation of this Action, except that any Party
             may in good faith request the other Party’s consent to designate one or more
             additional representatives, the other Party shall not unreasonably withhold such
             consent, and the requesting Party may seek leave of Court to designate such
             additional representative(s) if the requesting Party believes the other Party has
             unreasonably withheld such consent.

      (e)    Outside consultants or experts retained for the purpose of this litigation, provided
             that: (1) such consultants or experts are not presently employed by the Parties or
             of an affiliate of a Party hereto for purposes other than this Action; (2) before access
             is given, the consultant or expert has completed the Undertaking attached as
             Appendix A hereto and the same is served upon the producing Party with a current
             curriculum vitae of the consultant or expert at least ten (10) days before access to
             the Protected Material is to be given to that consultant or expert to object to and
             notify the receiving Party in writing that it objects to disclosure of Protected
             Material to the consultant or expert. The Parties agree to promptly confer and use
             good faith to resolve any such objection. If the Parties are unable to resolve any
             objection, the objecting Party may file a motion with the Court within fifteen (15)
             days of receipt of the notice, or within such other time as the Parties may agree,
             seeking a protective order with respect to the proposed disclosure. The objecting
             Party shall have the burden of proving the need for a protective order. No disclosure
             shall occur until all such objections are resolved by agreement or Court order.

      (f)    Independent litigation support services, including persons working for or as court
             reporters, graphics or design services, jury or trial consulting services, and
             photocopy, document imaging, and database services retained by counsel and
             reasonably necessary to assist counsel with the litigation of this Action.

      (g)    The Court and its personnel.




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6.    A Party shall designate documents, information, or material as “CONFIDENTIAL” only

      upon a good faith belief that the documents, information, or material contains confidential

      or proprietary information or trade secrets of the Party or a Third Party to whom the Party

      reasonably believes it owes an obligation of confidentiality with respect to such documents,

      information, or material.

7.    Documents, information, or material produced pursuant to any discovery request in this

      Action, including but not limited to Protected Material designated as DESIGNATED

      MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

      be used for any other purpose. Any person or entity who obtains access to DESIGNATED

      MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

      duplicates, extracts, summaries, or descriptions of such DESIGNATED MATERIAL or any

      portion thereof except as may be reasonably necessary in the litigation of this Action. Any

      such copies, duplicates, extracts, summaries, or descriptions shall be classified

      DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.    To the extent a producing Party believes that certain Protected Material qualifying to be

      designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

      limitation, the producing Party may designate such Protected Material “CONFIDENTIAL

      - ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

      source code and/or live data (that is, data as it exists residing in a database or databases)

      (“Source Code Material”), the producing Party may designate such Protected Material as

      “CONFIDENTIAL - SOURCE CODE.”

9.    For Protected Material designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY,

      access to, and disclosure of, such Protected Material shall be limited to individuals listed




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       in paragraphs 5(a–c) and (e–g); provided, however, that access by in-house counsel pursuant

       to paragraph 5(c) be limited to in-house counsel who exercise no competitive decision-

       making authority on behalf of the client.

10.    For Protected Material designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

       ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

       listed in paragraphs 5(a–b) and (e–g); provided, however, that the designating Party shall

       accommodate reasonable requests to provide summary information to in-house counsel

       designated pursuant to paragraph 5(c) who exercise no competitive decision-making

       authority on behalf of the client and reasonably require access to such information.

11.    For Protected Material designated “CONFIDENTIAL - SOURCE CODE” (e.g., “Source

       Code Material”), the following additional restrictions apply:

       (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
              computer(s) (that is, the computer may not be linked to any network, including a
              local area network (“LAN”), an intranet or the Internet). The stand-alone
              computer(s) may be connected to (i) a printer, or (ii) a device capable of
              temporarily storing electronic copies solely for the limited purposes permitted
              pursuant to paragraphs 11(h and k) below. Additionally, except as provided in
              paragraph 11(k) below, the stand-alone computer(s) may only be located at the
              offices of the producing Party’s outside counsel or its vendors.

       (b)    The receiving Party shall make reasonable efforts to restrict its requests for such
              access to the stand-alone computer(s) to normal business hours, which for purposes
              of this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable
              notice from the receiving Party, the producing Party shall make reasonable efforts to
              accommodate the receiving Party’s request for access to the stand-alone computer(s)
              outside of normal business hours. The Parties agree to cooperate in good faith such
              that maintaining the producing Party’s Source Code Material at the offices of its
              outside counsel or its vendors shall not unreasonably hinder the receiving Party’s
              ability to efficiently and effectively conduct the prosecution or defense of this
              Action.

       (c)    The producing Party shall provide the receiving Party with information explaining
              how to start, log on to, and operate the stand-alone computer(s) in order to access the
              produced Source Code Material on the stand-alone computer(s).




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       (d)     The producing Party will produce Source Code Material in computer searchable
               format on the stand-alone computer(s) as described above.

       (e)     Access to Source Code Material shall be limited to outside counsel and up to three
               (3) outside consultants or experts 3 (i.e., not existing employees or affiliates of a
               Party or an affiliate of a Party or competitor identified by the Producing Party with
               reasonable specificity) retained for the purpose of this litigation and approved to
               access such Protected Materials pursuant to paragraph 5(e) above. A receiving
               Party may include excerpts of Source Code Material in an exhibit to a pleading,
               expert report, or deposition transcript (collectively, “Source Code Exhibits”),
               provided that the Source Code Exhibits are appropriately marked under this Order,
               restricted to those who are entitled to have access to them as specified herein, and,
               if filed with the Court, filed under seal in accordance with the Court’s rules,
               procedures, and orders.

       (f)     To the extent portions of Source Code Material are quoted in a Source Code
               Exhibit, either (1) the entire Source Code Exhibit will be stamped and treated as
               CONFIDENTIAL - SOURCE CODE or (2) those pages containing quoted Source
               Code Material will be separately stamped and treated as CONFIDENTIAL -
               SOURCE CODE.

       (g)     Except as set forth in paragraph 11(k) below, no electronic copies of Source Code
               Material shall be made without prior written consent of the producing Party, except
               as necessary to create documents that, pursuant to the Court’s rules, procedures,
               and order, must be filed or served electronically.

       (h)     The receiving Party shall be permitted to make a reasonable number of printouts and
               photocopies of Source Code Material, which shall presumptively be a total of ten
               (10), all of which shall be designated and clearly labeled “CONFIDENTIAL -
               SOURCE CODE,” and the receiving Party shall maintain a log of all such files that
               are printed or photocopied.

       (i)     Should such printouts or photocopies be permissibly transferred back to electronic
               media, such media shall be labeled “CONFIDENTIAL - SOURCE CODE” and
               shall continue to be treated as such.

       (j)     If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a

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 For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
consultant or expert who employs others within his or her firm to help in his or her analysis shall
count as a disclosure to a single consultant or expert, provided that such personnel helping in the
analysis of Source Code Material shall be disclosed pursuant to Paragraph 5(e).


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              secured locked area in the offices of such outside counsel, consultants, or expert.
              The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
              Court for any proceedings(s) relating to the Source Code Material, for the dates
              associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
              the Source Code Material are taken, for the dates associated with the deposition(s);
              and (iii) any intermediate location reasonably necessary to transport the printouts or
              photocopies (e.g., a hotel prior to a Court proceeding or deposition).

       (k)    A producing Party’s Source Code Material may only be transported by the receiving
              Party at the direction of a person authorized under paragraph 11(e) above to another
              person authorized under paragraph 11(e) above, on paper or removable electronic
              media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry, Federal
              Express, or other similarly reliable courier. Source Code Material may not be
              transported or transmitted electronically over a network of any kind, including a
              LAN, an intranet, or the Internet. Source Code Material may only be transported
              electronically for the purpose of Court proceeding(s) or deposition(s) as set forth
              in paragraph 11(j) above and is at all times subject to the transport restrictions set
              forth herein. But, for those purposes only, the Source Code Materials may be loaded
              onto a stand-alone computer.

12.    Any attorney representing a Party, whether in-house or outside counsel, and any person

       associated with a Party and permitted to receive the other Party’s Protected Material that is

       designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY, CONFIDENTIAL -

       OUTSIDE ATTORNEYS’ EYES ONLY, and/or CONFIDENTIAL - SOURCE CODE

       (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, has access to,

       or otherwise learns, in whole or in part, the other Party’s HIGHLY SENSITIVE

       MATERIAL under this Order shall not prepare, prosecute, supervise, or assist in the

       preparation or prosecution of any patent application pertaining to the field of the invention

       of the patents-in-suit during the pendency of this Action and for one year after its conclusion,

       including any appeals. To ensure compliance with the purpose of this provision, each Party

       shall create an “Ethical Wall” between those persons with access to HIGHLY SENSITIVE

       MATERIAL and any individuals who prepare, prosecute, supervise or assist in the

       preparation or prosecution of any patent application pertaining to the field of invention of




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       the patent-in-suit. Nothing in this Order shall prevent a person with access to HIGHLY

       SENSITIVE MATERIAL from participating in a PTO proceeding, e.g., IPR or PGR,

       except for that person shall not participate—directly or indirectly—in the amendment of

       any claim(s).

13.    Nothing in this Order shall require production of documents, information, or other material

       that a Party contends is protected from disclosure by the attorney-client privilege, the work

       product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

       other material subject to a claim of attorney-client privilege, work product doctrine, or other

       privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

       production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

       any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

       produces documents, information, or other material it reasonably believes are protected

       under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

       immunity may obtain the return of such documents, information, or other material by

       promptly notifying the recipient(s) and providing a privilege log for the inadvertently or

       unintentionally produced documents, information, or other material.          The recipient(s)

       shall gather and return all copies of such documents, information, or other material to the

       producing Party, except for any pages containing privileged or otherwise protected markings

       by the recipient(s), which pages shall instead be destroyed and certified as such to the

       producing Party.

14.    There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

       to have access thereto to any person who is not authorized for such access under this Order.

       The Parties are hereby ORDERED to safeguard all such documents, information, and




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       material to protect against disclosure to any unauthorized persons or entities.

15.    Nothing contained herein shall be construed to prejudice any Party’s right to use any

       DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

       the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

       access to the DESIGNATED MATERIAL by virtue of his or her employment with the

       designating Party; (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

       or copy recipient of such information; (iii) although not identified as an author, addressee,

       or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

       business, seen such DESIGNATED MATERIAL; (iv) a current or former officer, director

       or employee of the producing Party or a current or former officer, director, or employee

       of a company affiliated with the producing Party; (v) counsel for a Party, including outside

       counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

       contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

       reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

       access to DESIGNATED MATERIAL.                  DESIGNATED MATERIAL shall not be

       disclosed to any other persons unless prior authorization is obtained from counsel

       representing the producing Party or from the Court.

16.    Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

       deposition or hearing transcript, designate the deposition or hearing transcript or any portion

       thereof as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” pursuant to this Order. Access to the deposition or hearing transcript so

       designated shall be limited in accordance with the terms of this Order. Until expiration of




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       the 30-day period, the entire deposition or hearing transcript shall be treated as

       CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY.

17.    Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

       shall remain under seal until further order of the Court. The filing Party shall be responsible

       for informing the Clerk of the Court that the filing should be sealed and for placing the

       legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

       caption and conspicuously on each page of the filing.      Exhibits to a filing shall conform

       to the labeling requirements set forth in this Order. If a pretrial pleading filed with the

       Court, or an exhibit thereto, discloses or relies on DESIGNATED MATERIAL, such

       confidential portions shall be redacted to the extent necessary and the pleading or exhibit

       filed publicly with the Court.

18.    The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

       the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

       this Action, or from using any information contained in DESIGNATED MATERIAL at

       the trial of this Action, subject to any pretrial order issued by this Court.

19.    A Party may request in writing to the other Party that the designation given to any

       DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

       not agree to re-designation within ten (10) days of receipt of the written request, the

       requesting Party may apply to the Court for relief. Upon any such application to the Court,

       the burden shall be on the designating Party to show why its classification is proper. Such

       application shall be treated procedurally as a motion to compel pursuant to Federal Rule

       of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

       such application, the requirements of the Federal Rules of Civil Procedure and the Local




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       Rules of the Court shall be met. Pending the Court’s determination of the application, the

       designation of the designating Party shall be maintained.

20.    Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

       accordance with the terms of this Order shall be advised by counsel of the terms of this

       Order, shall be informed that they are subject to the terms and conditions of this Order, and

       shall sign an acknowledgment that they have received a copy of, have read, and have

       agreed to be bound by this Order. A copy of the acknowledgment form is attached as

       Appendix A.

21.    To the extent that any discovery is taken of persons who are not Parties to this Action

       (“Third Parties”) and in the event that such Third Parties contend the discovery sought

       involves trade secrets, confidential business information, or other proprietary information,

       then such Third Parties may agree to be bound by this Order.

22.    To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

       designate as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       or   “CONFIDENTIAL          -   OUTSIDE       ATTORNEYS’         EYES     ONLY,”      and/or

       “CONFIDENTIAL - SOURCE CODE” any documents, information, or other material, in

       whole or in part, produced by such Third Parties. The Third Parties shall have ten (10) days

       after production of such documents, information, or other materials to make such a

       designation.    Until that time period lapses or until such a designation has been made,

       whichever occurs sooner, all documents, information, or other material so produced or given

       shall be treated as “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” in

       accordance with this Order.

23.    Within thirty (30) days of final termination of this Action, including any appeals, all




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       DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

       descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

       into any privileged memoranda of the Parties), shall at the producing Party’s election either

       be returned to the producing Party or be destroyed.        The receiving Party shall verify the

       return or destruction by affidavit furnished to the producing Party, upon the producing

       Party’s request.

24.    The failure to designate documents, information, or material in accordance with this Order

       and the failure to object to a designation at a given time shall not preclude the filing of a

       motion at a later date seeking to impose such designation or challenging the propriety

       thereof. The entry of this Order and/or the production of documents, information, or

       material hereunder shall in no way constitute a waiver of any objection to the furnishing

       thereof, all such objections being hereby preserved.

25.    Any Party knowing or believing that any other Party is in violation of or intends to violate

       this Order and has raised the question of violation or potential violation with the opposing

       Party and has been unable to resolve the matter by agreement may move the Court for such

       relief as may be appropriate in the circumstances.        Pending disposition of the motion by

       the Court, the Party alleged to be in violation of or intending to violate this Order shall

       discontinue the performance of and/or shall not undertake the further performance of any

       action alleged to constitute a violation of this Order.

26.    Production of DESIGNATED MATERIAL by any Party shall not be deemed a

       publication of the documents, information, or material (or the contents thereof) produced

       so as to void or make voidable whatever claim the Parties may have as to the proprietary and

       confidential nature of the documents, information, or other material or its contents.




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27.    Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of any

       kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

28.    Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

       Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

       if reasonably necessary to prepare and present this Action; and (b) to apply for additional

       protection of DESIGNATED MATERIAL.


       Signed on June 1st, 2021.




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                    §    CIVIL ACTION 6:20-CV-00487-ADA
 BRAZOS LICENSING AND                           §    CIVIL ACTION 6:20-CV-00488-ADA
 DEVELOPMENT,                                   §    CIVIL ACTION 6:20-CV-00489-ADA
                                                §    CIVIL ACTION 6:20-CV-00490-ADA
        Plaintiff,                              §    CIVIL ACTION 6:20-CV-00491-ADA
                                                §    CIVIL ACTION 6:20-CV-00492-ADA
 v.                                             §    CIVIL ACTION 6:20-CV-00493-ADA
                                                §    CIVIL ACTION 6:20-CV-00494-ADA
 ZTE CORPORATION ET AL,                         §    CIVIL ACTION 6:20-CV-00495-ADA
                                                §    CIVIL ACTION 6:20-CV-00496-ADA
        Defendant.                              §    CIVIL ACTION 6:20-CV-00497-ADA
                                                §
                                                §    PATENT CASE
                                                §
                                                §
                                                §    JURY TRIAL DEMANDED


                             APPENDIX A
          UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                         PROTECTIVE ORDER
I, ___________________________________________, declare that:

1.     My address is _________________________________________________________.

       My current employer is _________________________________________________.

       My current occupation is ________________________________________________.

2.     I have received a copy of the Protective Order in this action. I have carefully read and

       understand the provisions of the Protective Order.

3.     I will comply with all of the provisions of the Protective Order. I will hold in confidence,

       will not disclose to anyone not qualified under the Protective Order, and will use only for

       purposes      of this   action   any   information   designated   as   “CONFIDENTIAL,”

       “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE

       ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE” that is


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       disclosed to me.

4.     Promptly upon termination of these actions, I will return all documents and things

       designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” that came into my possession, and all documents and things that I have

       prepared relating thereto, to the outside counsel for the Party by whom I am employed.

5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

I declare under penalty of perjury that the foregoing is true and correct.

Signature ________________________________________

Date ______________________________




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    EXHIBIT 3
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 WSOU INVESTMENTS, LLC d/b/a                      )
 BRAZOS LICENSING AND                             )
 DEVELOPMENT                                      )
                                                  )
                       Plaintiff,                 )   Case No. 6:20-cv-480-ADA
                                                  )   Case No. 6:20-cv-481-ADA
        v.                                        )   Case No. 6:20-cv-485-ADA
                                                  )   Case No. 6:20-cv-486-ADA
 DELL TECHNOLOGIES INC., DELL INC.,               )
 EMC CORPORATION, AND VMWARE,
 INC.,

                       Defendants.

 NOTICE OF SUBPOENA DIRECTED TO THIRD-PARTY AQUA LICENSING, LLC

       PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Defendants intend to serve the attached subpoena on Aqua Licensing, LLC on or after

August 20, 2021. The subpoena requests that Aqua Licensing, LLC produce all documents and

things requested in Appendix A to the attached subpoena. The documents and things are to be

produced on or before 5:00 p.m. on September 10, 2021, or on another mutually agreeable date, at

the offices of Shelton Coburn LLP, 311 Ranch Road 620 S, Suite 205, Austin, Texas 78734-4775

USA, or at another mutually agreeable location. The deposition shall be upon oral examination

before an officer authorized to administer oaths and shall be recorded by audio, videographic,

and/or stenographic means. The deposition will take place on one day. Defendants will take up

to 7 hours of deposition testimony.

Dated: August 20, 2021                   By: /s/ Barry K. Shelton
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                                     Barry K. Shelton
                                     Texas State Bar No. 24055029
                                     bshelton@sheltoncoburn.com
                                     SHELTON COBURN LLP
                                     311 RR 620, Suite 205
                                     Austin, TX 78734-4775
                                     Telephone: 512.263.2165
                                     Facsimile: 512.263.2166

                                     Attorney for Defendants




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AO 88A (Rev.   / ) Subpoena to Testify at a Deposition in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District of __________
                                                      __________              Texas

                                                                              )
                             Plaintiff                                        )
                                v.                                            )      Civil Action No.
                                                                              )
                                                                              )
                            Defendant                                         )

                           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:

                                                     (Name of person to whom this subpoena is directed)




 Place:                                                                               Date and Time:


          The deposition will be recorded by this method:

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

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                        CLERK OF COURT
                                                                OR

                                         Signature of Clerk or Deputy Clerk                               Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                   on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                         .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                      .

My fees are $                                    for travel and $                      for services, for a total of $    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

Additional
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                            Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                  or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or              study that was not requested by a party.
regularly transacts business in person; or                                           (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                     conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                          otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or             (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                              (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.   (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for       (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,  under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                    material must:
     (i) At any time, on notice to the commanded person, the serving party         (i) expressly make the claim; and
may move the court for the district where compliance is required for an            (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                    tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the   privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from   (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                subpoena is subject to a claim of privilege or of protection as
                                                                              trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                        that received the information of the claim and the basis for it. After being
                                                                              notified, a party must promptly return, sequester, or destroy the specified
   (A) When Required. On timely motion, the court for the district where      information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                  until the claim is resolved; must take reasonable steps to retrieve the
                                                                              information if the party disclosed it before being notified; and may promptly
     (i) fails to allow
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                        a reasonable time to comply;
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                                                                                            information
                                                                                                of 599 under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits          compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                      produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                  (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a         The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on     motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
                                                                              subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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         APPENDIX A
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              EXHIBIT 1
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                                 DOCUMENTS REQUESTED

        Defendants Dell Technologies Inc., Dell Inc., EMC Corporation, and VMware Inc.

 (collectively, “Defendants”) request the production of the documents described below.

                                         DEFINITIONS

        The following definitions are applicable to terms employed in responding to this request:

1.     “Accused Product” or “Accused Products” shall refer to any device, product, or other thing

       that Plaintiff is permitted to accuse of infringing the Asserted Patent in this Action. A copy

       of the Complaint in case numbers 6:20-cv-00480-ADA, 6:20-cv-00481-ADA, 6:20-cv-

       00485-ADA, 6:20-cv-00486-ADA is attached as Exhibit 3. In referring to any device,

       product, or other thing as an “Accused Product,” Defendants in no way communicate their

       agreement that it infringes the Asserted Patent.

2.     “Action” shall refer to the above-captioned proceeding in the United States District Court

       for the Western District of Texas, with case numbers 6:20-cv-00480-ADA, 6:20-cv-00481-

       ADA, 6:20-cv-00485-ADA, 6:20-cv-00486-ADA.

3.     “Alcatel” shall mean Alcatel-Lucent International and all parents, subsidiaries, affiliates,

       predecessors, successors, including but not limited to Alcatel and Lucent Technologies.

4.     “Asserted Claim” shall refer to each claim of the Asserted Patent that Plaintiff contends

       Defendants infringe.

5.     “Asserted Patent(s)” shall refer to U.S. Patent Nos. 7,539,133; 9,164,800; 7,636,309;

       7,092,360 and any patent applications related thereto.

6.     “Communication” shall mean, without limitation, any written, oral, or other transmission

       of information, including but not limited to emails.




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7.     “Complaint” shall refer to the Complaint (including exhibits) that Plaintiff filed on June 2,

       2020 as docket number 1 in this Action, the Amended Complaint filed on October 19,

       2020, and any other amended complaints thereafter.

8.     “Concerning,” “refer(s) to,” “related to,” “reflecting,” “regarding,” and “relating to” shall

       mean directly or indirectly relating to, referring to, regarding, mentioning, reflecting,

       pertaining to, evidencing, illustrating, involving, describing, discussing, commenting on,

       embodying, responding to, supporting, contradicting, or constituting (in whole or in part),

       as the context makes appropriate.

9.     “Defendants” or “Defendant” shall refer to Dell Technologies Inc., Dell Inc., and EMC

       Corporation, and VMware Inc. and any and all of their then-current or prior subsidiaries,

       parents, affiliates, divisions, successors, predecessors, agents, employees, representatives,

       directors, officers, trustees, and attorneys, or any other person or entity acting in whole or

       in part in concert with any of the foregoing, directly or indirectly.

10.    “Document” shall include, without limitation, all documents, electronically stored

       information, and tangible things within the scope of the Federal Rules of Civil Procedure,

       including Rule 34. Federal Rules of Civil Procedure 34 permits discovery of: “(A)

       documents or electronically stored information—including writings, drawings, graphs,

       charts, photographs, sound recordings, images, and other data or data compilations—stored

       in any medium from which information can be obtained either directly or, if necessary,

       after translation by the responding party into a reasonably usable form; or (B) any

       designated tangible things.”

11.    “Employee” shall refer to any officer, director, partner, employee, representative, or agent.




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12.    “Licensee(s)” shall refer to any entity having a license, assignment, covenant not to sue, or

       other understanding, written, oral or implied, that the entity has any rights to the Asserted

       Patent, any Related Patents, or any Related Applications, may practice one or more claims

       of the Asserted Patent and/or that Plaintiff will not file suit or otherwise enforce against

       that entity one or more claims of the Asserted Patent or any Related Patent or Related

       Application.

13.    “Nokia” shall mean Nokia Corporation and all parents, subsidiaries, affiliates,

       predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions and

       Networks BV.

14.    “Other Action Defendants” shall refer to any of the entities that Plaintiff has accused of

       patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google, HP,

       Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco,

       and NetGear).

15.    “Other Action Patents” shall refer to any patent that was asserted against any of the Other

       Action Defendants.

16.    “Person” shall refer to any natural person, firm, association, partnership, government

       agency, corporation, proprietorship, or other entity and its officers, directors, partners,

       employee, representatives, and agents.

17.    The terms “Plaintiff,” and/or “WSOU” shall refer to the responding Plaintiff WSOU

       Investments, LLC d/b/a Brazos Licensing and Development, and any and all of its then-

       current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

       employees, representatives, directors, officers, trustees, and attorneys, or any other person




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       or entity acting in whole or in part in concert with any of the foregoing, directly or

       indirectly.

18.    “Prior Art” encompasses, without limitation, the subject matter described in each and every

       subdivision of 35 U.S.C. §§ 102 and 103, and includes, but is not limited to, memoranda,

       notes, manuals, interviews, testing data, disclosures, prototypes, correspondence,

       drawings, papers, articles, patents, printed publications, public uses, demonstrations, offers

       for sale or license, and sales.

19.    “Product(s)” means a machine, manufacture, apparatus, device, instrument, mechanism,

       appliance, software, service, process, or an assemblage of components/parts (either

       individually or collectively) that are designed to function together electronically,

       mechanically, or otherwise, including any offered for sale or under development.

20.    “Related Application(s)” means any and all applications related to the Asserted Patent,

       including any provisional or non-provisional applications, continuations, continuations- in-

       part, divisions, interferences, reexaminations, re-issues, parents, foreign counterpart

       applications, and any other applications disclosing, describing or claiming any invention

       disclosed, described or claimed in the Asserted Patent, or claiming the benefit of the filing

       date of any application whose benefit is claimed in the Asserted Patent, whether or not

       abandoned and whether or not issued.

21.    “Related Patent(s)” means any and all U.S. or foreign patents based upon or related to any

       Related Application(s) or Asserted Patent, including any patents or applications that may

       have been opposed, reexamined, re-issued or subjected to any validity or nullity

       proceeding.

22.    “Third Party” shall refer to any person other than Plaintiff or Defendants.




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23.    “You,” “Your,” “Yours” shall refer to Aqua Licensing, LLC, and any and all of its then-

       current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

       employees, representatives, directors, officers, trustees, and attorneys, or any other person

       or entity acting in whole or in part in concert with any of the foregoing, directly or

       indirectly.

24.    Any pronouns shall be construed to refer to the masculine, feminine, or neutral gender, in

       singular or plural, as in each case is most appropriate.

25.    The singular form of any word shall be construed to also include the plural, and vice-versa.

26.    The word “each” shall be construed to mean “each and every.”

27.    The words “and” and “or” shall be construed conjunctively or disjunctively, whichever

       makes the request more inclusive.

28.    The words “any” and “all” shall be construed to mean “any and all.”

                                        INSTRUCTIONS

1.     This request seeks disclosure to the full extent of the Federal Rules of Civil Procedure and

       shall be interpreted as inclusive rather than exclusive.

2.     In responding to the Document requests set forth below, please furnish all responsive and

       non-privileged information that is available to You.

3.     Please produce the requested Documents as they are kept in the ordinary course of business.

4.     If production of any responsive Documents are being withheld on the ground of the

       attorney-client privilege, attorney work product, or any other privilege, immunity, or

       protection, please provide a privilege log with the following information for each such

       Document: (a) the name of the Document; (b) the name of the person(s) who prepared the

       Document; (c) the name of the person(s) to whom the Document was directed or circulated;

       (d) the date(s) on which the Document was prepared or transmitted; (e) the name of the


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      person(s) now in possession of the Document; (f) a description of the subject matter of the

      Document; and (g) the specific nature of the privilege or protection claimed with respect

      to the Document.

5.    The Court’s interim protective order in the Order Governing Proceedings shall govern the

      disclosure of confidential information in this Action:

             Pending entry of the final Protective Order, the Court issues the following
             interim Protective Order to govern the disclosure of confidential
             information in this matter:

                     If any document or information produced in this matter is
                     deemed confidential by the producing party and if the Court
                     has not entered a protective order, until a protective order is
                     issued by the Court, the document shall be marked
                     “confidential” or with some other confidential designation
                     (such as “Confidential – Outside Attorneys Eyes Only”) by
                     the disclosing party and disclosure of the confidential
                     document or information shall be limited to each party’s
                     outside attorney(s) of record and the employees of such
                     outside attorney(s).

                     If a party is not represented by an outside attorney,
                     disclosure of the confidential document or information shall
                     be limited to one designated “in house” attorney, whose
                     identity and job functions shall be disclosed to the producing
                     party 5 days prior to any such disclosure, in order to permit
                     any motion for protective order or other relief regarding such
                     disclosure. The person(s) to whom disclosure of a
                     confidential document or information is made under this
                     local rule shall keep it confidential and use it only for
                     purposes of litigating the case.

6.    Upon entry of a final protective order in this matter that protective order shall govern the

      disclosure of confidential information in this Action.




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                                   DOCUMENT REQUESTS

       1.        Documents regarding the Asserted Patent, any Related Patents, or Related

Applications, including any alleged infringement of such patents.

       2.        Documents relating to any Prior Art search performed by You, on Your behalf, or

that You are aware of, relating to the Asserted Patent, any Related Patent, or Related Application

(including, but not limited to, any search methodology, results and any policies regarding Prior

Art searches).

       3.        Documents regarding whether any claim in the Asserted Patent is invalid, valid,

enforceable, or unenforceable (including any Prior Art or alleged Prior Art).

       4.        Documents sufficient to identify all products of which you are/were aware that

practiced or currently practice any claim of the Asserted Patent, Related Patents, or Related

Applications and all allegations of which you are/were aware that products practiced or currently

practice any claim of the Asserted Patent, Related Patents, or Related Applications.

       5.        Documents and Communications concerning any evaluation or analysis of the

Asserted Patent, Related Patents, or Related Applications, whether individually or in combination

with any other patents or applications, including any evaluation or analysis of infringement,

validity, or commercialization.

       6.        Documents and Communications concerning any ranking (in terms of strength,

value, or otherwise) or rating of, or attempts to rank or rate the Asserted Patent, Related Patents,

or Related Applications, whether individually or in combination with any other patents or

applications, or any portfolio containing the Asserted Patent, Related Patents, or Related

Applications.

       7.        Documents and Communications concerning each proposal, offer or other


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discussions by you or your predecessors in interest, regarding actual or potential agreements with

Allied Security Trust, or WSOU regarding any asserted patent including communications

regarding such a proposal, draft agreements, and executed agreements.

        8.      Communications (or Documents relating thereto) with Alcatel or Nokia regarding

the Asserted Patent, Related Patents, or Related Applications.

        9.      Communications (or Documents relating thereto) between You and Plaintiff

relating to a) the Asserted Patent, Related Patents, Related Applications, or Other Action Patents;

b) this Action (including the initiation of or projected outcomes from this Action); c) any

Defendant or its products; and d) any portfolio of which the Asserted Patent, Related Patents,

Related Applications were a part.

        10.     Documents and Communications concerning any decision to pursue or not to

pursue any claim of infringement of the Asserted Patent of any Related Patent against any

Defendant.

        11.     Documents and Communications concerning any decision to pursue or not to

pursue any claim of infringement against any of the Other Action Defendants.

        12.     Documents regarding ownership, assignment, licenses, royalties, covenants,

standstills, settlements, acquisition, financial interest, security interest, sale, transfer of rights (in

whole or in part), or any other disposition of, or any offers to buy, sell, or license the Asserted

Patent, Related Patents, Related Applications or Other Action Patents. This includes, but is not

limited to:

                 a.       Offers to buy, sell, or license, agreements granting rights, assignments,

                          licenses, covenants, royalties, settlements, agreements releasing any third

                          party from liability for infringement, and covenants not to sue, involving



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                        or concerning the Asserted Patent, Related Patents, Related Applications,

                        or Other Action Patents;

                b.      Negotiations, discussions, or other Communications relating to the

                        Documents referenced in sub-paragraph (a); and

                c.      Communications (or documents relating thereto) between You and any

                        potential Licensee or purchaser of the Asserted Patent, Related Patents,

                        Related Applications, or Other Action Patents.

       13.     Documents and Communications concerning any right, title, or interest in any

litigation or action involving any of the Asserted Patent, Related Patents, or Other Action

Defendants.

       14.     Documents and Communications concerning any business plans, marketing plans,

marketing efforts, advertising plans, advertising efforts, promotional programs, involving or

concerning the Asserted Patent, Related Patents, Related Applications or Other Action Patents.

       15.     Documents and Communications concerning any budgets, forecasts, revenues,

projections, costs, sales, expenses, margins, profits, or any other means for generating revenue

from any Product, process, equipment, or service that allegedly embodies any claim of the

Asserted Patent or any Other Action Patents.

       16.     Valuations of the Asserted Patent, Related Patents, Related Applications or Other

Action Patents, either alone, or together with other patents or consideration, including as part of

an intellectual property portfolio, and including any appraisals or valuations for tax purposes.

       17.     Documents (or Communications relating thereto) concerning any licensing policy

that You may have, including without limitation policies and practices relating to taking or

granting licenses, relating to any of the Asserted Patent, Related Patents, Related Applications,


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or Other Action Patents.

           18.   Documents and Communications concerning whether all of the Licensees of the

 Asserted Patent have complied with the marking or notice provisions of 35 U.S.C. § 287(a) with

 respect to the Asserted Patent.

       19.       Documents sufficient to identify the nature and scope of any rights in the Asserted

Patent that You have obtained and/or retained at any time, including, without limitation, any right

to control litigation, future royalties, payments for licenses, or payments relating to or resulting

from the outcome of any litigation involving the Asserted Patent, Related Patents, or Other Action

Patents.




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              EXHIBIT 2
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                      ORAL EXAMINATION TOPICS REQUESTED

        Defendants Dell Technologies Inc., Dell Inc., EMC Corporation, and VMware, Inc.

 (collectively, “Defendants”) seek to ask questions on topics described below.

                                         DEFINITIONS

        The following definitions are applicable to terms employed in responding to this request:

1.     “Accused Product” or “Accused Products” shall refer to any device, product, or other thing

       that Plaintiff is permitted to accuse of infringing the Asserted Patent in this Action. A copy

       of the Complaint in case numbers 6:20-cv-00480-ADA, 6:20-cv-00481-ADA, 6:20-cv-

       00485-ADA, 6:20-cv-00486-ADA is attached as Exhibit 3. In referring to any device,

       product, or other thing as an “Accused Product,” Defendants in no way communicate their

       agreement that it infringes the Asserted Patent.

2.     “Action” shall refer to the above-captioned proceeding in the United States District Court

       for the Western District of Texas, with case numbers: 6:20-cv-00480-ADA, 6:20-cv-

       00481-ADA, 6:20-cv-00485-ADA, 6:20-cv-00486-ADA.

3.     “Alcatel” shall mean Alcatel-Lucent International and all parents, subsidiaries, affiliates,

       predecessors, successors, including but not limited to Alcatel and Lucent Technologies.

4.     “Asserted Claim” shall refer to each claim of the Asserted Patent that Plaintiff contends

       Defendants infringe.

5.     “Asserted Patent(s)” shall refer to U.S. Patent Nos. 7,539,133; 9,164,800; 7,636,309;

       7,092,360 and any patent applications related thereto.

6.     “Communication” shall mean, without limitation, any written, oral, or other transmission

       of information, including but not limited to emails.




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7.     “Complaint” shall refer to the Complaint (including exhibits) that Plaintiff filed on June 2,

       2020 as docket number 1 in this Action, the Amended Complaint filed on October 19,

       2020, and any other amended complaints thereafter.

8.     “Concerning,” “refer(s) to,” “related to,” “reflecting,” “regarding,” and “relating to” shall

       mean directly or indirectly relating to, referring to, regarding, mentioning, reflecting,

       pertaining to, evidencing, illustrating, involving, describing, discussing, commenting on,

       embodying, responding to, supporting, contradicting, or constituting (in whole or in part),

       as the context makes appropriate.

9.     “Defendants” or “Defendant” shall refer to Dell Technologies Inc., Dell Inc., EMC

       Corporation, and VMware, Inc. and any and all of their then-current or prior subsidiaries,

       parents, affiliates, divisions, successors, predecessors, agents, employees, representatives,

       directors, officers, trustees, and attorneys, or any other person or entity acting in whole or

       in part in concert with any of the foregoing, directly or indirectly.

10.    “Document” shall include, without limitation, all documents, electronically stored

       information, and tangible things within the scope of the Federal Rules of Civil Procedure,

       including Rule 34. Federal Rules of Civil Procedure 34 permits discovery of: “(A)

       documents or electronically stored information—including writings, drawings, graphs,

       charts, photographs, sound recordings, images, and other data or data compilations—stored

       in any medium from which information can be obtained either directly or, if necessary,

       after translation by the responding party into a reasonably usable form; or (B) any

       designated tangible things.”

11.    “Employee” shall refer to any officer, director, partner, employee, representative, or agent.




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12.    “Licensee(s)” shall refer to any entity having a license, assignment, covenant not to sue, or

       other understanding, written, oral or implied, that the entity has any rights to the Asserted

       Patent, any Related Patents, or any Related Applications, may practice one or more claims

       of the Asserted Patent and/or that Plaintiff will not file suit or otherwise enforce against

       that entity one or more claims of the Asserted Patent or any Related Patent or Related

       Application.

13.    “Nokia” shall mean Nokia Corporation and all parents, subsidiaries, affiliates,

       predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions and

       Networks BV.

14.    “Person” shall refer to any natural person, firm, association, partnership, government

       agency, corporation, proprietorship, or other entity and its officers, directors, partners,

       employee, representatives, and agents.

15.    The terms “Plaintiff,” and/or “WSOU” shall refer to the responding Plaintiff WSOU

       Investments, LLC d/b/a Brazos Licensing and Development, and any and all of its then-

       current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

       employees, representatives, directors, officers, trustees, and attorneys, or any other person

       or entity acting in whole or in part in concert with any of the foregoing, directly or

       indirectly.

16.    “Prior Art” encompasses, without limitation, the subject matter described in each and every

       subdivision of 35 U.S.C. §§ 102 and 103, and includes, but is not limited to, memoranda,

       notes, manuals, interviews, testing data, disclosures, prototypes, correspondence,

       drawings, papers, articles, patents, printed publications, public uses, demonstrations, offers

       for sale or license, and sales.




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17.    “Product(s)” means a machine, manufacture, apparatus, device, instrument, mechanism,

       appliance, software, service, process, or an assemblage of components/parts (either

       individually or collectively) that are designed to function together electronically,

       mechanically, or otherwise, including any offered for sale or under development.

18.    “Related Application(s)” means any and all applications related to the Asserted Patent,

       including any provisional or non-provisional applications, continuations, continuations- in-

       part, divisions, interferences, reexaminations, re-issues, parents, foreign counterpart

       applications, and any other applications disclosing, describing or claiming any invention

       disclosed, described or claimed in the Asserted Patent, or claiming the benefit of the filing

       date of any application whose benefit is claimed in the Asserted Patent, whether or not

       abandoned and whether or not issued.

19.    “Related Patent(s)” means any and all U.S. or foreign patents based upon or related to any

       Related Application(s) or Asserted Patent, including any patents or applications that may

       have been opposed, reexamined, re-issued or subjected to any validity or nullity

       proceeding.

20.    “Third Party” shall refer to any person other than Plaintiff or Defendants.

21.    “You,” “Your,” “Yours” shall refer to Aqua Licensing, LLC, and any and all of its then-

       current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

       employees, representatives, directors, officers, trustees, and attorneys, or any other person

       or entity acting in whole or in part in concert with any of the foregoing, directly or

       indirectly.

22.    Any pronouns shall be construed to refer to the masculine, feminine, or neutral gender, in

       singular or plural, as in each case is most appropriate.




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23.       The singular form of any word shall be construed to also include the plural, and vice-versa.

24.       The word “each” shall be construed to mean “each and every.”

25.       The words “and” and “or” shall be construed conjunctively or disjunctively, whichever

          makes the request more inclusive.

26.       The words “any” and “all” shall be construed to mean “any and all.”

                                           INSTRUCTIONS

1.        This request seeks disclosure to the full extent of the Federal Rules of Civil Procedure and

          shall be interpreted as inclusive rather than exclusive.

2.        It is Your duty in responding to this request to designate one or more officers, directors,

          managing agents, or other Persons who are the most knowledgeable with respect to the

          topics identified below.

                                       DEPOSITION TOPICS

           1.      The past and current ownership of the Asserted Patent, including its chain of

 title.

           2.      Any facts, studies, investigations, information, documents (including Prior Art),

 and analyses You identified, received, or knew at any time relating to the alleged validity,

 enforceability, infringement, valuation, or priority dates of the Asserted Patent, Related Patents,

 Related Applications, or patents and applications incorporated by reference into the Asserted

 Patent, including any Communications with third parties relating to the foregoing.

           3.      Any attempts to sell or otherwise transfer financial interests in the Asserted

 Patent, any portfolio of patents containing the Asserted Patent, any patents related to the subject

 matter of the Asserted Claims, and any patent that was asserted against any of the entities that

 Plaintiff has accused of patent infringement (including but not limited to, Huawei, ZTE,

 Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks,


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Salesforce, Cisco, and NetGear).

       4.      The timing and circumstances related to Your first knowledge or awareness of

any alleged infringement of the Asserted Patent by each of the Defendants.

       5.      Any evaluation or analysis of the Asserted Patent, Related Patents, or Related

Applications, whether individually or in combination with any other patents or applications,

including any evaluation or analysis of infringement, validity, or commercialization.

       6.      All products of which you are/were aware that practiced or currently practice

any claim of the Asserted Patent, Related Patents, or Related Applications and all allegations

of which you are/were aware that products practiced or currently practice any claim of the

Asserted Patent, Related Patents, or Related Applications.

       7.      Any ranking (in terms of strength, value, or otherwise) or rating of, or attempts

to rank or rate the Asserted Patent, Related Patents, or Related Applications, whether

individually or in combination with any other patents or applications, or any portfolio

containing the Asserted Patent, Related Patents, or Related Applications.

       8.      Each proposal, offer or other discussions by you or your predecessors in interest,

regarding actual or potential agreements with Allied Security Trust, or WSOU regarding any

asserted patent including communications regarding such a proposal, draft agreements, and

executed agreements.

       9.      Any Communications with Alcatel or Nokia regarding the Asserted Patent,

Related Patents, or Related Applications.

       10.     Any decision to pursue or not to pursue any claim of infringement of any of the

claims of the Asserted Patent against any Defendant or any of the entities that Plaintiff has

accused of patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google,



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 HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco,

 and NetGear).

         11.     Any efforts by You, any predecessor-in-interest of the Asserted Patent, or any

 other Person to enforce or license the Asserted Patent, or any portfolio of patents containing the

 Asserted Patent, any patents related to the subject matter of the Asserted Claims, or any patent

 that was asserted against any of the entities that Plaintiff has accused of patent infringement

 (including but not limited to, Huawei, ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC,

 Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and NetGear).

        12.      Your policies and practices concerning patent agreements (including licensing),

 including:

               a.      any written licensing policies or best practices;

               b.      any most favored Licensee;

               c.      the economic and technical factors considered by You in drafting and

                       entering into any license, royalty, standstill, partnership, joint venture,

                       vendor, or settlement agreements;

               d.      any standard or preferred terms for license, royalty, standstill or settlement

                       agreements;

               e.      the process by which You determine the nature, scope and terms of license

                       agreements in which You are a licensor; and

               f.      any circumstance in which You deviated from such policies.

       13.       Your knowledge of, and participation in, any Communications between

Plaintiff and Defendants prior to the filing of the Action.

       14.       Any Communications related to Plaintiff, including communications related to



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licensing of any of the Asserted Patent, Related Patents, Related Applications, or any patent that

was asserted against any of the entities that Plaintiff has accused of patent infringement

(including but not limited to, Huawei, ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC,

Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and NetGear), and any

compensation, license rates, royalties related thereto, agreements with Plaintiff, Defendants, the

Action, the decision to file the Action, requests or offers to provide assistance, witnesses and/or

documents for use in the Lawsuit, and any discussion about standing of Plaintiff to bring the

Action.

          15.    Your relationship with all potential Licensees, including all agreements,

assurances, covenants not to sue, and understandings not to assert patents against such potential

Licensees, including but not limited to Communications and agreements relating to the Asserted

Patent, Related Patents, Related Applications, any patent that was asserted against any of the

entities that Plaintiff has accused of patent infringement (including but not limited to, Huawei,

ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista

Networks, Salesforce, Cisco, and NetGear), and the circumstances relating to such activity.

          16.    Your relationship with any entity associated with Stuart A. Shanus, Marc Wade,

and/or Craig Etchegoyen, including without limitation Wade and Company, Orange Holdings,

WSOU, and/or Uniloc USA, Inc., 1 including any patent license agreements with any such entity

that relate to patents or patent applications that claim subject matter related to the subject matter

of the Asserted Claims.

          17.    Any Communication You engaged in regarding each Defendant and its



 1
     Stuart A. Shanus and Craig Etchegoyen are the Chairman and President of WSOU. Mark
     Wade, Wade and Company, Orange Holdings, and/or Uniloc USA, Inc. are all related
     persons or entities of WSOU.


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respective Products or services, and any analysis You performed of each Defendant and each

entity that Plaintiff has accused of patent infringement (including but not limited to, Huawei,

ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista

Networks, Salesforce, Cisco, and NetGear) and its respective Products and services related to

the Asserted Patent, Related Patents, Related Applications, and the patents asserted against any

of the entities that Plaintiff has accused of patent infringement.

          18.   Any valuations of the Asserted Patent, any portfolio of patents that includes the

Asserted Patent, any patent that was asserted against any of the entities that Plaintiff has accused

of patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google, HP,

Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and

NetGear), or any portfolio of patents that includes those patents.

          19.   Any licenses, assignments, conveyances, security interests, or other agreements

relating to the Asserted Patent, or any portfolio of patents that includes or included the Asserted

Patent, and offers and negotiations leading to and circumstances surrounding such agreement.

          20.      Any revenues and profits received by You for any Products practicing the

alleged invention of the Asserted Patent.

          21.   Revenues, costs, expenses, and profits (including gross and net profits)

generated in connection with the Asserted Patent, and the methodology used to calculate or

otherwise determine revenues, costs, expenses, and/or profits.

          22.   Any licensing fees and rates paid for each portfolio that includes the Asserted

Patent.

          23.   The rates paid by any Licensee for the use of other patents comparable to the

Asserted Patent.



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       24.        Any financial interests that You may have in the Asserted Patent, including but

not limited to royalties and the outcome of the Action.

        25.       Your collection, retention and production of documents and information relevant

 to the Action.

       26.        The subject matter, content, and authenticity of all Documents and

Communications identified and/or produced in response to the above requests.

       27.        All Documents reviewed by You in connection with the deposition on these topics.

       28.        For each of the topics set forth in this request, the identity and location of Your

employee, agent, representative, independent contractor, or other partner, affiliate, or business

associate, with the most knowledge concerning that topic.




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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                        §
   BRAZOS LICENSING AND                               §
                                                      §              NO. 6:20-cv-480-ADA
   DEVELOPMENT,
                                                      §
                                                      §           JURY TRIAL DEMANDED
              Plaintiff,
                                                      §
   v.                                                 §
                                                      §
   DELL TECHNOLOGIES INC., DELL                       §
   INC., EMC CORPORATION, AND                         §
   VMWARE, INC.                                       §
                                                      §
              Defendants.

              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this First Amended Complaint (“Amended

Complain” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc.,

EMC Corporation, and VMWare, Inc. (collectively, “Defendants”) and alleges:

                                    NATURE OF THE ACTION
         1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                            THE PARTIES
         2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

         3.       On information and belief, defendant Dell Technologies Inc. (“Dell”) is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.
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       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell.

       5.      On information and belief, defendant EMC Corporation (“EMC”) is a

Massachusetts corporation with a principal place of business at One Dell Way, Round Rock, Texas

78682. EMC Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

       6.      Upon information and belief, VMware, Inc. (“VMWare”) is a Delaware corporation

with two established places of business in this District, including two in Austin, Texas with over

700 employees.

       7.      Upon information and belief, VMWare was acquired by EMC in 2004 and

conducted an initial public offering of Class A common stock in August 2007. On or around

September 2016, Dell acquired by EMC. As a result, EMC became a wholly-owned subsidiary of

Dell, and VMWare became an indirectly-held, majority-owned subsidiary of Dell. Under the rules

of the New York Stock Exchange, VMWare is a controlled company. As of January 31, 2020, Dell

controlled approximately 80.9% of VMWare’s outstanding common stock, including 31 million

shares of its Class A common stock and all of it Class B common stock.

                                 JURISDICTION AND VENUE
       8.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       9.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       10.     This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed
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acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       11.     Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.

                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 7,539,133

       12.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       13.     On May 26, 2009, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 7,539,133 (“the ‘133 Patent”), entitled “Method and Apparatus for

Preventing Congestion in Load-Balancing Networks.” A true and correct copy of the ‘133 Patent

is attached as Exhibit A to this Complaint.

       14.     Brazos is the owner of all rights, title, and interest in and to the ‘133 Patent,

including the right to assert all causes of action arising under the ‘133 Patent and the right to any

remedies for the infringement of the ‘133 Patent.

       15.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, cloud-related

solutions, including but not limited to, devices incorporating VMware’s VeloCloud solutions and
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SD-WAN software, such as Dell EMC SD-WAN Edge 600 series products (collectively, the

“Accused Products”).




https://www.dell.com/learn/us/en/15/solutions/vmware-vcloud




https://www.delltechnologies.com/en-us/networking/sd-wan-solution/index.htm

       16.     The Accused Products can provide a cloud network service solution enabling sites

to deploy enterprise-grade access to legacy and cloud applications over both private networks and
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Internet broadband. Cloud-delivered Software-Defined Wide-Area-Network (SD-WAN) aids

enterprise and cloud application performance over Internet and hybrid WAN.




https://docs.vmware.com/en/VMware-SD-WAN-by-VeloCloud/3.3/velocloud-admin-guide-
33.pdf

       17.     The Accused Products have a variety of features and capabilities including

Dynamic Multipath Optimization (DMPO) technology. VMware SD-WAN processing of traffic

flows at a node in a network can provide packet level redirection, which allows one or multiple

physical WAN links to be abstracted and virtualized packet-by-packet. Path selection and

remediation techniques can be applied in virtually real-time. Dynamic load-sharing maintains end-

customer application performance quality, regardless of the reliability or consistency of the

individual physical link.




https://www.velocloud.com/content/dam/digitalmarketing/velocloud/en/documents/case-study-
dell-emc.pdf
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https://partners.lantelligence.com/wp-content/uploads/2018/07/dmpo-brief.pdf
       18.     VMware DMPO provides automatic link monitoring, auto-detection of provider

and autoconfiguration of link characteristics, routing, and quality of service (QoS) settings.

VMware DMPO delivers sub-second blackout and brownout protection to improve application

availability. VMware DMPO remediates link degradation through forward error correction (FEC),

jitter buffering activation, and synthetic packet production.




https://www.velocloud.com/content/dam/digitalmarketing/velocloud/en/documents/brief-
solution-overview.pdf

       19.     DMPO performs per-packet load balancing for SD-WAN networks.




https://partners.lantelligence.com/wp-content/uploads/2018/07/dmpo-brief.pdf
       20.     Nodes may have a hub-spoke design with a hub and multiple spokes. Traffic flow

may be received at the hub and may be transmitted to various spokes. When dynamic edge-to-edge

is enabled, the hub will not know the traffic between edges and may keep sending low priority
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traffic until congestion occurs. As congestion conditions are detected at an edge, with multi-source

inbound QoS enabled, the edge will proactively inform the hub to slow down the low priority

traffic.




https://partners.lantelligence.com/wp-content/uploads/2018/07/dmpo-brief.pdf
           21.   Under congestion, the traffic in the Accused Products will be queued. When the

queue is full, packets are dropped. This is an example of processing packets such that those

associated with egress nodes for which the congestion condition does not exist have a different

queuing priority within the load-balancing network than packets associated with egress nodes for

which the congestion condition exists.




https://partners.lantelligence.com/wp-content/uploads/2018/07/dmpo-brief.pdf
           22.   The Accused Products may also provide an enhanced QoS feature called Business

Policy. Based on this Business Policy configuration, the Accused Products examine the traffic

being used (whether congestion condition exists or not) and identify the application behavior and

the Edge WAN Link conditions. Based on this, the Business Policy optimizes application behavior

driving queuing, bandwidth utilization, link steering, and the mitigation of network errors.




https://docs.vmware.com/en/VMware-SD-WAN-by-VeloCloud/3.3/velocloud-admin-guide-
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33.pdf




https://docs.vmware.com/en/VMware-SD-WAN-by-VeloCloud/3.3/velocloud-admin-guide-
33.pdf

         23.    In view of preceding paragraphs, each and every element of at least claim 1 of the

‘133 Patent is found in the Accused Products.

         24.    And upon information and belief, each and every element of at least one claim of

the patent-in-suit is performed or practiced by Defendants at least through Defendants’ own use

and configuration of its own Accused Products, and/or through Defendants’ own testing and

configuration of its own Accused Products, and/or through Defendants’ providing services for its

Accused Products, including but not limited to providing installation, deployment, support and

configuration of its Accused Products.

         25.    Defendants continue to directly infringe at least one claim of the ‘133 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale, importing,

and/or distributing the Accused Products in the United States, including within this judicial district,

without the authority of Brazos.

         26.    In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least May

2020, before the filing of this case. Further, Defendants had knowledge of their infringement of
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the patent-in-suit before the filing of this Amended Complaint.1

       27.     Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the

‘133 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising, promoting,

and/or instructing include the documents at:

    ● https://www.vmware.com/company/acquisitions/velocloud.html

    ● https://www.dell.com/learn/us/en/15/solutions/vmware-vcloud

    ● https://www.delltechnologies.com/en-us/networking/sd-wan-solution/index.htm


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  Dell filed a motion to dismiss that is mooted by this amended complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,
LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).
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   ● https://www.dell.com/en-us/work/shop/povw/sd-wan-edge-600

   ● https://partners.lantelligence.com/wp-content/uploads/2018/07/dmpo-brief.pdf

   ● https://docs.vmware.com/en/VMware-SD-WAN-by-VeloCloud/3.3/velocloud-admin-
     guide-33.pdf

   ● https://www.velocloud.com/content/dam/digitalmarketing/velocloud/en/documents/brief
     -solution-overview.pdf

       28.     Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the ‘133 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the ‘133 Patent. The Accused Products are especially made or adapted

for infringing the ‘133 Patent and have no substantial non-infringing use. For example, in view of

the preceding paragraphs, the Accused Products contain functionality which is material to at least

one claim of the ‘133 Patent.

                                        JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                    REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Defendants infringe one or more claims of the ‘133 Patent

literally and/or under the doctrine of equivalents;

       (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘133 Patent;

       (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘133 Patent;
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       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘133 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare    this   case   exceptional   pursuant   to   35   U.S.C.   §    285;   and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.


Dated: October 19, 2020                        Respectfully submitted,

                                              /s/ James L. Etheridge
                                              James L. Etheridge
                                              Texas State Bar No. 24059147
                                              Ryan S. Loveless
                                              Texas State Bar No. 24036997
                                              Travis L. Richins
                                              Texas State Bar No. 24061296
                                              ETHERIDGE LAW GROUP, PLLC
                                              2600 E. Southlake Blvd., Suite 120 / 324
                                              Southlake, Texas 76092
                                              Telephone: (817) 470-7249
                                              Facsimile: (817) 887-5950
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                                              Mark D. Siegmund
                                              State Bar No. 24117055
                                              mark@waltfairpllc.com
                                              Law Firm of Walt, Fair PLLC.
                                              1508 North Valley Mills Drive
                                              Waco, Texas 76710
                                              Telephone: (254) 772-6400
                                              Facsimile: (254) 772-6432

                                              COUNSEL FOR PLAINTIFF
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                        §
   BRAZOS LICENSING AND                               §
   DEVELOPMENT,                                       §    CIVIL ACTION NO. 6:20-cv-481-ADA
                                                      §
              Plaintiff,                              §         JURY TRIAL DEMANDED
                                                      §
   v.                                                 §
                                                      §
   DELL TECHNOLOGIES INC., DELL                       §
   INC., EMC CORPORATION, AND                         §
   VMWARE, INC.                                       §
                                                      §
              Defendants.
              SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this Second Amended Complaint (“Amended

Complaint” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc.,

EMC Corporation, and VMWare, Inc. (collectively, “Defendants”) and alleges:

                                         NATURE OF THE ACTION
         1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                                THE PARTIES
         2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

         3.       On information and belief, defendant Dell Technologies Inc. (“Dell”) is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.




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       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell.

       5.      On information and belief, defendant EMC Corporation (“EMC”) is a

Massachusetts corporation with a principal place of business at One Dell Way, Round Rock, Texas

78682. EMC Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

       6.      Upon information and belief, VMware, Inc. (“VMWare”) is a Delaware corporation

with two established places of business in this District, including two in Austin, Texas with over

700 employees.

       7.      Upon information and belief, VMWare was acquired by EMC in 2004 and

conducted an initial public offering of Class A common stock in August 2007. On or around

September 2016, Dell acquired by EMC. As a result, EMC became a wholly-owned subsidiary of

Dell, and VMWare became an indirectly-held, majority-owned subsidiary of Dell. Under the rules

of the New York Stock Exchange, VMWare is a controlled company. As of January 31, 2020, Dell

controlled approximately 80.9% of VMWare’s outstanding common stock, including 31 million

shares of its Class A common stock and all of it Class B common stock.

                                 JURISDICTION AND VENUE

       8.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       9.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       10.     This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed


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acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       11.     Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.

                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 9,164,800

       12.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       13.     On October 20, 2015, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,164,800 (“the ‘800 Patent”), entitled “Optimizing Latencies in




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Cloud Systems by Intelligent Compute Node Placement.” A true and correct copy of the ‘800

Patent is attached as Exhibit A to this Complaint.

       14.     Brazos is the owner of all rights, title, and interest in and to the ‘800 Patent,

including the right to assert all causes of action arising under the ‘800 Patent and the right to any

remedies for the infringement of the ‘800 Patent.

       15.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, cloud-related

solutions, including but not limited to, devices incorporating VMware’s VeloCloud solutions and

vSphere software, such as Dell’s PowerEdge servers and VxRail appliances (collectively, the

“Accused Products”).




https://www.dell.com/learn/us/en/15/solutions/vmware-vcloud




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https://www.dell.com/downloads/global/power/ps3q07-20070562-hanson.pdf




https://www.delltechnologies.com/en-us/solutions/vmware/servers-for-vmware.htm




https://www.dell.com/downloads/global/vectors/dell_and_vmware_drs_ha_solutions.pdf




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https://www.dellemc.com/resources/en-us/asset/technical-guides-support-
information/products/converged-infrastructure/vxrail-vcenter-server-planning-guide.pdf

       16.    The Accused Products allow administration of hybrid cloud environments and

provide resource management.




https://docs.vmware.com/en/VMware-vSphere/index.html




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https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/products/vsphere/vmwar
e-whats-new-in-vsphere-whitepaper.pdf




https://docs.vmware.com/en/VMware-vSphere/6.7/vsphere-esxi-vcenter-server-67-resource-
management-guide.pdf




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       17.    The Accused Products employ Distributed Resources Scheduler (DRS) solutions to

manage workloads and group hosts to resource clusters in order to segregate the computing needs

of different business units and balance workloads.




https://www.vmware.com/in/products/vsphere/drs-dpm.html

       18.    The Accused Products allocate I/O resources to virtual machines (VMs) performing

computing based on importance by assigning a relative number of shares to the virtual machines.

A storage DRS solution in the Accused Products can provide placement of VMs and VM disks

(VMDKs) for data storage, for example.




https://docs.vmware.com/en/VMware-vSphere/6.7/vsphere-esxi-vcenter-server-67-resource-
management-guide.pdf

       19.    The Accused Products uses clusters to manage the resources. In vSphere clusters,

vSphere High Availability (HA) and vSphere Distributed Resources Scheduler (DRS) solutions




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are also enabled.




https://docs.vmware.com/en/VMware-vSphere/6.7/vsphere-esxi-vcenter-server-67-resource-
management-guide.pdf

       20.     A DRS cluster created by a vSphere Client may be a collection of hosts and

associated virtual machines with shared resources and a shared management interface. A vSphere

Client can add multiple hosts to a cluster. A Datastore Cluster is a group of datastores. A vCenter

server can manage all these resources.




https://docs.vmware.com/en/VMware-vSphere/6.7/vsphere-esxi-vcenter-server-67-resource-
management-guide.pdf

       21.     A vSphere cluster contains VMs, datastores, and links between them.




https://docs.vmware.com/en/VMware-vSphere/6.7/vsphere-esxi-vcenter-server-67-resource-
management-guide.pdf




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       22.     Storage DRS in the Accused Products allows users to manage the aggregated

resources in a datastore cluster to achieve objectives, including space load balancing, I/O load

balancing, and placement for virtual disks.




https://docs.vmware.com/en/VMware-vSphere/6.7/vsphere-esxi-vcenter-server-67-resource-
management-guide.pdf




https://blogs.vmware.com/performance/2018/11/sdrs-performance-vsphere67.html

       23.     Storage DRS in the Accused Products place VMs and VMDKs with reduced

latency. Dell claims that significant improvement in the latency is observed in the new version of

vSphere, i.e., VMware vSphere 6.7.




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https://blogs.vmware.com/performance/2018/11/sdrs-performance-vsphere67.html

       24.     In the Accused Products, the Storage DRS works in conjunction with the cluster

DRS based on a variety of metrics, including device latency and prioritizations, to avoid over

provisioning storage and other resources. As an example of an assignment objective, the Storage

DRS allocates resources (e.g., the placement for VMs and VMDKs) using a variety of metrics

(e.g., latency), which may each be controlled and/or monitored. In addition, resources can be

adjusted and can be set (e.g., as per virtual machines) through application of assignment algorithms

(e.g., VMotion).




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https://vspherecentral.vmware.com/t/resource-management-and-availability/vsphere-resources-
and-availability/drs-decision-engine/




https://docs.vmware.com/en/VMware-vSphere/6.7/vsphere-esxi-vcenter-server-67-resource-
management-guide.pdf




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        25.     Based on the metrics and prioritizations, algorithms applied in the Accused

Products (e.g., VMotion) can create assignments to migrate and optimize resources.




https://www.vmware.com/pdf/vmotion_datasheet.pdf

        26.     In view of preceding paragraphs, each and every element of at least claim 1 of the

‘800 Patent is found in the Accused Products.

        27.     Upon information and belief, each and every element of at least claim 1 of the

patent-in-suit is performed or practiced by Defendants at least through Defendants’ own use and

configuration of its own Accused Products, and/or through Defendants’ own testing and

configuration of its own Accused Products, and/or through Defendants’ providing services for its

Accused Products, including but not limited to providing installation, deployment, support and

configuration of its Accused Products.

        28.     Defendants continue to directly infringe at least one claim of the ‘800 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale, importing,

and/or distributing the Accused Products in the United States, including within this judicial district,

without the authority of Brazos.

        29.     In May 2020, Brazos filed a suit against Defendants asserting infringement of the

same patent and by the same accused products that are asserted in this case. Brazos dismissed

the prior suit before filing this suit. As a result of the prior suit, Defendants had notice and actual


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or constructive knowledge of their infringement of the patent-in-suit since at least May 2020,

before the filing of this case. Further, Defendants had knowledge of their infringement of the

patent-in-suit before the filing of this Amended Complaint. 1

         30.    Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the

‘800 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising, promoting,

and/or instructing include the documents at:

    •    https://www.dell.com/learn/us/en/15/solutions/vmware-vcloud



1
  Dell filed a motion to dismiss that is mooted by this amended complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,
LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).




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   •    https://www.dell.com/downloads/global/power/ps3q07-20070562-hanson.pdf

   •    https://www.delltechnologies.com/en-us/solutions/vmware/servers-for-vmware.htm

   •    https://www.dell.com/downloads/global/vectors/dell_and_vmware_drs_ha_solutions.pd
        f

   •    https://www.dell.com/support/article/en-uk/sln314727/dell-s-customization-of-vmware-
        esxi-and-its-advantages?lang=en

   •    https://www.dell.com/en-us/work/shop/povw/vmware-vsphere

   •    https://docs.vmware.com/en/VMware-vSphere/index.html

   •    https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/products/vspher
        e/vmware-whats-new-in-vsphere-whitepaper.pdf

   •    https://docs.vmware.com/en/VMware-vSphere/6.7/vsphere-esxi-vcenter-server-67-
        resource-management-guide.pdf

   •    https://www.vmware.com/in/products/vsphere/drs-dpm.html

   •    https://blogs.vmware.com/performance/2018/11/sdrs-performance-vsphere67.html

   •    https://www.vmware.com/pdf/vmotion_datasheet.pdf

   •    https://vspherecentral.vmware.com/t/vsphere-resources-and-availability/drs-decision-
        engine/

        31.    Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the ‘800 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the ‘800 Patent. The Accused Products are especially made or adapted

for infringing the ‘800 Patent and have no substantial non-infringing use. For example, in view of

the preceding paragraphs, the Accused Products contain functionality which is material to at least

one claim of the ‘800 Patent.




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                                         JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                    REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Defendants infringe one or more claims of the ‘800 Patent

literally and/or under the doctrine of equivalents;

       (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘800 Patent;

       (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘800 Patent;

       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘800 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




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Dated: November 12, 2020            Respectfully submitted,

                                   /s/ James L. Etheridge
                                   James L. Etheridge
                                   Texas State Bar No. 24059147
                                   Ryan S. Loveless
                                   Texas State Bar No. 24036997
                                   Travis L. Richins
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                                   Facsimile: (254) 772-6432


                                   COUNSEL FOR PLAINTIFF




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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                        §
   BRAZOS LICENSING AND                               §
   DEVELOPMENT,                                       §              NO. 6:20-cv-485-ADA
                                                      §
              Plaintiff,                              §           JURY TRIAL DEMANDED
                                                      §
   v.                                                 §
                                                      §
   DELL TECHNOLOGIES INC., DELL                       §
   INC., EMC CORPORATION, AND                         §
   VMWARE, INC.                                       §
                                                      §
              Defendants.
              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this First Amended Complaint (“Amended

Complaint” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc.,

EMC Corporation, and VMWare, Inc. (collectively, “Defendants”) and alleges:

                                         NATURE OF THE ACTION
         1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                             THE PARTIES
         2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

         3.       On information and belief, defendant Dell Technologies Inc. (“Dell”) is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.




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       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell.

       5.      On information and belief, defendant EMC Corporation (“EMC”) is a

Massachusetts corporation with a principal place of business at One Dell Way, Round Rock, Texas

78682. EMC Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

       6.      Upon information and belief, VMware, Inc. (“VMWare”) is a Delaware corporation

with two established places of business in this District, including two in Austin, Texas with over

700 employees.

       7.      Upon information and belief, VMWare was acquired by EMC in 2004 and

conducted an initial public offering of Class A common stock in August 2007. On or around

September 2016, Dell acquired by EMC. As a result, EMC became a wholly-owned subsidiary of

Dell, and VMWare became an indirectly-held, majority-owned subsidiary of Dell. Under the rules

of the New York Stock Exchange, VMWare is a controlled company. As of January 31, 2020, Dell

controlled approximately 80.9% of VMWare’s outstanding common stock, including 31 million

shares of its Class A common stock and all of it Class B common stock.

                                 JURISDICTION AND VENUE
       8.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       9.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       10.     This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed



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acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       11.     Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.

                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 7,636,309

       12.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       13.     On December 22, 2009, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,636,309 (“the ‘309 Patent”), entitled “Multi-Path Routing Using

Intra-Flow Splitting.” A true and correct copy of the ‘309 Patent is attached as Exhibit A to this

Complaint.

       14.     Brazos is the owner of all rights, title, and interest in and to the ‘309 Patent,

including the right to assert all causes of action arising under the ‘309 Patent and the right to any

remedies for the infringement of the ‘309 Patent.

       15.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, cloud-related

solutions, including but not limited to, devices incorporating VMware’s VeloCloud solutions and


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SD-WAN software, such as Dell EMC SD-WAN Edge 600 series products (collectively, the

“Accused Products”).




https://www.vmware.com/company/acquisitions/velocloud.html




https://www.dell.com/learn/us/en/15/solutions/vmware-vcloud




https://www.delltechnologies.com/en-us/networking/sd-wan-solution/index.htm



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       16.     The Accused Products have a variety of features and capabilities including

Dynamic Multipath Optimization (DMPO) technology. VMware SD-WAN processing of traffic

flows at a node in a network can provide packet level redirection. This allows one or multiple

physical WAN links to be abstracted and virtualized packet-by-packet. Path selection and

remediation techniques can be applied in virtually real-time. Dynamic load-sharing maintains end-

customer application performance quality, regardless of the reliability or consistency of the

individual physical link.




https://www.velocloud.com/content/dam/digitalmarketing/velocloud/en/documents/case-study-
dell-emc.pdf




https://technologyleadership.academy/wp-content/uploads/2019/08/SDWAN-velocloud-benefits-
DynamicMultipathOptimization.pdf

       17.     DMPO can perform continuous, uni-directional measurements of performance

metrics (for example, loss, latency, and jitter) of every packet obtained from multiple flows on


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every tunnel between any two DMPO endpoints, VeloCloud Edge (VCE), or VeloCloud Gateway

(VCG).




https://technologyleadership.academy/wp-content/uploads/2019/08/SDWAN-velocloud-benefits-
DynamicMultipathOptimization.pdf




https://technologyleadership.academy/wp-content/uploads/2019/08/SDWAN-velocloud-benefits-
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       18.     The Accused Products perform splitting traffic flows using application-aware per-

packet steering based on Business Policy configurations and real-time conditions to route the

packets on the best available path. Packets of multiple applications may be steered on a per-packet

basis onto one or more DMPO tunnels.




https://www.vmware.com/company/acquisitions/velocloud.html




https://www.velocloud.com/products/features




https://www.velocloud.com/content/dam/digitalmarketing/velocloud/en/documents/solution-
overview-service-providers.pdf




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https://technologyleadership.academy/wp-content/uploads/2019/08/SDWAN-velocloud-benefits-
DynamicMultipathOptimization.pdf




https://technologyleadership.academy/wp-content/uploads/2019/08/SDWAN-velocloud-benefits-
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       19.    The Accused Products can provide a branch networking solution that combines the

economics and flexibility of multiple WAN transports. Packets belonging to multiple flows can be



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received through multiple branches. The packets can be combined and steered on a per-packet

basis on different DMPO tunnels.




https://www.velocloud.com/content/dam/digitalmarketing/velocloud/en/documents/solution-
overview-service-providers.pdf




https://blogs.vmware.com/velocloud/2018/08/02/healthcare-technology-part-3-why-providers-
say-i-gotta-have-sd-wan/




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https://technologyleadership.academy/wp-content/uploads/2019/08/SDWAN-velocloud-benefits-
DynamicMultipathOptimization.pdf

       20.     The Accused Products can perform per-packet load balancing to maintain even

traffic flow through the branches of the network. Per-packet link steering can be performed

automatically, for example, based on measured performance metrics, intelligent application

learning, the business priority of the application, and link cost.




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https://www.velocloud.com/products/features
       21.     The Accused Products can perform per-packet load-balancing of packets belonging

to a traffic flow across all available paths to the destination. On information and belief, the Accused

Products use a split ratio vector in the manner claimed. For example, they take into account the

real-time WAN performance, such as which paths are in use, automatically decide which paths

should be used for the flow, and then perform resequencing at the destination to ensure the packets

reach the destination in a sequential manner.




https://blogs.vmware.com/velocloud/2018/08/02/healthcare-technology-part-3-why-providers-
say-i-gotta-have-sd-wan/




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        22.     In view of preceding paragraphs, each and every element of at least claim 1 of the

‘309 Patent is found in the Accused Products.

        23.     Defendants continue to directly infringe at least one claim of the ‘309 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale, importing,

and/or distributing the Accused Products in the United States, including within this judicial district,

without the authority of Brazos.

        24.     Upon information and belief, each and every element of at least one claim of the

patent-in-suit is performed or practiced by Defendants at least through Defendants’ own use and

configuration of its own Accused Products, and/or through Defendants’ own testing and

configuration of its own Accused Products, and/or through Defendants’ providing services for its

Accused Products, including but not limited to providing installation, deployment, support and

configuration of its Accused Products.

        25.     Defendants had knowledge of their infringement of the patent-in-suit before the

filing of this Amended Complaint.1 Defendants received notice and actual or constructive


1
  Dell filed a motion to dismiss that is mooted by this Amended Complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,


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knowledge of their infringement of the patent-in-suit since at least the date of service of the original

Complaint.

         26.    Since before the filing of this Amended Complaint, through its actions, Defendants

have actively induced product makers, distributors, retailers, and/or end users of the Accused

Products to infringe the ‘309 Patent throughout the United States, including within this judicial

district, by, among other things, advertising and promoting the use of the Accused Products in

various websites, including providing and disseminating product descriptions, operating manuals,

and other instructions on how to implement and configure the Accused Products. Examples of

such advertising, promoting, and/or instructing include the documents at:

    •    https://www.dell.com/learn/us/en/15/solutions/vmware-vcloud

    •    https://www.delltechnologies.com/en-us/networking/sd-wan-solution/index.htm

    •    https://www.dell.com/en-us/work/shop/povw/sd-wan-edge-600

    •    https://www.velocloud.com/content/dam/digitalmarketing/velocloud/en/documents/case
         -study-dell-emc.pdf

    •    https://technologyleadership.academy/wp-content/uploads/2019/08/SDWAN-velocloud-
         benefits-DynamicMultipathOptimization.pdf

    •    https://www.vmware.com/company/acquisitions/velocloud.html

    •    https://www.velocloud.com/products/features

    •    https://www.velocloud.com/content/dam/digitalmarketing/velocloud/en/documents/solut
         ion-overview-service-providers.pdf



LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).




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   •    https://blogs.vmware.com/velocloud/2018/08/02/healthcare-technology-part-3-why-
        providers-say-i-gotta-have-sd-wan/

        27.    Since before the filing of this Amended Complaint, through its actions, Defendants

have contributed to the infringement of the ‘309 Patent by having others sell, offer for sale, or use

the Accused Products throughout the United States, including within this judicial district, with

knowledge that the Accused Products infringe the ‘309 Patent. The Accused Products are

especially made or adapted for infringing the ‘309 Patent and have no substantial non-infringing

use. For example, in view of the preceding paragraphs, the Accused Products contain functionality

which is material to at least one claim of the ‘309 Patent.

                                             JURY DEMAND
        Brazos hereby demands a jury on all issues so triable.



                                    REQUEST FOR RELIEF

        WHEREFORE, Brazos respectfully requests that the Court:

        (A)    Enter judgment that Defendants infringe one or more claims of the ‘309 Patent

literally and/or under the doctrine of equivalents;

        (B)    Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘309 Patent;

        (C)    Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘309 Patent;

        (D)    Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘309 Patent through the date such judgment is entered in




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accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




Dated: October 19, 2020                        Respectfully submitted,

                                              /s/ James L. Etheridge
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                                              Ryan S. Loveless
                                              Texas State Bar No. 24036997
                                              Travis L. Richins
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                                              Telephone: (254) 772-6400
                                              Facsimile: (254) 772-6432


                                              COUNSEL FOR PLAINTIFF




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            EXHIBIT 3D
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                        §
   BRAZOS LICENSING AND                               §
   DEVELOPMENT,                                       §              NO. 6:20-cv-486-ADA
                                                      §
              Plaintiff,                              §           JURY TRIAL DEMANDED
                                                      §
   v.                                                 §
                                                      §
   DELL TECHNOLOGIES INC., DELL                       §
   INC., EMC CORPORATION, AND                         §
   VMWARE, INC.                                       §
                                                      §
              Defendants.
              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this First Amended Complaint (“Amended

Complaint” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc.,

EMC Corporation, and VMWare, Inc. (collectively, “Defendants”) and alleges:

                                         NATURE OF THE ACTION
         1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                             THE PARTIES
         2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

         3.       On information and belief, defendant Dell Technologies Inc. (“Dell”) is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.




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       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell.

       5.      On information and belief, defendant EMC Corporation (“EMC”) is a

Massachusetts corporation with a principal place of business at One Dell Way, Round Rock, Texas

78682. EMC Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

       6.      Upon information and belief, VMware, Inc. (“VMWare”) is a Delaware corporation

with two established places of business in this District, including two in Austin, Texas with over

700 employees.

       7.      Upon information and belief, VMWare was acquired by EMC in 2004 and

conducted an initial public offering of Class A common stock in August 2007. On or around

September 2016, Dell acquired by EMC. As a result, EMC became a wholly-owned subsidiary of

Dell, and VMWare became an indirectly-held, majority-owned subsidiary of Dell. Under the rules

of the New York Stock Exchange, VMWare is a controlled company. As of January 31, 2020, Dell

controlled approximately 80.9% of VMWare’s outstanding common stock, including 31 million

shares of its Class A common stock and all of it Class B common stock.

                                 JURISDICTION AND VENUE
       8.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       9.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       10.     This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed



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acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       11.     Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.

                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 7,092,360

       12.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       13.     On August 15, 2006, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,092,360 (“the ‘360 Patent”), entitled “Monitor, System and

Method for Monitoring Performance of a Scheduler.” A true and correct copy of the ‘360 Patent

is attached as Exhibit A to this Complaint.

       14.     Brazos is the owner of all rights, title, and interest in and to the ‘360 Patent,

including the right to assert all causes of action arising under the ‘360 Patent and the right to any

remedies for the infringement of the ‘360 Patent.

       15.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, cloud-related

solutions, including but not limited to, devices incorporating VMware’s VeloCloud solutions and


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vSphere software, such as Dell’s PowerEdge servers and VxRail appliances (collectively, the

“Accused Products”).




https://www.dell.com/learn/us/en/15/solutions/vmware-vcloud




https://www.dell.com/downloads/global/power/ps3q07-20070562-hanson.pdf




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https://www.delltechnologies.com/en-us/solutions/vmware/servers-for-vmware.htm




https://www.dell.com/downloads/global/vectors/dell_and_vmware_drs_ha_solutions.pdf




https://www.dellemc.com/resources/en-us/asset/technical-guides-support-
information/products/converged-infrastructure/vxrail-vcenter-server-planning-guide.pdf

       16.    The Accused Products provide functions for resource management, designated as

Network I/O Control (NetIOC), including scheduling.




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       17.    In NetIOC, each resource-pool flow can have a dedicated software queue inside the

scheduler.




https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/vmware_netio
c_bestpractices-white-paper.pdf

       18.    VMware Vsphere’s NetIOC scheduler includes certain scheduling functionality including,

for example, the hClock Scheduler. The NetIOC scheduler in the Accused Products maintains and




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keeps track of each network port and decides which network port to pick for scheduling the

dispatch of data traffic.




https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/network-ioc-
vsphere6-performance-evaluation-white-paper.pdf

          19.   Various tags are in use in the hClock scheduler to help in monitoring the status of

different states of an element in hClock Scheduler. For example, Reservation tags (Rq), Limit tags

(Lq) and Shares tags (Sq) are used to track the allocation based on reservation values (rq), limit

values (lq), and shares values (sq) respectively, and these elements track different metrics

associated with a transmit queue. These tags are in a real-time domain to track the fulfillment of

reservations and limits by comparing the corresponding tags with the real-time values. Comparison

is made regarding the previous values and the real-time value, which helps in determining the

output.




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https://dl.acm.org/doi/abs/10.1145/2465351.2465382

         20.   The hClock scheduler checks the status of each queue. There are pointers associated

at the end of each queue to track the status. The next step is based on the output of the status of the

queue.




https://dl.acm.org/doi/abs/10.1145/2465351.2465382

         21.   The Accused Products are programmed to handle transmit queues.




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       22.     The Accused Products provide the impact of NetIOC Scheduler on a vSphere host

and have a separate scheduler queue for each virtual port. The NetIOC scheduler picks up

packets from the network port queues. It dispatches them for transmitting over the network

adapter while making sure that bandwidth, shares, and limit settings are provided to each

network port in NetIOC.




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       23.     As noted above, the NetIOC scheduler decides which network port to pick for

scheduling at a given amount of time among the plurality of ports and queues. It can use one

transmit queue of a port from the available ports.




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performance-evaluation-white-paper.pdf




https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/network-ioc-
vsphere6-performance-evaluation-white-paper.pdf

       24.     The Accused Products may also use HClock Multiqueue to distribute traffic

across multiple transmit queues on a single physical NIC.




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       25.    The hClock scheduler in the Accused Products has an algorithm based on whether

a transmit queue is empty or occupied.




https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/network-ioc-
vsphere6-performance-evaluation-white-paper.pdf

       26.    Various decisions for a scheduler in the Accused Products are based on the

number of packets in a queue, which is calculated based on “packet length.”




https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/network-ioc-
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        27.     In view of preceding paragraphs, each and every element of at least claim 26 of the

‘360 Patent is found in the Accused Products.

        28.     Upon information and belief, each and every element of at least claim 26 of the

patent-in-suit is performed or practiced by Defendants at least through Defendants’ own use and

configuration of its own Accused Products, and/or through Defendants’ own testing and

configuration of its own Accused Products, and/or through Defendants’ providing services for its

Accused Products, including but not limited to providing installation, deployment, support and

configuration of its Accused Products.

        29.     Defendants continue to directly infringe at least one claim of the ‘360 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale, importing,

and/or distributing the Accused Products in the United States, including within this judicial district,

without the authority of Brazos.

        30.     Defendants had knowledge of their infringement of the patent-in-suit before the

filing of this Amended Complaint.1 Defendants received notice and actual or constructive


1
  Dell filed a motion to dismiss that is mooted by this amended complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,


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knowledge of their infringement of the patent-in-suit since at least the date of service of the original

Complaint.

         31.    Since before the filing of this Amended Complaint, through its actions, Defendants

have actively induced product makers, distributors, retailers, and/or end users of the Accused

Products to infringe the ‘360 Patent throughout the United States, including within this judicial

district, by, among other things, advertising and promoting the use of the Accused Products in

various websites, including providing and disseminating product descriptions, operating manuals,

and other instructions on how to implement and configure the Accused Products. Examples of

such advertising, promoting, and/or instructing include the documents at:

    •    https://www.dell.com/learn/us/en/15/solutions/vmware-vcloud

    •    https://www.dell.com/downloads/global/power/ps3q07-20070562-hanson.pdf

    •    https://www.delltechnologies.com/en-us/solutions/vmware/servers-for-vmware.htm

    •    https://www.dell.com/downloads/global/vectors/dell_and_vmware_drs_ha_solutions.pd
         f

    •    https://www.dellemc.com/resources/en-us/asset/technical-guides-support-
         information/products/converged-infrastructure/vxrail-vcenter-server-planning-guide.pdf

    •    https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/netw
         ork-ioc-vsphere6-performance-evaluation-white-paper.pdf

    •    http://fileapi.it.hactcm.edu.cn/yjsyxnh/file/2019/3/1/131959260611073796.pdf

    •    https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/perfo
         rmance/Perf_Best_Practices_vSphere65.pdf


LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).




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   •    https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/vmw
        are_netioc_bestpractices-white-paper.pdf

   •    https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/products/vspher
        e/vmware-vsphere-feature-comparison-datasheet.pdf

   •    https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/techpaper/perfo
        rmance/vsphere-esxi-vcenter-server-67-performance-best-practices.pdf

        32.    Since before the filing of this Amended Complaint, through its actions, Defendants

have contributed to the infringement of the ‘360 Patent by having others sell, offer for sale, or use

the Accused Products throughout the United States, including within this judicial district, with

knowledge that the Accused Products infringe the ‘360 Patent. The Accused Products are

especially made or adapted for infringing the ‘360 Patent and have no substantial non-infringing

use. For example, in view of the preceding paragraphs, the Accused Products contain functionality

which is material to at least one claim of the ‘360 Patent.

                                            JURY DEMAND
        Brazos hereby demands a jury on all issues so triable.


                                    REQUEST FOR RELIEF

        WHEREFORE, Brazos respectfully requests that the Court:

        (A)    Enter judgment that Defendants infringe one or more claims of the ‘360 Patent

literally and/or under the doctrine of equivalents;

        (B)    Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘360 Patent;

        (C)    Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘360 Patent;




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       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘360 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




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Dated: October 19, 2020             Respectfully submitted,

                                   /s/ James L. Etheridge
                                   James L. Etheridge
                                   Texas State Bar No. 24059147
                                   Ryan S. Loveless
                                   Texas State Bar No. 24036997
                                   Travis L. Richins
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                                   COUNSEL FOR PLAINTIFF




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  AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                               Western District of Texas
                                                                                                             6:20-cv-00475
   WSOU Investments, LLC dlbla Brazos Licensing &                               )                            6:20-cv-00477
                      Plaintiff       Development                               )                            6:20-cv-00478
                                                                                        Civil Action No.     6:20-cv-00479
                                    V.                                          )
          Dell Technologies Inc., Dell Inc., and EMC                            )
                        Corporation                                             )
                                Defendant                                       )

                               SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To:                                                            Basepoint Administrative, LLC

                                                        (Name of person to whom this subpoena is directed)

      ,I Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
 party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
 or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
 these matters: See Appendix A, attached hereto.

  Place: SheltonCoburnLLP                                                               Date and Time:
         311 Ranch Road 620 S, Suite 205                                                                   0911712021 9:00 am
         Austin, Texas 78734-4775

           The deposition will be recorded by this method:                     Stenographic and videotape
                                                                              - - ------- - - - - - --- - - - -
                                                                                                              -

         ,I Production:  You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material: See Appendix A, attached hereto. Please produce documents on or before September 10, 2021 to
                     Barry Shelton, Shelton Coburn LLP, 311 Ranch Road 620 S, Suite 205, Austin, Texas 78734-4775.



        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:     August 20, 2021
                                   CLERK OF COURT
                                                                                          OR
                                                                                                                Isl Barry Shelton
                                            Signature of Clerk or Deputy Clerk                                 Altorney 's signature

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Dell Technologies
  Inc., Dell Inc., and EMC Corporation                                        , who issues or requests this subpoena, are:
Barry Shelton I Shelton Coburn LLP, 311 Ranch Rd 620 S, Ste 205, Austin, Texas 78734-47751 (512) 263-2165
esf:10lten@sf:10ltensee1,1Fn.ser:t=1
                                     Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
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 Civil Action No. 6:20-cv-00475
                        6:20-cv-004 77
                        6:20-cv-00478
                        6:20-cv-00479                 PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

                                                     andtitle,if any)
        I received this subpoena for (nameof individual
on (date)

           0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                      on (date)                    ; or

           0 I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
           $


My fees are$                                       for travel and $                      for services, for a total of$    0.00



          I declare under penalty of perjury that this information is true.


Date:
                                                                                           Server'ssignature


                                                                                          Printednameandtitle




                                                                                            Server'saddress

Additional information regarding attempted service, etc.:
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 AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                               Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    (ii) disclosing an unretained expert's opinion or information that does
 person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert's
    (A) within 100 miles of where the person resides, is employed, or              study that was not requested by a party.
 regularly transacts business in person; or                                           (C) Specifying Conditions as an Alternative. In the circumstances
    (8) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
 transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
       (i) is a party or a party's officer; or                                     conditions if the serving party:
       (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
 expense.                                                                          otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
   (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or             (e) Duties in Responding to a Subpoena.
 tangible things at a place within 100 miles of where the person resides, is
 employed, or regularly transacts business in person; and                           (1) Producing Documents or Electronically Stored Information. These
    (8) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                   information:
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney            must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (8) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney's fees-on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                             (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
   (8) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises-or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for           (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,      under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                        material must:
      (i) At any time, on notice to the commanded person, the serving party            (i) expressly make the claim; and
may move the court for the district where compliance is required for an                (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                        tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the      privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from       (8) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                    subpoena is subject to a claim of privilege or of protection as
                                                                                  trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                            that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where           information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
                                                                                  information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (8) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
                                                                                  subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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         APPENDIX A
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             EXHIBIT 1
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                                    DOCUMENTS
                                            REQUESTED

            Defendants Dell Technologies Inc., Dell Inc., and EMC Corporation (collectively,

     "Defendants") request the production of the documents described below.

                                            DEFINITIONS
            The following definitions are applicable to terms employed in responding to this request:

 1.       "Accused Product" or "Accused Products" shall refer to any device, product, or other thing

          that Plaintiff is permitted to accuse of infringing the Asserted Patent in this Action. A copy

          of the Complaint in case numbers 6:20-cv-00475-ADA, 6:20-cv-00477-ADA, 6:20-cv-

          00478-ADA, 6:20-cv-00479-ADA is attached as Exhibit 3. In referring to any device,

          product, or other thing as an "Accused Product," Defendants in no way communicate their

          agreement that it infringes the Asserted Patent.

2.        "Action" shall refer to the above-captioned proceeding in the United States District Court

          for the Western District of Texas, with case numbers: 6:20-cv-00475-ADA, 6:20-cv-

          00477-ADA, 6:20-cv-00478-ADA, 6:20-cv-00479-ADA.

3.        "Alcatel" shall mean Alcatel-Lucent International and all parents, subsidiaries, affiliates,

          predecessors, successors, including but not limited to Alcatel and Lucent Technologies.

4.        "Asserted Claim" shall refer to each claim of the Asserted Patent that Plaintiff contends

          Defendants infringe.

5.        "Asserted Patent(s)" shall refer to U.S. Patent Nos. 7,126,921; 7,453,888; 8,402,129;

          8,913,489 and any patent applications related thereto.

6.       "Communication" shall mean, without limitation, any written, oral, or other transmission

         of information, including but not limited to emails.




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7.     "Complaint" shall refer to the Complaint (including exhibits) that Plaintiff filed on June 2,

       2020 as docket number 1 in this Action, the Amended Complaint filed on October 19,

       2020, and any other amended complaints thereafter.

8.     "Concerning," "refer(s) to," "related to," "reflecting," "regarding," and "relating to" shall

       mean directly or indirectly relating to, referring to, regarding, mentioning, reflecting,

       pertaining to, evidencing, illustrating, involving, describing, discussing, commenting on,

       embodying, responding to, supporting, contradicting, or constituting (in whole or in part),

       as the context makes appropriate.

9.     "Defendants" or "Defendant" shall refer to Dell Technologies Inc., Dell Inc., and EMC

       Corporation, and any and all of their then-current or prior subsidiaries, parents, affiliates,

       divisions, successors, predecessors, agents, employees, representatives, directors, officers,

       trustees, and attorneys, or any other person or entity acting in whole or in part in concert

       with any of the foregoing, directly or indirectly.

10.    "Document" shall include, without limitation, all documents, electronically stored

       information, and tangible things within the scope of the Federal Rules of Civil Procedure,

       including Rule 34. Federal Rules of Civil Procedure 34 permits discovery of: "(A)

       documents or electronically stored information-including        writings, drawings, graphs,

      charts, photographs, sound recordings, images, and other data or data compilations-stored

      in any medium from which information can be obtained either directly or, if necessary,

      after translation by the responding party into a reasonably usable form; or (B) any

      designated tangible things."

11.   "Employee" shall refer to any officer, director, partner, employee, representative, or agent.




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12.     "Licensee(s)" shall refer to any entity having a license, assignment, covenant not to sue, or

        other understanding, written, oral or implied, that the entity has any rights to the Asserted

       Patent, any Related Patents, or any Related Applications, may practice one or more claims

       of the Asserted Patent and/or that Plaintiff will not file suit or otherwise enforce against

       that entity one or more claims of the Asserted Patent or any Related Patent or Related

       Application.

13.    "Nokia" shall mean Nokia Corporation and all parents, subsidiaries, affiliates,

       predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions and

       Networks BV.

14.    "Other Action Defendants" shall refer to any of the entities that Plaintiff has accused of

       patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google, HP,

       Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco,

       and NetGear).

15.    "Other Action Patents" shall refer to any patent that was asserted against any of the Other

       Action Defendants.

16.    "Person" shall refer to any natural person, firm, association, partnership, government

       agency, corporation, proprietorship, or other entity and its officers, directors, partners,

       employee, representatives, and agents.

17.    The terms "Plaintiff," and/or "WSOU" shall refer to the responding Plaintiff WSOU

       Investments, LLC d/b/a Brazos Licensing and Development, and any and all of its then-

       current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

       employees, representatives, directors, officers, trustees, and attorneys, or any other person




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         or entity acting in whole or in part in concert with any of the foregoing, directly or

         indirectly.

 18.     "Prior Art" encompasses, without limitation, the subject matter described in each and every

         subdivision of 35 U.S.C. §§ 102 and 103, and includes, but is not limited to, memoranda,

         notes, manuals, interviews, testing data, disclosures, prototypes, correspondence,

        drawings, papers, articles, patents, printed publications, public uses, demonstrations, offers

        for sale or license, and sales.

19.     "Product( s)" means a machine, manufacture, apparatus, device, instrument, mechanism,

        appliance, software, service, process, or an assemblage of components/parts (either

        individually or collectively) that are designed to function together electronically,

        mechanically, or otherwise, including any offered for sale or under development.

20.     "Related Application(s)" means any and all applications related to the Asserted Patent,

        including any provisional or non-provisional applications, continuations, continuations- in-

        part, divisions, interferences, reexaminations, re-issues, parents, foreign counterpart

        applications, and any other applications disclosing, describing or claiming any invention

        disclosed, described or claimed in the Asserted Patent, or claiming the benefit of the filing

        date of any application whose benefit is claimed in the Asserted Patent, whether or not

        abandoned and whether or not issued.

21.     "Related Patent(s)" means any and all U.S. or foreign patents based upon or related to any

        Related Application(s) or Asserted Patent, including any patents or applications that may

        have been opposed, reexamined, re-issued or subjected to any validity or nullity

        proceeding.

22.     "Third Party" shall refer to any person other than Plaintiff or Defendants.




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 23.     "You," "Your," "Yours" shall refer to Basepoint Administrative, LLC (BP Funding Trust,

         Series SPL-VI), and any and all of its then-current or prior subsidiaries, parents, affiliates,

        divisions, successors, predecessors, agents, employees, representatives, directors, officers,

        trustees, and attorneys, or any other person or entity acting in whole or in part in concert

        with any of the foregoing, directly or indirectly.

24.     Any pronouns shall be construed to refer to the masculine, feminine, or neutral gender, in

        singular or plural, as in each case is most appropriate.

25.     The singular form of any word shall be construed to also include the plural, and vice-versa.

26.     The word "each" shall be construed to mean "each and every."

27.     The words "and" and "or" shall be construed conjunctively or disjunctively, whichever

        makes the request more inclusive.

28.     The words "any" and "all" shall be construed to mean "any and all."

                                         INSTRUCTIONS

I.      This request seeks disclosure to the full extent of the Federal Rules of Civil Procedure and

        shall be interpreted as inclusive rather than exclusive.

2.      In responding to the Document requests set forth below, please furnish all responsive and

        non-privileged information that is available to You.

3.      Please produce the requested Documents as they are kept in the ordinary course of business.

4.     If production of any responsive Documents are being withheld on the ground of the

       attorney-client privilege, attorney work product, or any other privilege, immunity, or

       protection, please provide a privilege log with the following information for each such

       Document: (a) the name of the Document; (b) the name of the person(s) who prepared the

       Document; (c) the name of the person(s) to whom the Document was directed or circulated;

       (d) the date(s) on which the Document was prepared or transmitted; (e) the name of the


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      person(s) now in possession of the Document; (f) a description of the subject matter of the

      Document; and (g) the specific nature of the privilege or protection claimed with respect

      to the Document.

5.    The Court's interim protective order in the Order Governing Proceedings shall govern the

      disclosure of confidential information in this Action:

              Pending entry of the final Protective Order, the Court issues the following
              interim Protective Order to govern the disclosure of confidential
              information in this matter:

                     If any document or information produced in this matter is
                     deemed confidential by the producing party and if the Court
                     has not entered a protective order, until a protective order is
                     issued by the Court, the document shall be marked
                     "confidential" or with some other confidential designation
                     (such as "Confidential - Outside Attorneys Eyes Only") by
                     the disclosing party and disclosure of the confidential
                     document or information shall be limited to each party's
                     outside attorney(s) of record and the employees of such
                     outside attorney(s).

                     If a party is not represented by an outside attorney,
                     disclosure of the confidential document or information shall
                     be limited to one designated "in house" attorney, whose
                     identity and job functions shall be disclosed to the producing
                     party 5 days prior to any such disclosure, in order to permit
                     any motion for protective order or other relief regarding such
                     disclosure. The person( s) to whom disclosure of a
                     confidential document or information is made under this
                     local rule shall keep it confidential and use it only for
                     purposes of litigating the case.

6.    Upon entry of a final protective order in this matter that protective order shall govern the

      disclosure of confidential information in this Action.




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                                    DOCUMENT REQUESTS

         1.       Documents regarding the Asserted Patent, any Related Patents, or Related

Applications, including any alleged infringement of such patents.

        2.       Documents relating to any Prior Art search performed by You, on Your behalf, or

that You are aware of, relating to the Asserted Patent, any Related Patent, or Related Application

(including, but not limited to, any search methodology, results and any policies regarding Prior

Art searches).

        3.       Documents regarding whether any claim in the Asserted Patent is invalid, valid,

enforceable, or unenforceable (including any Prior Art or alleged Prior Art).

        4.       Documents sufficient to identify all products of which you are/were aware that

practiced or currently practice any claim of the Asserted Patent, Related Patents, or Related

Applications and all allegations of which you are/were aware that products practiced or currently

practice any claim of the Asserted Patent, Related Patents, or Related Applications.

        5.       Documents and Communications concerning any evaluation or analysis of the

Asserted Patent, Related Patents, or Related Applications, whether individually or in combination

with any other patents or applications, including any evaluation or analysis of infringement,

validity, or commercialization.

       6.        Documents and Communications concerning any ranking (in terms of strength,

value, or otherwise) or rating of, or attempts to rank or rate the Asserted Patent, Related Patents,

or Related Applications, whether individually or in combination with any other patents or

applications, or any portfolio containing the Asserted Patent, Related Patents, or Related

Applications.

       7.        Documents and Communications concernmg each proposal, offer or other


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 discussions by you or your predecessors in interest, regarding actual or potential agreements with

 Allied Security Trust, or WSOU regarding any asserted patent including communications

 regarding such a proposal, draft agreements, and executed agreements.

         8.      Communications (or Documents relating thereto) with Alcatel or Nokia regarding

the Asserted Patent, Related Patents, or Related Applications.

         9.      Communications (or Documents relating thereto) between You and Plaintiff

relating to a) the Asserted Patent, Related Patents, Related Applications, or Other Action Patents;

b) this Action (including the initiation of or projected outcomes from this Action); c) any

Defendant or its products; and d) any portfolio of which the Asserted Patent, Related Patents,

Related Applications were a part.

        10.     Documents and Communications concerning any decision to pursue or not to

pursue any claim of infringement of the Asserted Patent of any Related Patent against any

Defendant.

        11.     Documents and Communications concerning any decision to pursue or not to

pursue any claim of infringement against any of the Other Action Defendants.

        12.     Documents regarding ownership, assignment, licenses, royalties, covenants,

standstills, settlements, acquisition, financial interest, security interest, sale, transfer of rights (in

whole or in part), or any other disposition of, or any offers to buy, sell, or license the Asserted

Patent, Related Patents, Related Applications or Other Action Patents. This includes, but is not

limited to:

                 a.      Offers to buy, sell, or license, agreements granting rights, assignments,

                         licenses, covenants, royalties, settlements, agreements releasing any third

                         party from liability for infringement, and covenants not to sue, involving



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                         or concerning the Asserted Patent, Related Patents, Related Applications,

                         or Other Action Patents;

                 b.      Negotiations, discussions, or other Communications relating to the

                         Documents referenced in sub-paragraph (a); and

                 c.      Communications (or documents relating thereto) between You and any

                         potential Licensee or purchaser of the Asserted Patent, Related Patents,

                         Related Applications, or Other Action Patents.

        13.     Documents and Communications concerning any right, title, or interest in any

litigation or action involving any of the Asserted Patent, Related Patents, or Other Action

Defendants.

        14.     Documents and Communications concerning any business plans, marketing plans,

marketing efforts, advertising plans, advertising efforts, promotional programs, involving or

concerning the Asserted Patent, Related Patents, Related Applications or Other Action Patents.

        15.    Documents and Communications concerning any budgets, forecasts, revenues,

projections, costs, sales, expenses, margins, profits, or any other means for generating revenue

from any Product, process, equipment, or service that allegedly embodies any claim of the

Asserted Patent or any Other Action Patents.

        16.    Valuations of the Asserted Patent, Related Patents, Related Applications or Other

Action Patents, either alone, or together with other patents or consideration, including as part of

an intellectual property portfolio, and including any appraisals or valuations for tax purposes.

       17.     Documents (or Communications relating thereto) concerning any licensing policy
                                                                                           I




that You may have, including without limitation policies and practices relating to taking or

granting licenses, relating to any of the Asserted Patent, Related Patents, Related Applications,


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or Other Action Patents.

           18.   Documents and Communications concerning whether all of the Licensees of the

 Asserted Patent have complied with the marking or notice provisions of 35 U.S.C. § 287(a) with

 respect to the Asserted Patent.

       19.       Documents sufficient to identify the nature and scope of any rights in the Asserted

Patent that You have obtained and/or retained at any time, including, without limitation, any right

to control litigation, future royalties, payments for licenses, or payments relating to or resulting

from the outcome of any litigation involving the Asserted Patent, Related Patents, or Other Action

Patents.




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             EXHIBIT 2
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                          ORAL EXAMINATION TOPICS REQUESTED

            Defendants Dell Technologies Inc., Dell Inc., and EMC Corporation (collectively,

     "Defendants") seek to ask questions on topics described below.

                                            DEFINITIONS

            The following definitions are applicable to terms employed in responding to this request:

 1.       "Accused Product" or "Accused Products" shall refer to any device, product, or other thing

          that Plaintiff is permitted to accuse of infringing the Asserted Patent in this Action. A copy

          of the Complaint in case numbers 6:20-cv-00475-ADA, 6:20-cv-00477-ADA, 6:20-cv-

          00478-ADA, 6:20-cv-00479-ADA is attached as Exhibit 3. In referring to any device,

          product, or other thing as an "Accused Product," Defendants in no way communicate their

          agreement that it infringes the Asserted Patent.

2.        "Action" shall refer to the above-captioned proceeding in the United States District Court

          for the Western District of Texas, with case numbers: 6:20-cv-00475-ADA, 6:20-cv-

          00477-ADA, 6:20-cv-00478-ADA, 6:20-cv-00479-ADA.

3.        "Alcatel" shall mean Alcatel-Lucent International and all parents, subsidiaries, affiliates,

          predecessors, successors, including but not limited to Alcatel and Lucent Technologies.

4.        "Asserted Claim" shall refer to each claim of the Asserted Patent that Plaintiff contends

          Defendants infringe.

5.        "Asserted Patent(s)" shall refer to U.S. Patent Nos. 7,126,921; 7,453,888; 8,402,129;

          8,913,489 and any patent applications related thereto.

6.        "Communication" shall mean, without limitation, any written, oral, or other transmission

          of information, including but not limited to emails.




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 7.     "Complaint" shall refer to the Complaint (including exhibits) that Plaintiff filed on June 2,

        2020 as docket number 1 in this Action, the Amended Complaint filed on October 19,

       2020, and any other amended complaints thereafter.

8.     "Concerning," "refer(s) to," "related to," "reflecting," "regarding," and "relating to" shall

       mean directly or indirectly relating to, referring to, regarding, mentioning, reflecting,

       pertaining to, evidencing, illustrating, involving, describing, discussing, commenting on,

       embodying, responding to, supporting, contradicting, or constituting (in whole or in part),

       as the context makes appropriate.

9.     "Defendants" or "Defendant" shall refer to Dell Technologies Inc., Dell Inc., and EMC

       Corporation, and any and all of their then-current or prior subsidiaries, parents, affiliates,

       divisions, successors, predecessors, agents, employees, representatives, directors, officers,

       trustees, and attorneys, or any other person or entity acting in whole or in part in concert

       with any of the foregoing, directly or indirectly.

10.    "Document" shall include, without limitation, all documents, electronically stored

       information, and tangible things within the scope of the Federal Rules of Civil Procedure,

       including Rule 34. Federal Rules of Civil Procedure 34 permits discovery of: "(A)

       documents or electronically stored information-including        writings, drawings, graphs,

       charts, photographs, sound recordings, images, and other data or data compilations-stored

       in any medium from which information can be obtained either directly or, if necessary,

      after translation by the responding party into a reasonably usable form; or (B) any

      designated tangible things."

11.   "Employee" shall refer to any officer, director, partner, employee, representative, or agent.




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 12.    "Licensee(s)" shall refer to any entity having a license, assignment, covenant not to sue, or

        other understanding, written, oral or implied, that the entity has any rights to the Asserted

        Patent, any Related Patents, or any Related Applications, may practice one or more claims

        of the Asserted Patent and/or that Plaintiff will not file suit or otherwise enforce against

        that entity one or more claims of the Asserted Patent or any Related Patent or Related

        Application.

13.     "Nokia" shall mean Nokia Corporation and all parents, subsidiaries, affiliates,

        predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions and

        Networks BV.

14.     "Person" shall refer to any natural person, firm, association, partnership, government

        agency, corporation, proprietorship, or other entity and its officers, directors, partners,

        employee, representatives, and agents.

15.     The terms "Plaintiff," and/or "WSOU" shall refer to the responding Plaintiff WSOU

        Investments, LLC d/b/a Brazos Licensing and Development, and any and all of its then-

        current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

        employees, representatives, directors, officers, trustees, and attorneys, or any other person

       or entity acting in whole or in part in concert with any of the foregoing, directly or

       indirectly.

16.    "Prior Art" encompasses, without limitation, the subject matter described in each and every

       subdivision of 35 U.S.C. §§ 102 and 103, and includes, but is not limited to, memoranda,

       notes, manuals, interviews, testing data, disclosures, prototypes, correspondence,

       drawings, papers, articles, patents, printed publications, public uses, demonstrations, offers

       for sale or license, and sales.




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 17.    "Product(s)" means a machine, manufacture, apparatus, device, instrument, mechanism,

        appliance, software, service, process, or an assemblage of components/parts (either

        individually or collectively) that are designed to function together electronically,

        mechanically, or otherwise, including any offered for sale or under development.

 18.    "Related Application(s)" means any and all applications related to the Asserted Patent,

        including any provisional or non-provisional applications, continuations, continuations- in-

        part, divisions, interferences, reexaminations, re-issues, parents, foreign counterpart

        applications, and any other applications disclosing, describing or claiming any invention

        disclosed, described or claimed in the Asserted Patent, or claiming the benefit of the filing

        date of any application whose benefit is claimed in the Asserted Patent, whether or not

        abandoned and whether or not issued.

19.     "Related Patent(s)" means any and all U.S. or foreign patents based upon or related to any

        Related Application(s) or Asserted Patent, including any patents or applications that may

        have been opposed, reexamined, re-issued or subjected to any validity or nullity

        proceeding.

20.     "Third Party" shall refer to any person other than Plaintiff or Defendants.

21.     "You," "Your," "Yours" shall refer to Basepoint Administrative, LLC (BP Funding Trust,

        Series SPL-VI), and any and all of its then-current or prior subsidiaries, parents, affiliates,

        divisions, successors, predecessors, agents, employees, representatives, directors, officers,

       trustees, and attorneys, or any other person or entity acting in whole or in part in concert

       with any of the foregoing, directly or indirectly.

22.    Any pronouns shall be construed to refer to the masculine, feminine, or neutral gender, in

       singular or plural, as in each case is most appropriate.




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23.        The singular form of any word shall be construed to also include the plural, and vice-versa.

24.        The word "each" shall be construed to mean "each and every."

25.        The words "and" and "or" shall be construed conjunctively or disjunctively, whichever

           makes the request more inclusive.

26.        The words "any" and "all" shall be construed to mean "any and all."

                                            INSTRUCTIONS

1.         This request seeks disclosure to the full extent of the Federal Rules of Civil Procedure and

           shall be interpreted as inclusive rather than exclusive.

2.         It is Your duty in responding to this request to designate one or more officers, directors,

           managing agents, or other Persons who are the most knowledgeable with respect to the

           topics identified below.

                                        DEPOSITION TOPICS

            1.     The past and current ownership of the Asserted Patent, including its chain of

 title.

            2.     Any facts, studies, investigations, information, documents (including Prior Art),

 and analyses You identified, received, or knew at any time relating to the alleged validity,

 enforceability, infringement, valuation, or priority dates of the Asserted Patent, Related Patents,

 Related Applications, or patents and applications incorporated by reference into the Asserted

 Patent, including any Communications with third parties relating to the foregoing.

            3.     Any attempts to sell or otherwise transfer financial interests in the Asserted

Patent, any portfolio of patents containing the Asserted Patent, any patents related to the subject

matter of the Asserted Claims, and any patent that was asserted against any of the entities that

Plaintiff has accused of patent infringement (including but not limited to, Huawei, ZTE,

Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks,


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 Salesforce, Cisco, and NetGear).

        4.      The timing and circumstances related to Your first knowledge or awareness of

 any alleged infringement of the Asserted Patent by each of the Defendants.

        5.     Any evaluation or analysis of the Asserted Patent, Related Patents, or Related

Applications, whether individually or in combination with any other patents or applications,

including any evaluation or analysis of infringement, validity, or commercialization.

        6.     All products of which you are/were aware that practiced or currently practice

any claim of the Asserted Patent, Related Patents, or Related Applications and all allegations

of which you are/were aware that products practiced or currently practice any claim of the

Asserted Patent, Related Patents, or Related Applications.

        7.     Any ranking (in terms of strength, value, or otherwise) or rating of, or attempts

to rank or rate the Asserted Patent, Related Patents, or Related Applications, whether

individually or in combination with any other patents or applications, or any portfolio

containing the Asserted Patent, Related Patents, or Related Applications.

       8.      Each proposal, offer or other discussions by you or your predecessors in interest,

regarding actual or potential agreements with Allied Security Trust, or WSOU regarding any

asserted patent including communications regarding such a proposal, draft agreements, and

executed agreements.

       9.     Any Communications with Alcatel or Nokia regarding the Asserted Patent,

Related Patents, or Related Applications.

       10.    Any decision to pursue or not to pursue any claim of infringement of any of the

claims of the Asserted Patent against any Defendant or any of the entities that Plaintiff has

accused of patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google,




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  HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco,

  and NetGear).

          11.        Any efforts by You, any predecessor-in-interest of the Asserted Patent, or any

  other Person to enforce or license the Asserted Patent, or any portfolio of patents containing the

  Asserted Patent, any patents related to the subject matter of the Asserted Claims, or any patent

  that was asserted against any of the entities that Plaintiff has accused of patent infringement

  (including but not limited to, Huawei, ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC,

 Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and NetGear).

         12.         Your policies and practices concerning patent agreements (including licensing),

 including:

                a.         any written licensing policies or best practices;

                b.         any most favored Licensee;

                c.         the economic and technical factors considered by You in drafting and

                           entering into any license, royalty, standstill, partnership, joint venture,

                           vendor, or settlement agreements;

                d.         any standard or preferred terms for license, royalty, standstill or settlement

                           agreements;

                e.        the process by which You determine the nature, scope and terms of license

                          agreements in which You are a licensor; and

                f.        any circumstance in which You deviated from such policies.

       13.       Your knowledge of, and participation in, any Communications between

Plaintiff and Defendants prior to the filing of the Action.

       14.       Any Communications related to Plaintiff, including communications related to



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 licensing of any of the Asserted Patent, Related Patents, Related Applications, or any patent that

 was asserted against any of the entities that Plaintiff has accused of patent infringement

 (including but not limited to, Huawei, ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC,

 Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and NetGear), and any

compensation, license rates, royalties related thereto, agreements with Plaintiff, Defendants, the

Action, the decision to file the Action, requests or offers to provide assistance, witnesses and/or

documents for use in the Lawsuit, and any discussion about standing of Plaintiff to bring the

Action.

          15.    Your relationship with all potential Licensees, including all agreements,

assurances, covenants not to sue, and understandings not to assert patents against such potential

Licensees, including but not limited to Communications and agreements relating to the Asserted

Patent, Related Patents, Related Applications, any patent that was asserted against any of the

entities that Plaintiff has accused of patent infringement (including but not limited to, Huawei,

ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista

Networks, Salesforce, Cisco, and NetGear), and the circumstances relating to such activity.

         16.     Your relationship with any entity associated with Stuart A. Shanus, Marc Wade,

and/or Craig Etchegoyen, including without limitation Wade and Company, Orange Holdings,

WSOU, and/or Uniloc USA, Inc., 1 including any patent license agreements with any such entity

that relate to patents or patent applications that claim subject matter related to the subject matter

of the Asserted Claims.

        17.      Any Communication You engaged m regarding each Defendant and its



 1
     Stuart A. Shanus and Craig Etchegoyen are the Chairman and President of WSOU. Mark
     Wade, Wade and Company, Orange Holdings, and/or Uniloc USA, Inc. are all related
     persons or entities ofWSOU.


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 respective Products or services, and any analysis You performed of each Defendant and each

 entity that Plaintiff has accused of patent infringement (including but not limited to, Huawei,

 ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista

Networks, Salesforce, Cisco, and NetGear) and its respective Products and services related to

the Asserted Patent, Related Patents, Related Applications, and the patents asserted against any

of the entities that Plaintiff has accused of patent infringement.

          18.      Any valuations of the Asserted Patent, any portfolio of patents that includes the

Asserted Patent, any patent that was asserted against any of the entities that Plaintiff has accused

of patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google, HP,

Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and

NetGear), or any portfolio of patents that includes those patents.

          19.      Any licenses, assignments, conveyances, security interests, or other agreements

relating to the Asserted Patent, or any portfolio of patents that includes or included the Asserted

Patent, and offers and negotiations leading to and circumstances surrounding such agreement.

          20.      Any revenues and profits received by You for any Products practicing the

alleged invention of the Asserted Patent.

          21.      Revenues, costs, expenses, and profits (including gross and net profits)

generated in connection with the Asserted Patent, and the methodology used to calculate or

otherwise determine revenues, costs, expenses, and/or profits.

          22.      Any licensing fees and rates paid for each portfolio that includes the Asserted

Patent.

          23.      The rates paid by any Licensee for the use of other patents comparable to the

Asserted Patent.




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        24.       Any financial interests that You may have in the Asserted Patent, including but

not limited to royalties and the outcome of the Action.

        25.       Your collection, retention and production of documents and information relevant

 to the Action.

       26.        The subject matter, content, and authenticity of all Documents and

Communications identified and/or produced in response to the above requests.

       27.        All Documents reviewed by You in connection with the deposition on these topics.

       28.        For each of the topics set forth in this request, the identity and location of Your

employee, agent, representative, independent contractor, or other partner, affiliate, or business

associate, with the most knowledge concerning that topic.




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           EXHIBIT 3A
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

    WSOU INVESTMENTS, LLC d/b/a                        §
    BRAZOS LICENSING AND                               §
    DEVELOPMENT,                                       §              NO. 6:20-cv-475-ADA
                                                       §
              Plaintiff,                               §          JURY TRIAL DEMANDED
                                                       §
   V.                                                  §
                                                       §
   DELL TECHNOLOGIES INC., DELL                        §
   INC., AND EMC CORPORATION,                          §
                                                       §
              Defendants.                              §


              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development ("Brazos" or

"Plaintiff'), by and through its attorneys, files this First Amended Complaint ("Amended

Complaint" or "Complaint") for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, "Defendants") and alleges:

                                         NATURE OF THE ACTION
         1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including§§ 271,281, 284, and 285.

                                                THE PARTIES
         2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

         3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.




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         4.     On information and belief, defendant Dell Inc. is a Delaware corporation with a

 principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

 by its corporate parent, Dell Technologies Inc.

        5.      On information and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                  JURISDICTION
                                            ANDVENUE
        6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271,281,284, and 285.

        7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

        8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court's exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§ 1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.




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                             COUNTONE- INFRINGEMENT  OF
                               U,S,PATENTNO,7,453,888

        10.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

        11.    On November 18, 2008, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,453,888 ("the '888 Patent"), entitled "Stackable Virtual Local

Area Network Provisioning in Bridged Networks." A true and correct copy of the '888 Patent is

attached as Exhibit A to this Complaint.

        12.    Brazos is the owner of all rights, title, and interest in and to the '888 Patent,

including the right to assert all causes of action arising under the '888 Patent and the right to any

remedies for the infringement of the '888 Patent.

       13.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, networking

switches, including but not limited to, Force 10 MXL switches (collectively, the "Accused

Products").

       14.     The Accused Products may be deployed in environments with Virtual Local Area

Network (VLAN) applications and virtualization hosts and can provide VLAN double tagging,

frame extensions for VLAN tagging, and native VLAN features, among other features. Force 10

MXL switches, for example, may enhance bandwidth and performance, as well as provide




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flexibility to satisfy changing demands of data centers embracing virtualization, network

convergence, and other I/O-intensive applications or workloads.

                         VLAN
                         802.lQ VLAN Tagging, Double Vi_AN Jgg1ng. G\IRP
                         802.3ac Frflmc [xtensions for VU'•N Tagqicg
                         ForcelO PVST+
                         Nat.ve \llt..t-J
                         Data center bridging
                         IEEE802.lQbt, Pr'iorily- [la;;ed Flow Co .t,l ,PFC)
                         IEE- 802.lQaz Enl1a'ced Tra'1Srn1ss   on Selection {ETSi
                         Data Ce,-.te,Br dging eXct1.:inge(DC Bx:,
                         DC ;( Aoplicatio , -Lv !.SCSI, FCo[i
                         Fibre chan net
                         1\JPIVP,rny Gateway (t~PG:
                         Fib1e Channe'. port types N
                         Bridg,ng to FC SAN
                         Up to 8 FCoE_,1•·\apsper switcl1
                         FC/ FCoE
                         INCITS FC-BB- 5 \!er 2.00 (FSB.NP!',/ & F-Port parts on!yi.
                         Fibre c,,ilnnel Gene ic Ser,;ices
                         (FC-CS_FC-C,S2. GC-GS3)



https://i.dell.com/sites/csdocuments/Shared-Content data-
Sheets Docurnents/en/SS804 Dell ForcelO MXL.pdf

       15.    The Accused Products may configure a trunk port so that a numbered tag is inserted

in each ethernet frame to keep the traffic of different VLANs from mixing. Accused Products

running Per-VLAN Spanning Tree (PVST) configure their trunk ports appropriately.




 Trunk Port Downlink Configuration
 Trunk ports can participate in multiple VLANsover one Ethernet interface and are often used for
 connection to virtualization hosts and other VLAN aware appU.cations. To keep the traffic of the
 different VLANsfrom mixing, a numbered tag is inserted in each Ethernet frame (with the optional
 exception of the interface's "native" VLAN),.To deploy a trunk port on an MXL running PVSTfollow
 these four steps.


http://bladesmadesimple.com/wp-
content/uploads/2017 /05/Deploying the Dell ForcelO MXL on a Cisco Nexus Network v I
 1.pdf




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    Configure Tagged VLANs for a Trunk Port Interface
            MXL2:#configure
            MXL2(conf)#interface       vlan 11
            MXL2(conf-if-vl-ll)#tagged         tengigabitethernet             0/1
            MX..w2(conf-if-vl-ll)#no      shutdown
             MX-2(conf-if-vl-ll)#exit
             Mx-:(conf)#interface           vlan   12
             MX..w2(conf-if-vl-12)#tagged           tengigabitethernet        0/1
             MXL2(conf-if-vl-12)#no            shutdown
             MXL2(conf-if-vl-12)#exit
                                                                                    II
             MXL2(conf)#exit                                                        '
             MXL:#

http://bladesmadesimple.com/wp-
content/uploads/2017/05/Deploying   the Dell Force IO MXL on a Cisco Nexus Network v l
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         16.      Trunk ports in the accused products can participate in multiple VLANs over an

 ethernet interface carrying multiple tagged VLANs and/or a single untagged VLAN.

  The "portmode hybrid" command allows an Ethernet interface to carry both multiple tagged VLANsand
  a single untagged (also called a native) VLAN. If a given port is only expected to carry tagged VLANs or
  a single untagged VLAN, the "portmode hybrid" command may be omitted from its configuration.


http:/lb ladesmadesimp le.com/wp-
content/u p loads/2017/05/Deploving the Dell Force IO MXL on a Cisco Nexus Network vl
_l.pdf

        17.      The Accused Products may configure all the trunk ports participating in VLANs

when the port is in a standby state. The configured trunk port may be enabled to begin forwarding

traffic as soon as its link is active.

     The "switchport" setting enables a switch's Ethernet interface to participate in \/LAI Is. A switchport
     enabled interface is referred to as a layer-2 interface. (llote: If the Ethernet interface had previously
     been configured as a layer-3 interface-which is one with an IP address directly configured on it-than
     the "no ip address" command would need to be run on the interface before the switchport feature
     could be enabled.)

     The "portmode hybrid" command allows an Ethernet interface to carry both multiple tagged VLAtls and
     a single untagged (also called a native) VLAtl. If a given port is only expected to carry tagged \/LAI ls or
     a single untagged VLAII, the "portmode hybrid" command may be omitted from its configuration.

     The "spanning-tree pvst edge-port" command should only be run on ports that will connect to servers
     or other end nodes and never on ports that will connect to other switches. This command designates a
     port as an expected edge of the spanning tree (only switches participate in spanning tree) and enables
     it to begin forwarding traffic as soon as it's link is active (many seconds before the spanning-tree
     protocol would otherwise allow it to forward traffic).

     With the switchport feature enabled, the Ethernet interface is now ready for one or more tagged
     VLAtIs to be configured for it.

http://bladesmadesimple.com/wp-
content/uploads/2017/05/Deploying the Dell. Force 10 MXL on a Cisco Nexus Network vl
_Lmll'

        18.      In view of preceding paragraphs, each and every element of at least claim 1 of the

'888 Patent is found in the Accused Products. And upon information and belief: each and every

element of at least claim 1 of the '888 Patent is perfom1ed or practiced by Defendants at least

through Defendants' own use and configuration of its own Accused Products, and/or through



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 Defendants' own testing and configuration of its own Accused Products, and/or through

 Defendants' providing services for its Accused Products, including but not limited to providing

 installation, deployment, support, and configuration of its Accused Products.

         19.     Defendants continue to directly infringe at least one claim of the '888 Patent,

 literally or under the doctrine of equivalents, by making, using, selling, offering for sale, importing,

 and/or distributing the Accused Products in the United States, including within this judicial district,

 without the authority of Brazos.

        20.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least May

2020, before the filing of this case. Further, Defendants had knowledge of their infringement of

the patent-in-suit before the filing of this Amended Complaint. 1


1
   Dell filed a motion to dismiss that is mooted by this amended complaint. Dell's motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff's patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) ("The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff."); see also IO ENGINE,
LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
("The Court sees no purpose that would be served by the formality ofrequiring IOENGINE to file



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          21.    Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the

 '888 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising, promoting,

and/or instructing include the documents at:

    •    http://bladesmadesimple.com/wp-
         content/uploads/2017 /05/Deploying the Dell ForcelO MXL on a Cisco Nexus Net
         work v 1 1.pdf
    •    https://i.dell.com/sites/csdocuments/Shared-Content data-
         Sheets Documents/en/SS804 Dell ForcelO MXL.pdf

         22.     Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the '888 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the '888 Patent. The Accused Products are especially made or adapted

for infringing the '888 Patent and have no substantial non-infringing use. For example, in view of

the preceding paragraphs, the Accused Products contain functionality which is material to at least

one claim of the '888 Patent.

                                             ,JURYDEMAND
         Brazos hereby demands a jury on all issues so triable.



an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.").




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                                    REQUEST
                                          FORRELIEF

        WHEREFORE, Brazos respectfully requests that the Court:

        (A)     Enter judgment that Defendants infringe one or more claims of the '888 Patent

literally and/or under the doctrine of equivalents;

        (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the '888 Patent;

        (Q     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the '888 Patent;

        (D)    Award Brazos damages, to be paid by Defendants m an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the '888 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys' fees, and such further and

additional relief as is deemed appropriate by this Court.




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Dated: October 19, 2020              Respectfully submitted,

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                                    COUNSEL FOR PLAINTIFF




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            EXHIBIT 3B
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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

    WSOU INVESTMENTS, LLC d/b/a                         §
    BRAZOS LICENSING AND                                §
    DEVELOPMENT,                                        §              NO. 6:20-cv-477-ADA
                                                        §
               Plaintiff,                               §          JURY TRIAL DEMANDED
                                                        §
    V.                                                  §
                                                        §
   DELL TECHNOLOGIES INC., DELL                         §
   INC., AND EMC CORPORATION,                           §
                                                        §
               Defendants.                              §


               FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

          Plaintiff~~.0iMO!M!l•t••••t     IIILIIIL•l•t••■•••••t•■t•g•••••••••t~e~1t("Brazos"         or

"Plaintiff'), by and through its attorneys, files this First Amended Complaint ("Amended

Complaint" or "Complaint") for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, "Defendants") and alleges:

                                          NATURE OF THE ACTION
          1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including§§ 271,281, 284, and 285.

                                                 THE PARTIES
          2.      Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

          3.      On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.




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         4.     On information and belief, defendant Dell Inc. is a Delaware corporation with a

 principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

 by its corporate parent, Dell Technologies Inc.

        5.      On information and belief, defendant EMC Corporation is a Massachusetts

 corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                  ,JURISDICTION
                                             ANDVENUE
        6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271,281,284, and 285.

        7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

        8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court's exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§ 1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.




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                               COUNT
                                   ONE- INFRINGEMENT  OF
                                 u,s,PATENTNO,8,913.489
        10.    Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

        11.    On December 16, 2014, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 8,913,489 ("the '489 Patent"), entitled "System and Method for

Virtual Fabric Link Failure Recovery." A true and correct copy of the '489 Patent is attached as

Exhibit A to this Complaint.

        12.    Brazos is the owner of all rights, title, and interest in and to the '489 Patent,

including the right to assert all causes of action arising under the '489 Patent and the right to any

remedies for the infringement of the '489 Patent.

       13.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, networking




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 switches with Virtual Link Trunking (VL T), including but not limited to, C9000 series switches

(collectively, the "Accused Products").

        14.     The Accused Products provide multi-rate, modular switching platforms, which can

be used for campus, mid-market, and large-enterprise networks and support Layer 2 multipath

using VLT.

                       !Dell Networking C9000 Series Switches!




                                                       ~~:-.
                                                       ~~-.
                                                       ~~­
                                                       ~~- -




                          Next-generation modular chassis switch

https://www.dell.com/en-us/work/shop/povw/networking-c9000-series
       15.     The Accused Products operate based on Dell Networking OS (DNOS), which

incorporates features from ForcelO Networks's ForcelO Operating System (FTOS), including

VL T. VL T allows two physical switches to be represented as a single logical switch, which can be

regarded as a part of a multi-chassis link aggregation group (MC-LAG). With physical links as a




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port-channel, connecting two individual switches configured with VL T would logically group it

as a single entity only for the access switches which connect to the VL T domain.

            !Virtual Link Trunking (VLT}j

            IVirtual link trunking (VLTl is supported on Dell Networking        OS.   I

            joverviewj

        VLT reduces the role of spanning tree protocols (STPs)by allowing link aggregation group (LAG)
        terminations on two separate distribution or core switches and supporting a loop-free topology.
        To prevent the initial loop that may occur prior to VLT being established. use a spanning tree protocol
        After VLT is established. you may use rapid spanning tree protocol (RSTP)to prevent loops from forming
        with new links that are incorrectly connected and outside the VLT domain.
        VLT provides Layer 2 multipathing. creating redundancy through increased bandwidth. enabling multiple
        parallel paths between nodes and load-balancing traffic where alternative paths exist.

        Virtual I.ink trunking offers the following benefits:

        •     Allows a single device to use a LAG across two upstream devices.
        •     Eliminates STP-blocked ports.
        •     Provides a loop-free topology.
        •     Uses all available uplink band,vidth.
        •     Provides fast convergence if either the link or a device fails.
        •     Optimized forwarding with virtual router redundancy protocol (VRRP).
        •     Provides link-level resiliency.



https://topics-cdn.dell .com/pdJlnetworking-c9000-series users-guide en-us.pdf
       16.         For example, a VL T topology may include two switches, including an Accused

Product, in a VLT Domain that communicates with servers by forming a multi-chassis link

aggregation group over port interfaces of the switches.




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          11.6 Typical VLT Topology             I

                                                                              Backuo Link



                                                                            VLTDomain




                                                                                   Server
                                                                                   Port Channel
                        VLT Domain




                                                        Servers



https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%>20Link%20Trunking-Reference%20.Architecture%202%200 Extemal.pdf


         17.     Further, as shown in the example above, switches in the VLT Domain may be

considered VTI peer devices and connected using a VL Ti interconnect port-channel, which acts a

virtual fiber link. The VLT interconnect (VLTi) carries MAC, ARP Tables, and IGMP State

information between the VLT peer switches in a VLT topology.

         IVLT Terminologyj


    •    VLT interconnect (Vl Ti) - The link used to synchronize states between the VLT peer switches. Both
         ends must be on 10G or 40G interfaces.




    •    VLT peer device - One of a pair of devices that are connected with the special port channel known
         as the VLT interconnect (VLTi).




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      VLT peer switches have independent management planes. A VLT interconnect between the VLT chassis
      maintains synchronization of L2/L3 control planes across the two VLT peer switches. The VLT
      interconnect uses either 10G or 40G user ports on the chassis.


https://topics-cdn.dell.com/pdf/networking-c9000-series                    users-guide en-us.pdf
                                          1.2 VLT Implementation


        Periodic hello messages are sent through the VLT Interconnect (VLTi) and the VLT control
        messages are sent in TLVformat through the VLTilinks for synchronizing the L2/L3 control
        planes across the two VLT peers. MAC.ARP tables. IGMP States are synchronized between the
        VLT peers ensuring traffic flow across the li11ksand seamless failover in case of VLT link or node
        failure. The VLT feature ensures the local traffic on a VLT Switch takes the shortest path to the
        destination through the VLT links and not through the VLTi links. However VLTi carries the traffic
        during the link failure states. (Figure 10)


https:// down loads .dell. com/solutions/net working-so Iution-
resources/Virtual %20Link%20Trunking-Re foren ce%20Architecture%202%200                            External.pdf

        18.     The Accused Products can detem1ine a connection failure of the VL Ti

interconnect.


                    3.1 Split-Brain in VLT

                                                    Failure in ICL ports




                                                          Layer-3


                                                      VLTDomain


                                                                                               VLT Ports Shut
                                                                                               Due to Split brain




                    Figure 3.2 Traffic flow during VLTi failure

https:// downloads .de! I.com/sol utions/networki.ng-sol ution-
resources/Virtual %20 L ink%>20Trunking-Reference%i2 0Archi tecture%2 02 %2 00 External. pdf




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         !Configuration Notes!



 I•    Failure scenarios   I

   -    If all ports in the VLT interconnect fail. or if the messaging infrastructure fails to communicate
       across the interconnect trunk. the VLT management system uses the backup link interface to
       determine whether the failure is a link-level failure or whether the remote peer has failed entirely.
       If the remote peer is still alive (heartbeat messages are still being received). the VLT secondary
       switch disables its VLT port channels. If keepalive messages from the peer are not being received.
       the peer continues to forward traffic, assuming that it is the last device available in the network. In
       either case, after recovery of the peer link or reestablishment of message forwarding across the
       interconnect trunk, the two VLT peers resynchronize any MAC addresses learned while                       1,
       communication was interrupted and the VLT system continues normal data forwarding.


https://topics-cdn.dell.com/pd1!networking-c9000-series users-guide en-us.pdf
         19.     When the MC-LAG is disrupted (e.g., after the Accused Products detem1ines VLTi

and back uplink failure between VLT peer switches), the MC-LAG can be reconfigured into two

link aggregates associated with each VLT peer switch to take the primary role and continue to

communicate traffic over link aggregates to the end node. In the Accused Products, the VL T

backup link can be configurable. If a VLT backup link is not enabled, then dming VLTi failure,

both VL T peer switches may take primary roles to fom1 link aggregates.


/ 3.1 Split-Brain in VL T/




                                                           In case of both Vl Ti and backup link
failure. both the Vl T nodes take primary role and continue to pass the traHic if the system mac is
configured on both the Vl T peers. However there would not be MAC/ARP synchronization.


https://downloads.de!Lcom/solutions/networking-solution-
resources/Virtual%20Link 0ic>20Trunking-Reforence%20Architecture%202%200 External.pdf




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    Configuring a VLT Backup Link
   To configure a VLT backup link, use the following command.

   1.    Specify the management interface to be used for the backup link through an out-of-band
         management network.
         CONFIGURATION mode

         interface     managementethernet       slot/       port


https://topics-cdn.dell.com/pd[/networking-c9000-series            users-guide en-us.pdf
         20.     In the event of VL Ti failure causing disruption of the MC-LAG, the spanning tree

protocol (STP) may be initiated in the first set of port interfaces to avoid a traffic loop.


    5.1 Dell#! Switch Configurations and Verification

    Dell#l#sh run I find protocol
    protocol spanning-tree pvst
     no disable
     vlan 1,20,800,900 bridge-priority 0
    (Take note that deploying VLT does NOT preclude the need to deploy the spanning tree protocol
    {STP). STP will be acting as a loop prevention mechanism in the event of a VLT failure or an
                                                                                                      ;
    errant connection that creates a physical bridging loop.
    I

https://www.dell.com/community/s/vjauj58549/attachments/vjauj58549/Network/35449/1/Route
d%'.2.0VLT%20vl.2.pdf

         21.     In view of preceding paragraphs, each and every element of at least claim 8 of the

'489 Patent is found in the Accused Products. And upon information and belief, each and every

element of at least claim 8 of the '489 Patent is perfom1ed or practiced by Defendants at least

through Defendants' own use and configuration of its own Accused Products, and/or through

Defendants' own testing and configuration of its own Accused Products, and/or through




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 Defendants' providing services for its Accused Products, including but not limited to providing

 installation, deployment, support, and configuration of its Accused Products.

        22.     Defendants continue to directly infringe at least one claim of the '489 Patent,

 literally or under the doctrine of equivalents, by making, using, selling, offering for sale,

 importing, and/or distributing the Accused Products in the United States, including within this

judicial district, without the authority of Brazos.

        23.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least

May 2020, before the filing of this case. Further, Defendants had knowledge of their

infringement of the patent-in-suit before the filing of this Amended Complaint      1.


        24.     Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the


1
   Dell filed a motion to dismiss that is mooted by this amended complaint. Dell's motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiffs patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) ("The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff."); see also IOENGINE,



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 '489 Patent throughout the United States, including within this judicial district, by, among other

 things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising,

promoting, and/or instructing include the documents at:

    •    https://www.dell.com/en-us/work/shop/povw /networking-c9000-series

    •    https://www .dell.com/en-us/work/shop/productdetailstxn/force 10-ftos

    •    https://topics-cdn.dell.com/pdf/networking-c9000-series     users-guide en-us.pdf

    •    https://downloads.dell.com/solutions/networking-solution-
         resources/Virtual %20Link% 20Trunking-
         Reference %20Architecture% 202 %200 External.pdf

    •    https://www.dell.com/community/s/vjauj58549/attachments/vjauj58549/Network/35449
         /1/Routed%20VLT%20vl.2.pdf

         25.    Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the '489 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the '489 Patent. The Accused Products are especially made or adapted

for infringing the '489 Patent and have no substantial non-infringing use. For example, in view

of the preceding paragraphs, the Accused Products contain functionality which is material to at

least one claim of the '489 Patent.

                                            JURY DEMAND

LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
("The Court sees no purpose that would be served by the formality ofrequiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.").




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      Case 6:21-mc-01270-ADA
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        Brazos hereby demands a jury on all issues so triable.


                                    REQUEST
                                          FORRELIEF

        WHEREFORE, Brazos respectfully requests that the Court:

        (A)     Enter judgment that Defendants infringe one or more claims of the '489 Patent

literally and/or under the doctrine of equivalents;

        (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the '489 Patent;

        (C)    Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the '489 Patent;

        (D)    Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the '489 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys' fees, and such further and

additional relief as is deemed appropriate by this Court.




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      Case  6:20-cv-004 77-ADADocument
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Dated: October 19, 2020              Respectfully submitted,

                                    Isl James L. Etheridge
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                                    Ryan S. Loveless
                                    Texas State Bar No. 24036997
                                    Travis L. Richins
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                                    Waco, Texas 76710
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                                    Facsimile: (254) 772-6432


                                    COUNSEL FOR PLAINTIFF




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            EXHIBIT 3C
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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

    WSOU INVESTMENTS, LLC d/b/a                         §
    BRAZOS LICENSING AND                                §
                                                        §              NO. 6:20-cv-478-ADA
    DEVELOPMENT,
                                                        §
                                                        §          JURY TRIAL DEMANDED
               Plaintiff,
                                                        §
    V.                                                  §
                                                        §
   DELL TECHNOLOGIES INC., DELL                         §
   INC., AND EMC CORPORATION,                           §
                                                        §
               Defendants.                              §



               FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

          Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development ("Brazos" or

"Plaintiff'), by and through its attorneys, files this First Amended Complaint ("Amended

Complain" or "Complaint") for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, "Defendants") and alleges:

                                        NATURE OF THE ACTION
          1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including§§ 271,281, 284, and 285.

                                              THE PARTIES
         2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin A venue, Suite 6, Waco, Texas 76701.

         3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.
      Case 6:21-mc-01270-ADA
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        4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

 principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

 by its corporate parent, Dell Technologies Inc.

        5.      On information and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                  JURISDICTION AND VENUE
        6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271,281,284, and 285.

        7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

        8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court's exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§ 1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.
      Case 6:21-mc-01270-ADA
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                                             Filed 01/21/22
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                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 7,126,921

        10.    Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

        11.    On October 24, 2006, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,126,921 ("the '921 Patent"), entitled "Packet Network Providing

Fast Distribution of Node Related Information and a Method Therefor." A true and correct copy

of the '921 Patent is attached as Exhibit A to this Complaint.

        12.    Brazos is the owner of all rights, title, and interest in and to the '921 Patent,

including the right to assert all causes of action arising under the '921 Patent and the right to any

remedies for the infringement of the '921 Patent.

        13.    Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, controlled

networking devices, including but not limited to, routers controlled by Dell Network Operating

System ("DNOS") incorporating features of ForcelO Network's ForcelO Operating System

("FfOS"), including but not limited to the Dell Networking S3048-ON, Dell Networking S4048-

ON, Dell Networking S4810-ON, Dell Networking S6000-ON, and E-Series, C-Series, N-Series,

and S- Series hardware (collectively, the "Accused Products").

       14.     The Accused Products operate based on Dell Networking OS (DNOS), which

incorporates features from   FfOS      for packet networks having nodes and links. FTOS supports
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 packet networks, which comprises multiple nodes and links. FfOS is a part of various Dell

 networking devices, including E-Series, C-Series, and S- Series hardware.


 Delltakes deeper diveintonetworking,buys
 ForcelO
https:/ /www .networkworld.com/article/2179414/dell-takes-deeper-dive-into-networking--buys-
force10.html


                FTOS Configuration Guide

   This guide describes the protocols and features supported by the Force IO Opemting System (FTOS) and
   provides configuration instructions and examples for implementing chem. ft supports the system platfonns
   E-Series, C-Series, and S-Series.



https://www.force1Onetworks.com/CSPortal20/Know ledgeBase/DOCUMENT ATION/CLIConfi
g/FTOS/All CONFIG%20Book 8212 13-Oct-09.pdf

        15.            FfOS can be installed on Dell Open Networking (ON) Switches, including Dell
Networking S3048-ON, S4048-ON, S4810-ON, and S6000-ON.
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                 How to Install Dell Networki11g FTOS 011Dell Open Netwmking (ON) Switches


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                Steps ior rnstall,ng FTOS011Dell Open Networkrng (ON) swrtches




https://www .dell.com/support/article/us/en/04/how 11548/how-to-install-dell-networking-ftos-on-
dell-open-networking-on-s witches ?lang=en
        16.           The Accused Products implement a control plane to control the nodes and a

forwarding (data) plane responsive to the control plane. A control plane is a set of protocols that

determine how the forwarding plane should forward packets, deciding which data packets are
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allowed         to       be       forwarded         and        where        they        should       go.


                                                         The control plane is
  the set of protocols that determine how the fonrnrding plane should forward
  packets, deciding which data packets are' allowed to be forwarded and \vhere
  they should go.


https://cdn.competec.ch/documents/3/9/392428/DE           Handbuch switch.pdf
        17.     Link State Advertisements (LSAs) help routing network devices forward data

packets. Link state information provides routing-related information to the nodes in the packet

network and is provided to the control plane for computing forward routing information.

  •   Type 9 - Link Local LSA (OSPFv2), Intra-Area-Prefix LSA (OSPFv3)
         • For OSPFv2, this is a link-local "opaque" LSA as defined by RFC2370.
              For OSPFv3, this LSA carries the IPv6 prefixes of the router and ner.vork links.


https://www.force1Onetworks.com/CSPortal20/Know ledgeBase/DOCUMENT ATION/CLIConfi
g/FTOS/All CONFIG%20Book 8212 13-Oct-09.pdf

        18.     When one of the routing network devices goes down, there is a potential to lose

access to parts of the network, causing potential packet loss. Therefore, the network will want to

maintain a stable topology if it is possible for data flow to continue uninterrupted. To facilitate this

in networks using the Accused Products, the computed forward routing information gets
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downloaded into a Forwarding Information Base (FIB) on the line cards (the data plane) of the

routing network devices.

 \.Vhen a router goes down without a Graceful Restart, there is a potential to lose access to parts of the
 net\¥ork due to the necessity of network topology changes. Additionally, LSA flooding and reconvergence
 can cause substantial delays. It is, therefor, desirable that the net\1/ork maintain a stable topology if it is
 possible for dara flow to continue uninterrupted.

OSPF Graceful Restart recognizes the fact that in a modern router, the control plane and data plane
functionality are separate, restarting the control plane functionality (such as the failover of the active RPM
to the backup in a redundant configuration), does not necessarily have to interrupt the forw·arding of data
packets. This behavior is supported because the forwarding tables previously computed by an active RP:tv1
have be-en downloaded into the Forwarding Information Base on the line cards (the darn plane), and are
still resident. For packets that have existing FIB/CAl'v1entries, forwarding between ingress and egress
ports/VLANs etc., can continue uninterrupted \,Vhilethe control plane OSPF process comes back to full
functionality and rebuilds its routing tables.


https:/ /www.force1Onetworks.com/CSPortal20/Know ledgeBase/DOCUMENT ATION/CLIConfi
g/FTOS/All CONFIG%20Book 8212 13-Oct-09.pdf

         19.     The data plane provides fast propagation of link state information. For example,

type 9 link-local opaque grace-LSAs notify the helper neighbors during a restart process. The other

nodes routers continue to announce information regarding the restarting router if the network

topology is unchanged. Link state information contains the forward route information for the

nodes.

The grace period is the time period that a router defines for other adjacent routers ro wait for it to retum to
full control plane functionality, and which it advertises to its neighbors. When an outage occurs, the
neighbors will wait for this time period before flooding LSAs and beginning reconvergence. \\'hen a router
is atrempting to restart gracefully. it will originate Type 9 link local opaque grace-LSAs that notify its
helper neighbors that the resrart process is beginning. During this period, the helper neighbor routers
continue ro announce the restaning router as fully adjacem, as long as the network topology remains
unchanged. \Vhen the restarting router completes its restart, ir flushes the grace-LSAs, thereby notifying its
neighbors that the restart is complete. This should happen before the grace period expires.


https:/ /www.force1Onetworks.com/CSPortal20/Know ledgeBase/DOCUMENT ATION/CLIConfi
g/FTOS/All CONFIG%20Book 8212 13-Oct-09.pdf
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         20.     Moreover, Fast Convergence allows a user to define the speeds at which link-state

 information originates and accepted to speed up route information propagation.


   Fast Convergence ( OSPFv2, 1Pv4only)
  Fast Convergence allows you to define the speeds at which LSAs are originated and accepted and reduce
  OSPFv2 end-to-end convergence time. FTOS enables you to accept and originate LSAa as soon as they are
  available to speed up route informarion propagation.



https://www.force1Onetworks.com/CSPortal20/Know ledgeBase/DOCUMENT ATION/CLIConfi
g/FTOS/All CONFIG%20Book 8212 13-Oct-09.pdf

        21.     In view of preceding paragraphs, each and every element of at least claim 1 of the

'921 Patent is found in the Accused Products.

        22.     Defendants continue to directly infringe at least one claim of the '921 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale,

importing, and/or distributing the Accused Products in the United States, including within this

judicial district, without the authority of Brazos.

        23.     And upon information and belief, each and every element of at least one claim of

the patent-in-suit is performed or practiced by Defendants at least through Defendants' own use

and configuration of its own Accused Products, and/or through Defendants' own testing and

configuration of its own Accused Products, and/or through Defendants' providing services for its

Accused Products, including but not limited to providing installation, deployment, support and

configuration of its Accused Products.

       24.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least
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 May 2020, before the filing of this case. Further, Defendants had knowledge of their

 infringement of the patent-in-suit before the filing of this Amended Complaint. 1

         25.    Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the

 '921 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising,

promoting, and/or instructing include the documents at:

    •    https://www .networkworld.com/article/2179414/dell-takes-deeper-dive-into-
         networking--buys-force 10.html

    •    https://www.force1Onetworks.com/CSPortal20/KnowledgeBase/DOCUMENT ATION/

1
   Dell filed a motion to dismiss that is mooted by this amended complaint. Dell's motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiffs patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
 Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
 Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) ("The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff."); see also IOENGINE,
LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
("The Court sees no purpose that would be served by the formality ofrequiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.").
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          CLIConfig/FTOS/All CONFIG%20Book 8212 13-Oct-09.pdf

     •    https://cdn.competec.ch/documents/3/9/392428/DE Handbuch switch.pdf

     •    https://www .dell.com/support/article/us/en/04/how 11548/how-to-install-dell-
          networking-ftos-on-dell-open-networking-on-switches ?lang=en

          26.     Since at least May 2020, through its actions, Defendants have contributed to the

 infringement of the '921 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the '921 Patent. The Accused Products are especially made or adapted

for infringing the '921 Patent and have no substantial non-infringing use. For example, in view

of the preceding paragraphs, the Accused Products contain functionality which is material to at

least one claim of the '921 Patent.

                                          JURY DEMAND
          Brazos hereby demands a jury on all issues so triable.


                                      REQUEST FOR RELIEF

          WHEREFORE, Brazos respectfully requests that the Court:

          (A)    Enter judgment that Defendants infringe one or more claims of the '921 Patent

literally and/or under the doctrine of equivalents;

         (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the '921 Patent;

         (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the '921 Patent;

         (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for
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the infringement by Defendants of the '921 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare    this   case   exceptional   pursuant   to   35   U.S.C.   §   285;   and

       (F)     Award Brazos its costs, disbursements, attorneys' fees, and such further and

additional relief as is deemed appropriate by this Court.




Dated: May 19, 2020                            Respectfully submitted,

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                                             Waco, Texas 76710
                                             Telephone: (254) 772-6400
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                                             COUNSEL FOR PLAINTIFF
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

    WSOU INVESTMENTS, LLC d/b/a                        §
    BRAZOS LICENSING AND                               §
                                                       §              NO. 6:20-cv-479-ADA
    DEVELOPMENT,
                                                       §
                                                       §          JURY TRIAL DEMANDED
              Plaintiff,
                                                       §
   V.                                                  §
                                                       §
   DELL TECHNOLOGIES INC., DELL                        §
   INC., AND EMC CORPORATION,                          §
                                                       §
              Defendants.                              §



              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         PlaintiffWSOU Investments, LLC d/b/a Brazos Licensing and Development ("Brazos" or

"Plaintiff'), by and through its attorneys, files this First Amended Complaint ("Amended

Complaint" or "Complaint") for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, "Defendants") and alleges:

                                  NATURE OF THE ACTION
         1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including§§ 271, 281, 284, and 285.

                                         THE PARTIES
         2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

         3.      On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.
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        4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

 principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

 by its corporate parent, Dell Technologies Inc.

        5.      On information· and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                  JURISDICTION AND VENUE
        6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271,281, 284, and 285.

        7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

        8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court's exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.
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                              COUNT ONE - INFRINGEMENT OF
                                 U.S. PATENT NO. 8,402,129

         10.    Brazos re-alleges and incorporates by reference the preceding paragraphs of this

 Complaint.

         11.    On March 19, 2013, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 8,402,129 ("the '129 Patent"), entitled "Method and Apparatus for Efficient

Reactive Monitoring." A true and correct copy of the '129 Patent is attached as Exhibit A to this

Complaint.

        12.     Brazos is the owner of all rights, title, and interest in and to the '129 Patent,

including the right to assert all causes of action arising under the '129 Patent and the right to any

remedies for the infringement of the '129 Patent.

        13.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, network

management systems, including but not limited to, Dell EMC OpenManage Enterprise and Dell

OpenManage Enterprise (OME) and OpenManage Network Manager (OMNM) applications

(collectively, the "Accused Products").

        14.    The Accused Products can provide a console for managing hardware devices,

including Dell servers, storage arrays, tape libraries, network devices (switches/routers), printers,

and clients distributed throughout a network. Dell OME can be integrated with OMNM to view

networking information. From a central console, an administrator can exercise control based on

proactive alerts and notifications.
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                                             15.                         Various devices that can be discovered and monitored by Dell OME.



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Product Testing.

                                           16.                           Dell OME identifies systems experiencing problems and alerts the administrator

to help reduce the risk of system downtime. Using the web-enabled graphical user interface, one

can monitor systems within the network.




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https://www.delltechnologies.com/en-us/solutions/openmanage/enterprise.htm


OpenManage Enterprise

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devices include servers. cha:;sis, netwe<k sw•tches. ard other thlrd•IJ8r 'I devices on 1li,eenterpr,se network, O~~E ,s de:;,gned w,th a ocus




https://topics-cdn.dell.com/pdf/dell-openmanage-enterprise-v32                                                                                                                                                                                               api-guide2 en-us.pdf
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Product Testing


                    17.                      Dell OME monitors various resources (e.g. "current" of system board) of nodes

(i.e. monitored device) within the network. As an example, the alert with MESSAGE ID -
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AMP0302 is generated for a monitored device when the system board current of the device (i.e.

usage of resource) reaches beyond the upper warning threshold.

 I" Alerts



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Product Testing.

                18.                      The Accused Products poll the monitored devices on regular user-defined time

interval bases irrespective of any alerts received from the monitoring devices. Dell OME

provides independent settings and functionalities for alert policies and health check polling.

               19.                       Dell OME provides the ability for a user to define the time interval for the health

poll recurrence and a Global health task performs the job repeatedly to poll the health of the

devices in defined time intervals irrespective of the alerts received by Dell OME. When an alert
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 is received, the polling of the devices may occur independently at the user-defined interval (i.e.

 irrespective of the alert).



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Product Testing.



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Product Testing.
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           20.    In view of preceding paragraphs, each and every element of at least claim 3 of the

    '129 Patent is found in the Accused Products.

           21.    Defendants continue to directly infringe at least one claim of the '129 Patent,

 literally or under the doctrine of equivalents, by making, using, selling, offering for sale,

 importing, and/or distributing the Accused Products in the United States, including within this

judicial district, without the authority of Brazos.

           22.    And upon information and belief, each and every element of at least one claim of

the patent-in-suit is performed or practiced by Defendants at least through Defendants' own use

and configuration of its own Accused Products, and/or through Defendants' own testing and

configuration of its own Accused Products, and/or through Defendants' providing services for its

Accused Products, including but not limited to providing installation, deployment, support and

configuration of its Accused Products.

          23.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least

May 2020, before the filing of this case. Further, Defendants had knowledge of their

infringement of the patent-in-suit before the filing of this Amended Complaint. 1

          24.    Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the


1
 Dell filed a motion to dismiss that is mooted by this amended complaint. Dell's motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiffs patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
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 '129 Patent throughout the United States, including within this judicial district, by, among other

 things, advertising and promoting the use of the Accused Products in various websites, including

 providing and disseminating product descriptions, operating manuals, and other instructions on

 how to implement and configure the Accused Products. Examples of such advertising,

promoting, and/or instructing include the documents at:

    •    https://www .delltechnologies.com/en-us/solutions/openmanage/enterprise.htm

    •    https://topics-cdn.dell.com/pdf/dell-openmanage-enterprise-v32    api-guide2 en-us.pdf

    •    https://www .dell.com/support/article/en-us/sln312494/support-for-openmanage-
         essentials ?lang=en

    •    https://www .dell.com/support/article/en-us/sln310714/support-for-openmanage-
         enterprise ?lang=en

    •    https://www .dell.com/us/bsd/p/dell-openmanage-network-
         manager/pd ?c=us&cs=04&l=en&s= bsd&redirect= 1

    •    https://www.youtube.com/watch?v=MNIJNVbeXLE

    •   https://topics-cdn.dell.com/pdf/openmanage-essentials-v25    users-guide en-us.pdf

    •   https://topics-cdn.dell.com/pdf/dell-openmanage-server-administrator-

because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
 Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) ("The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff."); see also IOENGINE,
LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
("The Court sees no purpose that would be served by the formality ofrequiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.").
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          v8.3 connectivity-guide en-us.pdf

     •    http://www.doradosoftware.com/ assets/downloads/omnm/omnmv8userguide.pdf

     •    https:/ /www.dell.com/support/manuals/us/en/04/dell-openmanage-essentials-
          v2. 2/ome22u g/status-polling-schedule-settings ?guid=guid-1a47107 a-e2c9-4102-b2e3-
          938477093317 &lang=en-us

    •     https://downloads.dell.com/manuals/all-
          products/esuprt ser star net/esuprt networking/dell-openmanage-network-
          manager owners-manual4 en-us.pdf

          25.     Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the '129 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the '129 Patent. The Accused Products are especially made or adapted

for infringing the '129 Patent and have no substantial non-infringing use. For example, in view

of the preceding paragraphs, the Accused Products contain functionality which is material to at

least one claim of the '129 Patent.

                                        JURY DEMAND
          Brazos hereby demands a jury on all issues so triable.


                                      REQUEST FOR RELIEF

         WHEREFORE, Brazos respectfully requests that the Court:

         (A)     Enter judgment that Defendants infringe one or more claims of the '129 Patent

literally and/or under the doctrine of equivalents;

         (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the '129 Patent;

         (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the '129 Patent;
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        (D)    Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the '129 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare    this   case   exceptional   pursuant   to   35   U.S.C.   §   285;   and

       (F)     Award Brazos its costs, disbursements, attorneys' fees, and such further and

additional relief as is deemed appropriate by this Court.
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Dated: October 19, 2020              Respectfully submitted,

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                                    Ryan S. Loveless
                                    Texas State Bar No. 24036997
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     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 395 of 599




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                                                 Barry K. Shelton
                                                 Texas State Bar No. 24055029
                                                 SHELTON COBURN LLP
                                                 311 RR 620, Suite 205
                                                 Austin, TX 78734-4775
                                                 Telephone: (512) 263-2165
                                                 Facsimile: (512) 263-2166
                                                 bshelton@sheltoncoburn.com

                                                 Counsel for Defendant
                                                 Hewlett Packard Enterprise Company
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 396 of 599




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 Counsel for WSOU, LLC
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 Alessandra C. Messing
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                                                  /s/ Michael R. Franzinger
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                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 397 of 599
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                WSOU INVESTMENTS, LLC,
                               Plaintiff
                                  Y                                                   &LYLO$FWLRQ1R 6:20-cv-00725, -726, -728, -730,
                                                                                                                -783
  HEWLETT PACKARD ENTERPRISE COMPANY,
                              Defendant

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 7R                                                           Aqua Licensing LLC
                                                 201 Mission Suite 1200, San Francisco, CA 94105
                                                       (Name of person to whom this subpoena is directed)

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       u Production: <28$5(&200$1'('WRSURGXFHDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWKHIROORZLQJ
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PDWHULDO See Exhibit A-1



  3ODFH                                                                                 'DWHDQG7LPH
           Sidley Austin LLP c/o John Miscevich
           555 California Street, Suite 2000                                                                  01/07/2022 5:00 pm
           San Francisco, CA 94104
     u Inspection of Premises: <28$5(&200$1'('WRSHUPLWHQWU\RQWRWKHGHVLJQDWHGSUHPLVHVODQGRU
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'DWH        12/17/2021

                                   CLERK OF COURT
                                                                                            25
                                                                                                                     /s/ John Miscevich
                                           Signature of Clerk or Deputy Clerk                                          Attorney’s signature


 7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party)   Hewlett Packard
Enterprise Company                                                       ZKRLVVXHVRUUHTXHVWVWKLVVXESRHQDDUH

 John Miscevich, 2021 McKinney Avenue, Suite 2000, Dallas, TX 75201, jmiscevich@sidley.com, (214) 981-3371
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                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 398 of 599
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                        6:20-cv-00725, -726, -728, -730, -783

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            ,UHFHLYHGWKLVVXESRHQDIRU(name of individual and title, if any)
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            u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGSHUVRQDVIROORZV


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                                                                                                  Printed name and title




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                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 399 of 599
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   For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                 VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                    & Specifying Conditions as an Alternative. ,QWKHFLUFXPVWDQFHV
    $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
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H[SHQVH
                                                                                  H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
   For Other Discovery. $VXESRHQDPD\FRPPDQG
   $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                   Producing Documents or Electronically Stored Information. 7KHVH
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G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                         PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
                                                                                      % Form for Producing Electronically Stored Information Not Specified.
   Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
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VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW                & Electronically Stored Information Produced in Only One Form. 7KH
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH            SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
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IDLOVWRFRPSO\                                                                      ' Inaccessible Electronically Stored Information. 7KHSHUVRQ
                                                                                  UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
   Command to Produce Materials or Permit Inspection.                            IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
    $ Appearance Not Required. $SHUVRQFRPPDQGHGWRSURGXFH                      RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
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KHDULQJRUWULDO                                                                UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
    % Objections. $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH              E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
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LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU             Claiming Privilege or Protection.
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR             $ Information Withheld. $SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG       XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU         PDWHULDOPXVW
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PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ           SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                           % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
      LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
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VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                    WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                  QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
   Quashing or Modifying a Subpoena.                                             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
   $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH            XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                      LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
      L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                               SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
      LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV               FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                           SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
      LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR      UHVROYHG
H[FHSWLRQRUZDLYHUDSSOLHVRU
      LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                        J &RQWHPSW
  % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ         PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                              ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
       L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFK                VXESRHQDRUDQRUGHUUHODWHGWRLW
GHYHORSPHQWRUFRPPHUFLDOLQIRUPDWLRQRU



                                        )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 400 of 599
$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ


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                                                                              IRUWKH
                                                            Western District of Texas
                                                        BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                WSOU INVESTMENTS, LLC,
                                Plaintiff
                                   Y                                                   &LYLO$FWLRQ1R     6:20-cv-00725, -726, -728, -730,
  HEWLETT PACKARD ENTERPRISE COMPANY,                                                                        -783

                              Defendant

                              68%32(1$727(67,)<$7$'(326,7,21,1$&,9,/$&7,21

7R                                                              Aqua Licensing LLC
                                                   201 Mission Suite 1200, San Francisco, CA 94105
                                                        (Name of person to whom this subpoena is directed)

      ✔
      u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV See Exhibit A2

 3ODFH Sidley Austin LLP                                                                'DWHDQG7LPH
            555 California Street, Suite 2000                                                              01/21/2022 9:00 am
            San Francisco, CA 94104 or via remote platform

          7KHGHSRVLWLRQZLOOEHUHFRUGHGE\WKLVPHWKRG                       Video and/or stenographic means

      ✔
      u Production:<RXRU\RXUUHSUHVHQWDWLYHVPXVWDOVREULQJZLWK\RXWRWKHGHSRVLWLRQWKHIROORZLQJGRFXPHQWV
          HOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGPXVWSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
          PDWHULDO See Exhibit A1




       7KHIROORZLQJSURYLVLRQVRI)HG5&LY3DUHDWWDFKHG±5XOH F UHODWLQJWRWKHSODFHRIFRPSOLDQFH
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UHVSRQGWRWKLVVXESRHQDDQGWKHSRWHQWLDOFRQVHTXHQFHVRIQRWGRLQJVR

'DWH        12/17/2021
                                   CLERK OF COURT
                                                                                           25
                                                                                                                /s/ John Miscevich
                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party)   Hewlett Packard
Enterprise Company                                                      ZKRLVVXHVRUUHTXHVWVWKLVVXESRHQDDUH

John Miscevich, 2021 McKinney Avenue, Suite 2000, Dallas, TX 75201, jmiscevich@sidley.com, (214) 981-3371
                                1RWLFHWRWKHSHUVRQZKRLVVXHVRUUHTXHVWVWKLVVXESRHQD
,IWKLVVXESRHQDFRPPDQGVWKHSURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVEHIRUH
WULDODQRWLFHDQGDFRS\RIWKHVXESRHQDPXVWEHVHUYHGRQHDFKSDUW\LQWKLVFDVHEHIRUHLWLVVHUYHGRQWKHSHUVRQWR
ZKRPLWLVGLUHFWHG)HG5&LY3 D  
                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 401 of 599
$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ 3DJH

&LYLO$FWLRQ1R 6:20-cv-00725, -726, -728, -730, -783

                                                      3522)2)6(59,&(
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          ,UHFHLYHGWKLVVXESRHQDIRU(name of individual and title, if any)
RQ(date)                       

          u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGLQGLYLGXDODVIROORZV


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          u ,UHWXUQHGWKHVXESRHQDXQH[HFXWHGEHFDXVH
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          8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
          WHQGHUHGWRWKHZLWQHVVWKHIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
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0\IHHVDUH                                       IRUWUDYHODQG                      IRUVHUYLFHVIRUDWRWDORI   0.00   


          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                             Server’s signature



                                                                                           Printed name and title




                                                                                              Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 402 of 599

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                             )HGHUDO5XOHRI&LYLO3URFHGXUH F  G  H DQG J  (IIHFWLYH
F 3ODFHRI&RPSOLDQFH                                                                   L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFKGHYHORSPHQW
                                                                                  RUFRPPHUFLDOLQIRUPDWLRQRU
   For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                       LL GLVFORVLQJDQXQUHWDLQHGH[SHUW¶VRSLQLRQRULQIRUPDWLRQWKDWGRHV
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                 QRWGHVFULEHVSHFLILFRFFXUUHQFHVLQGLVSXWHDQGUHVXOWVIURPWKHH[SHUW¶V
    $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
UHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQRU                                            & Specifying Conditions as an Alternative. ,QWKHFLUFXPVWDQFHV
    % ZLWKLQWKHVWDWHZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRUUHJXODUO\        GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
WUDQVDFWVEXVLQHVVLQSHUVRQLIWKHSHUVRQ                                       PRGLI\LQJDVXESRHQDRUGHUDSSHDUDQFHRUSURGXFWLRQXQGHUVSHFLILHG
      L LVDSDUW\RUDSDUW\¶VRIILFHURU                                       FRQGLWLRQVLIWKHVHUYLQJSDUW\
      LL LVFRPPDQGHGWRDWWHQGDWULDODQGZRXOGQRWLQFXUVXEVWDQWLDO                 L VKRZVDVXEVWDQWLDOQHHGIRUWKHWHVWLPRQ\RUPDWHULDOWKDWFDQQRWEH
H[SHQVH                                                                          RWKHUZLVHPHWZLWKRXWXQGXHKDUGVKLSDQG
                                                                                        LL HQVXUHVWKDWWKHVXESRHQDHGSHUVRQZLOOEHUHDVRQDEO\FRPSHQVDWHG
   For Other Discovery. $VXESRHQDPD\FRPPDQG
   $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                   H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
WDQJLEOHWKLQJVDWDSODFHZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLV
HPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQDQG                              Producing Documents or Electronically Stored Information. 7KHVH
   % LQVSHFWLRQRISUHPLVHVDWWKHSUHPLVHVWREHLQVSHFWHG                      SURFHGXUHVDSSO\WRSURGXFLQJGRFXPHQWVRUHOHFWURQLFDOO\VWRUHG
                                                                                  LQIRUPDWLRQ
G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                             $ Documents. $SHUVRQUHVSRQGLQJWRDVXESRHQDWRSURGXFHGRFXPHQWV
                                                                                  PXVWSURGXFHWKHPDVWKH\DUHNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRU
   Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
UHVSRQVLEOHIRULVVXLQJDQGVHUYLQJDVXESRHQDPXVWWDNHUHDVRQDEOHVWHSV             % Form for Producing Electronically Stored Information Not Specified.
WRDYRLGLPSRVLQJXQGXHEXUGHQRUH[SHQVHRQDSHUVRQVXEMHFWWRWKH              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW            LQIRUPDWLRQWKHSHUVRQUHVSRQGLQJPXVWSURGXFHLWLQDIRUPRUIRUPVLQ
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH            ZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDUHDVRQDEO\XVDEOHIRUPRUIRUPV
ORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\¶VIHHV²RQDSDUW\RUDWWRUQH\ZKR               & Electronically Stored Information Produced in Only One Form. 7KH
IDLOVWRFRPSO\                                                                  SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
                                                                                  LQIRUPDWLRQLQPRUHWKDQRQHIRUP
   Command to Produce Materials or Permit Inspection.                                ' Inaccessible Electronically Stored Information. 7KHSHUVRQ
    $ Appearance Not Required. $SHUVRQFRPPDQGHGWRSURGXFH                      UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR           IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI      RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ        RUGHUWKHSHUVRQUHVSRQGLQJPXVWVKRZWKDWWKHLQIRUPDWLRQLVQRW
KHDULQJRUWULDO                                                                UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
    % Objections. $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH             PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
WKLQJVRUWRSHUPLWLQVSHFWLRQPD\VHUYHRQWKHSDUW\RUDWWRUQH\GHVLJQDWHG      UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU            E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG         Claiming Privilege or Protection.
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU            $ Information Withheld. $SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH      XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
WKHIROORZLQJUXOHVDSSO\                                                        PDWHULDOPXVW
      L $WDQ\WLPHRQQRWLFHWRWKHFRPPDQGHGSHUVRQWKHVHUYLQJSDUW\               L H[SUHVVO\PDNHWKHFODLPDQG
PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ                 LL GHVFULEHWKHQDWXUHRIWKHZLWKKHOGGRFXPHQWVFRPPXQLFDWLRQVRU
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                        WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
      LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP        % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                    VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
                                                                                  WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
   Quashing or Modifying a Subpoena.                                             WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                  QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
  $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                      XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
                                                                                  LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
      L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                               SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
      LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV               FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                           SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
      LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR      UHVROYHG
H[FHSWLRQRUZDLYHUDSSOLHVRU
      LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                        J &RQWHPSW
  % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ         PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                              ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
                                                                                  VXESRHQDRUDQRUGHUUHODWHGWRLW


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     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 404 of 599




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LQ<RXUSRVVHVVLRQFXVWRG\RUFRQWURO

             3OHDVHSURGXFHHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHQDWLYHIRUPLQZKLFKLWLV

RUGLQDULO\PDLQWDLQHG3DSHU'RFXPHQWVLIDQ\PD\EHVFDQQHGDQGSURGXFHGDV3')ILOHV

             &RQILGHQWLDO'RFXPHQWVPD\EHSURGXFHGLQDFFRUGDQFHZLWKWKH3URWHFWLYH

2UGHULQWKLVFDVHDFRS\RIZKLFKLVDWWDFKHGDV([KLELW%

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             ³$TXD´³<RX´RU³<RXU´UHIHUVWR$TXD/LFHQVLQJ//&DQ\DIILOLDWHGHQWLW\LWV

VXFFHVVRUVLWVSUHGHFHVVRUVDQGDOO3HUVRQVDFWLQJRUSXUSRUWLQJWRDFWDWRUXQGHUWKHGLUHFWLRQ

RUFRQWURORI$TXD/LFHQVLQJ//&

             ³3DWHQWVLQ6XLW´UHIHUVWR863DWHQW1RV ³WKH¶3DWHQW´ 

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GRPHVWLF

             ³7KLV/LWLJDWLRQ´VKDOOPHDQWSOU Investments, LLC, d/b/a Brazos Licensingand

Development v. Hewlett Packard Enterprise Company, &LYLO$FWLRQ1RVFY

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             ³+3(´VKDOOPHDQ+HZOHWW3DFNDUG(QWHUSULVH&RPSDQ\

             ³:628´VKDOOPHDQ:628,QYHVWPHQWV//&GED%UD]RV/LFHQVLQJDQG

'HYHORSPHQWDQ\DIILOLDWHGHQWLW\LWVVXFFHVVRUVLWVSUHGHFHVVRUVDQGDOOSHUVRQVDFWLQJRU




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     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 405 of 599




SXUSRUWLQJWRDFWDWRUXQGHUWKHGLUHFWLRQRUFRQWURORI:628LQFOXGLQJDQ\DWWRUQH\VIRU

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             ³&RPPXQLFDWLRQ´VKDOOKDYHWKHEURDGHVWSRVVLEOHPHDQLQJDQGVKDOOLQFOXGHDQ\

WUDQVPLVVLRQRUH[FKDQJHRILQIRUPDWLRQE\RQHRUPRUHSHUVRQVRUHQWLWLHVDQGRUEHWZHHQWZR

RUPRUHSHUVRQVRUHQWLWLHVE\DQ\PHDQVLQFOXGLQJE\HPDLOWHOHSKRQHOHWWHUIDFVLPLOHRUE\

DQ\RWKHUSURFHVVHOHFWULFHOHFWURQLFRURWKHUZLVH

             ³'RFXPHQW´VKDOOEHFRQVWUXHGXQGHUWKHEURDGHVWSRVVLEOHFRQVWUXFWLRQDQGVKDOO

LQFOXGHHOHFWURQLFPHGLDDQGVKDOOLQFOXGHDOOGRFXPHQWVLQ<RXUSRVVHVVLRQFXVWRG\RUFRQWURO

%\ZD\RILOOXVWUDWLRQDQGZLWKRXWOLPLWDWLRQGRFXPHQWVLQFOXGHWKHIROORZLQJRULJLQDOVGUDIWV

DQGDOOQRQLGHQWLFDOFRSLHVRIPHPRUDQGDUHSRUWVQRWHVJUDSKVODERUDWRU\QRWHERRNV

FRUUHVSRQGHQFHLQWHURIILFHFRPPXQLFDWLRQVOHWWHUVFDOHQGDUVVNHWFKHVGUDZLQJVSURPRWLRQDO

PDWHULDOWHFKQLFDOSDSHUVSULQWHGSXEOLFDWLRQVSDWHQWVDQGDOORWKHUZULWLQJVDVZHOODVDOOQRQ

SDSHULQIRUPDWLRQVWRUDJHPHDQVVXFKDVVRXQGUHSURGXFWLRQVFRPSXWHULQSXWVDQGRXWSXWV

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             ³3ULRU$UW´VKDOOPHDQDOOGRFXPHQWDU\DQGQRQGRFXPHQWDU\VRXUFHVLQFOXGLQJ

SDWHQWVSDWHQWDSSOLFDWLRQVSULQWHGSXEOLFDWLRQVDQGWKLQJVNQRZQXVHGRIIHUHGIRUVDOHRU

VROGWKDWPD\EHXVHGWRGHWHUPLQHODFNRIQRYHOW\DQGRUREYLRXVQHVVRIWKHFODLPHGVXEMHFW

PDWWHULQWKH3DWHQWVLQ6XLW

             ³2WKHU:628'HIHQGDQWV´VKDOOPHDQDQ\DQGDOOFRPSDQLHVWKDW:628KDV

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         Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 406 of 599




'HYLFH 'RQJJXDQ &R +XDZHL'HYLFH 6KHQ]KHQ &R/WG IND+XDZHL'HYLFH&R/WG 

+XDZHL'HYLFH86$,QF+XDZHL,QYHVWPHQW +ROGLQJ&R/WG*RRJOH//&+HZOHWW

3DFNDUG(QWHUSULVH&RPSDQ\-XQLSHU1HWZRUNV,QF;LOLQ[,QF1(&&RUSRUDWLRQ2QH3OXV

7HFKQRORJ\ 6KHQ]KHQ &R/WG&DQRQ,QF73/LQN7HFKQRORJ\&R/WG)1HWZRUNV

,QF0LFURVRIW&RUSRUDWLRQ$ULVWD1HWZRUNV,QF6DOHVIRUFHFRP,QF&LVFR6\VWHPV,QF

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               $Q\WHUPQRWVSHFLILFDOO\GHILQHGKHUHLQVKDOOEHGHILQHGLQDFFRUGDQFHZLWKLWV

RUGLQDU\XVDJHDQGWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH

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                  'RFXPHQWVDQG&RPPXQLFDWLRQVFRQFHUQLQJWKHDVVLJQPHQWOLFHQVLQJ

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DJUHHPHQWVSURSRVDOVRUDQ\RWKHUGLVSRVLWLRQRIRUDQ\RIIHUVWREX\VHOOREWDLQULJKWVWRRU

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                'RFXPHQWVFRQFHUQLQJDQ\GHFLVLRQWROLFHQVHVHOODVVLJQRURIIHUWROLFHQVH

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                'RFXPHQWVVXIILFLHQWWRLGHQWLI\DOOSHUVRQVDQGRUHQWLWLHVWKDWKDYHEHHQ

LQYROYHGLQWKHOLFHQVLQJDVVLJQPHQWVDOHRURIIHU V WROLFHQVHDVVLJQRUVHOORIDQ\RIWKH

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              'RFXPHQWVVXIILFLHQWWRLGHQWLI\DOOHQWLWLHVRIZKLFK<RXDUHDZDUHWKDWDUH

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              'RFXPHQWVDQG&RPPXQLFDWLRQVUHIOHFWLQJDVVXUDQFHVFRYHQDQWVQRWWRVXHDQG

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FRSLHVRIDQ\VXFKDJUHHPHQWVDQGWKHFLUFXPVWDQFHVUHODWLQJWRVXFKDVVXUDQFHVFRYHQDQWVQRW

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              'RFXPHQWVFRQFHUQLQJDQ\FXUUHQWRUIRUPHUULJKWWLWOHRULQWHUHVWLQDQ\RIWKH

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HYDOXDWHUDQNRUUDWH HJEDVHGRQVWUHQJWKYDOLGLW\YDOXHRURWKHUZLVH DQ\RIWKH3DWHQWV

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             $Q\HYDOXDWLRQRUDQDO\VLVRIDQ\RIWKH3DWHQWVLQ6XLWLQFOXGLQJHYDOXDWLRQRU

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             'RFXPHQWVFRQFHUQLQJDQG&RPPXQLFDWLRQVZLWK:628DQ\DIILOLDWHRI

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'RFXPHQWVDQGRU&RPPXQLFDWLRQVUHODWLQJWRWKHOLFHQVLQJRIDQ\RIWKH3DWHQWVLQ6XLW

FRPSHQVDWLRQOLFHQVHUDWHVUR\DOWLHVUHODWHGWKHUHWRUR\DOW\UHSRUWVDJUHHPHQWVWKHGHFLVLRQWR

ILOH7KLV/LWLJDWLRQDQGUHTXHVWVRURIIHUVWRSURYLGHDVVLVWDQFHZLWQHVVHVDQGRUGRFXPHQWVIRU

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6KDQXV0DUF:DGHRU&UDLJ(WFKHJR\HQDQGHQWLWLHVDVVRFLDWHGWKHUHZLWKLQFOXGLQJZLWKRXW

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SDWHQWDSSOLFDWLRQVWKDWFODLPVXEMHFWPDWWHUUHODWHGWRWKHVXEMHFWPDWWHURIDQ\RIWKH3DWHQWVLQ

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              ,QUHVSRQGLQJWRWKLVUHTXHVWIRUDGHSRVLWLRQSOHDVHGHVLJQDWHRQHRUPRUHRWKHU

RIILFHUVGLUHFWRUVPDQDJLQJDJHQWVRURWKHU3HUVRQVZKRDUHWKHPRVWNQRZOHGJHDEOHZLWK

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              7KHDVVLJQPHQWOLFHQVLQJDFTXLVLWLRQILQDQFLDOLQWHUHVWVHFXULW\LQWHUHVWOLHQ

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              $Q\GHFLVLRQWROLFHQVHVHOODVVLJQRURIIHUWROLFHQVHVHOORUDVVLJQDQ\RIWKH

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              7KHLGHQWLW\RIDOOSHUVRQVDQGRUHQWLWLHVWKDWKDYHEHHQLQYROYHGLQWKHOLFHQVLQJ

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              7KHLGHQWLW\RIDOOHQWLWLHVRIZKLFK<RXDUHDZDUHWKDWDUHFXUUHQWO\RUZHUH

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              $VVXUDQFHVFRYHQDQWVQRWWRVXHDQGXQGHUVWDQGLQJVQRWWRDVVHUWDQ\RIWKH

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FLUFXPVWDQFHVUHODWLQJWRVXFKDVVXUDQFHVFRYHQDQWVQRWWRVXHRUXQGHUVWDQGLQJVQRWWRDVVHUW

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             7KHYDOXHRIDQ\YDOXDWLRQVRIRUDWWHPSWVWRYDOXHDQ\RIWKH3DWHQWVLQ6XLW

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             $Q\HYDOXDWLRQRUDQDO\VLVRIDQ\RIWKH3DWHQWVLQ6XLWLQFOXGLQJHYDOXDWLRQRU

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             $Q\DJUHHPHQWSURSRVDORIIHURURWKHUGLVFXVVLRQVZLWK$OOLHG6HFXULW\7UXVW

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             $Q\DJUHHPHQWSURSRVDORIIHURUGLVFXVVLRQVZLWK:628RUDQ\DIILOLDWHRI

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UR\DOW\UHSRUWVDJUHHPHQWVWKHGHFLVLRQWRILOH7KLV/LWLJDWLRQDQGUHTXHVWVRURIIHUVWRSURYLGH

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HQWLWLHVDVVRFLDWHGWKHUHZLWKLQFOXGLQJZLWKRXWOLPLWDWLRQ2UDQJH+ROGLQJV:628DQ\:628

DIILOLDWHV:DGHDQG&RPSDQ\DQG8QLORF86$,QFLQFOXGLQJDQ\SDWHQWOLFHQVHDJUHHPHQWV

ZLWKDQ\VXFKHQWLW\WKDWUHODWHWRSDWHQWVRUSDWHQWDSSOLFDWLRQVWKDWFODLPVXEMHFWPDWWHUUHODWHG

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               &RPPXQLFDWLRQVZLWKDQ\2WKHU:628'HIHQGDQWFRQFHUQLQJ:628DQ\RI

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               7KHVHDUFKIRUDQGFROOHFWLRQRI'RFXPHQWVDQG&RPPXQLFDWLRQVLQUHVSRQVHWR

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        KHDULQJWUDQVFULSWVDQGQDWLYHO\SURGXFHGGRFXPHQWV IRUZKLFKVXFKSURWHFWLRQLV

        VRXJKW)RUGHSRVLWLRQDQGKHDULQJWUDQVFULSWVWKHZRUG³&21),'(17,$/´

        VKDOOEHSODFHGRQWKHFRYHUSDJHRIWKHWUDQVFULSW LIQRWDOUHDG\SUHVHQWRQWKH

        FRYHUSDJHRIWKHWUDQVFULSWZKHQUHFHLYHGIURPWKHFRXUWUHSRUWHU E\HDFK

        DWWRUQH\UHFHLYLQJDFRS\RIWKHWUDQVFULSWDIWHUWKDWDWWRUQH\UHFHLYHVQRWLFHRIWKH

        GHVLJQDWLRQRIVRPHRUDOORIWKDWWUDQVFULSWDV³&21),'(17,$/´)RUQDWLYHO\

        SURGXFHG3URWHFWHG0DWHULDOWKHZRUG³&21),'(17,$/´VKDOOEHSODFHGLQWKH

        ILOHQDPHRIHDFKVXFKQDWLYHO\SURGXFHGGRFXPHQW

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        ³&RQILGHQWLDO´RUWKHOLNHVKDOOUHFHLYHWKHVDPHWUHDWPHQWDVLIGHVLJQDWHG

        ³&21),'(17,$/´XQGHUWKLVRUGHUDQGDQ\VXFKGRFXPHQWVSURGXFHGZLWKWKH

        GHVLJQDWLRQ³&RQILGHQWLDO2XWVLGH$WWRUQH\V¶(\HV2QO\´RUWKHOLNHVKDOO

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             KHUHLQDQGXQOHVVRWKHUZLVHVWDWHGWKLV2UGHUJRYHUQVZLWKRXWOLPLWDWLRQ D DOO

             GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQDQGRUWKLQJVDVGHILQHGE\WKH

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             DQG H VWLSXODWLRQV$OOFRSLHVUHSURGXFWLRQVH[WUDFWVGLJHVWVDQGFRPSOHWHRU

             SDUWLDOVXPPDULHVSUHSDUHGIURPDQ\'(6,*1$7('0$7(5,$/6VKDOODOVREH

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             FRQILGHQWLDOWUHDWPHQW$Q\3DUW\WKDWLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHV

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             UHTXHVWGHVWUXFWLRQRIWKDW3URWHFWHG0DWHULDOE\QRWLI\LQJWKHUHFLSLHQW V DVVRRQ

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         RUXQLQWHQWLRQDOGLVFORVXUHDQGSURYLGLQJUHSODFHPHQW3URWHFWHG0DWHULDOWKDWLV

         SURSHUO\GHVLJQDWHG7KHUHFLSLHQW V VKDOOWKHQGHVWUR\DOOFRSLHVRIWKH

         LQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHGXQGHVLJQDWHG3URWHFWHG0DWHULDOV

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         WRWKHIROORZLQJSHUVRQVH[FHSWXSRQUHFHLSWRIWKHSULRUZULWWHQFRQVHQWRIWKH

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  D      2XWVLGHFRXQVHORIUHFRUGLQWKLV$FWLRQIRUWKH3DUWLHVDQGWKHSDUWQHUVFRXQVHO
         DQGDVVRFLDWHVRIVXFKFRXQVHOWRZKRPLWLVUHDVRQDEO\QHFHVVDU\WRGLVFORVHWKH
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  E      (PSOR\HHVRIVXFKFRXQVHODVVLJQHGWRDQGUHDVRQDEO\QHFHVVDU\WRDVVLVWVXFK
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  F      ,QKRXVHFRXQVHOIRUWKH3DUWLHVZKRHLWKHUKDYHUHVSRQVLELOLW\IRUPDNLQJ
         GHFLVLRQVGHDOLQJGLUHFWO\ZLWKWKHOLWLJDWLRQRIWKLV$FWLRQRUZKRDUHDVVLVWLQJ
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  G      8SWRDQGLQFOXGLQJWKUHH  GHVLJQDWHGUHSUHVHQWDWLYHVRIHDFKRIWKH3DUWLHVWR
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         3DUW\PD\LQJRRGIDLWKUHTXHVWWKHRWKHU3DUW\¶VFRQVHQWWRGHVLJQDWHRQHRUPRUH
         DGGLWLRQDOUHSUHVHQWDWLYHVWKHRWKHU3DUW\VKDOOQRWXQUHDVRQDEO\ZLWKKROGVXFK
         FRQVHQWDQGWKHUHTXHVWLQJ3DUW\PD\VHHNOHDYHRI&RXUWWRGHVLJQDWHVXFK
         DGGLWLRQDOUHSUHVHQWDWLYH V LIWKHUHTXHVWLQJ3DUW\EHOLHYHVWKHRWKHU3DUW\KDV
         XQUHDVRQDEO\ZLWKKHOGVXFKFRQVHQW

  H      2XWVLGHFRQVXOWDQWVRUH[SHUWVUHWDLQHGIRUWKHSXUSRVHRIWKLVOLWLJDWLRQSURYLGHG
         WKDW  VXFKFRQVXOWDQWVRUH[SHUWVDUHQRWSUHVHQWO\HPSOR\HGE\WKH3DUWLHVRU
         RIDQDIILOLDWHRID3DUW\KHUHWRIRUSXUSRVHVRWKHUWKDQWKLV$FWLRQ  EHIRUH
         DFFHVVLVJLYHQWKHFRQVXOWDQWRUH[SHUWKDVFRPSOHWHGWKH8QGHUWDNLQJDWWDFKHG
         DV$SSHQGL[$KHUHWRDQGWKHVDPHLVVHUYHGXSRQWKHSURGXFLQJ3DUW\ZLWKD
         FXUUHQWFXUULFXOXPYLWDHRIWKHFRQVXOWDQWRUH[SHUWLQFOXGLQJDOLVWRIRWKHUFDVHV
         LQZKLFKWKHLQGLYLGXDOKDVSURYLGHGDUHSRUWRUWHVWLILHG DWWULDORUGHSRVLWLRQ
         DQGDOLVWRIFRPSDQLHVWKDWWKHLQGLYLGXDOKDVEHHQHPSOR\HGE\RUSURYLGHG
         FRQVXOWLQJVHUYLFHVSHUWDLQLQJWRWKHILHOGRIWKHLQYHQWLRQRIWKHSDWHQW V LQVXLW
         RUWKHSURGXFWVDFFXVHGRILQIULQJHPHQWZLWKLQWKHODVWIRXU\HDUVDQGDEULHI
         GHVFULSWLRQRIWKHVXEMHFWPDWWHURIWKHFRQVXOWDQF\RUHPSOR\PHQWDWOHDVWWHQ
           GD\VEHIRUHDFFHVVWRWKH3URWHFWHG0DWHULDOLVWREHJLYHQWRWKDWFRQVXOWDQW
         RUH[SHUWWRREMHFWWRDQGQRWLI\WKHUHFHLYLQJ3DUW\LQZULWLQJWKDWLWREMHFWVWR
         GLVFORVXUHRI3URWHFWHG0DWHULDOWRWKHFRQVXOWDQWRUH[SHUW7KH3DUWLHVDJUHHWR
         SURPSWO\FRQIHUDQGXVHJRRGIDLWKWRUHVROYHDQ\VXFKREMHFWLRQ,IWKH3DUWLHV
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  I      ,QGHSHQGHQWOLWLJDWLRQVXSSRUWVHUYLFHVLQFOXGLQJSHUVRQVZRUNLQJIRURUDVFRXUW
         UHSRUWHUVJUDSKLFVRUGHVLJQVHUYLFHVMXU\RUWULDOFRQVXOWLQJVHUYLFHVDQG
         SKRWRFRS\GRFXPHQWLPDJLQJDQGGDWDEDVHVHUYLFHVUHWDLQHGE\FRXQVHODQG
         UHDVRQDEO\QHFHVVDU\WRDVVLVWFRXQVHOZLWKWKHOLWLJDWLRQRIWKLV$FWLRQ

  J      7KH&RXUWDQGLWVSHUVRQQHODVZHOODVDQ\PHGLDWRUDSSRLQWHGE\WKH&RXUW
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         ³&21),'(17,$/´RQO\XSRQDJRRGIDLWKEHOLHIWKDWWKHGRFXPHQWV

         LQIRUPDWLRQRUPDWHULDOFRQWDLQVFRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQRUWUDGH

         VHFUHWVRIWKH3DUW\RUD7KLUG3DUW\WRZKRPWKH3DUW\UHDVRQDEO\EHOLHYHVLW

         RZHVDQREOLJDWLRQRIFRQILGHQWLDOLW\ZLWKUHVSHFWWRVXFKGRFXPHQWVLQIRUPDWLRQ

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         WKLV$FWLRQDQGVKDOOQRWEHXVHGIRUDQ\RWKHUSXUSRVH$Q\SHUVRQRUHQWLW\ZKR

         REWDLQVDFFHVVWR'(6,*1$7('0$7(5,$/RUWKHFRQWHQWVWKHUHRISXUVXDQWWR

         WKLV2UGHUVKDOOQRWPDNHDQ\FRSLHVGXSOLFDWHVH[WUDFWVVXPPDULHVRU

         GHVFULSWLRQVRIVXFK'(6,*1$7('0$7(5,$/RUDQ\SRUWLRQWKHUHRIH[FHSWDV

         PD\EHUHDVRQDEO\QHFHVVDU\LQWKHOLWLJDWLRQRIWKLV$FWLRQ$Q\VXFKFRSLHV

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        HYHQIXUWKHUOLPLWDWLRQWKHSURGXFLQJ3DUW\PD\GHVLJQDWHVXFK3URWHFWHG

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        VXFK3URWHFWHG0DWHULDOLQFOXGHVFRPSXWHUVRXUFHFRGHDQGRUOLYHGDWD WKDWLV

        GDWDDVLWH[LVWVUHVLGLQJLQDGDWDEDVHRUGDWDEDVHV  ³6RXUFH&RGH0DWHULDO´ WKH

        SURGXFLQJ3DUW\PD\GHVLJQDWHVXFK3URWHFWHG0DWHULDODV³&21),'(17,$/

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        LQGLYLGXDOVOLVWHGLQSDUDJUDSKV D±F DQG H±J SURYLGHGKRZHYHUWKDWDFFHVV

        E\LQKRXVHFRXQVHOSXUVXDQWWRSDUDJUDSK F EHOLPLWHGWRLQKRXVHFRXQVHO

        ZKRH[HUFLVHQRFRPSHWLWLYHGHFLVLRQPDNLQJDXWKRULW\RQEHKDOIRIWKHFOLHQW

     )RU3URWHFWHG0DWHULDOGHVLJQDWHG&21),'(17,$/2876,'($77251(<6¶

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        OLPLWHGWRLQGLYLGXDOVOLVWHGLQSDUDJUDSKV D±E DQG H±J SURYLGHGKRZHYHU

        WKDWWKHGHVLJQDWLQJ3DUW\VKDOODFFRPPRGDWHUHDVRQDEOHUHTXHVWVWRSURYLGH

        VXPPDU\LQIRUPDWLRQWRLQKRXVHFRXQVHOGHVLJQDWHGSXUVXDQWWRSDUDJUDSK F

        ZKRH[HUFLVHQRFRPSHWLWLYHGHFLVLRQPDNLQJDXWKRULW\RQEHKDOIRIWKHFOLHQWDQG

        UHDVRQDEO\UHTXLUHDFFHVVWRVXFKLQIRUPDWLRQ

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  D     $FFHVVWRD3DUW\¶V6RXUFH&RGH0DWHULDOVKDOOEHSURYLGHGRQWZRVRXUFHFRGH
        PDFKLQHVZLWKWKHLGHQWLFDOSURGXFWLRQDYDLODEOHIRULQSHUVRQUHYLHZDVIROORZV
        RQ³VWDQGDORQH´FRPSXWHU V  WKDWLVWKHFRPSXWHUPD\QRWEHOLQNHGWRDQ\
        QHWZRUNLQFOXGLQJDORFDODUHDQHWZRUN ³/$1´ DQLQWUDQHWRUWKH,QWHUQHW 
        7KHVWDQGDORQHFRPSXWHU V PD\EHFRQQHFWHGWR L DSULQWHURU LL DGHYLFH
        FDSDEOHRIWHPSRUDULO\VWRULQJHOHFWURQLFFRSLHVVROHO\IRUWKHOLPLWHGSXUSRVHV
        SHUPLWWHGSXUVXDQWWRSDUDJUDSKV KDQGN EHORZ7KHVWDQGDORQHFRPSXWHU V
        VKDOODWWKHUHFHLYLQJ3DUW\¶VUHTXHVWLQFOXGLQJUHDVRQDEOHDQDO\VLVWRROVIRUWKH
        W\SHRI6RXUFH&RGH0DWHULDOSURYLGHGWKHUHRQ7KHUHFHLYLQJ3DUW\VKDOOEH
        UHVSRQVLEOHIRUSURYLGLQJWRROVRUOLFHQVHVWRWRROVWKDWLWZLVKHGWRXVHVRWKDWWKH
        SURGXFLQJ3DUW\PD\LQVWDOOVXFKWRROVRQWKHVWDQGDORQHFRPSXWHU V 
        $GGLWLRQDOO\H[FHSWDVSURYLGHGLQSDUDJUDSK N EHORZWKHVWDQGDORQH
        FRPSXWHU V PD\RQO\EHORFDWHGDWWKHRIILFHVRIWKHSURGXFLQJ3DUW\¶VRXWVLGH
        FRXQVHORULWVYHQGRUVZLWKLQDUHDVRQDEOHGLVWDQFHRIWKHUHFHLYLQJ3DUW\¶VH[SHUW
        RUODZILUPDWWKHGLVFUHWLRQRIWKHSURGXFLQJ3DUW\DVWRZKLFKRQH,IDQRIILFH
        RIWKHSURGXFLQJ3DUW\¶VRXWVLGHFRXQVHOLVQRWDYDLODEOHZLWKLQDUHDVRQDEOH
        GLVWDQFHRIWKHUHFHLYLQJ3DUW\¶VH[SHUWRUODZILUPWKHSURGXFLQJ3DUW\ZLOOPDNH
        WKHVWDQGDORQHFRPSXWHU V DYDLODEOHDWWKHQHDUHVW,URQ0RXQWDLQIDFLOLW\WR
        UHFHLYLQJ3DUW\¶VH[SHUWRUODZILUPDWWKHUHFHLYLQJ3DUW\¶VH[SHQVH6KRXOGWKH
        QHHGDULVHGXHWRDSXEOLFKHDOWKHPHUJHQF\VWDWHORFDORUQDWLRQDOUHVWULFWLRQVRU
        WUDYHOUHVWULFWLRQZKLFKKLQGHUWKHVRXUFHFRGHUHYLHZWKH3DUWLHVVKDOOPHHWDQG
        FRQIHULQJRRGIDLWKWRGLVFXVVWKHIHDVLELOLW\RIPDNLQJWKHVWDQGDORQH
        FRPSXWHU V DYDLODEOHLQDORFDWLRQWKDWZRXOGDOORZVRXUFHFRGHUHYLHZWRRFFXU

  E     7KHUHFHLYLQJ3DUW\VKDOOPDNHUHDVRQDEOHHIIRUWVWRUHVWULFWLWVUHTXHVWVIRUVXFK
        DFFHVVWRWKHVWDQGDORQHFRPSXWHU V WRQRUPDOEXVLQHVVKRXUVZKLFKIRU
        SXUSRVHVRIWKLVSDUDJUDSKVKDOOEHDPWKURXJKSP+RZHYHUXSRQ
        UHDVRQDEOHQRWLFHIURPWKHUHFHLYLQJ3DUW\WKHSURGXFLQJ3DUW\VKDOOPDNH
        UHDVRQDEOHHIIRUWVWRDFFRPPRGDWHWKHUHFHLYLQJ3DUW\¶VUHTXHVWIRUDFFHVVWRWKH
        VWDQGDORQHFRPSXWHU V RXWVLGHRIQRUPDOEXVLQHVVKRXUV7KH3DUWLHVDJUHHWR
        FRRSHUDWHLQJRRGIDLWKVXFKWKDWPDLQWDLQLQJWKHSURGXFLQJ3DUW\¶V6RXUFH&RGH
        0DWHULDODWWKHRIILFHVRILWVRXWVLGHFRXQVHORULWVYHQGRUVVKDOOQRWXQUHDVRQDEO\
        KLQGHUWKHUHFHLYLQJ3DUW\¶VDELOLW\WRHIILFLHQWO\DQGHIIHFWLYHO\FRQGXFWWKH
        SURVHFXWLRQRUGHIHQVHRIWKLV$FWLRQ

  F     7KHSURGXFLQJ3DUW\VKDOOSURYLGHWKHUHFHLYLQJ3DUW\ZLWKLQIRUPDWLRQH[SODLQLQJ
        KRZWRVWDUWORJRQWRDQGRSHUDWHWKHVWDQGDORQHFRPSXWHU V LQRUGHUWRDFFHVV
        WKHSURGXFHG6RXUFH&RGH0DWHULDORQWKHVWDQGDORQHFRPSXWHU V 

  G     7KHSURGXFLQJ3DUW\ZLOOSURGXFH6RXUFH&RGH0DWHULDOLQFRPSXWHUVHDUFKDEOH
        IRUPDWRQWKHVWDQGDORQHFRPSXWHU V DVGHVFULEHGDERYHDQGVKDOOLQVWDOORQWKH
        VWDQGDORQHFRPSXWHU V UHDVRQDEOHDQDO\VLVWRROVDSSURSULDWHIRUWKHW\SHRI
        6RXUFH&RGH0DWHULDOUHTXHVWHGSXUVXDQWWRSDUDJUDSK D DERYH6SHFLILF
        WRROVPD\LQFOXGHEXWDUHQRWOLPLWHGWRWKHIROORZLQJ6FL7RROV8QGHUVWDQG
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        1RWHSDG%H\RQG&RPSDUH0R]LOOD)LUH)R[DQG$GREH$FUREDW3UR7KH
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               FRPSXWHU V DQGVKDOOSURYLGHDWWKHUHYLHZLQJ3DUW\¶VH[SHQVHDVZLWKWKHRWKHU
               WRROVUHTXHVWHGE\UHYLHZLQJ3DUW\SHUSDUDJUDSK D 9HUD&U\SWVRIWZDUH
                KWWSVZZZYHUDFU\SWIUHQ+RPHKWPO IRUWKHUHYLHZLQJ3DUW\WRVHFXUHWKH
               UHYLHZLQJ3DUW\¶VZRUNSURGXFWVWRUHGRQWKHVWDQGDORQHFRPSXWHU V 7KH
               SURGXFLQJ3DUW\VKDOOQRWLQVWDOODQ\NH\VWURNHRURWKHUPRQLWRULQJVRIWZDUHRQ
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        H      $FFHVVWR6RXUFH&RGH0DWHULDOVKDOOEHOLPLWHGWRRXWVLGHFRXQVHODQGXSWRWKUHH
                 RXWVLGHFRQVXOWDQWVRUH[SHUWV  i.eQRWH[LVWLQJHPSOR\HHVRUDIILOLDWHVRID
               3DUW\RUDQDIILOLDWHRID3DUW\RUFRPSHWLWRULGHQWLILHGE\WKH3URGXFLQJ3DUW\
               ZLWKUHDVRQDEOHVSHFLILFLW\ UHWDLQHGIRUWKHSXUSRVHRIWKLVOLWLJDWLRQDQG
               DSSURYHGWRDFFHVVVXFK3URWHFWHG0DWHULDOVSXUVXDQWWRSDUDJUDSK H DERYH
               (DFKSHUVRQDXWKRUL]HGWRDFFHVV6RXUFH&RGH0DWHULDOPD\XVHDODSWRS
               FRPSXWHUIRUWKHVROHSXUSRVHRIW\SLQJQRWHVUHODWHGWRVRXUFHFRGHUHYLHZ
               SURYLGHGWKDWRXWVLGHRIWKHLQVSHFWLRQVXFKQRWHVDUHVHFXUHO\VWRUHGRQWKH
               ODSWRSE\WKHUHFHLYLQJ3DUW\LQDPDQQHUFRQVLVWHQWZLWKWKHSURYLVLRQVRIWKLV
               2UGHU1RRWKHUHOHFWURQLFGHYLFHVVKDOOEHSHUPLWWHGLQWKHVHFXUHURRP
               LQFOXGLQJEXWQRWOLPLWHGWRODSWRSVIORSS\GULYHV]LSGULYHVFHOOXODUWHOHSKRQHV
               SHUVRQDOGLJLWDODVVLVWDQWV%ODFNEHUULHVFDPHUDVYRLFHUHFRUGHUV'LFWDSKRQHV
               RUWHOHSKRQHMDFNV1RUVKDOODQ\QRQHOHFWURQLFGHYLFHVFDSDEOHRIVLPLODU
               IXQFWLRQDOLW\EHSHUPLWWHGLQWKHVHFXUHURRP'XULQJUHYLHZRI6RXUFH&RGH
               0DWHULDOWKHUHFHLYLQJ3DUW\ LQFOXGLQJLWVFRQVXOWDQWVDQGH[SHUWV VKDOOEH
               HQWLWOHGWRWDNHQRWHVUHODWLQJWRWKH6RXUFH&RGH0DWHULDOEXWPD\QRWFRS\PRUH
               WKDQWHQ  FRQVHFXWLYHOLQHVRIWKH6RXUFH&RGH0DWHULDOLQWRWKHQRWHV1R
               FRSLHVRIDOORUDQ\SRUWLRQRIWKH6RXUFH&RGH0DWHULDOPD\OHDYHWKHURRPLQ
               ZKLFKWKH6RXUFH&RGH0DWHULDOLVLQVSHFWHGH[FHSWDVRWKHUZLVHSHUPLWWHG
               SXUVXDQWWRSDUDJUDSKV KDQGN EHORZ)XUWKHUQRRWKHUZULWWHQRUHOHFWURQLF
               UHFRUGRIWKH6RXUFH&RGH0DWHULDOLVSHUPLWWHGH[FHSWDVRWKHUZLVHSURYLGHG
               KHUHLQ$UHFHLYLQJ3DUW\PD\LQFOXGHH[FHUSWVRI6RXUFH&RGH0DWHULDOLQDQ
               H[KLELWWRDSOHDGLQJH[SHUWUHSRUWRUGHSRVLWLRQWUDQVFULSW FROOHFWLYHO\³6RXUFH
               &RGH([KLELWV´ SURYLGHGWKDWWKH6RXUFH&RGH([KLELWVDUHDSSURSULDWHO\
               PDUNHGXQGHUWKLV2UGHUUHVWULFWHGWRWKRVHZKRDUHHQWLWOHGWRKDYHDFFHVVWR
               WKHPDVVSHFLILHGKHUHLQDQGLIILOHGZLWKWKH&RXUWILOHGXQGHUVHDOLQ
               DFFRUGDQFHZLWKWKH&RXUW¶VUXOHVSURFHGXUHVDQGRUGHUV

        I      7RWKHH[WHQWSRUWLRQVRI6RXUFH&RGH0DWHULDODUHTXRWHGLQD6RXUFH&RGH
               ([KLELWHLWKHU  WKHHQWLUH6RXUFH&RGH([KLELWZLOOEHVWDPSHGDQGWUHDWHGDV
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FRQVXOWDQW¶VRUH[SHUW¶VGLUHFWUHSRUWVDQGRWKHUVXSSRUWSHUVRQQHOVXFKWKDWWKHGLVFORVXUHWRD
FRQVXOWDQWRUH[SHUWZKRHPSOR\VRWKHUVZLWKLQWKHLUILUPWRKHOSLQWKHLUDQDO\VLVVKDOOFRXQWDVD
GLVFORVXUHWRDVLQJOHFRQVXOWDQWRUH[SHUWSURYLGHGWKDWVXFKSHUVRQQHOKHOSLQJLQWKHDQDO\VLVRI
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        0DWHULDOVKDOOEHPDGHZLWKRXWSULRUZULWWHQFRQVHQWRIWKHSURGXFLQJ3DUW\
        H[FHSWDVQHFHVVDU\WRFUHDWHGRFXPHQWVWKDWSXUVXDQWWRWKH&RXUW¶VUXOHV
        SURFHGXUHVDQGRUGHUPXVWEHILOHGRUVHUYHGHOHFWURQLFDOO\

  K     7KHSURGXFLQJ3DUW\VKDOOSURYLGHZLWKWKHVWDQGDORQHFRPSXWHUVDQGSULQWHUV
        OHWWHUVL]HGSDSHUWKDWLVEODQNRWKHUWKDQDXQLTXH%DWHVQXPEHURQHDFKSDJHDQG
        WKHODEHO³&21),'(17,$/6285&(&2'(´IRUXVHE\WKHUHFHLYLQJ3DUW\
        ZKHQSULQWLQJ6RXUFH&RGH0DWHULDOIURPWKHVWDQGDORQHFRPSXWHUV7KH
        UHFHLYLQJ3DUW\VKDOOEHSHUPLWWHGWRPDNHDUHDVRQDEOHQXPEHURISULQWRXWVDQG
        SKRWRFRSLHVRI6RXUFH&RGH0DWHULDOZKLFKVKDOOSUHVXPSWLYHO\EHDWRWDORIWHQ
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        UHFHLYLQJ3DUW\VKDOOPDLQWDLQDORJRIDOOVXFKILOHVWKDWDUHSULQWHGRU
        SKRWRFRSLHG:KHQWKHUHFHLYLQJ3DUW\SULQWV6RXUFH&RGH0DWHULDOIURPD
        VWDQGDORQHFRPSXWHULWVKDOODOORZFRSLHVRIDOOWKHSULQWRXWVWREHPDGHEHIRUH
        OHDYLQJWKHORFDWLRQRIWKHVWDQGDORQHFRPSXWHUZKLFKFRSLHVVKDOOEHSURPSWO\
        IXUQLVKHGWRWKHSURGXFLQJ3DUW\

  L     6KRXOGVXFKSULQWRXWVRUSKRWRFRSLHVEHSHUPLVVLEO\WUDQVIHUUHGEDFNWRHOHFWURQLF
        PHGLDVXFKPHGLDVKDOOEHODEHOHG³&21),'(17,$/6285&(&2'(´DQG
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  M     ,IWKHUHFHLYLQJ3DUW\¶VRXWVLGHFRXQVHOFRQVXOWDQWVRUH[SHUWVREWDLQSULQWRXWVRU
        SKRWRFRSLHVRI6RXUFH&RGH0DWHULDOWKHUHFHLYLQJ3DUW\VKDOOHQVXUHWKDWVXFK
        RXWVLGHFRXQVHOFRQVXOWDQWVRUH[SHUWVNHHSWKHSULQWRXWVRUSKRWRFRSLHVLQD
        VHFXUHGORFNHGDUHDLQWKHRIILFHVRIVXFKRXWVLGHFRXQVHOFRQVXOWDQWVRUH[SHUW
        7KHUHFHLYLQJ3DUW\PD\DOVRWHPSRUDULO\NHHSWKHSULQWRXWVRUSKRWRFRSLHVDW
         L WKH&RXUWIRUDQ\SURFHHGLQJV V UHODWLQJWRWKH6RXUFH&RGH0DWHULDOIRUWKH
        GDWHVDVVRFLDWHGZLWKWKHSURFHHGLQJ V  LL WKHVLWHVZKHUHDQ\GHSRVLWLRQ V
        UHODWLQJWRWKH6RXUFH&RGH0DWHULDODUHWDNHQIRUWKHGDWHVDVVRFLDWHGZLWKWKH
        GHSRVLWLRQ V DQG LLL DQ\LQWHUPHGLDWHORFDWLRQUHDVRQDEO\QHFHVVDU\WRWUDQVSRUW
        WKHSULQWRXWVRUSKRWRFRSLHV e.gDKRWHOSULRUWRD&RXUWSURFHHGLQJRU
        GHSRVLWLRQ 

  N     $SURGXFLQJ3DUW\¶V6RXUFH&RGH0DWHULDOPD\RQO\EHWUDQVSRUWHGE\WKH
        UHFHLYLQJ3DUW\DWWKHGLUHFWLRQRIDSHUVRQDXWKRUL]HGXQGHUSDUDJUDSK H
        DERYHWRDQRWKHUSHUVRQDXWKRUL]HGXQGHUSDUDJUDSK H DERYHRQSDSHURU
        UHPRYDEOHHOHFWURQLFPHGLD e.g.D'9'&'520RUIODVKPHPRU\³VWLFN´ YLD
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        0DWHULDOPD\QRWEHWUDQVSRUWHGRUWUDQVPLWWHGHOHFWURQLFDOO\RYHUDQHWZRUNRI
        DQ\NLQGLQFOXGLQJD/$1DQLQWUDQHWRUWKH,QWHUQHW7KHSURGXFLQJ3DUW\
        VKDOORQUHTXHVWPDNHRQHRIWKHVWDQGDORQHFRPSXWHUVFRQWDLQLQJWKH6RXUFH
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               DYDLODEOHDWGHSRVLWLRQVRIZLWQHVVHVZKRZRXOGRWKHUZLVHEHSHUPLWWHGDFFHVVWR
               WKHVWDQGDORQHFRPSXWHU V 7KHUHFHLYLQJ3DUW\VKDOOPDNHVXFKUHTXHVWVWHQ
                 FDOHQGDUGD\VEHIRUHWKHGHSRVLWLRQ$SURGXFLQJ3DUW\VKDOOPDNH
               UHDVRQDEOHHIIRUWVWRFRPSO\ZLWKVXFKDUHTXHVWPDGHOHVVWKDQWHQ  FDOHQGDU
               GD\VEHIRUHDGHSRVLWLRQSURYLGHGWKHUHTXHVWLVPDGHLQJRRGIDLWKDQGFRXOGQRW
               UHDVRQDEO\XQGHUWKHFLUFXPVWDQFHVKDYHEHHQPDGHVRRQHU

    ³&21),'(17,$/±5(675,&7('6285&(&2'(´UHIHUVWRDQ\6RXUFH&RGH

       0DWHULDOWKDWD3DUW\RU1RQ3DUW\UHDVRQDEO\EHOLHYHVWREHVXEMHFWWRIHGHUDOVWDWHRU

       IRUHLJQJRYHUQPHQWUHVWULFWLRQVRUDJUHHPHQWVUHODWHGWRVXFKUHVWULFWLRQVWKDWVWULFWO\

       OLPLWDFFHVVWRPRYHPHQWRIRUWUDQVPLWWDORIWKHLQIRUPDWLRQ([DPSOHVRIWKHVRXUFHV

       RIVXFKUHVWULFWLRQVLQFOXGHWKH'HIHQVH3URGXFWLRQ$FWRIDQGWKH&RPPLWWHHRQ

       )RUHLJQ,QYHVWPHQWLQWKH8QLWHG6WDWHV &),86 

    )RU3URWHFWHG0DWHULDOGHVLJQDWHG&21),'(17,$/5(675,&7('6285&(&2'(

       QRWZLWKVWDQGLQJDQ\RWKHUUHVWULFWLRQVRUUHTXLUHPHQWVLPSRVHGRQHLWKHU3DUW\E\WKLV

       2UGHUDFFHVVWR&21),'(17,$/5(675,&7('6285&(&2'(PDWHULDOVKDOORQO\

       EHDYDLODEOHLQDFFRUGDQFHZLWKWKHUHVWULFWLRQVLPSRVHGRQLWE\WKHDSSOLFDEOH

       JRYHUQPHQWDOHQWLWLHVRUWKHDJUHHPHQWVUHODWHGWRVXFKUHVWULFWLRQV

    ,ID3DUW\LVVHUYHGZLWKDVXESRHQDRUDFRXUWRUGHULVVXHGLQRWKHUOLWLJDWLRQWKDWFRPSHOV

       GLVFORVXUHRIDQ\LQIRUPDWLRQRULWHPVGHVLJQDWHGLQWKLV$FWLRQDV&21),'(17,$/

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       FRS\RIWKHVXESRHQDRUFRXUWRUGHULIDOORZHGXQGHUDSSOLFDEOHSURWHFWLYHRUGHUVLQWKH

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       WKH RWKHUOLWLJDWLRQWKDWVRPHRUDOORIWKHPDWHULDOFRYHUHGE\WKHVXESRHQDRU RUGHU LV

       VXEMHFW WR WKLV 3URWHFWLYH 2UGHU  6XFK QRWLILFDWLRQ VKDOO LQFOXGH D FRS\ RI WKLV 2UGHU

       ,IWKHGHVLJQDWLQJ3DUW\WLPHO\VHHNVDSURWHFWLYHRUGHUWKH3DUW\VHUYHGZLWKWKHVXESRHQD

       RU FRXUW RUGHU VKDOO QRW SURGXFH DQ\ LQIRUPDWLRQ GHVLJQDWHG LQ WKLV $FWLRQ DV

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       IURPZKLFKWKHVXESRHQDRURUGHULVVXHGXQOHVVWKH3DUW\KDVREWDLQHGWKHGHVLJQDWLQJ

       3DUW\¶VSHUPLVVLRQ7KHGHVLJQDWLQJ3DUW\VKDOOEHDUWKHEXUGHQDQGH[SHQVHRIVHHNLQJ

       SURWHFWLRQLQWKDWFRXUWRILWVFRQILGHQWLDOPDWHULDO±DQGQRWKLQJLQWKHVHSURYLVLRQVVKRXOG

       EHFRQVWUXHGDVDXWKRUL]LQJRUHQFRXUDJLQJDUHFHLYLQJ3DUW\LQWKLV$FWLRQWRGLVREH\D

       ODZIXOGLUHFWLYHIURPDQRWKHUFRXUW

    ,QWKHHYHQWWKDWD3DUW\LVUHTXLUHGE\DYDOLGGLVFRYHU\UHTXHVWWRSURGXFHD1RQ

       3DUW\¶VFRQILGHQWLDOLQIRUPDWLRQLQLWVSRVVHVVLRQDQGWKH3DUW\LVVXEMHFWWRDQDJUHHPHQW

       ZLWKWKH1RQ3DUW\QRWWRSURGXFHWKH1RQ3DUW\¶VFRQILGHQWLDOLQIRUPDWLRQWKHQWKH

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              SURPSWO\QRWLI\LQZULWLQJWKH5HTXHVWLQJ3DUW\DQGWKH1RQ3DUW\WKDWVRPHRU

       DOORIWKHLQIRUPDWLRQUHTXHVWHGLVVXEMHFWWRDFRQILGHQWLDOLW\DJUHHPHQWZLWKD1RQ

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              SURPSWO\SURYLGHWKH1RQ3DUW\ZLWKDFRS\RIWKLV2UGHUWKHUHOHYDQWGLVFRYHU\

       UHTXHVW V DQGDUHDVRQDEO\VSHFLILFGHVFULSWLRQRIWKHLQIRUPDWLRQUHTXHVWHGDQG

              PDNHWKHLQIRUPDWLRQUHTXHVWHGDYDLODEOHIRULQVSHFWLRQE\WKH1RQ3DUW\

       ,IWKH1RQ3DUW\IDLOVWRREMHFWRUVHHNDSURWHFWLYHRUGHUIURPWKLVFRXUWZLWKLQ




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       FDOHQGDUGD\VRIUHFHLYLQJWKHQRWLFHDQGDFFRPSDQ\LQJLQIRUPDWLRQWKH5HFHLYLQJ3DUW\

       PD\SURGXFHWKH1RQ3DUW\¶VFRQILGHQWLDOLQIRUPDWLRQUHVSRQVLYHWRWKHGLVFRYHU\

       UHTXHVW,IWKH1RQ3DUW\WLPHO\VHHNVDSURWHFWLYHRUGHUWKH5HFHLYLQJ3DUW\VKDOOQRW

       SURGXFHDQ\LQIRUPDWLRQLQLWVSRVVHVVLRQRUFRQWUROWKDWLVVXEMHFWWRWKHFRQILGHQWLDOLW\

       DJUHHPHQWZLWKWKH1RQ3DUW\EHIRUHDGHWHUPLQDWLRQE\WKHFRXUW$EVHQWDFRXUWRUGHU

       WRWKHFRQWUDU\WKH1RQ3DUW\VKDOOEHDUWKHEXUGHQDQGH[SHQVHRIVHHNLQJSURWHFWLRQLQ

       WKLVFRXUWRILWV3URWHFWHG0DWHULDO

    $Q\DWWRUQH\UHSUHVHQWLQJD3DUW\ZKHWKHULQKRXVHRURXWVLGHFRXQVHODQGDQ\SHUVRQ

       DVVRFLDWHGZLWKD3DUW\DQGSHUPLWWHGWRUHFHLYHWKHRWKHU3DUW\¶V3URWHFWHG0DWHULDOWKDW

       LVGHVLJQDWHG&21),'(17,$/$77251(<6¶(<(621/<&21),'(17,$/

       2876,'($77251(<6¶(<(621/<&21),'(17,$/6285&(&2'(DQGRU

       &21),'(17,$/±5(675,&7('6285&(&2'(DQGGLUHFWHGWRWHFKQLFDO

       LQIRUPDWLRQUHOHYDQWWRWKHFDVHEXWH[FOXGLQJILQDQFLDOGDWDRUQRQWHFKQLFDOEXVLQHVV

       LQIRUPDWLRQ FROOHFWLYHO\³+,*+/<6(16,7,9(0$7(5,$/´ ZKRREWDLQVUHFHLYHV

       KDVDFFHVVWRRURWKHUZLVHOHDUQVLQZKROHRULQSDUWWKHRWKHU3DUW\¶V+,*+/<

       6(16,7,9(0$7(5,$/XQGHUWKLV2UGHUVKDOOQRWSUHSDUHSURVHFXWHVXSHUYLVHRU

       DVVLVWLQWKHSUHSDUDWLRQRUSURVHFXWLRQRIDQ\SDWHQWDSSOLFDWLRQSHUWDLQLQJWRWKHILHOGRI

       WKHLQYHQWLRQRIWKHSDWHQWVLQVXLWGXULQJWKHSHQGHQF\RIWKLV$FWLRQDQGIRURQH\HDU

       DIWHULWVFRQFOXVLRQLQFOXGLQJDQ\DSSHDOV7RHQVXUHFRPSOLDQFHZLWKWKHSXUSRVHRI

       WKLVSURYLVLRQHDFK3DUW\VKDOOFUHDWHDQ³(WKLFDO:DOO´EHWZHHQWKRVHSHUVRQVZLWK

       DFFHVVWR+,*+/<6(16,7,9(0$7(5,$/DQGDQ\LQGLYLGXDOVZKRSUHSDUH

       SURVHFXWHVXSHUYLVHRUDVVLVWLQWKHSUHSDUDWLRQRUSURVHFXWLRQRIDQ\SDWHQWDSSOLFDWLRQ

       SHUWDLQLQJWRWKHILHOGRILQYHQWLRQRIWKHSDWHQWLQVXLW1RWKLQJLQWKLV2UGHUVKDOO




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       SUHYHQWDSHUVRQZLWKDFFHVVWR+,*+/<6(16,7,9(0$7(5,$/IURPSDUWLFLSDWLQJLQ

       D372SURFHHGLQJe.g.,35RU3*5H[FHSWIRUWKDWSHUVRQVKDOOQRWSDUWLFLSDWH²GLUHFWO\

       RULQGLUHFWO\²LQWKHDPHQGPHQWRIDQ\FODLP V 

    1RWKLQJLQWKLV2UGHUVKDOOUHTXLUHSURGXFWLRQRIGRFXPHQWVLQIRUPDWLRQRURWKHU

       PDWHULDOWKDWD3DUW\FRQWHQGVLVSURWHFWHGIURPGLVFORVXUHE\WKHDWWRUQH\FOLHQW

       SULYLOHJHWKHZRUNSURGXFWGRFWULQHRURWKHUSULYLOHJHGRFWULQHRULPPXQLW\3XUVXDQW

       WR)HGHUDO5XOHRI(YLGHQFH G LIGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOVXEMHFW

       WRDFODLPRIDWWRUQH\FOLHQWSULYLOHJHZRUNSURGXFWGRFWULQHRURWKHUSULYLOHJHGRFWULQH

       RULPPXQLW\LVLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHGVXFKSURGXFWLRQVKDOOLQQR

       ZD\SUHMXGLFHRURWKHUZLVHFRQVWLWXWHDZDLYHURIRUHVWRSSHODVWRDQ\VXFKSULYLOHJH

       GRFWULQHRULPPXQLW\$Q\3DUW\WKDWLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHV

       GRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOLWUHDVRQDEO\EHOLHYHVDUHSURWHFWHGXQGHUWKH

       DWWRUQH\FOLHQWSULYLOHJHZRUNSURGXFWGRFWULQHRURWKHUSULYLOHJHGRFWULQHRULPPXQLW\

       PD\REWDLQWKHUHWXUQRIVXFKGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOE\SURPSWO\

       QRWLI\LQJWKHUHFLSLHQW V DQGSURYLGLQJDSULYLOHJHORJIRUWKHLQDGYHUWHQWO\RU

       XQLQWHQWLRQDOO\SURGXFHGGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDO7KHUHFLSLHQW V

       VKDOOJDWKHUDQGUHWXUQDOOFRSLHVRIVXFKGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOWRWKH

       SURGXFLQJ3DUW\H[FHSWIRUDQ\SDJHVFRQWDLQLQJSULYLOHJHGRURWKHUZLVHSURWHFWHG

       PDUNLQJVE\WKHUHFLSLHQW V ZKLFKSDJHVVKDOOLQVWHDGEHGHVWUR\HGDQGFHUWLILHGDVVXFK

       WRWKHSURGXFLQJ3DUW\

    7KHUHVKDOOEHQRGLVFORVXUHRIDQ\'(6,*1$7('0$7(5,$/E\DQ\SHUVRQ

       DXWKRUL]HGWRKDYHDFFHVVWKHUHWRWRDQ\SHUVRQZKRLVQRWDXWKRUL]HGIRUVXFKDFFHVV

       XQGHUWKLV2UGHU7KH3DUWLHVDUHKHUHE\25'(5('WRVDIHJXDUGDOOVXFKGRFXPHQWV




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       LQIRUPDWLRQDQGPDWHULDOWRSURWHFWDJDLQVWGLVFORVXUHWRDQ\XQDXWKRUL]HGSHUVRQVRU

       HQWLWLHV

    1RWKLQJFRQWDLQHGKHUHLQVKDOOEHFRQVWUXHGWRSUHMXGLFHDQ\3DUW\¶VULJKWWRXVHDQ\

       '(6,*1$7('0$7(5,$/LQWDNLQJWHVWLPRQ\DWDQ\GHSRVLWLRQRUKHDULQJSURYLGHG

       WKDWWKH'(6,*1$7('0$7(5,$/LVRQO\GLVFORVHGWRDSHUVRQ V ZKRLV L HOLJLEOH

       WRKDYHDFFHVVWRWKH'(6,*1$7('0$7(5,$/E\YLUWXHRIWKHLUHPSOR\PHQWZLWKWKH

       GHVLJQDWLQJ3DUW\ LL LGHQWLILHGLQWKH'(6,*1$7('0$7(5,$/DVDQDXWKRU

       DGGUHVVHHRUFRS\UHFLSLHQWRIVXFKLQIRUPDWLRQ LLL DOWKRXJKQRWLGHQWLILHGDVDQ

       DXWKRUDGGUHVVHHRUFRS\UHFLSLHQWRIVXFK'(6,*1$7('0$7(5,$/KDVLQWKH

       RUGLQDU\FRXUVHRIEXVLQHVVVHHQVXFK'(6,*1$7('0$7(5,$/ LY DFXUUHQWRU

       IRUPHURIILFHUGLUHFWRURUHPSOR\HHRIWKHSURGXFLQJ3DUW\DFXUUHQWRUIRUPHURIILFHU

       GLUHFWRURUHPSOR\HHRIDFRPSDQ\DIILOLDWHGZLWKWKHSURGXFLQJ3DUW\RUDGHVLJQHH

       XQGHU)HGHUDO5XOHRI&LYLO3URFHGXUH E  WRWHVWLI\RQEHKDOIRIWKHSURGXFLQJ

       3DUW\ Y FRXQVHOIRUD3DUW\LQFOXGLQJRXWVLGHFRXQVHODQGLQKRXVHFRXQVHO VXEMHFWWR

       SDUDJUDSKRIWKLV2UGHU  YL DQLQGHSHQGHQWFRQWUDFWRUFRQVXOWDQWDQGRUH[SHUW

       UHWDLQHGIRUWKHSXUSRVHRIWKLVOLWLJDWLRQ YLL FRXUWUHSRUWHUVDQGYLGHRJUDSKHUV

        YLLL WKH&RXUWRU L[ RWKHUSHUVRQVHQWLWOHGKHUHXQGHUWRDFFHVVWR'(6,*1$7('

       0$7(5,$/'(6,*1$7('0$7(5,$/VKDOOQRWEHGLVFORVHGWRDQ\RWKHUSHUVRQV

       XQOHVVSULRUDXWKRUL]DWLRQLVREWDLQHGIURPFRXQVHOUHSUHVHQWLQJWKHSURGXFLQJ3DUW\RU

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    3DUWLHVPD\DWWKHGHSRVLWLRQRUKHDULQJRUZLWKLQWKLUW\  GD\VDIWHUUHFHLSWRID

       GHSRVLWLRQRUKHDULQJWUDQVFULSWGHVLJQDWHWKHGHSRVLWLRQRUKHDULQJWUDQVFULSWRUDQ\

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       ³&21),'(17,$/6285&(&2'(´RU³&21),'(17,$/±5(675,&7('

       6285&(&2'(´SXUVXDQWWRWKLV2UGHU$FFHVVWRWKHGHSRVLWLRQRUKHDULQJWUDQVFULSW

       VRGHVLJQDWHGVKDOOEHOLPLWHGLQDFFRUGDQFHZLWKWKHWHUPVRIWKLV2UGHU8QWLO

       H[SLUDWLRQRIWKHGD\SHULRGWKHHQWLUHGHSRVLWLRQRUKHDULQJWUDQVFULSWVKDOOEHWUHDWHG

       DV&21),'(17,$/2876,'($77251(<6¶(<(621/<

    $Q\'(6,*1$7('0$7(5,$/WKDWLVILOHGZLWKWKH&RXUWVKDOOEHILOHGXQGHUVHDODQG

       VKDOOUHPDLQXQGHUVHDOXQWLOIXUWKHURUGHURIWKH&RXUW7KHILOLQJ3DUW\VKDOOEH

       UHVSRQVLEOHIRULQIRUPLQJWKH&OHUNRIWKH&RXUWWKDWWKHILOLQJVKRXOGEHVHDOHGDQGIRU

       SODFLQJWKHOHJHQG³),/('81'(56($/38568$17723527(&7,9(25'(5´

       DERYHWKHFDSWLRQDQGFRQVSLFXRXVO\RQHDFKSDJHRIWKHILOLQJ([KLELWVWRDILOLQJVKDOO

       FRQIRUPWRWKHODEHOLQJUHTXLUHPHQWVVHWIRUWKLQWKLV2UGHU,IDSUHWULDOSOHDGLQJILOHG

       ZLWKWKH&RXUWRUDQH[KLELWWKHUHWRGLVFORVHVRUUHOLHVRQ'(6,*1$7('0$7(5,$/

       VXFKFRQILGHQWLDOSRUWLRQVVKDOOEHUHGDFWHGWRWKHH[WHQWQHFHVVDU\DQGWKHSOHDGLQJRU

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       WKH3DUWLHVIURPLQWURGXFLQJDQ\'(6,*1$7('0$7(5,$/LQWRHYLGHQFHDWWKHWULDORI

       WKLV$FWLRQRUIURPXVLQJDQ\LQIRUPDWLRQFRQWDLQHGLQ'(6,*1$7('0$7(5,$/DW

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                                                 bshelton@sheltoncoburn.com

                                                 Counsel for Defendant
                                                 Hewlett Packard Enterprise Company
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                                                       BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
                WSOU INVESTMENTS, LLC,
                               Plaintiff
                                  Y                                                   &LYLO$FWLRQ1R 6:20-cv-00725, -726, -728, -730,
                                                                                                                -783
  HEWLETT PACKARD ENTERPRISE COMPANY,
                              Defendant

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                          25723(50,7,163(&7,212)35(0,6(6 ,1 $&,9,/$&7,21

 7R                               Steven W. Smyrski, agent for service on behalf of Aqua Licensing LLC
                                           3310 Airport Avenue, SW, Santa Monica, CA 90405
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: <28$5(&200$1'('WRSURGXFHDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWKHIROORZLQJ
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGWRSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
PDWHULDO See Exhibit A-1



  3ODFH                                                                                 'DWHDQG7LPH
           Sidley Austin LLP c/o John Miscevich
           555 California Street, Suite 2000                                                                  01/19/2022 5:00 pm
           San Francisco, CA 94104
     u Inspection of Premises: <28$5(&200$1'('WRSHUPLWHQWU\RQWRWKHGHVLJQDWHGSUHPLVHVODQGRU
RWKHUSURSHUW\SRVVHVVHGRUFRQWUROOHGE\\RXDWWKHWLPHGDWHDQGORFDWLRQVHWIRUWKEHORZVRWKDWWKHUHTXHVWLQJSDUW\
PD\LQVSHFWPHDVXUHVXUYH\SKRWRJUDSKWHVWRUVDPSOHWKHSURSHUW\RUDQ\GHVLJQDWHGREMHFWRURSHUDWLRQRQLW

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5XOH G UHODWLQJWR\RXUSURWHFWLRQDVDSHUVRQVXEMHFWWRDVXESRHQDDQG5XOH H DQG J UHODWLQJWR\RXUGXW\WR
UHVSRQGWRWKLVVXESRHQDDQGWKHSRWHQWLDOFRQVHTXHQFHVRIQRWGRLQJVR

'DWH        12/29/2021

                                   CLERK OF COURT
                                                                                            25
                                                                                                                     /s/ John Miscevich
                                           Signature of Clerk or Deputy Clerk                                          Attorney’s signature


 7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party)   Hewlett Packard
Enterprise Company                                                       ZKRLVVXHVRUUHTXHVWVWKLVVXESRHQDDUH

 John Miscevich, 2021 McKinney Avenue, Suite 2000, Dallas, TX 75201, jmiscevich@sidley.com, (214) 981-3371
                               1RWLFHWRWKHSHUVRQZKRLVVXHVRUUHTXHVWVWKLVVXESRHQD
,IWKLVVXESRHQDFRPPDQGVWKHSURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWKH
LQVSHFWLRQRISUHPLVHVEHIRUHWULDODQRWLFHDQGDFRS\RIWKHVXESRHQDPXVWEHVHUYHGRQHDFKSDUW\LQWKLVFDVHEHIRUH
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                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 438 of 599
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ 3DJH

&LYLO$FWLRQ1R
                        6:20-cv-00725, -726, -728, -730, -783

                                                      3522)2)6(59,&(
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            ,UHFHLYHGWKLVVXESRHQDIRU(name of individual and title, if any)
RQ(date)                               

            u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGSHUVRQDVIROORZV


                                                                                            RQ(date)                                    RU

            u ,UHWXUQHGWKHVXESRHQDXQH[HFXWHGEHFDXVH
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            8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
            WHQGHUHGWRWKHZLWQHVVWKHIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
                                                  

0\IHHVDUH                                      IRUWUDYHODQG                              IRUVHUYLFHVIRUDWRWDORI                 0.00   


            ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                     Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 439 of 599
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ 3DJH

                             )HGHUDO5XOHRI&LYLO3URFHGXUH F  G  H DQG J  (IIHFWLYH
F 3ODFHRI&RPSOLDQFH                                                                  LL GLVFORVLQJDQXQUHWDLQHGH[SHUW¶VRSLQLRQRULQIRUPDWLRQWKDWGRHV
                                                                                  QRWGHVFULEHVSHFLILFRFFXUUHQFHVLQGLVSXWHDQGUHVXOWVIURPWKHH[SHUW¶V
   For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                 VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                    & Specifying Conditions as an Alternative. ,QWKHFLUFXPVWDQFHV
    $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
UHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQRU                                        PRGLI\LQJDVXESRHQDRUGHUDSSHDUDQFHRUSURGXFWLRQXQGHUVSHFLILHG
    % ZLWKLQWKHVWDWHZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRUUHJXODUO\        FRQGLWLRQVLIWKHVHUYLQJSDUW\
WUDQVDFWVEXVLQHVVLQSHUVRQLIWKHSHUVRQ                                             L VKRZVDVXEVWDQWLDOQHHGIRUWKHWHVWLPRQ\RUPDWHULDOWKDWFDQQRWEH
      L LVDSDUW\RUDSDUW\¶VRIILFHURU                                       RWKHUZLVHPHWZLWKRXWXQGXHKDUGVKLSDQG
      LL LVFRPPDQGHGWRDWWHQGDWULDODQGZRXOGQRWLQFXUVXEVWDQWLDO                 LL HQVXUHVWKDWWKHVXESRHQDHGSHUVRQZLOOEHUHDVRQDEO\FRPSHQVDWHG
H[SHQVH
                                                                                  H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
   For Other Discovery. $VXESRHQDPD\FRPPDQG
   $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                   Producing Documents or Electronically Stored Information. 7KHVH
WDQJLEOHWKLQJVDWDSODFHZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLV       SURFHGXUHVDSSO\WRSURGXFLQJGRFXPHQWVRUHOHFWURQLFDOO\VWRUHG
HPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQDQG                          LQIRUPDWLRQ
   % LQVSHFWLRQRISUHPLVHVDWWKHSUHPLVHVWREHLQVSHFWHG                          $ Documents. $SHUVRQUHVSRQGLQJWRDVXESRHQDWRSURGXFHGRFXPHQWV
                                                                                  PXVWSURGXFHWKHPDVWKH\DUHNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRU
G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                         PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
                                                                                      % Form for Producing Electronically Stored Information Not Specified.
   Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
UHVSRQVLEOHIRULVVXLQJDQGVHUYLQJDVXESRHQDPXVWWDNHUHDVRQDEOHVWHSV         LQIRUPDWLRQWKHSHUVRQUHVSRQGLQJPXVWSURGXFHLWLQDIRUPRUIRUPVLQ
WRDYRLGLPSRVLQJXQGXHEXUGHQRUH[SHQVHRQDSHUVRQVXEMHFWWRWKH              ZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDUHDVRQDEO\XVDEOHIRUPRUIRUPV
VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW                & Electronically Stored Information Produced in Only One Form. 7KH
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH            SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
ORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\¶VIHHV²RQDSDUW\RUDWWRUQH\ZKR           LQIRUPDWLRQLQPRUHWKDQRQHIRUP
IDLOVWRFRPSO\                                                                      ' Inaccessible Electronically Stored Information. 7KHSHUVRQ
                                                                                  UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
   Command to Produce Materials or Permit Inspection.                            IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
    $ Appearance Not Required. $SHUVRQFRPPDQGHGWRSURGXFH                      RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR           RUGHUWKHSHUVRQUHVSRQGLQJPXVWVKRZWKDWWKHLQIRUPDWLRQLVQRW
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI      UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ        PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
KHDULQJRUWULDO                                                                UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
    % Objections. $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH              E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
WKLQJVRUWRSHUPLWLQVSHFWLRQPD\VHUYHRQWKHSDUW\RUDWWRUQH\GHVLJQDWHG
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU             Claiming Privilege or Protection.
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR             $ Information Withheld. $SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG       XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU         PDWHULDOPXVW
FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH            L H[SUHVVO\PDNHWKHFODLPDQG
WKHIROORZLQJUXOHVDSSO\                                                              LL GHVFULEHWKHQDWXUHRIWKHZLWKKHOGGRFXPHQWVFRPPXQLFDWLRQVRU
      L $WDQ\WLPHRQQRWLFHWRWKHFRPPDQGHGSHUVRQWKHVHUYLQJSDUW\         WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ           SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                           % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
      LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP     WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                    WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                  QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
   Quashing or Modifying a Subpoena.                                             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
   $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH            XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                      LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
      L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                               SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
      LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV               FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                           SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
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      LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                        J &RQWHPSW
  % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ         PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                              ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
       L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFK                VXESRHQDRUDQRUGHUUHODWHGWRLW
GHYHORSPHQWRUFRPPHUFLDOLQIRUPDWLRQRU



                                        )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 440 of 599
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                                                            Western District of Texas
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                WSOU INVESTMENTS, LLC,
                                Plaintiff
                                   Y                                                   &LYLO$FWLRQ1R     6:20-cv-00725, -726, -728, -730,
  HEWLETT PACKARD ENTERPRISE COMPANY,                                                                        -783

                              Defendant

                              68%32(1$727(67,)<$7$'(326,7,21,1$&,9,/$&7,21

7R                                  Steven W. Smyrski, agent for service on behalf of Aqua Licensing LLC
                                             3310 Airport Avenue, SW, Santa Monica, CA 90405
                                                        (Name of person to whom this subpoena is directed)

      ✔
      u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV See Exhibit A2

 3ODFH Sidley Austin LLP                                                                'DWHDQG7LPH
            555 California Street, Suite 2000                                                              02/02/2022 9:00 am
            San Francisco, CA 94104 or via remote platform

          7KHGHSRVLWLRQZLOOEHUHFRUGHGE\WKLVPHWKRG                       Video and/or stenographic means

      ✔
      u Production:<RXRU\RXUUHSUHVHQWDWLYHVPXVWDOVREULQJZLWK\RXWRWKHGHSRVLWLRQWKHIROORZLQJGRFXPHQWV
          HOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGPXVWSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
          PDWHULDO See Exhibit A1




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UHVSRQGWRWKLVVXESRHQDDQGWKHSRWHQWLDOFRQVHTXHQFHVRIQRWGRLQJVR

'DWH        12/29/2021
                                   CLERK OF COURT
                                                                                           25
                                                                                                                /s/ John Miscevich
                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party)   Hewlett Packard
Enterprise Company                                                      ZKRLVVXHVRUUHTXHVWVWKLVVXESRHQDDUH

John Miscevich, 2021 McKinney Avenue, Suite 2000, Dallas, TX 75201, jmiscevich@sidley.com, (214) 981-3371
                                1RWLFHWRWKHSHUVRQZKRLVVXHVRUUHTXHVWVWKLVVXESRHQD
,IWKLVVXESRHQDFRPPDQGVWKHSURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVEHIRUH
WULDODQRWLFHDQGDFRS\RIWKHVXESRHQDPXVWEHVHUYHGRQHDFKSDUW\LQWKLVFDVHEHIRUHLWLVVHUYHGRQWKHSHUVRQWR
ZKRPLWLVGLUHFWHG)HG5&LY3 D  
                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 441 of 599
$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ 3DJH

&LYLO$FWLRQ1R 6:20-cv-00725, -726, -728, -730, -783

                                                      3522)2)6(59,&(
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          ,UHFHLYHGWKLVVXESRHQDIRU(name of individual and title, if any)
RQ(date)                       

          u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGLQGLYLGXDODVIROORZV


                                                                                      RQ(date)                     RU

          u ,UHWXUQHGWKHVXESRHQDXQH[HFXWHGEHFDXVH
                                                                                                                                  

          8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
          WHQGHUHGWRWKHZLWQHVVWKHIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
                                                   

0\IHHVDUH                                       IRUWUDYHODQG                      IRUVHUYLFHVIRUDWRWDORI   0.00   


          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                             Server’s signature



                                                                                           Printed name and title




                                                                                              Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                 Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 442 of 599

$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ 3DJH

                             )HGHUDO5XOHRI&LYLO3URFHGXUH F  G  H DQG J  (IIHFWLYH
F 3ODFHRI&RPSOLDQFH                                                                   L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFKGHYHORSPHQW
                                                                                  RUFRPPHUFLDOLQIRUPDWLRQRU
   For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                       LL GLVFORVLQJDQXQUHWDLQHGH[SHUW¶VRSLQLRQRULQIRUPDWLRQWKDWGRHV
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                 QRWGHVFULEHVSHFLILFRFFXUUHQFHVLQGLVSXWHDQGUHVXOWVIURPWKHH[SHUW¶V
    $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
UHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQRU                                            & Specifying Conditions as an Alternative. ,QWKHFLUFXPVWDQFHV
    % ZLWKLQWKHVWDWHZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRUUHJXODUO\        GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
WUDQVDFWVEXVLQHVVLQSHUVRQLIWKHSHUVRQ                                       PRGLI\LQJDVXESRHQDRUGHUDSSHDUDQFHRUSURGXFWLRQXQGHUVSHFLILHG
      L LVDSDUW\RUDSDUW\¶VRIILFHURU                                       FRQGLWLRQVLIWKHVHUYLQJSDUW\
      LL LVFRPPDQGHGWRDWWHQGDWULDODQGZRXOGQRWLQFXUVXEVWDQWLDO                 L VKRZVDVXEVWDQWLDOQHHGIRUWKHWHVWLPRQ\RUPDWHULDOWKDWFDQQRWEH
H[SHQVH                                                                          RWKHUZLVHPHWZLWKRXWXQGXHKDUGVKLSDQG
                                                                                        LL HQVXUHVWKDWWKHVXESRHQDHGSHUVRQZLOOEHUHDVRQDEO\FRPSHQVDWHG
   For Other Discovery. $VXESRHQDPD\FRPPDQG
   $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                   H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
WDQJLEOHWKLQJVDWDSODFHZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLV
HPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQDQG                              Producing Documents or Electronically Stored Information. 7KHVH
   % LQVSHFWLRQRISUHPLVHVDWWKHSUHPLVHVWREHLQVSHFWHG                      SURFHGXUHVDSSO\WRSURGXFLQJGRFXPHQWVRUHOHFWURQLFDOO\VWRUHG
                                                                                  LQIRUPDWLRQ
G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                             $ Documents. $SHUVRQUHVSRQGLQJWRDVXESRHQDWRSURGXFHGRFXPHQWV
                                                                                  PXVWSURGXFHWKHPDVWKH\DUHNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRU
   Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
UHVSRQVLEOHIRULVVXLQJDQGVHUYLQJDVXESRHQDPXVWWDNHUHDVRQDEOHVWHSV             % Form for Producing Electronically Stored Information Not Specified.
WRDYRLGLPSRVLQJXQGXHEXUGHQRUH[SHQVHRQDSHUVRQVXEMHFWWRWKH              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW            LQIRUPDWLRQWKHSHUVRQUHVSRQGLQJPXVWSURGXFHLWLQDIRUPRUIRUPVLQ
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH            ZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDUHDVRQDEO\XVDEOHIRUPRUIRUPV
ORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\¶VIHHV²RQDSDUW\RUDWWRUQH\ZKR               & Electronically Stored Information Produced in Only One Form. 7KH
IDLOVWRFRPSO\                                                                  SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
                                                                                  LQIRUPDWLRQLQPRUHWKDQRQHIRUP
   Command to Produce Materials or Permit Inspection.                                ' Inaccessible Electronically Stored Information. 7KHSHUVRQ
    $ Appearance Not Required. $SHUVRQFRPPDQGHGWRSURGXFH                      UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR           IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI      RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ        RUGHUWKHSHUVRQUHVSRQGLQJPXVWVKRZWKDWWKHLQIRUPDWLRQLVQRW
KHDULQJRUWULDO                                                                UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
    % Objections. $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH             PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
WKLQJVRUWRSHUPLWLQVSHFWLRQPD\VHUYHRQWKHSDUW\RUDWWRUQH\GHVLJQDWHG      UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU            E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG         Claiming Privilege or Protection.
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU            $ Information Withheld. $SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH      XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
WKHIROORZLQJUXOHVDSSO\                                                        PDWHULDOPXVW
      L $WDQ\WLPHRQQRWLFHWRWKHFRPPDQGHGSHUVRQWKHVHUYLQJSDUW\               L H[SUHVVO\PDNHWKHFODLPDQG
PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ                 LL GHVFULEHWKHQDWXUHRIWKHZLWKKHOGGRFXPHQWVFRPPXQLFDWLRQVRU
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                        WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
      LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP        % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                    VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
                                                                                  WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
   Quashing or Modifying a Subpoena.                                             WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                  QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
  $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                      XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
                                                                                  LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
      L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                               SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
      LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV               FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                           SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
      LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR      UHVROYHG
H[FHSWLRQRUZDLYHUDSSOLHVRU
      LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                        J &RQWHPSW
  % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ         PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                              ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
                                                                                  VXESRHQDRUDQRUGHUUHODWHGWRLW


                                        )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
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     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 444 of 599




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                                         ,16758&7,216

             ,QUHVSRQGLQJWRWKHIROORZLQJGRFXPHQWUHTXHVWVIXUQLVKDOODYDLODEOHGRFXPHQWV

LQ<RXUSRVVHVVLRQFXVWRG\RUFRQWURO

             3OHDVHSURGXFHHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHQDWLYHIRUPLQZKLFKLWLV

RUGLQDULO\PDLQWDLQHG3DSHU'RFXPHQWVLIDQ\PD\EHVFDQQHGDQGSURGXFHGDV3')ILOHV

             &RQILGHQWLDO'RFXPHQWVPD\EHSURGXFHGLQDFFRUGDQFHZLWKWKH3URWHFWLYH

2UGHULQWKLVFDVHDFRS\RIZKLFKLVDWWDFKHGDV([KLELW%

                                            '(),1,7,216

             ³$TXD´³<RX´RU³<RXU´UHIHUVWR$TXD/LFHQVLQJ//&DQ\DIILOLDWHGHQWLW\LWV

VXFFHVVRUVLWVSUHGHFHVVRUVDQGDOO3HUVRQVDFWLQJRUSXUSRUWLQJWRDFWDWRUXQGHUWKHGLUHFWLRQ

RUFRQWURORI$TXD/LFHQVLQJ//&

             ³3DWHQWVLQ6XLW´UHIHUVWR863DWHQW1RV ³WKH¶3DWHQW´ 

 ³WKH¶3DWHQW´  ³WKH¶3DWHQW´  ³WKH¶3DWHQW´ DQG

 ³WKH¶3DWHQW´ DQGDOOUHODWHGSDWHQWVRUSDWHQWDSSOLFDWLRQVZKHWKHUIRUHLJQRU

GRPHVWLF

             ³7KLV/LWLJDWLRQ´VKDOOPHDQWSOU Investments, LLC, d/b/a Brazos Licensingand

Development v. Hewlett Packard Enterprise Company, &LYLO$FWLRQ1RVFY

DQGILOHGLQWKH86'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI7H[DVRQ$XJXVW



             ³+3(´VKDOOPHDQ+HZOHWW3DFNDUG(QWHUSULVH&RPSDQ\

             ³:628´VKDOOPHDQ:628,QYHVWPHQWV//&GED%UD]RV/LFHQVLQJDQG

'HYHORSPHQWDQ\DIILOLDWHGHQWLW\LWVVXFFHVVRUVLWVSUHGHFHVVRUVDQGDOOSHUVRQVDFWLQJRU




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SXUSRUWLQJWRDFWDWRUXQGHUWKHGLUHFWLRQRUFRQWURORI:628LQFOXGLQJDQ\DWWRUQH\VIRU

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             ³&RPPXQLFDWLRQ´VKDOOKDYHWKHEURDGHVWSRVVLEOHPHDQLQJDQGVKDOOLQFOXGHDQ\

WUDQVPLVVLRQRUH[FKDQJHRILQIRUPDWLRQE\RQHRUPRUHSHUVRQVRUHQWLWLHVDQGRUEHWZHHQWZR

RUPRUHSHUVRQVRUHQWLWLHVE\DQ\PHDQVLQFOXGLQJE\HPDLOWHOHSKRQHOHWWHUIDFVLPLOHRUE\

DQ\RWKHUSURFHVVHOHFWULFHOHFWURQLFRURWKHUZLVH

             ³'RFXPHQW´VKDOOEHFRQVWUXHGXQGHUWKHEURDGHVWSRVVLEOHFRQVWUXFWLRQDQGVKDOO

LQFOXGHHOHFWURQLFPHGLDDQGVKDOOLQFOXGHDOOGRFXPHQWVLQ<RXUSRVVHVVLRQFXVWRG\RUFRQWURO

%\ZD\RILOOXVWUDWLRQDQGZLWKRXWOLPLWDWLRQGRFXPHQWVLQFOXGHWKHIROORZLQJRULJLQDOVGUDIWV

DQGDOOQRQLGHQWLFDOFRSLHVRIPHPRUDQGDUHSRUWVQRWHVJUDSKVODERUDWRU\QRWHERRNV

FRUUHVSRQGHQFHLQWHURIILFHFRPPXQLFDWLRQVOHWWHUVFDOHQGDUVVNHWFKHVGUDZLQJVSURPRWLRQDO

PDWHULDOWHFKQLFDOSDSHUVSULQWHGSXEOLFDWLRQVSDWHQWVDQGDOORWKHUZULWLQJVDVZHOODVDOOQRQ

SDSHULQIRUPDWLRQVWRUDJHPHDQVVXFKDVVRXQGUHSURGXFWLRQVFRPSXWHULQSXWVDQGRXWSXWV

FRPSXWHUPHPRU\GHYLFHVDVZHOODVWDQJLEOHWKLQJVVXFKDVPRGHOVSURWRW\SHVDQG

FRPPHUFLDOO\VDOHDEOHSURGXFWV

             ³3ULRU$UW´VKDOOPHDQDOOGRFXPHQWDU\DQGQRQGRFXPHQWDU\VRXUFHVLQFOXGLQJ

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VROGWKDWPD\EHXVHGWRGHWHUPLQHODFNRIQRYHOW\DQGRUREYLRXVQHVVRIWKHFODLPHGVXEMHFW

PDWWHULQWKH3DWHQWVLQ6XLW

             ³2WKHU:628'HIHQGDQWV´VKDOOPHDQDQ\DQGDOOFRPSDQLHVWKDW:628KDV

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=7( 7; ,QF'HOO7HFKQRORJLHV,QF'HOO,QF(0&&RUSRUDWLRQ90:DUH,QF+XDZHL

7HFKQRORJLHV&R/WG+XDZHL7HFKQRORJLHV86$,QF+XDZHL'HYLFH&R/WG IND+XDZHL




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                'RFXPHQWVVXIILFLHQWWRLGHQWLI\DOOSHUVRQVDQGRUHQWLWLHVWKDWKDYHEHHQ

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FXUUHQWO\RUZHUHSUHYLRXVO\OLFHQVHGWRDQ\RIWKH3DWHQWVLQ6XLW

              'RFXPHQWVDQG&RPPXQLFDWLRQVUHIOHFWLQJDVVXUDQFHVFRYHQDQWVQRWWRVXHDQG

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              'RFXPHQWVFRQFHUQLQJDQ\FXUUHQWRUIRUPHUULJKWWLWOHRULQWHUHVWLQDQ\RIWKH

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             $OO'RFXPHQWVFRQFHUQLQJDQ\HYDOXDWLRQUDQNLQJUDWLQJRUDWWHPSWVWR

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             $OO'RFXPHQWVSURGXFHGE\<RXLQOLWLJDWLRQLQYROYLQJDQ\2WKHU:628

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                3DUW\RUD7KLUG3DUW\WRZKRPWKH3DUW\UHDVRQDEO\EHOLHYHVLWRZHVDQ

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        EHSODFHGFOHDUO\RQHDFKSDJHRIWKH3URWHFWHG0DWHULDO H[FHSWGHSRVLWLRQDQG

        KHDULQJWUDQVFULSWVDQGQDWLYHO\SURGXFHGGRFXPHQWV IRUZKLFKVXFKSURWHFWLRQLV

        VRXJKW)RUGHSRVLWLRQDQGKHDULQJWUDQVFULSWVWKHZRUG³&21),'(17,$/´

        VKDOOEHSODFHGRQWKHFRYHUSDJHRIWKHWUDQVFULSW LIQRWDOUHDG\SUHVHQWRQWKH

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        &RXUW¶V2UGHU*RYHUQLQJ3URFHHGLQJV3DWHQW&DVHZLWKWKHGHVLJQDWLRQ

        ³&RQILGHQWLDO´RUWKHOLNHVKDOOUHFHLYHWKHVDPHWUHDWPHQWDVLIGHVLJQDWHG

        ³&21),'(17,$/´XQGHUWKLVRUGHUDQGDQ\VXFKGRFXPHQWVSURGXFHGZLWKWKH

        GHVLJQDWLRQ³&RQILGHQWLDO2XWVLGH$WWRUQH\V¶(\HV2QO\´RUWKHOLNHVKDOO

        UHFHLYHWKHVDPHWUHDWPHQWDVLIGHVLJQDWHG³&21),'(17,$/2876,'(

        $77251(<6¶(<(621/<´XQGHUWKLV2UGHUXQOHVVDQGXQWLOVXFKGRFXPHQW

        LVUHGHVLJQDWHGWRKDYHDGLIIHUHQWFODVVLILFDWLRQXQGHUWKLV2UGHU

     :LWKUHVSHFWWRGRFXPHQWVLQIRUPDWLRQRUPDWHULDOGHVLJQDWHG

        ³&21),'(17,$/´³&21),'(17,$/$77251(<6¶(<(621/<´

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             KHUHLQDQGXQOHVVRWKHUZLVHVWDWHGWKLV2UGHUJRYHUQVZLWKRXWOLPLWDWLRQ D DOO

             GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQDQGRUWKLQJVDVGHILQHGE\WKH

             )HGHUDO5XOHVRI&LYLO3URFHGXUH E DOOSUHWULDOKHDULQJRUGHSRVLWLRQWHVWLPRQ\

             RUGRFXPHQWVPDUNHGDVH[KLELWVRUIRULGHQWLILFDWLRQLQGHSRVLWLRQVDQGKHDULQJV

              F SUHWULDOSOHDGLQJVH[KLELWVWRSOHDGLQJVDQGRWKHUFRXUWILOLQJV G DIILGDYLWV

             DQG H VWLSXODWLRQV$OOFRSLHVUHSURGXFWLRQVH[WUDFWVGLJHVWVDQGFRPSOHWHRU

             SDUWLDOVXPPDULHVSUHSDUHGIURPDQ\'(6,*1$7('0$7(5,$/6VKDOODOVREH

             FRQVLGHUHG'(6,*1$7('0$7(5,$/DQGWUHDWHGDVVXFKXQGHUWKLV2UGHU

           $GHVLJQDWLRQRI3URWHFWHG0DWHULDO i.e.³&21),'(17,$/´

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             &2'(´RU³&21),'(17,$/±5(675,&7('6285&(&2'(´ PD\EH

             PDGHDWDQ\WLPH,QDGYHUWHQWRUXQLQWHQWLRQDOSURGXFWLRQRIGRFXPHQWV

             LQIRUPDWLRQRUPDWHULDOWKDWKDVQRWEHHQGHVLJQDWHGDV'(6,*1$7('

             0$7(5,$/VKDOOQRWEHGHHPHGDZDLYHULQZKROHRULQSDUWRIDFODLPIRU

             FRQILGHQWLDOWUHDWPHQW$Q\3DUW\WKDWLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHV

             3URWHFWHG0DWHULDOZLWKRXWGHVLJQDWLQJLWDV'(6,*1$7('0$7(5,$/PD\

             UHTXHVWGHVWUXFWLRQRIWKDW3URWHFWHG0DWHULDOE\QRWLI\LQJWKHUHFLSLHQW V DVVRRQ

             DVUHDVRQDEO\SRVVLEOHDIWHUWKHSURGXFLQJ3DUW\EHFRPHVDZDUHRIWKHLQDGYHUWHQW


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 7KHWHUP'(6,*1$7('0$7(5,$/LVXVHGWKURXJKRXWWKLV3URWHFWLYH2UGHUWRUHIHUWRWKH
FODVVRIPDWHULDOVGHVLJQDWHGDV³&21),'(17,$/´³&21),'(17,$/$77251(<6¶
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         RUXQLQWHQWLRQDOGLVFORVXUHDQGSURYLGLQJUHSODFHPHQW3URWHFWHG0DWHULDOWKDWLV

         SURSHUO\GHVLJQDWHG7KHUHFLSLHQW V VKDOOWKHQGHVWUR\DOOFRSLHVRIWKH

         LQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHGXQGHVLJQDWHG3URWHFWHG0DWHULDOV

       ³&21),'(17,$/´GRFXPHQWVLQIRUPDWLRQDQGPDWHULDOPD\EHGLVFORVHGRQO\

         WRWKHIROORZLQJSHUVRQVH[FHSWXSRQUHFHLSWRIWKHSULRUZULWWHQFRQVHQWRIWKH

         GHVLJQDWLQJ3DUW\XSRQRUGHURIWKH&RXUWRUDVVHWIRUWKLQSDUDJUDSKKHUHLQ

  D      2XWVLGHFRXQVHORIUHFRUGLQWKLV$FWLRQIRUWKH3DUWLHVDQGWKHSDUWQHUVFRXQVHO
         DQGDVVRFLDWHVRIVXFKFRXQVHOWRZKRPLWLVUHDVRQDEO\QHFHVVDU\WRGLVFORVHWKH
         LQIRUPDWLRQWRDVVLVWLQWKHOLWLJDWLRQRIWKLV$FWLRQ

  E      (PSOR\HHVRIVXFKFRXQVHODVVLJQHGWRDQGUHDVRQDEO\QHFHVVDU\WRDVVLVWVXFK
         FRXQVHOLQWKHOLWLJDWLRQRIWKLV$FWLRQ

  F      ,QKRXVHFRXQVHOIRUWKH3DUWLHVZKRHLWKHUKDYHUHVSRQVLELOLW\IRUPDNLQJ
         GHFLVLRQVGHDOLQJGLUHFWO\ZLWKWKHOLWLJDWLRQRIWKLV$FWLRQRUZKRDUHDVVLVWLQJ
         RXWVLGHFRXQVHOLQWKHOLWLJDWLRQRIWKLV$FWLRQ

  G      8SWRDQGLQFOXGLQJWKUHH  GHVLJQDWHGUHSUHVHQWDWLYHVRIHDFKRIWKH3DUWLHVWR
         WKHH[WHQWUHDVRQDEO\QHFHVVDU\IRUWKHOLWLJDWLRQRIWKLV$FWLRQH[FHSWWKDWDQ\
         3DUW\PD\LQJRRGIDLWKUHTXHVWWKHRWKHU3DUW\¶VFRQVHQWWRGHVLJQDWHRQHRUPRUH
         DGGLWLRQDOUHSUHVHQWDWLYHVWKHRWKHU3DUW\VKDOOQRWXQUHDVRQDEO\ZLWKKROGVXFK
         FRQVHQWDQGWKHUHTXHVWLQJ3DUW\PD\VHHNOHDYHRI&RXUWWRGHVLJQDWHVXFK
         DGGLWLRQDOUHSUHVHQWDWLYH V LIWKHUHTXHVWLQJ3DUW\EHOLHYHVWKHRWKHU3DUW\KDV
         XQUHDVRQDEO\ZLWKKHOGVXFKFRQVHQW

  H      2XWVLGHFRQVXOWDQWVRUH[SHUWVUHWDLQHGIRUWKHSXUSRVHRIWKLVOLWLJDWLRQSURYLGHG
         WKDW  VXFKFRQVXOWDQWVRUH[SHUWVDUHQRWSUHVHQWO\HPSOR\HGE\WKH3DUWLHVRU
         RIDQDIILOLDWHRID3DUW\KHUHWRIRUSXUSRVHVRWKHUWKDQWKLV$FWLRQ  EHIRUH
         DFFHVVLVJLYHQWKHFRQVXOWDQWRUH[SHUWKDVFRPSOHWHGWKH8QGHUWDNLQJDWWDFKHG
         DV$SSHQGL[$KHUHWRDQGWKHVDPHLVVHUYHGXSRQWKHSURGXFLQJ3DUW\ZLWKD
         FXUUHQWFXUULFXOXPYLWDHRIWKHFRQVXOWDQWRUH[SHUWLQFOXGLQJDOLVWRIRWKHUFDVHV
         LQZKLFKWKHLQGLYLGXDOKDVSURYLGHGDUHSRUWRUWHVWLILHG DWWULDORUGHSRVLWLRQ
         DQGDOLVWRIFRPSDQLHVWKDWWKHLQGLYLGXDOKDVEHHQHPSOR\HGE\RUSURYLGHG
         FRQVXOWLQJVHUYLFHVSHUWDLQLQJWRWKHILHOGRIWKHLQYHQWLRQRIWKHSDWHQW V LQVXLW
         RUWKHSURGXFWVDFFXVHGRILQIULQJHPHQWZLWKLQWKHODVWIRXU\HDUVDQGDEULHI
         GHVFULSWLRQRIWKHVXEMHFWPDWWHURIWKHFRQVXOWDQF\RUHPSOR\PHQWDWOHDVWWHQ
           GD\VEHIRUHDFFHVVWRWKH3URWHFWHG0DWHULDOLVWREHJLYHQWRWKDWFRQVXOWDQW
         RUH[SHUWWRREMHFWWRDQGQRWLI\WKHUHFHLYLQJ3DUW\LQZULWLQJWKDWLWREMHFWVWR
         GLVFORVXUHRI3URWHFWHG0DWHULDOWRWKHFRQVXOWDQWRUH[SHUW7KH3DUWLHVDJUHHWR
         SURPSWO\FRQIHUDQGXVHJRRGIDLWKWRUHVROYHDQ\VXFKREMHFWLRQ,IWKH3DUWLHV
         DUHXQDEOHWRUHVROYHDQ\REMHFWLRQWKHREMHFWLQJ3DUW\PD\ILOHDPRWLRQZLWKWKH


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         WKH3DUWLHVPD\DJUHHVHHNLQJDSURWHFWLYHRUGHUZLWKUHVSHFWWRWKHSURSRVHG
         GLVFORVXUH7KHREMHFWLQJ3DUW\VKDOOKDYHWKHEXUGHQRISURYLQJWKHQHHGIRUD
         SURWHFWLYHRUGHU1RGLVFORVXUHVKDOORFFXUXQWLODOOVXFKREMHFWLRQVDUHUHVROYHG
         E\DJUHHPHQWRU&RXUWRUGHU

  I      ,QGHSHQGHQWOLWLJDWLRQVXSSRUWVHUYLFHVLQFOXGLQJSHUVRQVZRUNLQJIRURUDVFRXUW
         UHSRUWHUVJUDSKLFVRUGHVLJQVHUYLFHVMXU\RUWULDOFRQVXOWLQJVHUYLFHVDQG
         SKRWRFRS\GRFXPHQWLPDJLQJDQGGDWDEDVHVHUYLFHVUHWDLQHGE\FRXQVHODQG
         UHDVRQDEO\QHFHVVDU\WRDVVLVWFRXQVHOZLWKWKHOLWLJDWLRQRIWKLV$FWLRQ

  J      7KH&RXUWDQGLWVSHUVRQQHODVZHOODVDQ\PHGLDWRUDSSRLQWHGE\WKH&RXUW
         DQGRUDJUHHGWRE\WKH3DUWLHV

       $3DUW\VKDOOGHVLJQDWHGRFXPHQWVLQIRUPDWLRQRUPDWHULDODV

         ³&21),'(17,$/´RQO\XSRQDJRRGIDLWKEHOLHIWKDWWKHGRFXPHQWV

         LQIRUPDWLRQRUPDWHULDOFRQWDLQVFRQILGHQWLDORUSURSULHWDU\LQIRUPDWLRQRUWUDGH

         VHFUHWVRIWKH3DUW\RUD7KLUG3DUW\WRZKRPWKH3DUW\UHDVRQDEO\EHOLHYHVLW

         RZHVDQREOLJDWLRQRIFRQILGHQWLDOLW\ZLWKUHVSHFWWRVXFKGRFXPHQWVLQIRUPDWLRQ

         RUPDWHULDO

       'RFXPHQWVLQIRUPDWLRQRUPDWHULDOSURGXFHGSXUVXDQWWRDQ\GLVFRYHU\UHTXHVW

         LQWKLV$FWLRQLQFOXGLQJEXWQRWOLPLWHGWR3URWHFWHG0DWHULDOGHVLJQDWHGDV

         '(6,*1$7('0$7(5,$/VKDOOEHXVHGE\WKH3DUWLHVRQO\LQWKHOLWLJDWLRQRI

         WKLV$FWLRQDQGVKDOOQRWEHXVHGIRUDQ\RWKHUSXUSRVH$Q\SHUVRQRUHQWLW\ZKR

         REWDLQVDFFHVVWR'(6,*1$7('0$7(5,$/RUWKHFRQWHQWVWKHUHRISXUVXDQWWR

         WKLV2UGHUVKDOOQRWPDNHDQ\FRSLHVGXSOLFDWHVH[WUDFWVVXPPDULHVRU

         GHVFULSWLRQVRIVXFK'(6,*1$7('0$7(5,$/RUDQ\SRUWLRQWKHUHRIH[FHSWDV

         PD\EHUHDVRQDEO\QHFHVVDU\LQWKHOLWLJDWLRQRIWKLV$FWLRQ$Q\VXFKFRSLHV

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        WREHGHVLJQDWHG&21),'(17,$/LVVRVHQVLWLYHWKDWLWVGLVVHPLQDWLRQGHVHUYHV

        HYHQIXUWKHUOLPLWDWLRQWKHSURGXFLQJ3DUW\PD\GHVLJQDWHVXFK3URWHFWHG

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        VXFK3URWHFWHG0DWHULDOLQFOXGHVFRPSXWHUVRXUFHFRGHDQGRUOLYHGDWD WKDWLV

        GDWDDVLWH[LVWVUHVLGLQJLQDGDWDEDVHRUGDWDEDVHV  ³6RXUFH&RGH0DWHULDO´ WKH

        SURGXFLQJ3DUW\PD\GHVLJQDWHVXFK3URWHFWHG0DWHULDODV³&21),'(17,$/

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        LQGLYLGXDOVOLVWHGLQSDUDJUDSKV D±F DQG H±J SURYLGHGKRZHYHUWKDWDFFHVV

        E\LQKRXVHFRXQVHOSXUVXDQWWRSDUDJUDSK F EHOLPLWHGWRLQKRXVHFRXQVHO

        ZKRH[HUFLVHQRFRPSHWLWLYHGHFLVLRQPDNLQJDXWKRULW\RQEHKDOIRIWKHFOLHQW

     )RU3URWHFWHG0DWHULDOGHVLJQDWHG&21),'(17,$/2876,'($77251(<6¶

        (<(621/<DFFHVVWRDQGGLVFORVXUHRIVXFK3URWHFWHG0DWHULDOVKDOOEH

        OLPLWHGWRLQGLYLGXDOVOLVWHGLQSDUDJUDSKV D±E DQG H±J SURYLGHGKRZHYHU

        WKDWWKHGHVLJQDWLQJ3DUW\VKDOODFFRPPRGDWHUHDVRQDEOHUHTXHVWVWRSURYLGH

        VXPPDU\LQIRUPDWLRQWRLQKRXVHFRXQVHOGHVLJQDWHGSXUVXDQWWRSDUDJUDSK F

        ZKRH[HUFLVHQRFRPSHWLWLYHGHFLVLRQPDNLQJDXWKRULW\RQEHKDOIRIWKHFOLHQWDQG

        UHDVRQDEO\UHTXLUHDFFHVVWRVXFKLQIRUPDWLRQ

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        PDFKLQHVZLWKWKHLGHQWLFDOSURGXFWLRQDYDLODEOHIRULQSHUVRQUHYLHZDVIROORZV
        RQ³VWDQGDORQH´FRPSXWHU V  WKDWLVWKHFRPSXWHUPD\QRWEHOLQNHGWRDQ\
        QHWZRUNLQFOXGLQJDORFDODUHDQHWZRUN ³/$1´ DQLQWUDQHWRUWKH,QWHUQHW 
        7KHVWDQGDORQHFRPSXWHU V PD\EHFRQQHFWHGWR L DSULQWHURU LL DGHYLFH
        FDSDEOHRIWHPSRUDULO\VWRULQJHOHFWURQLFFRSLHVVROHO\IRUWKHOLPLWHGSXUSRVHV
        SHUPLWWHGSXUVXDQWWRSDUDJUDSKV KDQGN EHORZ7KHVWDQGDORQHFRPSXWHU V
        VKDOODWWKHUHFHLYLQJ3DUW\¶VUHTXHVWLQFOXGLQJUHDVRQDEOHDQDO\VLVWRROVIRUWKH
        W\SHRI6RXUFH&RGH0DWHULDOSURYLGHGWKHUHRQ7KHUHFHLYLQJ3DUW\VKDOOEH
        UHVSRQVLEOHIRUSURYLGLQJWRROVRUOLFHQVHVWRWRROVWKDWLWZLVKHGWRXVHVRWKDWWKH
        SURGXFLQJ3DUW\PD\LQVWDOOVXFKWRROVRQWKHVWDQGDORQHFRPSXWHU V 
        $GGLWLRQDOO\H[FHSWDVSURYLGHGLQSDUDJUDSK N EHORZWKHVWDQGDORQH
        FRPSXWHU V PD\RQO\EHORFDWHGDWWKHRIILFHVRIWKHSURGXFLQJ3DUW\¶VRXWVLGH
        FRXQVHORULWVYHQGRUVZLWKLQDUHDVRQDEOHGLVWDQFHRIWKHUHFHLYLQJ3DUW\¶VH[SHUW
        RUODZILUPDWWKHGLVFUHWLRQRIWKHSURGXFLQJ3DUW\DVWRZKLFKRQH,IDQRIILFH
        RIWKHSURGXFLQJ3DUW\¶VRXWVLGHFRXQVHOLVQRWDYDLODEOHZLWKLQDUHDVRQDEOH
        GLVWDQFHRIWKHUHFHLYLQJ3DUW\¶VH[SHUWRUODZILUPWKHSURGXFLQJ3DUW\ZLOOPDNH
        WKHVWDQGDORQHFRPSXWHU V DYDLODEOHDWWKHQHDUHVW,URQ0RXQWDLQIDFLOLW\WR
        UHFHLYLQJ3DUW\¶VH[SHUWRUODZILUPDWWKHUHFHLYLQJ3DUW\¶VH[SHQVH6KRXOGWKH
        QHHGDULVHGXHWRDSXEOLFKHDOWKHPHUJHQF\VWDWHORFDORUQDWLRQDOUHVWULFWLRQVRU
        WUDYHOUHVWULFWLRQZKLFKKLQGHUWKHVRXUFHFRGHUHYLHZWKH3DUWLHVVKDOOPHHWDQG
        FRQIHULQJRRGIDLWKWRGLVFXVVWKHIHDVLELOLW\RIPDNLQJWKHVWDQGDORQH
        FRPSXWHU V DYDLODEOHLQDORFDWLRQWKDWZRXOGDOORZVRXUFHFRGHUHYLHZWRRFFXU

  E     7KHUHFHLYLQJ3DUW\VKDOOPDNHUHDVRQDEOHHIIRUWVWRUHVWULFWLWVUHTXHVWVIRUVXFK
        DFFHVVWRWKHVWDQGDORQHFRPSXWHU V WRQRUPDOEXVLQHVVKRXUVZKLFKIRU
        SXUSRVHVRIWKLVSDUDJUDSKVKDOOEHDPWKURXJKSP+RZHYHUXSRQ
        UHDVRQDEOHQRWLFHIURPWKHUHFHLYLQJ3DUW\WKHSURGXFLQJ3DUW\VKDOOPDNH
        UHDVRQDEOHHIIRUWVWRDFFRPPRGDWHWKHUHFHLYLQJ3DUW\¶VUHTXHVWIRUDFFHVVWRWKH
        VWDQGDORQHFRPSXWHU V RXWVLGHRIQRUPDOEXVLQHVVKRXUV7KH3DUWLHVDJUHHWR
        FRRSHUDWHLQJRRGIDLWKVXFKWKDWPDLQWDLQLQJWKHSURGXFLQJ3DUW\¶V6RXUFH&RGH
        0DWHULDODWWKHRIILFHVRILWVRXWVLGHFRXQVHORULWVYHQGRUVVKDOOQRWXQUHDVRQDEO\
        KLQGHUWKHUHFHLYLQJ3DUW\¶VDELOLW\WRHIILFLHQWO\DQGHIIHFWLYHO\FRQGXFWWKH
        SURVHFXWLRQRUGHIHQVHRIWKLV$FWLRQ

  F     7KHSURGXFLQJ3DUW\VKDOOSURYLGHWKHUHFHLYLQJ3DUW\ZLWKLQIRUPDWLRQH[SODLQLQJ
        KRZWRVWDUWORJRQWRDQGRSHUDWHWKHVWDQGDORQHFRPSXWHU V LQRUGHUWRDFFHVV
        WKHSURGXFHG6RXUFH&RGH0DWHULDORQWKHVWDQGDORQHFRPSXWHU V 

  G     7KHSURGXFLQJ3DUW\ZLOOSURGXFH6RXUFH&RGH0DWHULDOLQFRPSXWHUVHDUFKDEOH
        IRUPDWRQWKHVWDQGDORQHFRPSXWHU V DVGHVFULEHGDERYHDQGVKDOOLQVWDOORQWKH
        VWDQGDORQHFRPSXWHU V UHDVRQDEOHDQDO\VLVWRROVDSSURSULDWHIRUWKHW\SHRI
        6RXUFH&RGH0DWHULDOUHTXHVWHGSXUVXDQWWRSDUDJUDSK D DERYH6SHFLILF
        WRROVPD\LQFOXGHEXWDUHQRWOLPLWHGWRWKHIROORZLQJ6FL7RROV8QGHUVWDQG
        6OLFN(GLW(FOLSVH8OWUD(GLW$QGURLG6WXGLR0LFURVRIW9LVXDO6WXGLR
        1RWHSDG%H\RQG&RPSDUH0R]LOOD)LUH)R[DQG$GREH$FUREDW3UR7KH
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               FRPSXWHU V DQGVKDOOSURYLGHDWWKHUHYLHZLQJ3DUW\¶VH[SHQVHDVZLWKWKHRWKHU
               WRROVUHTXHVWHGE\UHYLHZLQJ3DUW\SHUSDUDJUDSK D 9HUD&U\SWVRIWZDUH
                KWWSVZZZYHUDFU\SWIUHQ+RPHKWPO IRUWKHUHYLHZLQJ3DUW\WRVHFXUHWKH
               UHYLHZLQJ3DUW\¶VZRUNSURGXFWVWRUHGRQWKHVWDQGDORQHFRPSXWHU V 7KH
               SURGXFLQJ3DUW\VKDOOQRWLQVWDOODQ\NH\VWURNHRURWKHUPRQLWRULQJVRIWZDUHRQ
               DQ\VWDQGDORQHFRPSXWHU

        H      $FFHVVWR6RXUFH&RGH0DWHULDOVKDOOEHOLPLWHGWRRXWVLGHFRXQVHODQGXSWRWKUHH
                 RXWVLGHFRQVXOWDQWVRUH[SHUWV  i.eQRWH[LVWLQJHPSOR\HHVRUDIILOLDWHVRID
               3DUW\RUDQDIILOLDWHRID3DUW\RUFRPSHWLWRULGHQWLILHGE\WKH3URGXFLQJ3DUW\
               ZLWKUHDVRQDEOHVSHFLILFLW\ UHWDLQHGIRUWKHSXUSRVHRIWKLVOLWLJDWLRQDQG
               DSSURYHGWRDFFHVVVXFK3URWHFWHG0DWHULDOVSXUVXDQWWRSDUDJUDSK H DERYH
               (DFKSHUVRQDXWKRUL]HGWRDFFHVV6RXUFH&RGH0DWHULDOPD\XVHDODSWRS
               FRPSXWHUIRUWKHVROHSXUSRVHRIW\SLQJQRWHVUHODWHGWRVRXUFHFRGHUHYLHZ
               SURYLGHGWKDWRXWVLGHRIWKHLQVSHFWLRQVXFKQRWHVDUHVHFXUHO\VWRUHGRQWKH
               ODSWRSE\WKHUHFHLYLQJ3DUW\LQDPDQQHUFRQVLVWHQWZLWKWKHSURYLVLRQVRIWKLV
               2UGHU1RRWKHUHOHFWURQLFGHYLFHVVKDOOEHSHUPLWWHGLQWKHVHFXUHURRP
               LQFOXGLQJEXWQRWOLPLWHGWRODSWRSVIORSS\GULYHV]LSGULYHVFHOOXODUWHOHSKRQHV
               SHUVRQDOGLJLWDODVVLVWDQWV%ODFNEHUULHVFDPHUDVYRLFHUHFRUGHUV'LFWDSKRQHV
               RUWHOHSKRQHMDFNV1RUVKDOODQ\QRQHOHFWURQLFGHYLFHVFDSDEOHRIVLPLODU
               IXQFWLRQDOLW\EHSHUPLWWHGLQWKHVHFXUHURRP'XULQJUHYLHZRI6RXUFH&RGH
               0DWHULDOWKHUHFHLYLQJ3DUW\ LQFOXGLQJLWVFRQVXOWDQWVDQGH[SHUWV VKDOOEH
               HQWLWOHGWRWDNHQRWHVUHODWLQJWRWKH6RXUFH&RGH0DWHULDOEXWPD\QRWFRS\PRUH
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               FRSLHVRIDOORUDQ\SRUWLRQRIWKH6RXUFH&RGH0DWHULDOPD\OHDYHWKHURRPLQ
               ZKLFKWKH6RXUFH&RGH0DWHULDOLVLQVSHFWHGH[FHSWDVRWKHUZLVHSHUPLWWHG
               SXUVXDQWWRSDUDJUDSKV KDQGN EHORZ)XUWKHUQRRWKHUZULWWHQRUHOHFWURQLF
               UHFRUGRIWKH6RXUFH&RGH0DWHULDOLVSHUPLWWHGH[FHSWDVRWKHUZLVHSURYLGHG
               KHUHLQ$UHFHLYLQJ3DUW\PD\LQFOXGHH[FHUSWVRI6RXUFH&RGH0DWHULDOLQDQ
               H[KLELWWRDSOHDGLQJH[SHUWUHSRUWRUGHSRVLWLRQWUDQVFULSW FROOHFWLYHO\³6RXUFH
               &RGH([KLELWV´ SURYLGHGWKDWWKH6RXUFH&RGH([KLELWVDUHDSSURSULDWHO\
               PDUNHGXQGHUWKLV2UGHUUHVWULFWHGWRWKRVHZKRDUHHQWLWOHGWRKDYHDFFHVVWR
               WKHPDVVSHFLILHGKHUHLQDQGLIILOHGZLWKWKH&RXUWILOHGXQGHUVHDOLQ
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        I      7RWKHH[WHQWSRUWLRQVRI6RXUFH&RGH0DWHULDODUHTXRWHGLQD6RXUFH&RGH
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FRQVXOWDQW¶VRUH[SHUW¶VGLUHFWUHSRUWVDQGRWKHUVXSSRUWSHUVRQQHOVXFKWKDWWKHGLVFORVXUHWRD
FRQVXOWDQWRUH[SHUWZKRHPSOR\VRWKHUVZLWKLQWKHLUILUPWRKHOSLQWKHLUDQDO\VLVVKDOOFRXQWDVD
GLVFORVXUHWRDVLQJOHFRQVXOWDQWRUH[SHUWSURYLGHGWKDWVXFKSHUVRQQHOKHOSLQJLQWKHDQDO\VLVRI
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        0DWHULDOVKDOOEHPDGHZLWKRXWSULRUZULWWHQFRQVHQWRIWKHSURGXFLQJ3DUW\
        H[FHSWDVQHFHVVDU\WRFUHDWHGRFXPHQWVWKDWSXUVXDQWWRWKH&RXUW¶VUXOHV
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  K     7KHSURGXFLQJ3DUW\VKDOOSURYLGHZLWKWKHVWDQGDORQHFRPSXWHUVDQGSULQWHUV
        OHWWHUVL]HGSDSHUWKDWLVEODQNRWKHUWKDQDXQLTXH%DWHVQXPEHURQHDFKSDJHDQG
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        UHFHLYLQJ3DUW\VKDOOEHSHUPLWWHGWRPDNHDUHDVRQDEOHQXPEHURISULQWRXWVDQG
        SKRWRFRSLHVRI6RXUFH&RGH0DWHULDOZKLFKVKDOOSUHVXPSWLYHO\EHDWRWDORIWHQ
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        UHFHLYLQJ3DUW\VKDOOPDLQWDLQDORJRIDOOVXFKILOHVWKDWDUHSULQWHGRU
        SKRWRFRSLHG:KHQWKHUHFHLYLQJ3DUW\SULQWV6RXUFH&RGH0DWHULDOIURPD
        VWDQGDORQHFRPSXWHULWVKDOODOORZFRSLHVRIDOOWKHSULQWRXWVWREHPDGHEHIRUH
        OHDYLQJWKHORFDWLRQRIWKHVWDQGDORQHFRPSXWHUZKLFKFRSLHVVKDOOEHSURPSWO\
        IXUQLVKHGWRWKHSURGXFLQJ3DUW\

  L     6KRXOGVXFKSULQWRXWVRUSKRWRFRSLHVEHSHUPLVVLEO\WUDQVIHUUHGEDFNWRHOHFWURQLF
        PHGLDVXFKPHGLDVKDOOEHODEHOHG³&21),'(17,$/6285&(&2'(´DQG
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  M     ,IWKHUHFHLYLQJ3DUW\¶VRXWVLGHFRXQVHOFRQVXOWDQWVRUH[SHUWVREWDLQSULQWRXWVRU
        SKRWRFRSLHVRI6RXUFH&RGH0DWHULDOWKHUHFHLYLQJ3DUW\VKDOOHQVXUHWKDWVXFK
        RXWVLGHFRXQVHOFRQVXOWDQWVRUH[SHUWVNHHSWKHSULQWRXWVRUSKRWRFRSLHVLQD
        VHFXUHGORFNHGDUHDLQWKHRIILFHVRIVXFKRXWVLGHFRXQVHOFRQVXOWDQWVRUH[SHUW
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         L WKH&RXUWIRUDQ\SURFHHGLQJV V UHODWLQJWRWKH6RXUFH&RGH0DWHULDOIRUWKH
        GDWHVDVVRFLDWHGZLWKWKHSURFHHGLQJ V  LL WKHVLWHVZKHUHDQ\GHSRVLWLRQ V
        UHODWLQJWRWKH6RXUFH&RGH0DWHULDODUHWDNHQIRUWKHGDWHVDVVRFLDWHGZLWKWKH
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  N     $SURGXFLQJ3DUW\¶V6RXUFH&RGH0DWHULDOPD\RQO\EHWUDQVSRUWHGE\WKH
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        DERYHWRDQRWKHUSHUVRQDXWKRUL]HGXQGHUSDUDJUDSK H DERYHRQSDSHURU
        UHPRYDEOHHOHFWURQLFPHGLD e.g.D'9'&'520RUIODVKPHPRU\³VWLFN´ YLD
        KDQGFDUU\)HGHUDO([SUHVVRURWKHUVLPLODUO\UHOLDEOHFRXULHU6RXUFH&RGH
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        DQ\NLQGLQFOXGLQJD/$1DQLQWUDQHWRUWKH,QWHUQHW7KHSURGXFLQJ3DUW\
        VKDOORQUHTXHVWPDNHRQHRIWKHVWDQGDORQHFRPSXWHUVFRQWDLQLQJWKH6RXUFH
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               WKHVWDQGDORQHFRPSXWHU V 7KHUHFHLYLQJ3DUW\VKDOOPDNHVXFKUHTXHVWVWHQ
                 FDOHQGDUGD\VEHIRUHWKHGHSRVLWLRQ$SURGXFLQJ3DUW\VKDOOPDNH
               UHDVRQDEOHHIIRUWVWRFRPSO\ZLWKVXFKDUHTXHVWPDGHOHVVWKDQWHQ  FDOHQGDU
               GD\VEHIRUHDGHSRVLWLRQSURYLGHGWKHUHTXHVWLVPDGHLQJRRGIDLWKDQGFRXOGQRW
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       IRUHLJQJRYHUQPHQWUHVWULFWLRQVRUDJUHHPHQWVUHODWHGWRVXFKUHVWULFWLRQVWKDWVWULFWO\

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       EHDYDLODEOHLQDFFRUGDQFHZLWKWKHUHVWULFWLRQVLPSRVHGRQLWE\WKHDSSOLFDEOH

       JRYHUQPHQWDOHQWLWLHVRUWKHDJUHHPHQWVUHODWHGWRVXFKUHVWULFWLRQV

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       GLVFORVXUHRIDQ\LQIRUPDWLRQRULWHPVGHVLJQDWHGLQWKLV$FWLRQDV&21),'(17,$/

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       ,IWKHGHVLJQDWLQJ3DUW\WLPHO\VHHNVDSURWHFWLYHRUGHUWKH3DUW\VHUYHGZLWKWKHVXESRHQD

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       3DUW\¶VSHUPLVVLRQ7KHGHVLJQDWLQJ3DUW\VKDOOEHDUWKHEXUGHQDQGH[SHQVHRIVHHNLQJ

       SURWHFWLRQLQWKDWFRXUWRILWVFRQILGHQWLDOPDWHULDO±DQGQRWKLQJLQWKHVHSURYLVLRQVVKRXOG

       EHFRQVWUXHGDVDXWKRUL]LQJRUHQFRXUDJLQJDUHFHLYLQJ3DUW\LQWKLV$FWLRQWRGLVREH\D

       ODZIXOGLUHFWLYHIURPDQRWKHUFRXUW

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       3DUW\¶VFRQILGHQWLDOLQIRUPDWLRQLQLWVSRVVHVVLRQDQGWKH3DUW\LVVXEMHFWWRDQDJUHHPHQW

       ZLWKWKH1RQ3DUW\QRWWRSURGXFHWKH1RQ3DUW\¶VFRQILGHQWLDOLQIRUPDWLRQWKHQWKH

       3DUW\VKDOO

              SURPSWO\QRWLI\LQZULWLQJWKH5HTXHVWLQJ3DUW\DQGWKH1RQ3DUW\WKDWVRPHRU

       DOORIWKHLQIRUPDWLRQUHTXHVWHGLVVXEMHFWWRDFRQILGHQWLDOLW\DJUHHPHQWZLWKD1RQ

       3DUW\

              SURPSWO\SURYLGHWKH1RQ3DUW\ZLWKDFRS\RIWKLV2UGHUWKHUHOHYDQWGLVFRYHU\

       UHTXHVW V DQGDUHDVRQDEO\VSHFLILFGHVFULSWLRQRIWKHLQIRUPDWLRQUHTXHVWHGDQG

              PDNHWKHLQIRUPDWLRQUHTXHVWHGDYDLODEOHIRULQVSHFWLRQE\WKH1RQ3DUW\

       ,IWKH1RQ3DUW\IDLOVWRREMHFWRUVHHNDSURWHFWLYHRUGHUIURPWKLVFRXUWZLWKLQ




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       FDOHQGDUGD\VRIUHFHLYLQJWKHQRWLFHDQGDFFRPSDQ\LQJLQIRUPDWLRQWKH5HFHLYLQJ3DUW\

       PD\SURGXFHWKH1RQ3DUW\¶VFRQILGHQWLDOLQIRUPDWLRQUHVSRQVLYHWRWKHGLVFRYHU\

       UHTXHVW,IWKH1RQ3DUW\WLPHO\VHHNVDSURWHFWLYHRUGHUWKH5HFHLYLQJ3DUW\VKDOOQRW

       SURGXFHDQ\LQIRUPDWLRQLQLWVSRVVHVVLRQRUFRQWUROWKDWLVVXEMHFWWRWKHFRQILGHQWLDOLW\

       DJUHHPHQWZLWKWKH1RQ3DUW\EHIRUHDGHWHUPLQDWLRQE\WKHFRXUW$EVHQWDFRXUWRUGHU

       WRWKHFRQWUDU\WKH1RQ3DUW\VKDOOEHDUWKHEXUGHQDQGH[SHQVHRIVHHNLQJSURWHFWLRQLQ

       WKLVFRXUWRILWV3URWHFWHG0DWHULDO

    $Q\DWWRUQH\UHSUHVHQWLQJD3DUW\ZKHWKHULQKRXVHRURXWVLGHFRXQVHODQGDQ\SHUVRQ

       DVVRFLDWHGZLWKD3DUW\DQGSHUPLWWHGWRUHFHLYHWKHRWKHU3DUW\¶V3URWHFWHG0DWHULDOWKDW

       LVGHVLJQDWHG&21),'(17,$/$77251(<6¶(<(621/<&21),'(17,$/

       2876,'($77251(<6¶(<(621/<&21),'(17,$/6285&(&2'(DQGRU

       &21),'(17,$/±5(675,&7('6285&(&2'(DQGGLUHFWHGWRWHFKQLFDO

       LQIRUPDWLRQUHOHYDQWWRWKHFDVHEXWH[FOXGLQJILQDQFLDOGDWDRUQRQWHFKQLFDOEXVLQHVV

       LQIRUPDWLRQ FROOHFWLYHO\³+,*+/<6(16,7,9(0$7(5,$/´ ZKRREWDLQVUHFHLYHV

       KDVDFFHVVWRRURWKHUZLVHOHDUQVLQZKROHRULQSDUWWKHRWKHU3DUW\¶V+,*+/<

       6(16,7,9(0$7(5,$/XQGHUWKLV2UGHUVKDOOQRWSUHSDUHSURVHFXWHVXSHUYLVHRU

       DVVLVWLQWKHSUHSDUDWLRQRUSURVHFXWLRQRIDQ\SDWHQWDSSOLFDWLRQSHUWDLQLQJWRWKHILHOGRI

       WKHLQYHQWLRQRIWKHSDWHQWVLQVXLWGXULQJWKHSHQGHQF\RIWKLV$FWLRQDQGIRURQH\HDU

       DIWHULWVFRQFOXVLRQLQFOXGLQJDQ\DSSHDOV7RHQVXUHFRPSOLDQFHZLWKWKHSXUSRVHRI

       WKLVSURYLVLRQHDFK3DUW\VKDOOFUHDWHDQ³(WKLFDO:DOO´EHWZHHQWKRVHSHUVRQVZLWK

       DFFHVVWR+,*+/<6(16,7,9(0$7(5,$/DQGDQ\LQGLYLGXDOVZKRSUHSDUH

       SURVHFXWHVXSHUYLVHRUDVVLVWLQWKHSUHSDUDWLRQRUSURVHFXWLRQRIDQ\SDWHQWDSSOLFDWLRQ

       SHUWDLQLQJWRWKHILHOGRILQYHQWLRQRIWKHSDWHQWLQVXLW1RWKLQJLQWKLV2UGHUVKDOO




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       SUHYHQWDSHUVRQZLWKDFFHVVWR+,*+/<6(16,7,9(0$7(5,$/IURPSDUWLFLSDWLQJLQ

       D372SURFHHGLQJe.g.,35RU3*5H[FHSWIRUWKDWSHUVRQVKDOOQRWSDUWLFLSDWH²GLUHFWO\

       RULQGLUHFWO\²LQWKHDPHQGPHQWRIDQ\FODLP V 

    1RWKLQJLQWKLV2UGHUVKDOOUHTXLUHSURGXFWLRQRIGRFXPHQWVLQIRUPDWLRQRURWKHU

       PDWHULDOWKDWD3DUW\FRQWHQGVLVSURWHFWHGIURPGLVFORVXUHE\WKHDWWRUQH\FOLHQW

       SULYLOHJHWKHZRUNSURGXFWGRFWULQHRURWKHUSULYLOHJHGRFWULQHRULPPXQLW\3XUVXDQW

       WR)HGHUDO5XOHRI(YLGHQFH G LIGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOVXEMHFW

       WRDFODLPRIDWWRUQH\FOLHQWSULYLOHJHZRUNSURGXFWGRFWULQHRURWKHUSULYLOHJHGRFWULQH

       RULPPXQLW\LVLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHGVXFKSURGXFWLRQVKDOOLQQR

       ZD\SUHMXGLFHRURWKHUZLVHFRQVWLWXWHDZDLYHURIRUHVWRSSHODVWRDQ\VXFKSULYLOHJH

       GRFWULQHRULPPXQLW\$Q\3DUW\WKDWLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\SURGXFHV

       GRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOLWUHDVRQDEO\EHOLHYHVDUHSURWHFWHGXQGHUWKH

       DWWRUQH\FOLHQWSULYLOHJHZRUNSURGXFWGRFWULQHRURWKHUSULYLOHJHGRFWULQHRULPPXQLW\

       PD\REWDLQWKHUHWXUQRIVXFKGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOE\SURPSWO\

       QRWLI\LQJWKHUHFLSLHQW V DQGSURYLGLQJDSULYLOHJHORJIRUWKHLQDGYHUWHQWO\RU

       XQLQWHQWLRQDOO\SURGXFHGGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDO7KHUHFLSLHQW V

       VKDOOJDWKHUDQGUHWXUQDOOFRSLHVRIVXFKGRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOWRWKH

       SURGXFLQJ3DUW\H[FHSWIRUDQ\SDJHVFRQWDLQLQJSULYLOHJHGRURWKHUZLVHSURWHFWHG

       PDUNLQJVE\WKHUHFLSLHQW V ZKLFKSDJHVVKDOOLQVWHDGEHGHVWUR\HGDQGFHUWLILHGDVVXFK

       WRWKHSURGXFLQJ3DUW\

    7KHUHVKDOOEHQRGLVFORVXUHRIDQ\'(6,*1$7('0$7(5,$/E\DQ\SHUVRQ

       DXWKRUL]HGWRKDYHDFFHVVWKHUHWRWRDQ\SHUVRQZKRLVQRWDXWKRUL]HGIRUVXFKDFFHVV

       XQGHUWKLV2UGHU7KH3DUWLHVDUHKHUHE\25'(5('WRVDIHJXDUGDOOVXFKGRFXPHQWV




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       LQIRUPDWLRQDQGPDWHULDOWRSURWHFWDJDLQVWGLVFORVXUHWRDQ\XQDXWKRUL]HGSHUVRQVRU

       HQWLWLHV

    1RWKLQJFRQWDLQHGKHUHLQVKDOOEHFRQVWUXHGWRSUHMXGLFHDQ\3DUW\¶VULJKWWRXVHDQ\

       '(6,*1$7('0$7(5,$/LQWDNLQJWHVWLPRQ\DWDQ\GHSRVLWLRQRUKHDULQJSURYLGHG

       WKDWWKH'(6,*1$7('0$7(5,$/LVRQO\GLVFORVHGWRDSHUVRQ V ZKRLV L HOLJLEOH

       WRKDYHDFFHVVWRWKH'(6,*1$7('0$7(5,$/E\YLUWXHRIWKHLUHPSOR\PHQWZLWKWKH

       GHVLJQDWLQJ3DUW\ LL LGHQWLILHGLQWKH'(6,*1$7('0$7(5,$/DVDQDXWKRU

       DGGUHVVHHRUFRS\UHFLSLHQWRIVXFKLQIRUPDWLRQ LLL DOWKRXJKQRWLGHQWLILHGDVDQ

       DXWKRUDGGUHVVHHRUFRS\UHFLSLHQWRIVXFK'(6,*1$7('0$7(5,$/KDVLQWKH

       RUGLQDU\FRXUVHRIEXVLQHVVVHHQVXFK'(6,*1$7('0$7(5,$/ LY DFXUUHQWRU

       IRUPHURIILFHUGLUHFWRURUHPSOR\HHRIWKHSURGXFLQJ3DUW\DFXUUHQWRUIRUPHURIILFHU

       GLUHFWRURUHPSOR\HHRIDFRPSDQ\DIILOLDWHGZLWKWKHSURGXFLQJ3DUW\RUDGHVLJQHH

       XQGHU)HGHUDO5XOHRI&LYLO3URFHGXUH E  WRWHVWLI\RQEHKDOIRIWKHSURGXFLQJ

       3DUW\ Y FRXQVHOIRUD3DUW\LQFOXGLQJRXWVLGHFRXQVHODQGLQKRXVHFRXQVHO VXEMHFWWR

       SDUDJUDSKRIWKLV2UGHU  YL DQLQGHSHQGHQWFRQWUDFWRUFRQVXOWDQWDQGRUH[SHUW

       UHWDLQHGIRUWKHSXUSRVHRIWKLVOLWLJDWLRQ YLL FRXUWUHSRUWHUVDQGYLGHRJUDSKHUV

        YLLL WKH&RXUWRU L[ RWKHUSHUVRQVHQWLWOHGKHUHXQGHUWRDFFHVVWR'(6,*1$7('

       0$7(5,$/'(6,*1$7('0$7(5,$/VKDOOQRWEHGLVFORVHGWRDQ\RWKHUSHUVRQV

       XQOHVVSULRUDXWKRUL]DWLRQLVREWDLQHGIURPFRXQVHOUHSUHVHQWLQJWKHSURGXFLQJ3DUW\RU

       IURPWKH&RXUW

    3DUWLHVPD\DWWKHGHSRVLWLRQRUKHDULQJRUZLWKLQWKLUW\  GD\VDIWHUUHFHLSWRID

       GHSRVLWLRQRUKHDULQJWUDQVFULSWGHVLJQDWHWKHGHSRVLWLRQRUKHDULQJWUDQVFULSWRUDQ\

       SRUWLRQWKHUHRIDV³&21),'(17,$/´³&21),'(17,$/$77251(<6¶(<(6




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       6285&(&2'(´SXUVXDQWWRWKLV2UGHU$FFHVVWRWKHGHSRVLWLRQRUKHDULQJWUDQVFULSW

       VRGHVLJQDWHGVKDOOEHOLPLWHGLQDFFRUGDQFHZLWKWKHWHUPVRIWKLV2UGHU8QWLO

       H[SLUDWLRQRIWKHGD\SHULRGWKHHQWLUHGHSRVLWLRQRUKHDULQJWUDQVFULSWVKDOOEHWUHDWHG

       DV&21),'(17,$/2876,'($77251(<6¶(<(621/<

    $Q\'(6,*1$7('0$7(5,$/WKDWLVILOHGZLWKWKH&RXUWVKDOOEHILOHGXQGHUVHDODQG

       VKDOOUHPDLQXQGHUVHDOXQWLOIXUWKHURUGHURIWKH&RXUW7KHILOLQJ3DUW\VKDOOEH

       UHVSRQVLEOHIRULQIRUPLQJWKH&OHUNRIWKH&RXUWWKDWWKHILOLQJVKRXOGEHVHDOHGDQGIRU

       SODFLQJWKHOHJHQG³),/('81'(56($/38568$17723527(&7,9(25'(5´

       DERYHWKHFDSWLRQDQGFRQVSLFXRXVO\RQHDFKSDJHRIWKHILOLQJ([KLELWVWRDILOLQJVKDOO

       FRQIRUPWRWKHODEHOLQJUHTXLUHPHQWVVHWIRUWKLQWKLV2UGHU,IDSUHWULDOSOHDGLQJILOHG

       ZLWKWKH&RXUWRUDQH[KLELWWKHUHWRGLVFORVHVRUUHOLHVRQ'(6,*1$7('0$7(5,$/

       VXFKFRQILGHQWLDOSRUWLRQVVKDOOEHUHGDFWHGWRWKHH[WHQWQHFHVVDU\DQGWKHSOHDGLQJRU

       H[KLELWILOHGSXEOLFO\ZLWKWKH&RXUW

    7KH2UGHUDSSOLHVWRSUHWULDOGLVFRYHU\1RWKLQJLQWKLV2UGHUVKDOOEHGHHPHGWRSUHYHQW

       WKH3DUWLHVIURPLQWURGXFLQJDQ\'(6,*1$7('0$7(5,$/LQWRHYLGHQFHDWWKHWULDORI

       WKLV$FWLRQRUIURPXVLQJDQ\LQIRUPDWLRQFRQWDLQHGLQ'(6,*1$7('0$7(5,$/DW

       WKHWULDORIWKLV$FWLRQVXEMHFWWRDQ\SUHWULDORUGHULVVXHGE\WKLV&RXUW

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       '(6,*1$7('0$7(5,$/EHPRGLILHGRUZLWKGUDZQ,IWKHGHVLJQDWLQJ3DUW\GRHV

       QRWDJUHHWRUHGHVLJQDWLRQZLWKLQWHQ  GD\VRIUHFHLSWRIWKHZULWWHQUHTXHVWWKH

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       &RXUWWKHEXUGHQVKDOOEHRQWKHGHVLJQDWLQJ3DUW\WRVKRZZK\LWVFODVVLILFDWLRQLV

       SURSHU6XFKDSSOLFDWLRQVKDOOEHWUHDWHGSURFHGXUDOO\DVDPRWLRQWRFRPSHOSXUVXDQWWR

       )HGHUDO5XOHRI&LYLO3URFHGXUHVXEMHFWWRWKH5XOH¶VSURYLVLRQVUHODWLQJWRVDQFWLRQV

       ,QPDNLQJVXFKDSSOLFDWLRQWKHUHTXLUHPHQWVRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHDQG

       WKH/RFDO5XOHVRIWKH&RXUWVKDOOEHPHW3HQGLQJWKH&RXUW¶VGHWHUPLQDWLRQRIWKH

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    (DFKRXWVLGHFRQVXOWDQWRUH[SHUWWRZKRP'(6,*1$7('0$7(5,$/LVGLVFORVHGLQ

       DFFRUGDQFHZLWKWKHWHUPVRIWKLV2UGHUVKDOOEHDGYLVHGE\FRXQVHORIWKHWHUPVRIWKLV

       2UGHUVKDOOEHLQIRUPHGWKDWWKH\DUHVXEMHFWWRWKHWHUPVDQGFRQGLWLRQVRIWKLV2UGHU

       DQGVKDOOVLJQDQDFNQRZOHGJPHQWWKDWWKH\KDYHUHFHLYHGDFRS\RIKDYHUHDGDQGKDYH

       DJUHHGWREHERXQGE\WKLV2UGHU$FRS\RIWKHDFNQRZOHGJPHQWIRUPLVDWWDFKHGDV

       $SSHQGL[$

    7RWKHH[WHQWWKDWDQ\GLVFRYHU\LVWDNHQRISHUVRQVZKRDUHQRW3DUWLHVWRWKLV$FWLRQ

        ³7KLUG3DUWLHV´ DQGLQWKHHYHQWWKDWVXFK7KLUG3DUWLHVFRQWHQGWKHGLVFRYHU\VRXJKW

       LQYROYHVWUDGHVHFUHWVFRQILGHQWLDOEXVLQHVVLQIRUPDWLRQRURWKHUSURSULHWDU\

       LQIRUPDWLRQWKHQVXFK7KLUG3DUWLHVPD\DJUHHWREHERXQGE\WKLV2UGHU

    7RWKHH[WHQWWKDWGLVFRYHU\RUWHVWLPRQ\LVWDNHQRI7KLUG3DUWLHVWKH7KLUG3DUWLHVPD\

       GHVLJQDWHDV³&21),'(17,$/´³&21),'(17,$/$77251(<6¶(<(621/<´

       RU³&21),'(17,$/2876,'($77251(<6¶(<(621/<´³&21),'(17,$/

       6285&(&2'(´DQGRU³&21),'(17,$/±5(675,&7('6285&(&2'(´DQ\

       GRFXPHQWVLQIRUPDWLRQRURWKHUPDWHULDOLQZKROHRULQSDUWSURGXFHGE\VXFK7KLUG

       3DUWLHV7KH7KLUG3DUWLHVVKDOOKDYHWHQ  GD\VDIWHUSURGXFWLRQRIVXFKGRFXPHQWV

       LQIRUPDWLRQRURWKHUPDWHULDOVWRPDNHVXFKDGHVLJQDWLRQ8QWLOWKDWWLPHSHULRGODSVHV




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       LQIRUPDWLRQRURWKHUPDWHULDOVRSURGXFHGRUJLYHQVKDOOEHWUHDWHGDV³&21),'(17,$/

        2876,'($77251(<6¶(<(621/<´LQDFFRUGDQFHZLWKWKLV2UGHU

    :LWKLQWKLUW\  GD\VRIILQDOWHUPLQDWLRQRIWKLV$FWLRQLQFOXGLQJDQ\DSSHDOVDOO

       '(6,*1$7('0$7(5,$/LQFOXGLQJDOOFRSLHVGXSOLFDWHVDEVWUDFWVLQGH[HV

       VXPPDULHVGHVFULSWLRQVDQGH[FHUSWVRUH[WUDFWVWKHUHRI H[FOXGLQJH[FHUSWVRUH[WUDFWV

       LQFRUSRUDWHGLQWRDQ\SULYLOHJHGPHPRUDQGDRIWKH3DUWLHVDQGH[FOXGLQJDQ\HOHFWURQLF

       FRSLHVWKDWPD\H[LVWRQVWDQGDUGV\VWHPEDFNXSWDSHVRURWKHUVWDQGDUGV\VWHPEDFNXS

       PHGLDDFFRUGLQJWRVWDQGDUGHOHFWURQLFEDFNXSDQGDUFKLYDOSURFHGXUHV VKDOODWWKH

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    EXHIBIT 5
                Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 475 of 599


Morgan Pietz

From:                Morgan Pietz
Sent:                Tuesday, December 21, 2021 11:32 AM
To:                  Jim Etheridge
Cc:                  Mike Jones; caribou@matters.warrenlex.com; WSOU-Google@jonesday.com; WSOUPOTTER GROUP;
                     IPTeam; mark@swclaw.com; CA-BrazosTrials@carterarnett.com; Dan MacLemore;
                     Rob@stantonllp.com; Julie Goerlinger; Admin; Ryan Loveless; Scott Breedlove
Subject:             Re: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
                     6:20-cv-571, 6:20-cv-572, 6:20-cv-573, 6:20-cv-575, 6:20-cv-576, 6:20-cv-579, 6:20-cv-580, 6:20-
                     cv-583, 6:20-cv-584, and 6:20-cv-585


My clients, for their part, also do not agree to any such requirement as a condition for the reasonable continuance I
requested.

We’ve reached out to the Court.

Best regards,
Morgan


Sent from my iPhone



        On Dec 21, 2021, at 11:22 AM, Jim Etheridge <jim@etheridgelaw.com> wrote:


        Mike,

        A couple of points in reply to your email to Mr. Pietz.

        (1) WSOU does not agree to any such limitation or reservation as to any WSOU depositions that are
        already set;
         (2) WSOU does not see how this issue is relevant to any upcoming depositions such as the deposition of
        Mr. Matt Hogan on Jan 10th; and
         (3) if Google is sufficiently concerned about this issue, then WSOU is amenable to potentially
        rescheduling until February depositions where you think these issues might come up, but, in order to
        have a discussion along those lines, Google will need to answer Mr. Pietz questions below and identify
        the depositions and topics where you think documents from the third parties would be relevant.

        Look forward to your quick reply.

        Cordially,
        Jim



        From: Mike Jones <mikejones@potterminton.com>
        Sent: Tuesday, December 21, 2021 12:35 PM
        To: Morgan Pietz <morgan@pstrials.com>
        Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
                                                              1
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 476 of 599

<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; mark@swclaw.com; CA‐
BrazosTrials@carterarnett.com; Dan MacLemore <maclemore@thetexasfirm.com>;
rob@stantonllp.com; Julie Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>
Subject: Re: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
6:20‐cv‐584, and 6:20‐cv‐585

Thank you for your email. We disagree on who has caused delays. This is a very time sensitive matter.
However, to accommodate you and to avoid imposing on the Court, Google is willing to compromise and
will agree not to oppose a continuance of the hearing until sometime during the week of January 10. In
doing so, Google reserves its right to request that any depositions taken before the production of the
documents in question be reopened in the event the production of said documents requires further
questioning of a deponent.

Sent from my iPhone




       On Dec 20, 2021, at 10:58 PM, Morgan Pietz <morgan@pstrials.com> wrote:


       Mike,

       Thanks for your response.

       My understanding is that the fact discovery cutoff in the Google cases is not until the
       end of February. If Google was so concerned about delays, it could easily have sought
       this information from WSOU directly, with a motion to compel before Judge Albright if
       necessary, rather than burdening my clients with third party subpoenas and ancillary
       enforcement proceedings in Delaware, which Google then forced us to move to have
       transferred back to Texas, over Google’s objections.

       In view of Google’s refusal to stipulate to a continuance of the 12/27 hearing until later
       in January, I’d like to know specifically which scheduled depositions you think will
       involve documents you are seeking to obtain from my clients and when they are
       schedule to occur. To that end, please provide me tomorrow with copies of any
       deposition notices or subpoenas that you contend will involve topics relevant to my
       clients, and indicate which specific noticed topics you think will involve documents you
       want to get from my clients. And then if the noticed date on the face of your notice or
       subpoena is not the real date when the parties have agreed for the deposition, then
       please indicate the latest information about scheduling as well.

       Please be advised that we’ll be reaching out to the Court tomorrow to ask for a
       continuance to mid‐January or later, and indicating that Google opposes any
       continuance beyond the week of 1/3.

       Best regards,
       Morgan



       From: Mike Jones <mikejones@potterminton.com>
       Sent: Monday, December 20, 2021 2:56 PM
                                                    2
Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 477 of 599

 To: Morgan Pietz <morgan@pstrials.com>; Mike Jones
 <mikejones@potterminton.com>; caribou@matters.warrenlex.com; WSOU‐
 Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
 IPTeam <IPTeam@etheridgelaw.com>; mark@swclaw.com; CA‐
 BrazosTrials@carterarnett.com
 Cc: Dan MacLemore <maclemore@thetexasfirm.com>; Rob@stantonllp.com; Julie
 Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>
 Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google
 LLC, Cause Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐
 cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585


 Morgan –

  We will comply with your request that we include you and other counsel for the
 subpoenaed parties on future emails concerning the third‐party discovery in
 question. We look forward to working with you concerning these matters.

  Google can agree to continue the hearing currently set by the Court for December 27,
 2021 until sometime during the week of January 3, 2022. Google cannot agree to
 extend the date for such hearing any longer. Depositions where the documents being
 sought may be used are scheduled to begin on January 10, 2022. Additionally, there is a
 discovery deadline upcoming shortly in this matter. The delays that have already
 occurred concerning the documents sought make it impossible for Google to agree to
 any longer continuance.


 Michael E. Jones

 POTTERMINTON
 -----------------------------A Professional Corporation
 110 North College, Suite 500; Tyler TX 75702
 telephone: 903.597.8311 ext. 239
 Direct dial: 903.525.2239
 facsimile: 903.593.0846
 mikejones@potterminton.com




 From: Morgan Pietz <morgan@pstrials.com>
 Sent: Monday, December 20, 2021 2:38 PM
 To: Mike Jones <mikejones@potterminton.com>; caribou@matters.warrenlex.com;
 WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
 <WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>;
 mark@swclaw.com; CA‐BrazosTrials@carterarnett.com
 Cc: Dan MacLemore <maclemore@thetexasfirm.com>; Rob@stantonllp.com; Julie
 Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>
 Subject: FW: WSOU Investments, LLC d/b/a Brazos Licensing and Development v.
 Google LLC, Cause Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576,
 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585
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 To Mr. Jones and other counsel of record in the WSOU v. Google litigation,

 If you could please include me and other counsel for the subpoenaed parties (cc’d) on
 any future emails to chambers about the third‐party discovery proceedings related to
 our clients, including anything related to the two motions to compel filed against my
 clients in Delaware that Mr. Jones mentioned in his 12/14 email below (which he
 neglected to copy me on), I would appreciate it.

 I understand that a hearing has actually now already been set on the two matters Mr.
 Jones brought to the Court’s attention with his 12/14 email. Accordingly, I’ll be working
 today on getting my local counsel formally engaged (Dan MacLemore is cc’d) and my
 PHV papers on file in the Western District of Texas.

 With the holidays coming up, would anyone object to the hearing on this matter being
 continued to mid‐ to late‐ January?

 If you could get back to me on that today, I would appreciate that as well.

 Best regards,
 Morgan




 Morgan E. Pietz
 PIETZ & SHAHRIARI, LLP
 6700 S. Centinela Ave., 2nd Floor
 Culver City, CA 90230
 morgan@pstrials.com
 (310) 424-5557

 WE HAVE MOVED. PLEASE NOTE OUR NEW OFFICE MAILING ADDRESS


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 the telephone number above.


 From: Travis Richins <travis@etheridgelaw.com>
 Sent: Monday, December 20, 2021 11:59 AM
 To: Morgan Pietz <morgan@pstrials.com>; Julie Goerlinger <julie@pstrials.com>
 Subject: Fw: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google
 LLC, Cause Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐
 cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585




 Travis Richins | Etheridge Law Group

                                             4
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 2600 East Southlake Blvd | Suite 120‐324 |Southlake, TX 76092
 travis@etheridgelaw.com | T 214 601 0678 | F 817 887 5950



 From: Jeffrey Gunnell <Jeffrey_Gunnell@txwd.uscourts.gov>
 Sent: Friday, December 17, 2021 10:24 AM
 To: Mike Jones <mikejones@potterminton.com>
 Cc: caribou@matters.warrenlex.com <caribou@matters.warrenlex.com>; WSOU‐
 Google@jonesday.com <WSOU‐Google@jonesday.com>; WSOUPOTTER GROUP
 <WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>;
 mark@swclaw.com <mark@swclaw.com>; CA‐BrazosTrials@carterarnett.com <CA‐
 BrazosTrials@carterarnett.com>
 Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google
 LLC, Cause Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐
 cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585

 Counsel,

 The Court will set these for a hearing on December 27, 2021 at 11am. Also, thank you
 for bringing the transferred motions to compel to the Court’s attention. Merry
 Christmas and Happy Holidays to everyone in the meantime!

 Many thanks,

 Jeffrey R. Gunnell
 Law Clerk to the Honorable Alan D Albright
 United States District Court, Western District of Texas

 From: Mike Jones <mikejones@potterminton.com>
 Sent: Tuesday, December 14, 2021 3:22 PM
 To: Jeffrey Gunnell <Jeffrey_Gunnell@txwd.uscourts.gov>
 Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER
 GROUP <WSOUGoogle@potterminton.com>; IPTeam@etheridgelaw.com;
 mark@swclaw.com; CA‐BrazosTrials@carterarnett.com
 Subject: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google
 LLC, Cause Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐
 cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585


 CAUTION - EXTERNAL:


 Jeffrey:
 I wanted to inform you of a recent development in the above-referenced
 cases. On October 6, 2021 and October 15, 2021 Google filed in the District of
 Delaware two motions to compel seeking enforcement of subpoenas for
 documents and testimony from Terrier SSC, LLC and BP Funding Trust, in
 connection with the 10 above-referenced matters pending before Judge
 Albright. The Delaware court transferred these motions to the Western District of
 Texas by order of December 6, 2021. Accordingly, the motions with respect to
 Terrier SSC, LLC and BP Funding Trust are now pending in the Western District
 of Texas under cause numbers 6:21-mc-1269 and 6:21-mc-1270,
 respectively. Said motions are fully briefed and ready for hearing.
                                               5
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  Additionally, these motions have some issues in common with the Motion for
 Protective Order Requiring Withdrawal of Subpoenas Against Nonparties BP
 Funding and Terrier SSC filed by WSOU in 6:20-cv-571 [DKT #61], 6:20-cv-572
 [DKT #64], 6:20-cv-573 [DKT #59], 6:20-cv-575 [DKT #68], 6:20-cv-576 [DKT
 #61], 6:20-cv-579 [DKT #61], 6:20-cv-580 [DKT #63], 6:20-cv-583 [DKT #58],
 6:20-cv-584 [DKT #62], and 6:20-cv-585 [DKT #64]. Google filed its responses
 to those motions on October 27, 2021; accordingly, those motions are also fully
 briefed and ready for hearing.
  We appreciate your instructions and guidance on how we should bring these
 transferred Motions to the attention of the Court and the appropriate manner to
 request a hearing on these. Thank you so much for your assistance.
 Michael E. Jones

 POTTERMINTON
 -----------------------------A Professional Corporation
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 facsimile: 903.593.0846
 mikejones@potterminton.com




  CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
  attachments or clicking on links.




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    EXHIBIT 6
      Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 482 of 599




                                                                                                   DAN MACLEMORE
                                                                                          maclemore@thetexasfirm.com
                                                                                                       (254) 776-5500
                                                                                                          Waco Office
                                               December 21, 2021


To:     Honorable Alan D. Albright, United States District Judge
From: Daniel MacLemore, Beard Kultgen Brophy Bostwick & Dickson, PLLC
      Counsel for BP Funding Trust, Terrier SSC, LLC, and Aqua Licensing, LLC
Re:     WSOU Investments, LLC v. Google, LLC – W.D. Tex. Nos. 6:20-cv-571, etc .
        Request for Continuance of Third Party Discovery Matters Set for Hearing December 27, 2021
Your Honor,
I have recently been engaged as local counsel for the three third-party subpoena recipients referenced above,
all of which have received subpoenas from Google and other defendants related to WSOU cases.
I understand that late last week, at Google’s request, the Court set a hearing for December 27, 2021 at 11 am,
to hear three motions related to two of my clients: (1) Google’s motion to compel Terrier SCC, LLC, (filed
originally in the District of Delaware as a miscellaneous discovery petition); (2) Google’s motion to compel BP
Funding Trust (also filed originally in Delaware); and (3) WSOU’s motion for a protective order (filed here as
part of WSOU’s suit against Google) relating to Terrier and BP Funding. Since the underlying Google lawsuit
is pending here, my clients filed a motion to transfer the Delaware motions under Rule 45(f), which Google
opposed but the Delaware District Court recently granted.
I am requesting a continuance of the December 27, 2021 hearing until mid- to late- January (Google has
agreed to a continuance to sometime the week of January 10, 2022 but will not agree to a continuance longer
than that). In addition to the timing issues (I plan on being out of the office most of the next two weeks), there
are several substantive reasons for this request.
First, my understanding is that the issues are at least partially if not wholly the same as issues previously raised
by Microsoft on a motion to compel that this Court denied this fall in a similar WSOU case. The transcript
from the Microsoft hearing was sealed at the request of the parties. Accordingly, extra time will allow WSOU
and Microsoft to confer about un-sealing the relevant transcript portions (which we are asking them to do), so
that Google and my clients can review it and better understand what exactly was argued and what this Court
decided when it denied Microsoft’s motion concerning my clients.
Second, the three motions Google has brought to the Court’s attention are not the only motions that concern
my clients; there appear to be more similar motions coming, and we think it makes sense to hear all the issues
related to these third parties at the same time.
Third, Google also filed a motion in Delaware against another third party witness that my firm now represents
called Aqua Licensing, LLC. After Google lost on the transfer issue in the BP Funding and Terrier proceedings
in Delaware, it consented to the transfer of its motion against Aqua to Texas, which the Delaware court granted
(on 12/15/2021 Google’s motion against Aqua, D. Del. No. 1:21-mc-00443, became W.D. Tex. 6:21-mc-
01309). Unlike the three motions discussed above, the motion filed against Aqua was never fully briefed in
Delaware, so we will need some time to prepare a response on that one.
         Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 483 of 599



Finally, in addition to the four motions discussed above (three motions to compel filed by Google in Delaware,
and one for a protective order filed here by WSOU), my clients have also received similar (and, in some cases,
identical) subpoenas from other defendants being sued by WSOU in the Western District of Texas, including
ZTE, Dell, and HPE. At least one of these other defendants—ZTE, which served my clients with subpoenas
that were identical to the subpoenas served by Google—is threatening what might be a fifth motion on these
related issues. ZTE is currently insisting that it will not cooperate with Google in doing a single potential
deposition of Aqua unless Aqua, BP Funding, and Terrier all agree to waive all of their objections to all
documents and topics in the subpoenas that Google served on them and that ZTE then copied and served.
Accordingly, if counsel for the various different defendants sending my clients duplicative subpoenas are not
going to cooperate with respect to potential depositions of these third party subpoena recipients, then my
clients are going to file a motion to partially consolidate these cases for the limited purpose of certain third
party discovery to streamline further, related proceedings before this Court and hopefully save my client’s time,
money, and inconvenience in light of their position as uninvolved third parties.
In sum, my clients believe a continuance of a month or so is warranted because they would like to review
whatever can be unsealed with respect to what this Court has already decided about the issues involving my
clients in the Microsoft case (and Google should get to see it, too). If a hearing is still necessary, then we believe
all the issues relating to my third-party subpoena recipient clients, including a potential limited-purpose
consolidation, should be resolved at the same hearing where Google, ZTE, and any other party can argue why
the Court should rule differently than it did when it previously denied Microsoft’s motion to compel discovery
from WSOU related to BP Funding and Terrier.
                                                      Sincerely yours,
                                                      BEARD KULTGEN BROPHY
                                                      BOSTWICK & DICKSON, LLP

                                                      ________________________________________
                                                      Dan MacLemore


Cc(s):    Morgan Pietz (morgan@pstrials.com)
          Julie Goerlinger (julie@pstrials.com)
          Rob Millimet (Rob@stantonllp.com)
Co-Counsel for Non Party Subpoena Recipients BP Funding Trust, Terrier SSC, LLC and Aqua Licensing LLC.
          AND TO ALL COUNSEL OF RECORD IN WSOU v. GOOGLE LITIGATION
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    EXHIBIT 7
               Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 485 of 599


Morgan Pietz

From:                Jeffrey Gunnell <Jeffrey_Gunnell@txwd.uscourts.gov>
Sent:                Tuesday, December 21, 2021 1:03 PM
To:                  Mark Siegmund; Dan MacLemore
Cc:                  mikejones@potterminton.com; caribou@matters.warrenlex.com; WSOU-Google@jonesday.com;
                     WSOUPOTTER GROUP; IPTeam; CA-BrazosTrials@carterarnett.com; Morgan Pietz; Rob Millimet; Julie
                     Goerlinger; Admin; Diego Salazar; Suzanne Miles; Kristie Davis
Subject:             Re: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
                     6:20-cv-571, 6:20-cv-572, 6:20-cv-573, 6:20-cv-575, 6:20-cv-576, 6:20-cv-579, 6:20-cv-580, 6:20-
                     cv-583, 6:20-cv-584, and 6:20-cv-585


Counsel,

The Court will cancel the hearing set for Monday, December 27, 2021.

Please meet and confer and provide the Court with a narrowed set of issues in need of resolution thereafter.

Merry Christmas, Happy Holidays, and Happy New Year to all. We look forward to seeing you in the near future.

Many thanks,

Jeffrey R. Gunnell
Law Clerk to the Honorable Alan D Albright
United States District Court, Western District of Texas


From: Mark Siegmund <mark@swclaw.com>
Sent: Tuesday, December 21, 2021 12:46:00 PM
To: Dan MacLemore <maclemore@thetexasfirm.com>; Jeffrey Gunnell <Jeffrey_Gunnell@txwd.uscourts.gov>
Cc: mikejones@potterminton.com <mikejones@potterminton.com>; caribou@matters.warrenlex.com
<caribou@matters.warrenlex.com>; WSOU‐Google@jonesday.com <WSOU‐Google@jonesday.com>; WSOUPOTTER
GROUP <WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐BrazosTrials@carterarnett.com
<CA‐BrazosTrials@carterarnett.com>; Morgan Pietz <morgan@pstrials.com>; Rob Millimet <Rob@stantonllp.com>; Julie
Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos. 6:20‐cv‐571,
6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585

CAUTION - EXTERNAL:

Jeffrey,

WSOU does not oppose the one‐month continuance requested by third parties (PB Funding, Terrier, and Aqua).

Sincerely,
Mark




                                                           1
              Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 486 of 599




From: Dan MacLemore <maclemore@thetexasfirm.com>
Sent: Tuesday, December 21, 2021 1:13 PM
To: Jeffrey_Gunnell@txwd.uscourts.gov
Cc: mikejones@potterminton.com; caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER
GROUP <WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; Mark Siegmund
<mark@swclaw.com>; CA‐BrazosTrials@carterarnett.com; Morgan Pietz <morgan@pstrials.com>; Rob Millimet
<Rob@stantonllp.com>; Julie Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar
<salazar@thetexasfirm.com>
Subject: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos. 6:20‐cv‐571, 6:20‐
cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585

Jeffrey:

Please find attached a memo to Judge Albright regarding the above referenced matters that were set late last week for a
hearing next Monday. I will be filing notices of appearance as local counsel for the third parties (PB Funding, Terrier, and
Aqua) and motions to appear pro hac vice for the parties’ lead counsel, Morgan Pietz, later today. We are requesting a
continuance of the hearing set for next Monday as outlined in the memo.

Please feel free to reach out if you or Judge Albright have any questions or concerns.

Kindest regards,
Dan

Dan MacLemore


www.thetexasfirm.com
220 South Fourth Street
Waco, Texas 76701
Main (254) 776‐5500
Direct (254) 732‐5848
Cell (254) 733‐1828
Fax (254) 776‐3591
maclemore@thetexasfirm.com

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                                                               3
Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 488 of 599




    EXHIBIT 8
                Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 489 of 599


Morgan Pietz

From:                 Morgan Pietz
Sent:                 Thursday, January 6, 2022 12:26 PM
To:                   Mike Jones; Dan MacLemore; WSOUPOTTER GROUP; IPTeam; CA-BrazosTrials@carterarnett.com;
                      Rob Millimet; Julie Goerlinger; Admin; Diego Salazar; Suzanne Miles;
                      caribou@matters.warrenlex.com; WSOU-Google@jonesday.com; Kristie Davis; mark@swclaw.com;
                      Jim Etheridge; Ryan Loveless
Cc:                   mhatcher@sidley.com; cbutcher@sidley.com; Lavenue, Lionel; Schulz, Bradford;
                      bshelton@sheltoncoburn.com; ablythe@gibsondunn.com; Hartman, Sarah G.; Rousseau, Timothy J.
Subject:              RE: WSOU Investments - Limited Purpose Consolidation as to Certain Third Party Discovery
Attachments:          2021.01.06 - Proposed Order re Consolidation.pdf; 2021.12.21 Letter to Hon. Albright.pdf


To Counsel in the WSOU patent infringement cases pending against Google, ZTE, Dell, and HPE in the Western District of
Texas:

As you know, my office represents certain third parties that have been subpoenaed in connection with the above‐
mentioned cases. Please review the attached proposed order and advise as to whether your client will stipulate to it
being entered. If not, then my clients, with support from WSOU, will be moving forward with a motion asking that the
Court enter an order to this effect, which we will ask be heard at the same time as Google’s pending motions to compel
and WSOU’s motion for a protective order, which are mentioned in the body of the attached.

In addition to the proposed order itself, I am also attaching a letter to the Court from our local counsel, relating to the
setting of Google’s motions, in case you other defendants have not seen that exchange yet.

Please advise as to your clients’ positions. I am available to meet and confer with each of you this week.

Best regards,
Morgan

P.S. In addition to copying all recipients on the email chain from the Google case below, I have copied at least one
lawyer from each firm that is counsel of record in each of the low number cases for ZTE, Dell, and HPE, per PACER. But I
would ask anyone receiving this to please forward it on to other people on your team as may be appropriate.



From: Mike Jones <mikejones@potterminton.com>
Sent: Wednesday, January 5, 2022 8:30 AM
To: Morgan Pietz <morgan@pstrials.com>; Mike Jones <mikejones@potterminton.com>
Cc: Dan MacLemore <maclemore@thetexasfirm.com>; caribou@matters.warrenlex.com; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; IPTeam
<IPTeam@etheridgelaw.com>; CA‐BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie
Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>; Suzanne
Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>; mark@swclaw.com; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos. 6:20‐cv‐571,
6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585

Morgan –

This will confirm Friday at 1:00 pm CT. I will send a calendar invite and dial in shortly.
                                                               1
                    Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 490 of 599


Michael E. Jones

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-----------------------------A Professional Corporation
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telephone: 903.597.8311 ext. 239
Direct dial: 903.525.2239
facsimile: 903.593.0846
mikejones@potterminton.com




From: Morgan Pietz <morgan@pstrials.com>
Sent: Wednesday, January 5, 2022 10:17 AM
To: Mike Jones <mikejones@potterminton.com>
Cc: Dan MacLemore <maclemore@thetexasfirm.com>; caribou@matters.warrenlex.com; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; IPTeam
<IPTeam@etheridgelaw.com>; CA‐BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie
Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>; Suzanne
Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>; mark@swclaw.com; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: Re: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos. 6:20‐cv‐571,
6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585

Mike,

Friday at 11 am Pacific / 1 pm Central should work. If anyone has a conflict please advise now. I’m out of the office and
on my phone right now, so would you please be so kind as to circulate a calendar appt / dial in?

Best regards,
Morgan

Sent from my iPhone


           On Jan 5, 2022, at 7:41 AM, Mike Jones <mikejones@potterminton.com> wrote:


           Morgan,

           It is important we conduct this meet and confer this week. We are available from 9 am central until 3
           pm central time on Friday to conduct the meet and confer. Please confirm today what works in this
           window for you and the others on your side who intend to participate.


           Michael E. Jones
           POTTERMINTON
           -----------------------------A Professional Corporation
           Address: 110 North College, Suite 500; Tyler TX 75702
           direct dial: 903-525-2239
           direct fax: 903-531-3939
           office: 903-597-8311
           mikejones@potterminton.com


                                                                     2
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 491 of 599



From: Morgan Pietz <morgan@pstrials.com>
Sent: Tuesday, January 4, 2022 6:53 PM
To: Mike Jones <mikejones@potterminton.com>; Dan MacLemore <maclemore@thetexasfirm.com>
Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐
BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger
<julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>;
Suzanne Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>;
mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
6:20‐cv‐584, and 6:20‐cv‐585

Hi Mike,

I had hoped to have you a draft of a consolidation proposal by tomorrow. With the holidays, it is taking
just a little longer than I had hoped, but I do anticipate having the proposal ready to circulate to you by
end of the day tomorrow, Thursday morning at the very latest.

Re: an M&C call, I will work on clearing some times that work for me, my co‐counsel, my local counsel,
and with counsel for WSOU in the Google case and I’ll propose a few times tomorrow for Thursday
afternoon or on Friday. If there are any good windows either day that work for your team, please let me
know and I’ll start by clearing those times.

Best regards,
Morgan


Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
6700 S. Centinela Ave., 2nd Floor
Culver City, CA 90230
morgan@pstrials.com
(310) 424-5557

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From: Mike Jones <mikejones@potterminton.com>
Sent: Tuesday, January 4, 2022 4:00 PM
To: Morgan Pietz <morgan@pstrials.com>; Dan MacLemore <maclemore@thetexasfirm.com>
Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐
BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger
                                                     3
        Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 492 of 599

<julie@pstrials.com>; Mike Jones <mikejones@potterminton.com>; Admin <admin@pstrials.com>;
Diego Salazar <salazar@thetexasfirm.com>; Suzanne Miles <Suzanne_Miles@txwd.uscourts.gov>;
Kristie Davis <Kristie_Davis@txwd.uscourts.gov>; mark@swclaw.com; Jim Etheridge
<jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
6:20‐cv‐584, and 6:20‐cv‐585

Morgan and Dan –

I am confirming our meet and confer telephonic conference tomorrow at 11:00 a.m. CT as discussed in
the email below. Please confirm your attendance and I will send dial in information first thing in the
morning.

Thanks so much.

Michael E. Jones

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-----------------------------A Professional Corporation
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telephone: 903.597.8311 ext. 239
Direct dial: 903.525.2239
facsimile: 903.593.0846
mikejones@potterminton.com




From: Mike Jones
Sent: Thursday, December 23, 2021 12:07 PM
To: Morgan Pietz <morgan@pstrials.com>; Dan MacLemore <maclemore@thetexasfirm.com>
Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐
BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger
<julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>;
Suzanne Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>;
mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
6:20‐cv‐584, and 6:20‐cv‐585

Morgan and Dan,

Thanks for your quick response. Google is available to meet and confer on January 5, 2022 at 11:00 am
central time, please confirm that this works for your team. At this time, we do not see the need to
include other third parties in a meet and confer on motions filed by Google, or by WSOU based on
subpoenas served by Google. We will take a look at the consolidation proposal once provided to us and
can reassess at that time if it makes sense to invite others into our discussion. As to the request
concerning unsealing of the hearing transcript in the Microsoft matter, Google does not oppose any
such request but does not agree that doing so is necessary for the Court to hear argument and resolve
the three pending motions at hand.

Happy Holidays.
                                                          4
        Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 493 of 599



Michael E. Jones

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telephone: 903.597.8311 ext. 239
Direct dial: 903.525.2239
facsimile: 903.593.0846
mikejones@potterminton.com




From: Morgan Pietz <morgan@pstrials.com>
Sent: Wednesday, December 22, 2021 6:07 PM
To: Mike Jones <mikejones@potterminton.com>; Dan MacLemore <maclemore@thetexasfirm.com>
Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐
BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger
<julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>;
Suzanne Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>;
mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
6:20‐cv‐584, and 6:20‐cv‐585

Hi Mike,

We are available to meet and confer with you on this anytime January 5th or later.

Between now and then, I plan to circulate a proposal as to consolidation of certain WSOU cases for the
limited purpose of third party discovery. Which, as Dan indicated in his letter, is something we’d like to
see resolved at the same time as Google’s three motions to compel (all recently transferred in from
Delaware) and WSOU’s motion for a protective order (filed in W.D. Tex. originally). I’d like for you to
have a chance to review the particulars of our proposal, which I will be working on next week, and for us
to confer about that on the same call.

Query whether you’d like counsel for ZTE, Dell, and HPE to also participate in the call, since they have
also all subpoenaed my clients, and some of them are writing meet and confer letters threatening still
further motions related to my clients (beyond the six or seven already‐filed motions I can count so
far)? They’ll need to be a part of the consolidation discussion, in any event, but I’m happy to have a
separate call with only Google first, if you so desire.

Further, can I assume that Google will join in our request that WSOU and Microsoft un‐seal the relevant
discovery tables and excerpts of the transcript from the sealed hearing at which Microsoft’s motion to
compel discovery related to BP Funding and Terrier was denied? When Ms. Kash and I argued the
motions to compel in Delaware, we did so without being able to explain to Judge Burke exactly what
was at issue and what was decided in the Microsoft proceedings. I don’t believe it makes sense for us to
have another hearing on these issues without knowing exactly what was decided in Microsoft and it
being clear for all to see and discuss. I presume Google agrees?



                                                          5
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Please stay tuned for a proposal from me as to consolidation. Let me know whether Google joins in our
request as to unsealing the Microsoft proceedings related to my clients. And I look forward to speaking
with you in the new year.

Best regards,
Morgan



Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
6700 S. Centinela Ave., 2nd Floor
Culver City, CA 90230
morgan@pstrials.com
(310) 424-5557

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From: Mike Jones <mikejones@potterminton.com>
Sent: Wednesday, December 22, 2021 1:51 PM
To: Dan MacLemore <maclemore@thetexasfirm.com>
Cc: Mike Jones <mikejones@potterminton.com>; caribou@matters.warrenlex.com; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; IPTeam
<IPTeam@etheridgelaw.com>; CA‐BrazosTrials@carterarnett.com; Morgan Pietz
<morgan@pstrials.com>; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger <julie@pstrials.com>;
Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>; Suzanne Miles
<Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>;
mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
6:20‐cv‐584, and 6:20‐cv‐585

Mr. MacLemore:

Good afternoon. I am sending this email to all recipients of Jeffrey Gunnell’s email of December 21,
2021 at 3:30 p.m., as well as to Jim Etheridge and Ryan Loveless. If any recipient feels it should be
forward to someone else, please let me know and I will be happy to do so.

As you know, in Mr. Gunnell’s email, the Court instructed us to meet and confer regarding: (1) Google’s
motions to compel BP Funding Trust and Terrier SSC, LLC; and (2) WSOU’s motion for protective
order. We are available on December 28 between 9:00 a.m. and noon CST, December 29 between
11:00 a.m. and 2:00 p.m. CST, and December 30 between 9:00 a.m. and 2:00 p.m. CST.

Please let us know when you are available during this time.


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Thank you.

Michael E. Jones

POTTERMINTON
-----------------------------A Professional Corporation
110 North College, Suite 500; Tyler TX 75702
telephone: 903.597.8311 ext. 239
Direct dial: 903.525.2239
facsimile: 903.593.0846
mikejones@potterminton.com




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    EXHIBIT 9
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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


WSOU INVESTMENTS, LLC D/B/A             Case Numbers:
BRAZOS LICENSING AND DEVELOPMENT,       6:20-cv-00473-ADA*
                                        6:20-cv-00474-ADA
          Plaintiff,                    6:20-cv-00475-ADA
                                        6:20-cv-00476-ADA
     v.                                 6:20-cv-00477-ADA
                                        6:20-cv-00478-ADA
DELL TECHNOLOGIES INC., DELL INC.,      6:20-cv-00479-ADA
EMC CORPORATION, AND VMWARE, INC.,      6:20-cv-00480-ADA
                                        6:20-cv-00481-ADA
          Defendants.
                                        6:20-cv-00482-ADA
                                        6:20-cv-00485-ADA
                                        6:20-cv-00486-ADA


WSOU INVESTMENTS, LLC D/B/A             Case Numbers:
BRAZOS LICENSING AND DEVELOPMENT,       6:20-cv-00487-ADA*
                                        6:20-cv-00488-ADA
          Plaintiff,                    6:20-cv-00489-ADA
                                        6:20-cv-00490-ADA
     v.                                 6:20-cv-00491-ADA
                                        6:20-cv-00492-ADA
ZTE CORPORATION,                        6:20-cv-00493-ADA
                                        6:20-cv-00494-ADA
          Defendant.
                                        6:20-cv-00495-ADA
                                        6:20-cv-00496-ADA
                                        6:20-cv-00497-ADA


WSOU INVESTMENTS, LLC D/B/A             Case Numbers:
BRAZOS LICENSING AND DEVELOPMENT,       6:20-cv-00571-ADA*
                                        6:20-cv-00572-ADA
          Plaintiff,                    6:20-cv-00573-ADA
                                        6:20-cv-00575-ADA
     v.                                 6:20-cv-00576-ADA
                                        6:20-cv-00579-ADA
GOOGLE, LLC,                            6:20-cv-00580-ADA
                                        6:20-cv-00583-ADA
          Defendant.
                                        6:20-cv-00584-ADA
                                        6:20-cv-00585-ADA
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 498 of 599




WSOU INVESTMENTS, LLC D/B/A                         Case Numbers:
BRAZOS LICENSING AND DEVELOPMENT,                   6:20-cv-00725-ADA*
                                                    6:20-cv-00726-ADA
               Plaintiff,                           6:20-cv-00728-ADA
                                                    6:20-cv-00730-ADA
       v.                                           6:20-cv-00783-ADA
HEWLETT PACKARD ENTERPRISE
COMPANY,

               Defendant.


                  [PROPOSED] ORDER GRANTING CONSOLIDATION
                      AS TO CERTAIN NON-PARTY DISCOVERY

       WHEREAS the Court has certain similar patent infringement matters pending before it

brought by plaintiff WSOU, including the particular cases set forward on the caption above (the

“Cases Proposed for Consolidation”);

       WHEREAS the defendants in certain of the WSOU cases, including the defendants in the

particular cases set forward on the caption above, have sought discovery from some of the same

non-parties, including by serving subpoenas for documents and testimony on non-parties BP

Funding Trust; BasePoint Administrative, LLC; Terrier SSC, LLC; and/or Aqua Licensing, LLC

(the “Requesting Non-Parties”);

       WHEREAS this Court has previously addressed discovery issues related to some of the

Requesting Non-Parties, and certain of the defendants in the Cases Proposed for Consolidation

have filed discovery motions addressed to similar issues, while other defendants in the Cases

Proposed for Consolidation have sought to meet and confer with the Requesting Non-Parties as

to their objections to the subpoenas they have been served with.

       WHEREAS the Requesting Non-Parties have requested, and the plaintiff WSOU has

agreed, that the defendants in the Cases Proposed for Consolidation should coordinate with




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     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 499 of 599




respect to the documents they are seeking, the depositions they want to take of the Requesting

Non-Parties, and with respect to the discovery motions they have brought or are contemplating

bringing, which such coordination and cooperation the Requesting Non-Parties and WSOU have

asked the Court to order, pursuant to Federal Rules of Civil Procedure, Rule 42 (consolidation)

and Rule 26(c) (discovery protective order).

       WHEREAS the defendants in the Cases Proposed for Consolidation have [agreed to /

opposed] the Requesting Non-Parties’ and WSOU’s request, and the Court, after due

consideration of the parties’ filings and arguments, hereby GRANTS the request for

consolidation pursuant to Rule 42 and for a protective order pursuant to Rule 26(c), for good

cause shown, as follows:

       1.      Consolidation and Protective Order. Each of the Cases Proposed for

Consolidation listed on the caption of this order are hereby CONSOLIDATED, per Fed. R. Civ.

P. 42, solely for the limited purposes set out below. This Order is not a general purpose

consolidation and it applies to third party discovery to the Requesting Non-Parties only, not to

party discovery, and not to trial. To the extent this Order limits or changes the usual course of

discovery, it shall be deemed a protective order, which is hereby ENTERED on the terms set out

below, per Fed. R. Civ. P. 26(c).

       2.      Future Filings. The low-number case as to each different defendant (indicated by

bold typeface and an asterisk on the caption above) shall hereby become designated as a “Lead

Case” for the purposes of any proceedings or other filings made under this Order. If any party

desires to file with the Court any motion or other document that is subject to or related to this

Order, that party shall file it only in each of the four Lead Cases (and not in every different case

number that is subject to this Order).




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       3.      Documents. To the extent that a Requesting Non-Party has produced documents,

or produces documents in the future, in response to a subpoena from any of the defendants in

these consolidated cases, such Requesting Non-Party shall hereby be allowed to produce the

same set of documents to the other defendants subject to this Order that have already served or

who in the future serve subpoenas for documents to such Requesting Non-Party. If a Requesting

Non-Party designates any documents pursuant to a protective order (e.g., as “CONFIDENTIAL”

or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) in one case, then the same designation

shall hereby automatically be deemed to apply in the other cases and as to the other defendants

subject to this Order. The foregoing procedure is without prejudice to, and is not intended to

resolve, the Requesting Non-Parties’ objections to the document requests, including their

objections that documents should more appropriately be sought from WSOU than from the

Requesting Non-Parties.

       4.      Depositions. Prior to any Requesting Non-Parties appearing for a deposition in

connection with any of these consolidated cases, the following procedures shall apply: the

defendants in the consolidated cases are ordered to confer with each other, review the Court’s

relevant prior discovery rulings in any of the consolidated cases and in the prior WSOU v.

Microsoft cases (to the extent such rulings and proceedings may become unsealed), and agree on

a single, consolidated list of deposition topics as to each Requesting Non-Party. The Court

hereby imposes a limit that there can be a maximum of a single, seven-hour deposition of each

Requesting Non-Party, at which the defendants who have issued subpoenas for depositions to

such Requesting Non-Party must cooperate in conducting their examination. If any party

believes it needs more time to cover special topics unique to its case, then, prior to the single

deposition, it may apply to the Court for extra time for its special line of questions. Any




                                                  4
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deposition of a Requesting Non-Party taken pursuant to this Order will be usable in all of the

cases consolidated pursuant to this Order in which a subpoena for deposition has been issued to

such Requesting Non-Party. The foregoing procedure is without prejudice to, and is not intended

to resolve, the Requesting Non-Parties’ objections to being deposed at all and to the noticed

topics.

          5.   Discovery Proceedings. With respect to any future discovery proceedings related

to the Requesting Non-Parties or otherwise subject to this Order—proceedings which

specifically include the motions to compel filed by Google in the District of Delaware, which

have been transferred to this district and assigned case numbers 6:21-mc-1269, 6:21-mc-1270,

and 6:21-mc-1309, in the Western District of Texas, and WSOU’s motion for a protective order

filed in the Google cases (together, the “Google Motions”)—the parties in the consolidated cases

shall cooperate and coordinate with respect to briefing and argument. And whatever the Court

decides with respect to a discovery issue decided under this Order shall apply to the other cases

that are or that may become subject to this Order.

          6.   Hearing on the Google Motions. Hearing on the Google Motions is hereby set for

____________________________________________________. All parties subject to these

consolidated proceedings are invited to participate in the hearing on the Google Motions and will

be bound by what the Court decides. Any defendant other than Google that wishes to be heard at

the hearing on the Google Motions, such as to support Google’s position or argue that its own

subpoenas to the Requesting Non-Parties should be treated differently, is invited to file a single

brief of five pages or less by _________________________. WSOU and the Requesting Non-

Parties may then each file a single brief, of five pages or less, responding to the other defendants’

briefs by _______________________________.




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       7.      Expansion of this Order to Include Additional Defendants. WSOU and the

Requesting Non-Parties may apply to the Court, for good cause shown, to include within the

scope of this Order additional defendants and cases before this Court in which discovery is open.

Any defendant proposed to be included within this order may object to such a request and argue

why there are special facts giving rise for a need to obtain additional or different discovery from

the Requesting Non-Parties on topics different from the topics covered by prior defendants.

However, if the Court grants the request to include an additional defendant within the scope of

this order, then any documents or deposition testimony previously produced pursuant to this

order shall be produced to that new defendant pursuant to this Order, in full satisfaction of the

Requesting Non-Parties’ discovery obligations to that new defendant, subject, however, to any

conditions or extra discovery allowed or imposed by the Court at that time.

       IT IS SO ORDERED.



DATED: _________________              BY:     __________________________________________
                                              Honorable Alan D. Albright
                                              United States District Judge




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 EXHIBIT 10
              Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 504 of 599


Morgan Pietz

From:                 Lavenue, Lionel <lionel.lavenue@finnegan.com>
Sent:                 Friday, January 7, 2022 7:11 PM
To:                   Morgan Pietz
Cc:                   Hines, Lisa; Schulz, Bradford; Jim Etheridge; Ryan Loveless; Rob@stantonllp.com; Travis Richins;
                      Brett@etheridgelaw.com; jhuang@etheridgelaw.com; Julie Goerlinger; maclemore@thetexasfirm.com
Subject:              Fourth Attempt, Urgent, WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND DEVELOPMENT
                      v. ZTE CORPORATION - FOR SERVICE


Morgan,

ZTE has not filed any motion to compel. What motion are you referring to? ZTE is not part of any of Google’s motions to
compel (whether any remaining ones in the District of Delaware, or any that were transferred to the WDTX). Nor was
ZTE part of any motions by Microsoft. None of those motions are by ZTE and none of them are pending in the ZTE cases.

As previously noted, ZTE filed its own subpoenas on Aqua, BP, and Terrier with respect to the District of Delaware. You
continue to refuse to provide your position in view of the persuasive District of Delaware law, and you refuse to provide
legal support for withholding production. And it is also our understanding that you refuse to produce
documents/testimony in accordance with the subpoenas. Thus, if need be, we will proceed accordingly in the
appropriate District of Delaware.

Regarding your letter to the WDTX Court, we will further evaluate and address that directly if need be—given your
refusal to meet‐and‐confer after more than three attempts.

Have a good night,

Lionel

From: Morgan Pietz <morgan@pstrials.com>
Sent: Friday, January 7, 2022 9:17 PM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim Etheridge
<jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com; Travis Richins
<travis@etheridgelaw.com>; Brett@etheridgelaw.com; jhuang@etheridgelaw.com; Julie Goerlinger
<julie@pstrials.com>; maclemore@thetexasfirm.com
Subject: Re: Third Attempt, Urgent, WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND DEVELOPMENT v. ZTE
CORPORATION ‐ FOR SERVICE

EXTERNAL Email:

Lionel, the motion is now pending in Texas.

Enjoy your weekend.

Sent from my iPhone


         On Jan 7, 2022, at 6:14 PM, Lavenue, Lionel <lionel.lavenue@finnegan.com> wrote:


                                                            1
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Morgan,

Please provide support for your position that “Delaware district court orders are not controlling as to
anything.”

Note, that we issued three subpoenas (one to each of Aqua, BP, and Terrier). At least two of these
entities (BP and Terrier) are Delaware entities. The subpoena for BP was sent to BP Funding Trust at
Wilmington Savings Fund Society, FSB, 500 Delaware Avenue, 11th Floor, Wilmington, Delaware 19801;
and the subpoenas for Terrier was sent to Terrier SSC LLC at VCORP Services, LLC, 1013 Centre Road,
Suite 403‐B, Wilmington, Delaware 19805.

Again, it is our understanding that at least BP and Terrier are Delaware entities. As such, as third‐parties,
the WDTX court does not have jurisdiction over BP and Terrier to compel production—the District of
Delaware does. Thus, the District of Delaware law is very persuasive for a pending motion to compel in
Delaware.

So again—as requested a month ago in our December 8, 2021 letters—please provide your positions on
the referenced District of Delaware case law. As you can see, the case law is very relevant to the issues
at hand and whether Aqua, BP, and Terrier should produce the requested documents/testimony.

Regards,

Lionel

From: Morgan Pietz <morgan@pstrials.com>
Sent: Friday, January 7, 2022 8:42 PM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com;
Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com; JHuang@etheridgelaw.com; Julie
Goerlinger <julie@pstrials.com>; maclemore@thetexasfirm.com
Subject: RE: Third Attempt, Urgent, WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND
DEVELOPMENT v. ZTE CORPORATION ‐ FOR SERVICE

EXTERNAL Email:

Lionel,

If you won’t respond to me with an answer about whether ZTE agrees to specific consolidation proposal
I have now circulated, please address that question in any communication you feel compelled to send to
the Court and include this entire email thread in your submission. I don’t think doing so on you part is
necessary or appropriate for the reasons I’ve already explained below, but if you feel differently, go
ahead and do what you think needs to be done. If you are going to quote from Dan’s letter to the Court,
might I suggest that you please include the full sentence you are complaining about, instead of placing a
period where an ellipsis belongs and neglecting to mention the part where he continues on two write
“unless” X, Y and Z, as you have done in your most‐recent, third urgent email on this topic. I’ve stated
our position and don’t think any further back and forth on this topic will be helpful.

As to your other point, I’ve already explained in some detail in my lengthy letter to you of December 16
why we don’t think the requested discovery is relevant enough to justify the ongoing burden being
imposed by my clients, among other objections that were timely made. Delaware district court orders
                                                      2
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are not controlling as to anything, but I would suggest that you can feel free to make whatever
arguments you want to make in this regard in the supplemental brief that I have proposed that you
should have a chance to file, should you choose to do so.

I’m available to discuss all this with you next week, but would prefer if we can get all the relevant
defense counsel on the line at once. And I would appreciate it if you could please provide at least a
preliminary response as to whether ZTE will agree to the proposed order I circulated yesterday, before
we conduct any such call.

Best regards,
Morgan

From: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Sent: Friday, January 7, 2022 5:16 PM
To: Morgan Pietz <morgan@pstrials.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com;
Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com; JHuang@etheridgelaw.com; Julie
Goerlinger <julie@pstrials.com>; maclemore@thetexasfirm.com
Subject: Third Attempt, Urgent, WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND
DEVELOPMENT v. ZTE CORPORATION ‐ FOR SERVICE

Morgan,

ZTE never “insist[ed] that it will not cooperate.” Your letter says that, and it’s just wrong. It requires
correction with the Court.

Further, and so we may access if/how to take this issue to the Court, please either provide your
availability for a meet and confer between you and co‐counsel, and counsel for ZTE as requested, or
confirm that you refuse to do so.

As for your requests, we still await all three positions (from Aqua, BP, and Terrier) regarding the District
of Delaware case law—as detailed in our December 8, 2021 letters—permitting the as‐requested
discovery. For example, the requested documents and testimony are relevant to the issues of valuation,
damages, royalty rates, and pre‐suit investigations. Acceleration Bay LLC v. Activision Blizzard, Inc., No.
CV 16‐453‐RGA, 2018 WL 798731, at *3 (D. Del. Feb. 9, 2018) (finding that discovery over third‐parties,
even third‐parties with security interests, is proper as discovery “may be relevant to central issues like
validity and infringement, valuation, damages, royalty rates, pre‐suit investigative diligence, and
whether [Plaintiff] is an operating company,” and that “common sense” confirms the documents
request relevancy). Your December 16, 2021 letter and subsequent communications failed to address
this case law.

Please provide your positions on the Delaware case law so we can properly consider your positions—as
you only just recently formed the specifics “of exactly what [you were] proposing,” as of yesterday
(despite submitting a letter to the Court on December 21, 2021 without our consideration).

Regards,

Lionel

From: Morgan Pietz <morgan@pstrials.com>
Sent: Friday, January 7, 2022 6:44 PM
                                                       3
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To: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com;
Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com; JHuang@etheridgelaw.com; Julie
Goerlinger <julie@pstrials.com>; maclemore@thetexasfirm.com
Subject: RE: Follow‐Up, Second Attempt, Urgent, WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING
AND DEVELOPMENT v. ZTE CORPORATION ‐ FOR SERVICE

EXTERNAL Email:

Lionel,

I am in receipt of your “Urgent” message of yesterday evening in which you “demand[ed] immediate
correction” of what you style as an “errored submission” to Judge Albright, such that you asked me to
“Please confirm by January 7, 2022,”—i.e., by today—"that you will inform the Court of the error, and
that you will correct the misrepresentations.” Thank you, as well, for your follow‐up message of 12:42
p.m. this afternoon demanding to set a call on Monday or Tuesday “so we may discuss the means of
correction of Aqua/BP/Terrier’s statements about ZTE in its December 21, 2021 letter to the Court.”

The letter you are complaining about, my co‐counsel Dan MacLemore’s letter to the Court of December
21, 2021, was accurate. So there is nothing to correct. In your email to me of December 18, 2021 (which
is reproduced down below on this chain), you stated as follows:

                  “Morgan,

                  As you know, ZTE and the other defendants (including Google) are all separate entities
                  in separate cases and, as such, are under no obligation to coordinate discovery efforts.

                  Nevertheless, ZTE is willing to coordinate with Google if Aqua, BP, and Terrier are
                  likewise willing to coordinate in full compliance and in all aspects of ZTE’s subpoenas—
                  including document collections/productions and depositions.

                  Once we have your confirmation that Aqua, BP, and Terrier will waive its non‐privilege
                  objections (with rights to demand log, by ZTE) and will comply with the subpoenas in
                  entirety for document collection and depositions—including producing already
                  collected documents being withheld (as well as any relevant documents beyond those
                  of the Plaintiff WSOU)—then ZTE is willing to coordinate with Google on depositions.

                  Regards,
                  Lionel”

(Emphasis added).

If you nevertheless feel compelled to raise this issue with Judge Albright, I would ask that you please
include the entirety of this email chain as part of your submission and copy my local counsel Dan
MacLemore (now cc’d).

Perhaps a better use of our time communicating with one another might be to establish whether ZTE
will actually now agree to coordination and consolidation, along the lines detailed in my proposed order
to that effect that I sent to you yesterday? I had refrained from reaching out to ZTE on this issue
previously because I wanted you to have the specifics of exactly what I was proposing, which is what I
sent you yesterday, just as soon as the proposed order was ready to go.

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If the other three defendants agree to my proposed order that I circulated yesterday, would ZTE also
agree to it? Or is all three of my clients dropping all their objections (privilege or otherwise) still a pre‐
condition you are going to insist upon before agreeing to coordinate as to a deposition of Aqua?
Obviously, that position is a non‐starter.

And if ZTE would like to participate in the hearing on the “Google Motions,” which, of course, are
addressed to identical subpoenas to those served by ZTE, could you please let me know the date by
which you will be prepared to submit the supplemental brief, as envisioned in the proposed order, if
indeed you wish to do so?

Judge Albright already decided the issues related to my clients the first time around in the Microsoft
case. Google is now re‐treading the same ground with its own pending motions that have now ventured
before three different judges in two different courts. I see no reason why ZTE should be entitled to
burden my clients and the Court with what is, in effect, a third bite at the same apple, and what would
be a fifth or a sixth motion – I’ve lost count.

I think an appropriate next step here is to get a preliminary response from all four defendants that are
part of the consolidation proposal, and then have a meet and confer call with counsel for all four
defendants, so we can determine if my consolidation proposal will need to be presented to the Court as
a stipulation or as a motion.

I’ll look forward to your response and have a nice weekend.

Best regards,
Morgan


Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
6700 S. Centinela Ave., 2nd Floor
Culver City, CA 90230
morgan@pstrials.com
(310) 424-5557

WE HAVE MOVED. PLEASE NOTE OUR NEW OFFICE MAILING ADDRESS


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immediately at the telephone number above.


From: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Sent: Friday, January 7, 2022 12:43 PM
To: Morgan Pietz <morgan@pstrials.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com;
Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com; JHuang@etheridgelaw.com; Julie
Goerlinger <julie@pstrials.com>


                                                        5
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Subject: Follow‐Up, Second Attempt, Urgent, WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND
DEVELOPMENT v. ZTE CORPORATION ‐ FOR SERVICE

Morgan,

You have not confirmed that you will inform the Court of your error and statements in your December
21, 2021 letter.

Please provide your availability for a meet‐and‐confer on Monday or Tuesday, January 10‐11, 2022, so
we may discuss the means of correction of Aqua/BP/Terrier’s statements about ZTE in its December 21,
2021 letter to the Court.

Regards,

Lionel

From: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Sent: Thursday, January 6, 2022 8:56 PM
To: Morgan Pietz <morgan@pstrials.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com;
Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com; JHuang@etheridgelaw.com; Julie
Goerlinger <julie@pstrials.com>
Subject: Urgent, WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND DEVELOPMENT v. ZTE
CORPORATION ‐ FOR SERVICE
Importance: High

Morgan,

We write to address your errored submission to Judge Albright in your December 21, 2021 letter.

First, we remind you that ZTE is not privy to the communications and filings for the cases involving
Google. ZTE and Google are unrelated entities. And none of the cases brought by WSOU against Google
involve ZTE, nor do any of the cases brought by WSOU against ZTE involve Google. In fact, none of the
WSOU asserted patents overlap between the two cases. As such, making erred submissions—including
erred statements—to the Court without including ZTE’s counsel in the communications is extremely
improper. Your December 21, 2021 letter to Judge Albright includes multiple characterizations and
representations pertaining to our client, ZTE, yet you only just now, January 6, 2022, provided us with
notice of this communication. ZTE is not associated with Case Nos. 6:20‐cv‐0571, etc. (as referenced in
your December 21, 2021 letter), thus please refrain from including statements about ZTE in such
communications (certainly without our knowledge).

Second, your statements about ZTE are incorrect and we demand immediate correction of your specific
erred statements. In your December 21, 2021, letter, you state to the Court that:

         “ZTE is currently insisting that it will not cooperate with Google in doing a single potential
         deposition of Aqua unless Aqua, BP Funding, and Terrier all agree to waive all of their objections
         to all documents and topics in the subpoenas that Google served on them and that ZTE then
         copied and served.”

ZTE never refused to cooperate, or “insist[ed] that it will not cooperate with Google.” Your December
21, 2021, letter to the Court clearly misstates ZTE’s statements, and as addressed above, you failed to
                                                     6
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 510 of 599

provide ZTE notice of such communications the Court in the first place. This is improper, and we require
immediate correction and notice to the Court of these incorrect statements.

Please confirm by January 7, 2022, that you will inform the Court of the error, and that you will correct
the misrepresentations. Otherwise, ZTE will have to address this issue with the Court.

Regards,

Lionel



From: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Sent: Saturday, December 18, 2021 10:15 AM
To: Morgan Pietz <morgan@pstrials.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com;
Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com; JHuang@etheridgelaw.com; Julie
Goerlinger <julie@pstrials.com>
Subject: WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND DEVELOPMENT v. ZTE CORPORATION
‐ FOR SERVICE

Morgan,

As you know, ZTE and the other defendants (including Google) are all separate entities in separate cases
and, as such, are under no obligation to coordinate discovery efforts.

Nevertheless, ZTE is willing to coordinate with Google if Aqua, BP, and Terrier are likewise willing to
coordinate in full compliance and in all aspects of ZTE’s subpoenas—including document
collections/productions and depositions.

Once we have your confirmation that Aqua, BP, and Terrier will waive its non‐privilege objections (with
rights to demand log, by ZTE) and will comply with the subpoenas in entirety for document collection
and depositions—including producing already collected documents being withheld (as well as any
relevant documents beyond those of the Plaintiff WSOU)—then ZTE is willing to coordinate with Google
on depositions.

Regards,

Lionel

From: Morgan Pietz <morgan@pstrials.com>
Sent: Friday, December 17, 2021 5:13 PM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com;
Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com; JHuang@etheridgelaw.com; Julie
Goerlinger <julie@pstrials.com>
Subject: RE: WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND DEVELOPMENT v. ZTE
CORPORATION ‐ FOR SERVICE

EXTERNAL Email:

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     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 511 of 599

Mr. Lavenue,

Could you please let me know on Monday whether ZTE is generally on board with the request in my
letter of yesterday morning, asking that ZTE agree to coordinate any potential deposition of Aqua with,
at a minimum, Google, if not other defendants as well?

Happy to discuss if you think that would be helpful. Have a nice weekend.

Best regards,
Morgan


Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
6700 S. Centinela Ave., 2nd Floor
Culver City, CA 90230
morgan@pstrials.com
(310) 424-5557

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From: Morgan Pietz
Sent: Thursday, December 16, 2021 10:12 AM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Cc: Hines, Lisa <Lisa.Hines@finnegan.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>; Rob@stantonllp.com;
Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com; JHuang@etheridgelaw.com; Julie
Goerlinger <julie@pstrials.com>
Subject: RE: WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND DEVELOPMENT v. ZTE
CORPORATION ‐ FOR SERVICE

Counsel,

Please find attached a response to the two letters attached to the email below, and to the similar letter
of the same date sent to Mr. Richins.

Best regards,
Morgan


Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
6700 S. Centinela Ave., 2nd Floor
Culver City, CA 90230
morgan@pstrials.com

                                                    8
           Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 512 of 599

(310) 424-5557

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immediately at the telephone number above.


From: Hines, Lisa <Lisa.Hines@finnegan.com>
Sent: Wednesday, December 8, 2021 1:41 PM
To: Julie Goerlinger <julie@pstrials.com>; Lavenue, Lionel <lionel.lavenue@finnegan.com>; Schulz,
Bradford <Bradford.Schulz@finnegan.com>; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com;
JHuang@etheridgelaw.com
Cc: Morgan Pietz <morgan@pstrials.com>; Rob@stantonllp.com
Subject: RE: WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND DEVELOPMENT v. ZTE
CORPORATION ‐ FOR SERVICE

Counsel,

Please find attached the following documents:

           Letter from L. Lavenue to M. Pietz re BP Funding Trust's Responses and Objections to Requests
            for Production and Corresponding Deposition Topics
           Letter from L. Lavenue to M. Pietz re Terrier SSC, LLC's Responses and Objections to Requests for
            Production and Corresponding Deposition Topics

Regards,

Lisa

Lisa Hines
Senior Litigation Legal Assistant
Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
1875 Explorer Street, Suite 800, Reston, VA 20190-6023
571.203.2743| cell 202.236.1267| fax 202.408.4400|
lisa.hines@finnegan.com | www.finnegan.com




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From: Julie Goerlinger <julie@pstrials.com>
Sent: Monday, November 8, 2021 4:33 PM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>; Schulz, Bradford
<Bradford.Schulz@finnegan.com>; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Travis Richins <travis@etheridgelaw.com>; Brett@etheridgelaw.com;
JHuang@etheridgelaw.com

                                                                     9
                   Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 513 of 599

           Cc: Morgan Pietz <morgan@pstrials.com>; Rob@stantonllp.com
           Subject: WSOU INVESTMENTS, LLC d/b/a BRAZOS LICENSING AND DEVELOPMENT v. ZTE CORPORATION
           ‐ FOR SERVICE

           EXTERNAL Email:

           Counsel,

           Attached for service are (i) BP Funding Trust's Responses and Objections to Requests for
           Production and Corresponding Deposition Topics; and, (ii) Terrier SSC, LLC's Responses and
           Objections to Requests for Production and Corresponding Deposition Topics.

           Regards.

           Julie Goerlinger
           PIETZ & SHAHRIARI, LLP
           9454 Wilshire Blvd., Suite #310
           Beverly Hills, CA 90212
           Direct: (714)925-3989
           Tel: (310)424-5557
           Fax: (310)597-4626
           E-mail: julie@pstrials.com




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your mailbox. Thank you.




                                                                                  10
Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 514 of 599




 EXHIBIT 11
              Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 515 of 599


Morgan Pietz

From:                 Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Sent:                 Friday, January 21, 2022 10:48 AM
To:                   Franzinger, Michael; Morgan Pietz; jen@warrenlex.com; Rosenthal, Brian A.; Schulz, Bradford
Cc:                   Mark Siegmund; Admin; CA-BrazosTrials@carterarnett.com; Hatcher, Michael D.; Dan MacLemore;
                      Diego Salazar; Hartman, Sarah G.; Kathir, Allen; IPTeam; Jim Etheridge; Julie Goerlinger;
                      mikejones@potterminton.com; Rob Millimet; Rousseau, Timothy J.; bshelton@sheltoncoburn.com;
                      Ryan Loveless; Schulz, Bradford; WSOU-Google@jonesday.com; Sabanoglu, Kyanna; Jen Kash;
                      WSOUPOTTER GROUP; caribou@matters.warrenlex.com; Butcher, Callie; *** GDC-Dell_WSOU;
                      jbennett@carterarnett.com; sbreedlove@carterarnett.com; Lionel.Lavenue@finnegan.com; Lecaroz,
                      Rebecca MacDowell; Mian, Haroon N.
Subject:              RE: WSOU Investments - Limited Purpose Consolidation as to Certain Third Party Discovery


Morgan,

We confirmed with our client and are willing to join Google’s motion to compel discovery from BasePoint. Please include us on any
further correspondence with the Court regarding approval for your proposal that Dell submit supplemental briefing next week and
participate in any oral hearing.

Best,

Andrew Blythe

GIBSON DUNN
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3161 Michelson Drive, Irvine, CA 92612-4412
Tel +1 949.451.3926 • Fax +1 949.475.4630
ABlythe@gibsondunn.com • www.gibsondunn.com




From: Blythe, Andrew Philip
Sent: Thursday, January 20, 2022 8:54 PM
To: 'Franzinger, Michael' <mfranzinger@sidley.com>; Morgan Pietz <morgan@pstrials.com>; jen@warrenlex.com;
Rosenthal, Brian A. <BRosenthal@gibsondunn.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com; Hatcher,
Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; Kathir, Allen
<AKathir@gibsondunn.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>; Julie
Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet <Rob@stantonllp.com>; Rousseau,
Timothy J. <TRousseau@brownrudnick.com>; bshelton@sheltoncoburn.com; Ryan Loveless <ryan@etheridgelaw.com>;
Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com; Sabanoglu, Kyanna
<KSabanoglu@gibsondunn.com>; Jen Kash <jen@warrenlex.com>; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; ***
GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com;
Lionel.Lavenue@finnegan.com; Lecaroz, Rebecca MacDowell <rlecaroz@brownrudnick.com>; Mian, Haroon N.
<HMian@brownrudnick.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

Morgan,

                                                                1
               Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 516 of 599

We do not agree to join your motion to consolidate.

With respect to Aqua Licensing, you indicated that Aqua intends to make two additional document productions which you
represented will be complete by February 4, 2022. As we told you today, once Aqua completes its productions, we can evaluate
whether it will be necessary to move to compel additional discovery in advance of any deposition. If document production is
actually complete on February 4th, and there are no outstanding production issues, and we thereafter determine that a deposition is
needed, we will happily work to coordinate around the date you have proposed but cannot guarantee that we can proceed on that
date or that a single, seven‐hour deposition will suffice given the number of coordinating parties.

With respect to BasePoint, we indicated that we are willing to consider joining Google’s motion to compel by submitting any
additional briefing on Friday January 28th and by participating in any oral hearing on that motion. We are awaiting approval from
our client and will do our best to have an answer to you tomorrow. That agreement is of course also subject to the Court’s approval
of any request that the Dell defendants join in Google’s motion.

Best,

Andrew

Andrew Blythe

GIBSON DUNN
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3161 Michelson Drive, Irvine, CA 92612-4412
Tel +1 949.451.3926 • Fax +1 949.475.4630
ABlythe@gibsondunn.com • www.gibsondunn.com




From: Franzinger, Michael <mfranzinger@sidley.com>
Sent: Thursday, January 20, 2022 4:11 PM
To: Morgan Pietz <morgan@pstrials.com>; jen@warrenlex.com; Rosenthal, Brian A. <BRosenthal@gibsondunn.com>;
Schulz, Bradford <Bradford.Schulz@finnegan.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com; Hatcher,
Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Blythe, Andrew Philip
<ABlythe@gibsondunn.com>; Diego Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; Kathir, Allen <AKathir@gibsondunn.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim
Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; bshelton@sheltoncoburn.com; Ryan
Loveless <ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; Jen Kash <jen@warrenlex.com>; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; ***
GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com;
Lionel.Lavenue@finnegan.com; Lecaroz, Rebecca MacDowell <rlecaroz@brownrudnick.com>; Mian, Haroon N.
<HMian@brownrudnick.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

[WARNING: External Email]
Morgan,

As indicated in my email of earlier today, HPE is willing to cooperate on discovery but does not believe a formal
consolidation is necessary and therefore takes no position at present on the proposed motion. We reserve the right to
take a position and file a response after seeing the motion.

                                                                 2
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It is not clear to me that your four numbered questions below really call for a response from HPE. But, as to Google’s
motions, HPE believes it is entitled to the same materials for similar reasons. As long as we can get what Google gets,
we do not anticipate needing to add on to that discovery by, for example, seeking deposition time of our own with the
other entities besides Aqua. Once we hear back from you on that aspect of my earlier‐today email, I think we will have a
good idea of where this stands.

Best,
Mike


MICHAEL R. FRANZINGER


SIDLEY AUSTIN LLP
+1 202 736 8583
mfranzinger@sidley.com



        From: Morgan Pietz <morgan@pstrials.com>
        Sent: Thursday, January 20, 2022 6:15 PM
        To: jen@warrenlex.com; brosenthal@gibsondunn.com; Schulz, Bradford <Bradford.Schulz@finnegan.com>
        Cc: Franzinger, Michael <mfranzinger@sidley.com>; Mark Siegmund <mark@swclaw.com>; Admin
        <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com; Hatcher, Michael D. <mhatcher@sidley.com>; Dan
        MacLemore <maclemore@thetexasfirm.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>; Diego
        Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; Kathir, Allen
        <AKathir@gibsondunn.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>;
        Julie Goerlinger <julie@pstrials.com>; Jones, Michael E. (EXTERNAL @POTTERMINTON.COM)
        <mikejones@potterminton.com>; Rob Millimet <Rob@stantonllp.com>; Rousseau, Timothy J.
        <TRousseau@brownrudnick.com>; bshelton@sheltoncoburn.com; Ryan Loveless <ryan@etheridgelaw.com>;
        Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com; Sabanoglu, Kyanna
        <KSabanoglu@gibsondunn.com>; Jen Kash <jen@warrenlex.com>; WSOUPOTTER GROUP
        <WSOUGoogle@potterminton.com>; caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>;
        *** GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com;
        sbreedlove@carterarnett.com; Lionel.Lavenue@finnegan.com; Lecaroz, Rebecca MacDowell
        <rlecaroz@brownrudnick.com>; Mian, Haroon N. <HMian@brownrudnick.com>
        Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

        Dear Jen, Brian, and Bradford,

        Thank you to counsel for Google, Dell, and ZTE, respectively, for participating in today’s meet and confer call. I
        thought today was the day we were finally going to get counsel for all four defendants on the phone at the same
        time to discuss this matter, but, alas, HPE did not join so it was not to be so.

        On today’s call, I reiterated a request I have made several times last week and again this week that you all please
        provide your clients’ final position on the forthcoming motion for limited consolidation, in writing, by today. I’ll
        again invite HPE to please do the same. While nobody is outright agreeing to my proposed order, Google and
        Dell, at least, have expressed some willingness to potentially cooperate. (In addition to Google and HPE
        previously agreeing they would cooperate in doing a single deposition of Aqua not to exceed seven hours).

        Specifically, questions I put to Google, Dell, and ZTE today, which I would like to see addressed today (and which
        I would ask HPE to please respond to as well), are as follows:



                                                             3
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 518 of 599

    (1) Will Dell and ZTE be prepared to participate, along with Google and HPE, in a single deposition of Aqua,
        not to exceed seven hours, to be conducted on February 22, 2022 (which is a date both Google and
        WSOU have cleared), assuming Aqua has completed its document production by then, which I indicated
        Aqua plans to do by February 4? One thing I did not mention but should have is that I still need to run
        this date by my client rep, and that he would need to do it via Zoom. But if all four defendants can agree
        to cooperate as to doing a single, seven‐hour deposition of Aqua on that date, I am inclined to push to
        make it happen on that day, to accommodate Google and WSOU.

    (2) Would Dell and ZTE like to file a brief in support of Google’s position on the “Google Motions” related to
        BP Funding and Terrier, and, if so, will they be prepared to do so by Friday January 28, as proposed in
        the briefing schedule I circulated earlier this week, that nobody other than Google has yet responded
        to?

    (3) I asked you all to please identify any evidence or other information suggesting that there was ever an
        event of default making the information sought from BP Funding or Terrier relevant to standing in the
        first place. Nobody was able to do so. Ms. Kash responded that she wanted to see the BP loan
        agreement that WSOU has apparently now agreed to produce in all of these four groups of
        cases. Nobody else could identify anything in this regard, no hint of any default, ever, although counsel
        for ZTE added that it thought the information sought from BP Funding and Terrier was also relevant to
        damages, not just standing. Mr. Schulz picked up the mantle from Mr. Lavenue in focusing on Delaware
        district court case law, which I indicated I will be more than happy to address in a response brief, should
        ZTE decide it wishes to be heard on these issues by filing a brief in support of Google on the Google
        Motions.

    (4) In response to counsel for Dell’s comment that “we are doing our own thing,” I asked you all to confirm
        that Google, Dell, ZTE, and HPE are in a joint defense agreement. Counsel for Dell responded that was
        “not something we are going to discuss today”. I’m not expecting a further answer on this one, but I am
        noting for the record that you all refused to answer the question when it was put to you directly.

I look forward to receiving your clients’ final responses today.

Best regards,
Morgan


Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
6700 S. Centinela Ave., 2nd Floor
Culver City, CA 90230
morgan@pstrials.com
(310) 424-5557

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From: Morgan Pietz
Sent: Wednesday, January 19, 2022 9:13 PM
                                                     4
      Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 519 of 599

To: Blythe, Andrew Philip <ABlythe@gibsondunn.com>; Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>;
Kathir, Allen <AKathir@gibsondunn.com>; bshelton@sheltoncoburn.com
Cc: Franzinger, Michael <mfranzinger@sidley.com>; Mark Siegmund <mark@swclaw.com>; Admin
<admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com; Hatcher, Michael D. <mhatcher@sidley.com>; Dan
MacLemore <maclemore@thetexasfirm.com>; Diego Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
<jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
Jen Kash <jen@warrenlex.com>; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐
Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com;
Lionel.Lavenue@finnegan.com
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

Mr. Blythe,

Thanks for the response from Dell.

What is the December 13 communication regarding Aqua that you are referring to? I’ve never seen it and have
no idea what you are talking about. Please forward me whatever “inquiry” you have in mind. In any event, I’ll
be prepared to address a timeframe for Aqua to complete document production on our call.
e
As I’ve previously noted, the legal basis for my clients’ position is Rule 42(a)(3), Rule 26(c), and Rule 45(c)(1). In
response to your newest question you want answered before you’ll agree to get on the phone, the doctrine of
issue preclusion would allow Dell to be bound “ex ante” to a ruling on the same issues being raised in the Google
case. But I am not actually demanding the Dell be bound to anything ex ante. I have proposed allowing Dell to
file a brief in support of Google’s position and to participate at the hearing, such that any decision would be ex
post, with Dell’s participation allowed, and, indeed, encouraged.

As I have asked you now several times, can you please share whether Dell wants to file a brief in support of
Google on the Google Motions, and, if so, by when it can do so? Alternatively, if Dell is going to decline to file a
brief as envisioned in the proposed order, and then argue that it is being unfairly bound by the result of the
hearing on the “Google Motions”, that’s fine too, you can just say that, and we’ll get it sorted out with the Court.

I hereby confirm a call for tomorrow (Thursday) at noon Pacific / 3:00 eastern. Given how long you have
waited to propose a time, it may be just you and me. But I hereby invite counsel for all of the concerned parties
to participate. Last chance.

I will circulate a dial‐in shortly.

Best regards,
Morgan




Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
6700 S. Centinela Ave., 2nd Floor
Culver City, CA 90230
morgan@pstrials.com

                                                      5
        Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 520 of 599

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From: Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Sent: Wednesday, January 19, 2022 8:44 PM
To: Morgan Pietz <morgan@pstrials.com>; Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; Kathir, Allen
<AKathir@gibsondunn.com>; bshelton@sheltoncoburn.com
Cc: Franzinger, Michael <mfranzinger@sidley.com>; Mark Siegmund <mark@swclaw.com>; Admin
<admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com; Hatcher, Michael D. <mhatcher@sidley.com>; Dan
MacLemore <maclemore@thetexasfirm.com>; Diego Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
<jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
Jen Kash <jen@warrenlex.com>; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐
Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com;
Lionel.Lavenue@finnegan.com
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

Counsel,

As stated previously, we are still awaiting a response to our December 13, 2021 inquiry regarding the status of
Aqua’s document production. A conference will not be productive prior to receiving Aqua’s response.

With respect to BasePoint, your November 11, 2021 letter does nothing more than explain why you are
choosing to breach the agreement with Dell and in fact highlights—by blaming Google’s alleged omissions and
subsequent actions for your breach—that any dispute regarding our agreement is distinct and inappropriate for
consolidation.

We are also awaiting a legal basis for your positions, including that Dell should be bound ex ante in future
discovery disputes by motions filed in unrelated cases.

If you are able to fill in the above missing information, we can join a conference call tomorrow between 1:30 and
3:30 ET. Please circulate a dial‐in.

Best,

Andrew Blythe

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                                                     6
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From: Morgan Pietz <morgan@pstrials.com>
Sent: Wednesday, January 19, 2022 5:10 PM
To: Blythe, Andrew Philip <ABlythe@gibsondunn.com>; Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>;
Kathir, Allen <AKathir@gibsondunn.com>; bshelton@sheltoncoburn.com
Cc: Franzinger, Michael <mfranzinger@sidley.com>; Mark Siegmund <mark@swclaw.com>; Admin
<admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com; Hatcher, Michael D. <mhatcher@sidley.com>; Dan
MacLemore <maclemore@thetexasfirm.com>; Diego Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
<jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
Jen Kash <jen@warrenlex.com>; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐
Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com;
Lionel.Lavenue@finnegan.com
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

[WARNING: External Email]
To counsel for Dell at Gibson Dunn and Shelton Coburn, this will be my final request that you please provide
your availability for someone on your team to please set a time to get on the phone tomorrow to conduct a
meet and confer re: the forthcoming consolidation motion.

I’d like to be able to report to the Court in the forthcoming motion whether Dell is in the same camp as Google
and HPE, or if it is going to continue to remain in the ‘refuses to conduct a meet and confer call (unless
unreasonable and irrelevant demands are met)’ camp along with ZTE.

Finally, everyone still needs to approve—or reject—my proposed email to the Court.

Best regards,
Morgan

Morgan E. Pietz
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morgan@pstrials.com
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From: Morgan Pietz
Sent: Wednesday, January 19, 2022 12:26 PM
To: Jen Kash <jen@warrenlex.com>
                                                    7
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 522 of 599

Cc: Blythe, Andrew Philip <ABlythe@gibsondunn.com>; Franzinger, Michael <mfranzinger@sidley.com>; Mark
Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com; Hatcher,
Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; IPTeam
<IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>;
mikejones@potterminton.com; Rob Millimet <Rob@stantonllp.com>; Rousseau, Timothy J.
<TRousseau@brownrudnick.com>; Ryan Loveless <ryan@etheridgelaw.com>; Schulz, Bradford
<Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher,
Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>;
jbennett@carterarnett.com; sbreedlove@carterarnett.com; Sabanoglu, Kyanna
<KSabanoglu@gibsondunn.com>; EXT‐AKathir@gibsondunn.com <AKathir@gibsondunn.com>; Lavenue, Lionel
<lionel.lavenue@finnegan.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

Thank you, Jen. Please find it attached. I need any proposed edits by COB tomorrow.

What about my proposed email to the court re: briefing schedule and filing mechanics – any objection to any of
that from Google?

Same question for HPE.

And then I am still awaiting Dell’s final answer as to both substance and procedure, and a proposed time for a
meet and confer call with Dell. It would be great if you could coordinate a time for such a call with ZTE, as I have
repeatedly now requested, so that we could do one further call instead of two, but we’ll have to work around
Mr. Lavenue’s busy schedule to achieve that. I can also do a meet and confer call with Dell separately. Please
provide times.

The defendants’ inability to even all get on the phone together at the same time is, to be frank, a pretty good
reason supporting the grant of this motion.

You’ve all had this proposal for almost two weeks now. I need everyone’s final positions by COB tomorrow.

Best regards,
Morgan


Morgan E. Pietz
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From: Jen Kash <jen@warrenlex.com>
Sent: Wednesday, January 19, 2022 12:19 PM
To: Morgan Pietz <morgan@pstrials.com>
Cc: Blythe, Andrew Philip <ABlythe@gibsondunn.com>; Franzinger, Michael <mfranzinger@sidley.com>; Mark
Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com; Hatcher,
Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; IPTeam
<IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>;
mikejones@potterminton.com; Rob Millimet <Rob@stantonllp.com>; Rousseau, Timothy J.
<TRousseau@brownrudnick.com>; Ryan Loveless <ryan@etheridgelaw.com>; Schulz, Bradford
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<WSOUGoogle@potterminton.com>; bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher,
Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>;
jbennett@carterarnett.com; sbreedlove@carterarnett.com; Sabanoglu, Kyanna
<KSabanoglu@gibsondunn.com>; EXT‐AKathir@gibsondunn.com <AKathir@gibsondunn.com>; Lavenue, Lionel
<lionel.lavenue@finnegan.com>
Subject: Re: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

Morgan,

Please send me a word version of the 1/6 proposed order so that we can review and provide any redlnes. We
will get back to you as soon as possible. Thanks, Jen


From: Lavenue, Lionel lionel.lavenue@finnegan.com
Sent: Wednesday, January 19, 2022 12:57 PM
To: Morgan Pietz morgan@pstrials.com; Blythe, Andrew Philip ABlythe@gibsondunn.com
Cc: Mark Siegmund mark@swclaw.com; Admin admin@pstrials.com; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. mhatcher@sidley.com; Dan MacLemore maclemore@thetexasfirm.com; Diego Salazar
salazar@thetexasfirm.com; Franzinger, Michael mfranzinger@sidley.com; Franzinger, Michael
mfranzinger@sidley.com; Jen Kash jen@warrenlex.com; Hartman, Sarah G. SHartman@brownrudnick.com;
IPTeam IPTeam@etheridgelaw.com; Jim Etheridge jim@etheridgelaw.com; Julie Goerlinger julie@pstrials.com;
mikejones@potterminton.com; Rob Millimet Rob@stantonllp.com; Rousseau, Timothy J.
TRousseau@brownrudnick.com; Ryan Loveless ryan@etheridgelaw.com; Schulz, Bradford
Bradford.Schulz@finnegan.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
WSOUGoogle@potterminton.com; bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher,
Callie cbutcher@sidley.com; *** GDC‐Dell_WSOU GDC‐Dell_WSOU@gibsondunn.com;
jbennett@carterarnett.com; sbreedlove@carterarnett.com; Sabanoglu, Kyanna KSabanoglu@gibsondunn.com;
EXT‐AKathir@gibsondunn.com AKathir@gibsondunn.com
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

Morgan,

Excellent. I am glad you coming around to a proper meet‐and‐confer.

Once you send us the legal support for your positions (as ZTE requested), then we can schedule a call.
Otherwise, if you have no legal support for your positions, then please accept ZTE’s proposal—to drop all
objections and produce the requested discovery (as supported by our cited case law).

If time is critical, then please send the case law ASAP so we may consider it before any meet‐and‐confer.

Regards,
                                                    9
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 524 of 599


Lionel

From: Morgan Pietz <morgan@pstrials.com>
Sent: Wednesday, January 19, 2022 3:19 PM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Franzinger, Michael <mfranzinger@sidley.com>; Franzinger, Michael
<mfranzinger@sidley.com>; Jen Kash <jen@warrenlex.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
<jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
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caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐
Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com; Sabanoglu, Kyanna
<KSabanoglu@gibsondunn.com>; EXT‐AKathir@gibsondunn.com <AKathir@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

EXTERNAL Email:

Mr. Lavenue,

I was supposed to have a trial starting this week that got continued. So I can make any time today or tomorrow
work on my end. But it has to be today or tomorrow, because Google has asked for a hearing as soon as
possible, so this motion is being filed on Friday, whether you or anyone on your team representing ZTE deigns to
get on the phone discuss it before then or not.

Perhaps we can work through some of these issues. But I’ve been trying to get you on the phone to discuss this
for two weeks and we are now out of time. So pick a time, please, and make you or someone else on your team
available to have a proper meet and confer call.

Best regards,
Morgan

Morgan E. Pietz
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Culver City, CA 90230
morgan@pstrials.com
(310) 424-5557

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From: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Sent: Wednesday, January 19, 2022 12:11 PM
To: Morgan Pietz <morgan@pstrials.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Franzinger, Michael <mfranzinger@sidley.com>; Franzinger, Michael
<mfranzinger@sidley.com>; Jen Kash <jen@warrenlex.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
<jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; bshelton@sheltoncoburn.com;
caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐
Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com; Sabanoglu, Kyanna
<KSabanoglu@gibsondunn.com>; EXT‐AKathir@gibsondunn.com <AKathir@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

Morgan,

As I previously stated, I am in a deposition today and unable to meet at this time. A discussion is necessary as we
previously indicated.

ZTE has continuously reiterated that it does not refuse to meet‐and‐confer with you on this topic. We just wish
to consider relevant case law first in order to have a productive meeting. Again, your refusal to provide
supporting legal precedent is telling and noted.

Regards,
Lionel


From: Morgan Pietz <morgan@pstrials.com>
Sent: Wednesday, January 19, 2022 3:07 PM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Franzinger, Michael <mfranzinger@sidley.com>; Franzinger, Michael
<mfranzinger@sidley.com>; Jen Kash <jen@warrenlex.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
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<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; bshelton@sheltoncoburn.com;
caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐
Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com; Sabanoglu, Kyanna
<KSabanoglu@gibsondunn.com>; EXT‐AKathir@gibsondunn.com <AKathir@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

EXTERNAL Email:

I’m not going to trade any more emails with you, Mr. Lavenue. We’re moving forward with our motion. Your
refusal to get on the phone and confer about it is noted. I remail available all day today and tomorrow if you
change your mind.

                                                    11
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 526 of 599


Best regards,
Morgan


Morgan E. Pietz
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morgan@pstrials.com
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Sent: Wednesday, January 19, 2022 12:04 PM
To: Morgan Pietz <morgan@pstrials.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Franzinger, Michael <mfranzinger@sidley.com>; Franzinger, Michael
<mfranzinger@sidley.com>; Jen Kash <jen@warrenlex.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
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WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; bshelton@sheltoncoburn.com;
caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐
Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com; sbreedlove@carterarnett.com; Sabanoglu, Kyanna
<KSabanoglu@gibsondunn.com>; EXT‐AKathir@gibsondunn.com <AKathir@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery

Morgan,

Again, so we may better assess your proposed plan, please provide supporting law (as requested, and as you
continue to dodge).

Regarding consolidation, you have provided no law indicating that a WDTX Court should rule on a non‐existent
ZTE motion to compel for subpoenas issued within the jurisdiction of Delaware. There is no common question of
law before the WDTX. ZTE has not raised a motion to compel in any court. Thus, FRCP 42 does not apply here for
the issued FRCP 45 subpoena to your Delaware entities. Again, so we may better assess your positions, please
provide legal support for how FRCP 42 applies to the FRCP 45 issued subpoenas.

As to them question of law—whether the requested documents are relevant for discovery—Delaware law
controls, and a Delaware court will decide the issues if ZTE elects to bring a motion to compel. You clients are
Delaware entities subject to ZTE’s subpoenas issued within the Delaware jurisdiction. Thus, the cited Delaware

                                                    12
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law controls here. And you refuse to provide your basis for opposing discovery under Delaware law. Again, so
we may better assess your positions, please provide legal support for your opposition to discovery.

You refuse to cite supporting legal precedent for any of your positions. If anything, your actions support
acquisition of fees on behalf of ZTE as you refuse to provide legal support for your positions.

We reiterate that ZTE’s position is not “nearly all clear” as we still await your clients positions on several key
issues and the supporting law for those issues. So we may better assess your objections and positions—in order
to provide ZTE’s position—please provide the requested legal support.

Until then, we reiterate that ZTE is willing to consider coordinating certain activities, such as depositions, at an
appropriate time. We do not, however, believe the ZTE‐subpoena issues have progressed to that point
(especially in view of the fact that ZTE has not moved to compel production yet, and the awaited legal support
for your clients objections).

Regards,

Lionel


On Wed, Jan 19, 2022 at 3:37 PM Morgan Pietz <morgan@pstrials.com> wrote:

 Ms. Kash, Mr. Franzinger, and Mr. Blythe,


 Since ZTE’s position on the forthcoming proceedings is now nearly all clear (apart from the final question I just
 put to Mr. Lavenue), I await your responses to my email of yesterday evening.



 Best regards,

 Morgan




 Morgan E. Pietz

 PIETZ & SHAHRIARI, LLP

 6700 S. Centinela Ave., 2nd Floor

 Culver City, CA 90230

 morgan@pstrials.com

 (310) 424-5557




                                                      13
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notify us immediately at the telephone number above.




From: Morgan Pietz
Sent: Wednesday, January 19, 2022 11:35 AM
To: 'Lavenue, Lionel' <lionel.lavenue@finnegan.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego
Salazar <salazar@thetexasfirm.com>; Franzinger, Michael <mfranzinger@sidley.com>; Franzinger, Michael
<mfranzinger@sidley.com>; Jen Kash <jen@warrenlex.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
<jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; ***
GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com;
sbreedlove@carterarnett.com; Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; EXT‐
AKathir@gibsondunn.com <AKathir@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery



Mr. Lavenue,



The last time you asked me for the legal support for this motion, I referred you to my earlier email to
Dell. Here that is again (from my email to Mr. Blythe of last week):



     “With respect to your request for authority for consolidation, here is the text of the Rule 42, with the
     relevant part bolded:



          (a) CONSOLIDATION. If actions before the court involve a common question of law or fact, the court
          may:
                (1) join for hearing or trial any or all matters at issue in the actions;
                                                     14
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                (2) consolidate the actions; or
                (3) issue any other orders to avoid unnecessary cost or delay.”



ZTE has an action before the court that involves a common question of law and fact to the Google
case. Specifically, ZTE served subpoenas on my clients that were identical to prior subpoenas served by Google
(same typos, even). The relevant “actions” are the cases filed by WSOU against ZTE (and the other three
defendants). The common issues of law and fact arise from the categories of information sought by the
subpoenas and ZTE’s and Google’s (and the other defendants’) efforts to enforce them.



I’ve already responded to you, twice, about your curious and misplaced focus on Delaware law and invited you
to make those arguments in a brief in support of Google’s position.



Since ZTE is going to refuse to participate in a meet and confer call as to the substance of the forthcoming
motion, here is my final question:



Does ZTE consent to my proposed email to the court re: briefing schedule and filing logistics that I circulated
yesterday – or am I going to need to potentially make than an ex parte application and explain that the
exigency is created by: (a) Google insisting on a quick hearing, and (b) ZTE refusing to confer about the motion
or engage about a briefing schedule or filing mechanics?



I await your response to this last question. If you are going to force this ex parte and/or force us to file the
same motion papers in multiple cases (instead of just the lead cases), then we are getting to the point where I
think we are going to request attorneys’ fees. Your actions in refusing to confer or agree to basic things like a
briefing schedule are not consistent with your duty under Rule 45 to minimize burdens on non parties. Or with
28 USC 1987 for that matter.



Best regards,

Morgan




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Morgan E. Pietz

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From: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Sent: Wednesday, January 19, 2022 11:17 AM
To: Morgan Pietz <morgan@pstrials.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego
Salazar <salazar@thetexasfirm.com>; Franzinger, Michael <mfranzinger@sidley.com>; Franzinger, Michael
<mfranzinger@sidley.com>; Jen Kash <jen@warrenlex.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
<jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; ***
GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com;
sbreedlove@carterarnett.com; Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; EXT‐
AKathir@gibsondunn.com <AKathir@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery



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Morgan,



I’m in depositions today, and I’m in Texas tomorrow for a hearing.



But, generally, as ZTE previously stated numerous times, we await your legal support.



Specifically, regarding ZTE’s subpoenas, ZTE does not have a pending motion to compel. Nevertheless,
ZTE still awaits positions from Aqua, BP, and Terrier regarding the District of Delaware case law
permitting the ZTE‐subpoenaed discovery. For example, the requested documents and testimony are
relevant to the issues of valuation, damages, royalty rates, and pre‐suit investigations. Acceleration
Bay LLC v. Activision Blizzard, Inc., No. CV 16‐453‐RGA, 2018 WL 798731, at *3 (D. Del. Feb. 9, 2018)
(finding that discovery over third‐parties, even third‐parties with security interests and/or licensing
agreements, is proper as discovery that “may be relevant to central issues like validity and
infringement, valuation, damages, royalty rates, pre‐suit investigative diligence, and whether
[Plaintiff] is an operating company,” and that “common sense” confirms the documents request
relevancy).



Your clients are Delaware entities, they were subpoenaed in Delaware by ZTE, and they are subject to
Delaware law—at least for any issues pertaining to ZTE’s subpoenas. You and your clients (at least BP
and Terrier) have maintained your baseless objections for several months now and you refuse to
provide your legal basis for opposing Acceleration Bay. This is also improper. We await your legal basis
for opposing ZTE’s subpoenas.



Regarding consolidation, again, ZTE does not have a pending motion to compel. Thus, there is no ZTE
“action” under FRCP 45 for ZTE’s consolidation. And you have not cited any case law for our
consideration applicable to these facts—how FRCP 45 applies to a FRCP 42 subpoena for a
nonexistent motion to compel. A call with ZTE is not appropriate at this time.



So we may consider it in the future, please provide your legal support for (1) opposing ZTE’s
subpoenas and cited Delaware law, and (2) for consolidating a non‐existent “action.”



As we have explained in prior correspondence, ZTE is willing to consider coordinating certain
activities, such as depositions, at an appropriate time. We do not, however, believe the ZTE‐subpoena
issues have progressed to that point (especially in view of the fact that ZTE has not moved to compel
production yet).
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Regards,



Lionel



From: Morgan Pietz <morgan@pstrials.com>
Sent: Wednesday, January 19, 2022 2:06 PM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego
Salazar <salazar@thetexasfirm.com>; Franzinger, Michael <mfranzinger@sidley.com>; Franzinger, Michael
<mfranzinger@sidley.com>; Jen Kash <jen@warrenlex.com>; Hartman, Sarah G.
<SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim Etheridge
<jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>; ***
GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>; jbennett@carterarnett.com;
sbreedlove@carterarnett.com; Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; EXT‐
AKathir@gibsondunn.com <AKathir@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery




EXTERNAL Email:



Mr. Lavenue and Mr. Blythe,



Once again: are you or any of the dozens of other lawyers for Dell and ZTE who are copied onto this thread
available today or tomorrow to meet and confer on the forthcoming consolidation motion? When?



Since I have not, thus far, been successful in getting Dell or ZTE to confer about the consolidation motion, I am
adding Kyanna Sabanoglu and Allen Kathir to this thread, for Dell. I just went back and noted that they are the
counsel for Dell to whom I directed my November 11 email to, as discussed in my more recent email to Mr.
Blythe from last week. I have pasted my response to Mr. Blythe from last week, wherein I quoted from what I
wrote to Dell last November, below, so that this email chain is now a complete record of my eight attempts
(and counting) to get Dell and ZTE to say one way or another whether they will consent to the proposed order I
circulated almost two weeks ago, on 1/6, and to schedule a meet and confer call.


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Please propose some times today.



If Dell and ZTE are going to continue to refuse to participate in a meet and confer phone call, and have nothing
to add or say beyond what you have already written on this thread, then please confirm as much and I’ll file the
motion with a declaration detailing my efforts to try and bring Dell and ZTE to the table to confer, and you can
explain your refusal to do so as you think appropriate.



Best regards,

Morgan




Morgan E. Pietz

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From: Morgan Pietz
Sent: Tuesday, January 18, 2022 6:06 PM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>; Jen Kash <jen@warrenlex.com>; Blythe, Andrew Philip
<ABlythe@gibsondunn.com>; Franzinger, Michael <mfranzinger@sidley.com>
                                                  19
    Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 534 of 599

Cc: Mark Siegmund <mark@swclaw.com>; Admin <admin@pstrials.com>; CA‐BrazosTrials@carterarnett.com;
Hatcher, Michael D. <mhatcher@sidley.com>; Dan MacLemore <maclemore@thetexasfirm.com>; Diego
Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; IPTeam
<IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>;
mikejones@potterminton.com; Rob Millimet <Rob@stantonllp.com>; Rousseau, Timothy J.
<TRousseau@brownrudnick.com>; Ryan Loveless <ryan@etheridgelaw.com>; Schulz, Bradford
<Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com;
Butcher, Callie <cbutcher@sidley.com>; *** GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>;
jbennett@carterarnett.com; sbreedlove@carterarnett.com
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery



To: Jen Kash (for Google); Mike Franzinger (for HPE); Andrew Blythe (for Dell); and Lionel Lavenue (for ZTE)



Counsel,



Thank you to Jen Kash and Mike Franzinger for joining last Friday’s meet and confer call on behalf of Google
and HPE, respectively.



This is to confirm that Google and HPE are on board with at least the general concept of the proposed limited‐
purpose consolidation, and also perhaps the specifics of my proposed order that I circulated on January
6th. More specifically, Google and HPE have now made a firm commitment that they are prepared to cooperate
with respect to doing a single deposition of Aqua, not to exceed seven total hours, although both Google and
HPE wish to reserve the right to exclude the other defendant from certain portions of the examination.



Since I have not yet received a straight answer from either Dell or ZTE as to whether they agree to any aspects
of the proposed order that I circulated on 1/6, and since both of those parties declined to participate in Friday’s
meet and confer call (despite their being invited to do so a couple days ahead of time, and my sending about
ten emails trying to get them involved), I am assuming, at this point, that my clients (joined by WSOU) are going
to need to bring a motion to ask for the relief requested in my 1/6 proposed order of consolidation (which I am
attaching again here).



Accordingly, I suggest the following briefing schedule be emailed to the Court early next week for its approval
and for entry of a scheduling order along the following lines:



                                         “Friday January 21 ‐     (1) Requesting Non‐Parties and WSOU to file
                                         their motion for limited purpose consolidation, which is partially

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                                       opposed (not opposed by Google and HPE, but is opposed by Dell and
                                       ZTE).



                                       Friday January 28 ‐      (1) Oppositions due from Dell and ZTE due to
                                       the motion for limited purpose consolidation.

                                       (2) If HPE, Dell, or ZTE wish to be heard in relation to the “Google
                                       Motions”, then their optional supplemental briefs, of five pages or less,
                                       (one for each defendant) are due on this date.



                                       Friday February 4 ‐     (1) Reply due from Requesting Non‐Parties
                                       and WSOU (single brief) in support of motion for limited purpose
                                       consolidation.

                                       (2) Responses of five pages or less due (one from Requesting Non‐
                                       Parties, one from WSOU), to the optional supplemental briefs,
                                       responding to any supplemental briefs filed by HPE, Dell, and ZTE
                                       relating to the “Google Motions”.



                                       Requested Hearing ‐     Week of February 7 or week of February
                                       14 (single hearing on both the “Google Motions” and the forthcoming
                                       motion for limited purpose consolidation)



               Consolidated e‐Filing: Without prejudice to the Court’s ultimate decision as to the denial or
               granting of the limited‐purpose consolidation, strictly as a courtesy and to reduce duplicative
               filings of the same thing being e‐filed in multiple cases, all papers related to the motions set
               out above may be e‐filed ONLY in the four low‐number cases for each defendant, as
               follows: 6:20‐cv‐00473‐ADA (Dell); 6:20‐cv‐00487‐ADA (ZTE); 6:20‐cv‐00571‐ADA (Google);
               6:20‐cv‐00725‐ADA (HPE). “



[End proposed message to the Court]



With respect to Google’s concern about timing, per Jen’s request, I am writing up what we discussed on
Friday’s call and my suggestion in this regard. Google contends that certain documents that might be ordered
produced as a result of the Google Motions might be relevant to Google’s forthcoming depositions of WSOU’s
witnesses Craig Etchegoyen, set for February 9, 2022, and of Stuart Shanus, set for February 24, 2022. In
response to that concern, on our call two weeks ago (and following up on earlier requests from December), I
asked Google to identify the particular deposition topics to WSOU that Google thinks might be relevant to
documents it hopes to obtain from my clients (or that it might get from WSOU). Google identified a list of
topics on Monday of last week from its 30b6 notice to WSOU, which I have now reviewed. I understand from
                                                  21
    Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 536 of 599

WSOU’s counsel that WSOU previously designated Stu Shanus (whose deposition is not until the end of
February) as the corporate representative testifying as to MOST of the topics identified by Google in its email to
me last Monday. Mr. Etchegoyen (who has the earlier deposition, which is driving Google’s timing concerns) is
apparently designated as to only four of the topics identified by Google; topic numbers 7, 35, 36, and
37. Accordingly, what I suggested on today’s call is that perhaps WSOU and Google could agree that if Judge
Albright orders my clients to produce additional documents at the upcoming hearing, which we are asking be
conducted the week of February 7 or February 14, then WSOU would agree to either designate Mr. Shanus to
answer questions about those documents, or perhaps agree to re‐produce Mr. Etchegoyen and have him
answer questions about any newly produced documents from my clients that are relevant to these four
topics. Jen said she would need to consider with her client, and I expect WSOU will need to do the same. But it
seems to me that if Mr. Shanus is the main witness who might have information that Google contends is
relevant to my clients, then we ought to be focused on his deposition date as the real deadline here, rather
than Mr. Ethegoyen, and there ought to be a way for the parties to work this out along the lines I have
suggested, so that these motions can be considered on full notice and a regular briefing schedule per Local Rule
7.



Accordingly, I have the following requests to the parties. Please get back to me ASAP.


Google and HPE –
While I understand that your clients are both generally on board with the concept of the proposed limited‐
purpose consolidation, I ask you to please advise if they consent to the entry of my 1/6 proposed order as‐
written, or if you have any proposed revisions. Please also approve my proposed email to the Court re: a
scheduling order.



Dell and ZTE –

Please provide your clients’ final answer as to whether they consent to my 1/6 proposed order of limited‐
purpose consolidation and please provide times tomorrow or Thursday when you are both available to meet
and confer as to the forthcoming motion to that effect. Please also approve my proposed email to the Court
re: a scheduling order.




WSOU –

Please let us know whether Microsoft has stipulated to your proposed redactions so that all parties can
understand what exactly was decided at the prior hearing related to my clients in the Microsoft case. Please
advise as to my proposal for how to handle the timing issue. And please approve my proposed email to the
Court re: a scheduling order.



Thanks, again, to everyone who was on Friday’s call.




                                                   22
    Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 537 of 599

Best regards,
Morgan




From: Morgan Pietz
Sent: Friday, January 14, 2022 7:44 AM
To: Lavenue, Lionel <lionel.lavenue@finnegan.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>;
Hatcher, Michael D. <mhatcher@sidley.com>
Cc: Mark Siegmund <mark@swclaw.com>; Jen Kash <jen@warrenlex.com>; Admin <admin@pstrials.com>; CA‐
BrazosTrials@carterarnett.com; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; IPTeam
<IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>;
mikejones@potterminton.com; Rob Millimet <Rob@stantonllp.com>; Rousseau, Timothy J.
<TRousseau@brownrudnick.com>; Ryan Loveless <ryan@etheridgelaw.com>; Schulz, Bradford
<Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com;
Butcher, Callie <cbutcher@sidley.com>; Franzinger, Michael <mfranzinger@sidley.com>; *** GDC‐Dell_WSOU
<GDC‐Dell_WSOU@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery



Will ZTE be participating on today’s call or not?



With respect to your request for authority for consolidation, see my email of a few minutes ago go Dell.



I don’t understand ZTE’s position: ‘we might cooperate but believe it is to soon to do so’ – is that it?


What I am going to need from all the defendants, and soon, is a final answer on whether they agree to the
terms of the proposed order of consolidation I circulated more than a week ago (or edits, if you think there is
something that needs to be tweaked). Please be prepared to address that on today’s call. If you aren’t going
to consent to the order, we’ll make our motion and everyone can explain why they think their case is different
and they should get their multiple additional bites at the same apple.



Best regards,
Morgan




                                                    23
    Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 538 of 599




From: Lavenue, Lionel <lionel.lavenue@finnegan.com>
Sent: Friday, January 14, 2022 7:34 AM
To: Blythe, Andrew Philip <ABlythe@gibsondunn.com>; Morgan Pietz <morgan@pstrials.com>; Hatcher,
Michael D. <mhatcher@sidley.com>
Cc: Mark Siegmund <mark@swclaw.com>; Jen Kash <jen@warrenlex.com>; Admin <admin@pstrials.com>; CA‐
BrazosTrials@carterarnett.com; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; IPTeam
<IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>;
mikejones@potterminton.com; Rob Millimet <Rob@stantonllp.com>; Rousseau, Timothy J.
<TRousseau@brownrudnick.com>; Ryan Loveless <ryan@etheridgelaw.com>; Schulz, Bradford
<Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com;
Butcher, Callie <cbutcher@sidley.com>; Franzinger, Michael <mfranzinger@sidley.com>; *** GDC‐Dell_WSOU
<GDC‐Dell_WSOU@gibsondunn.com>
Subject: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery




Counsel,



ZTE echoes Dell’s comments and further adds.



Regarding ZTE’s subpoenas, as we previously advised, ZTE does not have a pending motion to compel
and, like Dell, we see no reason for a conference regarding ZTE’s subpoenas at this time.



ZTE also still awaits positions from Aqua, BP, and Terrier regarding the District of Delaware case law
permitting the ZTE‐subpoenaed discovery. For example, the requested documents and testimony are
relevant to the issues of valuation, damages, royalty rates, and pre‐suit investigations. Acceleration
Bay LLC v. Activision Blizzard, Inc., No. CV 16‐453‐RGA, 2018 WL 798731, at *3 (D. Del. Feb. 9, 2018)
(finding that discovery over third‐parties, even third‐parties with security interests and/or licensing
agreements, is proper as discovery that “may be relevant to central issues like validity and
infringement, valuation, damages, royalty rates, pre‐suit investigative diligence, and whether
[Plaintiff] is an operating company,” and that “common sense” confirms the documents request
relevancy).



Your clients are Delaware entities, they were subpoenaed in Delaware by ZTE, and they are subject to
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and Terrier) have maintained your baseless objections for several months now and you refuse to
                                               24
    Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 539 of 599

provide your legal basis for opposing Acceleration Bay. This is also improper. We await your legal basis
for opposing ZTE’s subpoenas.



Regarding consolidation, again, ZTE does not have a pending motion to compel. ZTE is not a party to
the Google cases nor the Google motions to compel. Additionally, ZTE was not a party to the
Microsoft cases as well. Nor is ZTE a party to Dell, or HPE’s cases either.



It is improper for you to include, or characterize, ZTE in these communications—and any
communications to any party including the Court—for matters pertaining to either the Microsoft or
Google proceedings. Please further explain the legal basis for your request to consolidate and any
cases that you contend support such a request so we may consider them. Until then, it is improper for
you to include ZTE in these matters for a motion to compel it has neither moved on nor joined.



As we have explained in prior correspondence, ZTE is willing to consider coordinating certain
activities, such as depositions, at an appropriate time. We do not, however, believe the ZTE‐subpoena
issues have progressed to that point (especially in view of the fact that ZTE has not moved to compel
production yet).



Regards,



Lionel




From: Morgan Pietz
Sent: Friday, January 14, 2022 7:38 AM
To: Blythe, Andrew Philip ABlythe@gibsondunn.com; Hatcher, Michael D. mhatcher@sidley.com
Cc: Mark Siegmund mark@swclaw.com; Jen Kash jen@warrenlex.com; Admin admin@pstrials.com; CA‐
BrazosTrials@carterarnett.com; Dan MacLemore maclemore@thetexasfirm.com; Diego Salazar
salazar@thetexasfirm.com; Hartman, Sarah G. SHartman@brownrudnick.com; IPTeam
IPTeam@etheridgelaw.com; Jim Etheridge jim@etheridgelaw.com; Julie Goerlinger julie@pstrials.com;
Lionel.Lavenue@finnegan.com; mikejones@potterminton.com; Rob Millimet Rob@stantonllp.com; Rousseau,
Timothy J. TRousseau@brownrudnick.com; Ryan Loveless ryan@etheridgelaw.com; Schulz, Bradford
Bradford.Schulz@finnegan.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
WSOUGoogle@potterminton.com; bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher,
Callie cbutcher@sidley.com; Franzinger, Michael mfranzinger@sidley.com; *** GDC‐Dell_WSOU GDC‐
                                              25
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Dell_WSOU@gibsondunn.com
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery



Thanks for the response from Dell.



But I think the Dell team needs to please take another look at my letter to Kyanna Sabanoglu and Allen Kathir
dated November 11, 2021. I have had no response from Dell at all since then.



In my prior letter, I discuss the Google proceedings (then pending in Delaware) at some length, clarify that there
was never any agreement between Dell and BasePoint Administrative, LLC (an agreement that I assume Dell
would contend was reached for BasePoint to produce the same things Google agreed to receive initially, before
Google renounced that agreement and filing motions to compel seeking all documents in Delaware) . Further,
the argument as to waiver of untimeliness of objections is an argument being made by Google in its pending
motions, and our response is the same: neither Google nor Dell disclosed that Judge Albright already denied this
same discovery in the Microsoft case, when pressing Rob Millimet to agree to respond on behalf of the third
parties, among other issues.



My November letter to Dell concluded as follows:



                “Our client’s bottom line is this: Dell, Google, ZTE, and anyone else, all need to work this out
                directly with WSOU before Judge Albright in Texas. I understand Judge Albright expressed
                concerns about relevance and burden. A party propounding a subpoena on a third party has an
                affirmative duty to minimize burden on that third party, and should generally seek discovery
                from a party before burdening a third party. As far as I am aware, this has not yet been done
                here by Dell, and we are not willing to step past the requirement that Dell make a serious, good
                faith effort to work all this out with WSOU directly, including by going before Judge Alright, if
                necessary, before burdening our client, a third party who made a loan years ago that has long
                since been paid off, with producing documents or testimony.



                We are happy to discuss this matter with you further. But we are not going to be producing any
                documents or witnesses at this time for the reasons set out above and in the attached
                objections to the subpoena.”



With respect to your request for authority for consolidation, here is the text of the Rule 42, with the relevant
part bolded:




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     (a) CONSOLIDATION. If actions before the court involve a common question of law or fact, the court may:
           (1) join for hearing or trial any or all matters at issue in the actions;
           (2) consolidate the actions; or
           (3) issue any other orders to avoid unnecessary cost or delay.


The “agreement” that Dell is apparently still contending exists was for BasePoint to produce exactly what was
initially agreed to be produced in the Google cases (before Google renounced its agreement and proceeded with
motions arguing all objections had been waived). So, what exactly are parts of the Dell subpoenas that “seek
discovery that is at least in‐part unique to the Dell cases.” I am aware of none.


All of these subpoenas are at least 95% identical as to substance. It is not consistent with the Rule 45 duty to
minimize burdens on non‐parties, and it is a big waste of everyone’s time for 4 different defendants to be
seeking parallel proceedings before different courts on the same issues.



There are about 20 lawyers representing Dell at Gibson Dunn, plus local counsel who has been involved on this
issue for months. Surely someone can spare some time to participate in today’s meet and confer call at 1
Central / 11 Pacific.



Best regards,
Morgan




From: Blythe, Andrew Philip <ABlythe@gibsondunn.com>
Sent: Friday, January 14, 2022 9:58 AM
To: Morgan Pietz <morgan@pstrials.com>; Hatcher, Michael D. <mhatcher@sidley.com>
Cc: Mark Siegmund <mark@swclaw.com>; Jen Kash <jen@warrenlex.com>; Admin <admin@pstrials.com>; CA‐
BrazosTrials@carterarnett.com; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
<salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; IPTeam
<IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>;
Lavenue, Lionel <lionel.lavenue@finnegan.com>; mikejones@potterminton.com; Rob Millimet
<Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless
<ryan@etheridgelaw.com>; Schulz, Bradford <Bradford.Schulz@finnegan.com>; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>;
Franzinger, Michael <mfranzinger@sidley.com>; *** GDC‐Dell_WSOU <GDC‐Dell_WSOU@gibsondunn.com>
Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery



EXTERNAL Email:

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Counsel,



Lead counsel is just back from trial and cannot participate in a conference tomorrow. Please copy GDC‐
Dell_WSOU@gibsondunn.com on future correspondence regarding the Dell cases. As you noted below, you
did not copy our complete team, which has delayed our ability to respond.



Regardless, we do not have a pending motion to compel and see no reason for a conference regarding our
subpoenas at this time. We are still awaiting document productions and a response to our inquiry about when
those productions will be completed. No objections were timely served in response to our subpoenas, and any
objections are thus waived. Please confirm when the productions will be completed as already agreed.



Regarding consolidation with Google and others, we had not previously reviewed Google subpoenas or motions
and note that Google’s motion to compel documents from Aqua Licensing, LLC contain substantial portions that
are redacted and to which we are not privy. Our cases are also at substantially different points in discovery,
and our subpoenas seek discovery that is at least in‐part unique to the Dell cases. Please further explain the
legal basis for your request to consolidate and any cases that you contend support such a request so we may
consider them.



We are willing to consider coordinating certain activities such as depositions at an appropriate time but do not
believe our cases have progressed to that point.



Best,

Andrew Blythe

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
3161 Michelson Drive, Irvine, CA 92612-4412
Tel +1 949.451.3926 • Fax +1 949.475.4630
ABlythe@gibsondunn.com • www.gibsondunn.com




From: Morgan Pietz <morgan@pstrials.com>
Sent: Thursday, January 13, 2022 12:36 PM
To: Hatcher, Michael D. <mhatcher@sidley.com>
Cc: Mark Siegmund <mark@swclaw.com>; Jen Kash <jen@warrenlex.com>; Admin <admin@pstrials.com>; CA‐
BrazosTrials@carterarnett.com; Dan MacLemore <maclemore@thetexasfirm.com>; Diego Salazar
                                                   28
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<salazar@thetexasfirm.com>; Hartman, Sarah G. <SHartman@brownrudnick.com>; IPTeam
<IPTeam@etheridgelaw.com>; Jim Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>;
Lionel.Lavenue@finnegan.com; mikejones@potterminton.com; Rob Millimet <Rob@stantonllp.com>;
Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan Loveless <ryan@etheridgelaw.com>; Schulz,
Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; Blythe, Andrew Philip <ABlythe@gibsondunn.com>;
bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher, Callie <cbutcher@sidley.com>;
Franzinger, Michael <mfranzinger@sidley.com>
Subject: Re: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third Party Discovery




[WARNING: External Email]

Great, thanks.

Sent from my iPhone



        On Jan 13, 2022, at 12:15 PM, Hatcher, Michael D. <mhatcher@sidley.com> wrote:




        Morgan –



        We did not realize your later set of emails, including this one, did not include Mike
        Franzinger. Please include him on all future correspondence for HPE. He is available to join on
        behalf of HPE at 1 pm CT tomorrow.



        Best,

        Mike



        MICHAEL D. HATCHER

        SIDLEY AUSTIN LLP
        +1 214 981 3428
        mhatcher@sidley.com




                 From: Morgan Pietz <morgan@pstrials.com>
                 Sent: Thursday, January 13, 2022 1:49 PM
                 To: Mark Siegmund <mark@swclaw.com>
                                                  29
Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 544 of 599

        Cc: Jen Kash <jen@warrenlex.com>; Admin <admin@pstrials.com>; CA‐
        BrazosTrials@carterarnett.com; Dan MacLemore <maclemore@thetexasfirm.com>;
        Diego Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G.
        <SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim
        Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; Lavenue,
        Lionel <lionel.lavenue@finnegan.com>; Jones, Michael E. (EXTERNAL
        @POTTERMINTON.COM) <mikejones@potterminton.com>; Rob Millimet
        <Rob@stantonllp.com>; Rousseau, Timothy J. <TRousseau@brownrudnick.com>; Ryan
        Loveless <ryan@etheridgelaw.com>; Schulz, Bradford
        <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com; WSOUPOTTER
        GROUP <WSOUGoogle@potterminton.com>; ablythe@gibsondunn.com;
        bshelton@sheltoncoburn.com; caribou@matters.warrenlex.com; Butcher, Callie
        <cbutcher@sidley.com>; Hatcher, Michael D. <mhatcher@sidley.com>
        Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third
        Party Discovery



        To Counsel for ZTE, Dell, and HPE,



        WSOU and my office have been discussing coordination of this discovery with several
        of you since November or December. I circulated a detailed proposal a week ago. And
        I have now sent quite a number of emails over the last week asking Dell, HPE, and ZTE
        to respond to the proposal.


        So far, total radio silence (except from Google). Not even the courtesy of confirming,
        yay or nay, a time for a call to discuss on the phone, since it seems like you cannot be
        bothered to respond in writing, as I have now repeatedly requested that you do.



        If I don’t hear back from you today, either confirming the time to discuss tomorrow, or
        else stating your clients’ position for the record, then I am going likely to proceed with
        a motion and file a declaration with the court attaching this email thread and noting
        that ZTE, Dell, and HPE all refused to confer on this issue. To my mind, your refusal to
        cooperate in basic scheduling matters only underscores the need for the requested
        consolidation.



        Please get back to me.



        Best regards,

        Morgan


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        Morgan E. Pietz

        PIETZ & SHAHRIARI, LLP

        6700 S. Centinela Ave., 2nd Floor

        Culver City, CA 90230

        morgan@pstrials.com

        (310) 424-5557




        WE HAVE MOVED. PLEASE NOTE OUR NEW OFFICE MAILING ADDRESS




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        prohibited. If you have received this transmission in error, please destroy
        it and notify us immediately at the telephone number above.




        From: Morgan Pietz
        Sent: Thursday, January 13, 2022 8:30 AM
        To: Mark Siegmund <mark@swclaw.com>
        Cc: Jen Kash <jen@warrenlex.com>; Admin <admin@pstrials.com>; CA‐
        BrazosTrials@carterarnett.com; Dan MacLemore <maclemore@thetexasfirm.com>;
        Diego Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G.
        <SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim
        Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; Lavenue,
        Lionel <lionel.lavenue@finnegan.com>; Mike Jones <mikejones@potterminton.com>;
        Rob Millimet <Rob@stantonllp.com>; Rousseau, Timothy J.
        <TRousseau@brownrudnick.com>; Ryan Loveless <ryan@etheridgelaw.com>; Schulz,
        Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
        WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
        ablythe@gibsondunn.com; bshelton@sheltoncoburn.com;
        caribou@matters.warrenlex.com; cbutcher@sidley.com; mhatcher@sidley.com


                                        31
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        Subject: RE: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third
        Party Discovery



        Thanks, Mark.



        Counsel for ZTE, Dell, and HPE: can you do 11 am Pacific / 1 pm Central tomorrow
        (Friday)?




        Best regards,

        Morgan




        Morgan E. Pietz

        PIETZ & SHAHRIARI, LLP

        6700 S. Centinela Ave., 2nd Floor

        Culver City, CA 90230

        morgan@pstrials.com

        (310) 424-5557




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        it and notify us immediately at the telephone number above.


                                         32
Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 547 of 599



        From: Mark Siegmund <mark@swclaw.com>
        Sent: Thursday, January 13, 2022 8:00 AM
        To: Morgan Pietz <morgan@pstrials.com>
        Cc: Jen Kash <jen@warrenlex.com>; Admin <admin@pstrials.com>; CA‐
        BrazosTrials@carterarnett.com; Dan MacLemore <maclemore@thetexasfirm.com>;
        Diego Salazar <salazar@thetexasfirm.com>; Hartman, Sarah G.
        <SHartman@brownrudnick.com>; IPTeam <IPTeam@etheridgelaw.com>; Jim
        Etheridge <jim@etheridgelaw.com>; Julie Goerlinger <julie@pstrials.com>; Lavenue,
        Lionel <lionel.lavenue@finnegan.com>; Mike Jones <mikejones@potterminton.com>;
        Rob Millimet <Rob@stantonllp.com>; Rousseau, Timothy J.
        <TRousseau@brownrudnick.com>; Ryan Loveless <ryan@etheridgelaw.com>; Schulz,
        Bradford <Bradford.Schulz@finnegan.com>; WSOU‐Google@jonesday.com;
        WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>;
        ablythe@gibsondunn.com; bshelton@sheltoncoburn.com;
        caribou@matters.warrenlex.com; cbutcher@sidley.com; mhatcher@sidley.com
        Subject: Re: WSOU Investments ‐ Limited Purpose Consolidation as to Certain Third
        Party Discovery



        Morgan,



        For WSOU counsel (at least for ZTE and Dell), Friday works better for our schedule.



        Thanks,

        Mark



                  On Jan 13, 2022, at 9:31 AM, Morgan Pietz <morgan@pstrials.com>
                  wrote:

                   Counsel for Dell, HPE, ZTE, and WSOU, what do you say about those
                  times?

                  Sent from my iPhone



                         On Jan 13, 2022, at 7:27 AM, Jen Kash
                         <jen@warrenlex.com> wrote:




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                   Morgan,



                   Google is available at 1 pm pacific today. We are
                   potentially available tomorrow at 11 am pacific as
                   well.



                   Thanks, Jen



                   On Wed, Jan 12, 2022 at 7:10 PM Morgan Pietz
                   <morgan@pstrials.com> wrote:

                    Counsel,



                    Following up on this topic again. My co‐counsel Rob
                    Millimet, Dan MacLemore and I are all available to
                    meet and confer as to the proposed consolidation
                    tomorrow and on Friday at the following times:



                    All times Pacific:

                    Thursday (tomorrow): 12‐3 pm

                    Friday: 11 am, or 2:30‐4 pm



                    Could I ask that counsel for the defendants other than
                    Google please get back to me with your clients’
                    preliminary response to my proposal, and that
                    counsel for all concerned parties (including WSOU
                    and Google) advise as to whether you are available to
                    join a meet and confer call during the above times?



                    As I noted previously, Google would like its motions
                    heard as soon as possible, and I’d like to get some
                    clarity as to whether my consolidation proposal from
                    a week ago is something we are going to have to
                    make a motion to accomplish, or if everyone is going
                    to agree to the concept?

                                         34
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                    Best regards,
                    Morgan




                    Morgan E. Pietz

                    PIETZ & SHAHRIARI, LLP

                    6700 S. Centinela Ave., 2nd Floor

                    Culver City, CA 90230

                    morgan@pstrials.com

                    (310) 424-5557




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                    From: Morgan Pietz
                    Sent: Tuesday, January 11, 2022 8:56 AM
                    To: Mike Jones <mikejones@potterminton.com>; Dan
                    MacLemore <maclemore@thetexasfirm.com>;
                    WSOUPOTTER GROUP
                    <WSOUGoogle@potterminton.com>; IPTeam
                    <IPTeam@etheridgelaw.com>; CA‐
                    BrazosTrials@carterarnett.com; Rob Millimet

                                     35
Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 550 of 599

                    <Rob@stantonllp.com>; Julie Goerlinger
                    <julie@pstrials.com>; Admin <admin@pstrials.com>;
                    Diego Salazar <salazar@thetexasfirm.com>;
                    caribou@matters.warrenlex.com; WSOU‐
                    Google@jonesday.com; mark@swclaw.com; Jim
                    Etheridge <jim@etheridgelaw.com>; Ryan Loveless
                    <ryan@etheridgelaw.com>
                    Cc: mhatcher@sidley.com; cbutcher@sidley.com;
                    Lavenue, Lionel <lionel.lavenue@finnegan.com>;
                    Schulz, Bradford <Bradford.Schulz@finnegan.com>;
                    bshelton@sheltoncoburn.com;
                    ablythe@gibsondunn.com; Hartman, Sarah G.
                    <SHartman@brownrudnick.com>; Rousseau, Timothy
                    J. <TRousseau@brownrudnick.com>
                    Subject: RE: WSOU Investments ‐ Limited Purpose
                    Consolidation as to Certain Third Party Discovery



                    Counsel,



                    I am following up on my email below, wherein I
                    circulated a proposed order of limited‐purpose
                    consolidation related to my clients.



                    I have now heard back from Google that it “would not
                    oppose appropriate consolidation as long as it would
                    not delay Google’s right to obtain this important
                    discovery.” Please see the attached email thread,
                    which, among other things, summarizes a meet and
                    confer call that my office conducted with Google and
                    WSOU last Friday.



                    So far, I have not yet received any response to my
                    proposal circulated below from Dell, HPE, or ZTE,
                    although I have heard from ZTE on other topics.



                    Could you all please get back to me with your clients’
                    positions as to whether they will agree to the
                    proposed consolidation, and/or whether you have
                    any comments on the proposed order itself?




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                    Further, if any of your clients do contemplate wanting
                    to file a supplemental brief in support of Google’s
                    position (or whatever you want it to say) at the
                    hearing on the “Google Motions”, as envisioned in
                    the proposed order, could you please advise me of
                    the time by which you would be ready to file such a
                    brief?



                    Note that, as set out in the attached email thread,
                    Google would like a hearing this month. I’m not yet
                    sure if that is feasible or not, but I think a hearing in
                    February is definitely doable. Understanding whether
                    the consolidation issue is going to need to be a
                    contested motion, or if it can be done by stipulation,
                    and how much time your clients would want to put a
                    supplemental brief together on the “Google
                    Motions”, should help pin that down.




                    Best regards,

                    Morgan




                    From: Morgan Pietz
                    Sent: Thursday, January 6, 2022 12:26 PM
                    To: Mike Jones <mikejones@potterminton.com>; Dan
                    MacLemore <maclemore@thetexasfirm.com>;
                    WSOUPOTTER GROUP
                    <WSOUGoogle@potterminton.com>; IPTeam
                    <IPTeam@etheridgelaw.com>; CA‐
                    BrazosTrials@carterarnett.com; Rob Millimet
                    <Rob@stantonllp.com>; Julie Goerlinger
                    <julie@pstrials.com>; Admin <admin@pstrials.com>;
                    Diego Salazar <salazar@thetexasfirm.com>; Suzanne
                    Miles <Suzanne_Miles@txwd.uscourts.gov>;
                    caribou@matters.warrenlex.com; WSOU‐
                    Google@jonesday.com; Kristie Davis
                    <Kristie_Davis@txwd.uscourts.gov>;
                    mark@swclaw.com; Jim Etheridge
                    <jim@etheridgelaw.com>; Ryan Loveless
                    <ryan@etheridgelaw.com>
                                     37
Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 552 of 599

                    Cc: mhatcher@sidley.com; cbutcher@sidley.com;
                    Lavenue, Lionel <lionel.lavenue@finnegan.com>;
                    Schulz, Bradford <Bradford.Schulz@finnegan.com>;
                    bshelton@sheltoncoburn.com;
                    ablythe@gibsondunn.com; Hartman, Sarah G.
                    <SHartman@brownrudnick.com>; Rousseau, Timothy
                    J. <TRousseau@brownrudnick.com>
                    Subject: RE: WSOU Investments ‐ Limited Purpose
                    Consolidation as to Certain Third Party Discovery



                    To Counsel in the WSOU patent infringement cases
                    pending against Google, ZTE, Dell, and HPE in the
                    Western District of Texas:



                    As you know, my office represents certain third
                    parties that have been subpoenaed in connection
                    with the above‐mentioned cases. Please review the
                    attached proposed order and advise as to whether
                    your client will stipulate to it being entered. If not,
                    then my clients, with support from WSOU, will be
                    moving forward with a motion asking that the Court
                    enter an order to this effect, which we will ask be
                    heard at the same time as Google’s pending motions
                    to compel and WSOU’s motion for a protective order,
                    which are mentioned in the body of the attached.



                    In addition to the proposed order itself, I am also
                    attaching a letter to the Court from our local counsel,
                    relating to the setting of Google’s motions, in case
                    you other defendants have not seen that exchange
                    yet.



                    Please advise as to your clients’ positions. I am
                    available to meet and confer with each of you this
                    week.



                    Best regards,

                    Morgan




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                    P.S. In addition to copying all recipients on the email
                    chain from the Google case below, I have copied at
                    least one lawyer from each firm that is counsel of
                    record in each of the low number cases for ZTE, Dell,
                    and HPE, per PACER. But I would ask anyone
                    receiving this to please forward it on to other people
                    on your team as may be appropriate.




                    From: Mike Jones <mikejones@potterminton.com>
                    Sent: Wednesday, January 5, 2022 8:30 AM
                    To: Morgan Pietz <morgan@pstrials.com>; Mike
                    Jones <mikejones@potterminton.com>
                    Cc: Dan MacLemore
                    <maclemore@thetexasfirm.com>;
                    caribou@matters.warrenlex.com; WSOU‐
                    Google@jonesday.com; WSOUPOTTER GROUP
                    <WSOUGoogle@potterminton.com>; IPTeam
                    <IPTeam@etheridgelaw.com>; CA‐
                    BrazosTrials@carterarnett.com; Rob Millimet
                    <Rob@stantonllp.com>; Julie Goerlinger
                    <julie@pstrials.com>; Admin <admin@pstrials.com>;
                    Diego Salazar <salazar@thetexasfirm.com>; Suzanne
                    Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie
                    Davis <Kristie_Davis@txwd.uscourts.gov>;
                    mark@swclaw.com; Jim Etheridge
                    <jim@etheridgelaw.com>; Ryan Loveless
                    <ryan@etheridgelaw.com>
                    Subject: RE: WSOU Investments, LLC d/b/a Brazos
                    Licensing and Development v. Google LLC, Cause Nos.
                    6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575,
                    6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
                    6:20‐cv‐584, and 6:20‐cv‐585



                    Morgan –



                    This will confirm Friday at 1:00 pm CT. I will send a
                    calendar invite and dial in shortly.




                    Michael E. Jones



                                     39
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                    110 North College, Suite 500; Tyler TX 75702
                    telephone: 903.597.8311 ext. 239


                    Direct dial: 903.525.2239
                    facsimile: 903.593.0846
                    mikejones@potterminton.com




                    From: Morgan Pietz <morgan@pstrials.com>
                    Sent: Wednesday, January 5, 2022 10:17 AM
                    To: Mike Jones <mikejones@potterminton.com>
                    Cc: Dan MacLemore
                    <maclemore@thetexasfirm.com>;
                    caribou@matters.warrenlex.com; WSOU‐
                    Google@jonesday.com; WSOUPOTTER GROUP
                    <WSOUGoogle@potterminton.com>; IPTeam
                    <IPTeam@etheridgelaw.com>; CA‐
                    BrazosTrials@carterarnett.com; Rob Millimet
                    <Rob@stantonllp.com>; Julie Goerlinger
                    <julie@pstrials.com>; Admin <admin@pstrials.com>;
                    Diego Salazar <salazar@thetexasfirm.com>; Suzanne
                    Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie
                    Davis <Kristie_Davis@txwd.uscourts.gov>;
                    mark@swclaw.com; Jim Etheridge
                    <jim@etheridgelaw.com>; Ryan Loveless
                    <ryan@etheridgelaw.com>
                    Subject: Re: WSOU Investments, LLC d/b/a Brazos
                    Licensing and Development v. Google LLC, Cause Nos.
                    6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575,
                    6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
                    6:20‐cv‐584, and 6:20‐cv‐585




                    Mike,



                    Friday at 11 am Pacific / 1 pm Central should work. If
                    anyone has a conflict please advise now. I’m out of
                    the office and on my phone right now, so would you
                    please be so kind as to circulate a calendar appt / dial
                    in?

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                    Best regards,

                    Morgan

                    Sent from my iPhone



                             On Jan 5, 2022, at 7:41 AM, Mike
                             Jones
                             <mikejones@potterminton.com>
                             wrote:



                             Morgan,



                             It is important we conduct this
                             meet and confer this week. We are
                             available from 9 am central until 3 pm
                             central time on Friday to conduct the
                             meet and confer. Please confirm
                             today what works in this window for
                             you and the others on your side who
                             intend to participate.




                             Michael E. Jones

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                             TX 75702
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                             direct fax: 903-531-3939


                             office: 903-597-8311
                             mikejones@potterminton.com




                                          41
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                          From: Morgan Pietz
                          <morgan@pstrials.com>
                          Sent: Tuesday, January 4, 2022 6:53
                          PM
                          To: Mike Jones
                          <mikejones@potterminton.com>;
                          Dan MacLemore
                          <maclemore@thetexasfirm.com>
                          Cc: caribou@matters.warrenlex.com;
                          WSOU‐Google@jonesday.com;
                          WSOUPOTTER GROUP
                          <WSOUGoogle@potterminton.com>;
                          IPTeam
                          <IPTeam@etheridgelaw.com>; CA‐
                          BrazosTrials@carterarnett.com; Rob
                          Millimet <Rob@stantonllp.com>;
                          Julie Goerlinger <julie@pstrials.com>;
                          Admin <admin@pstrials.com>; Diego
                          Salazar <salazar@thetexasfirm.com>;
                          Suzanne Miles
                          <Suzanne_Miles@txwd.uscourts.gov>
                          ; Kristie Davis
                          <Kristie_Davis@txwd.uscourts.gov>;
                          mark@swclaw.com; Jim Etheridge
                          <jim@etheridgelaw.com>; Ryan
                          Loveless <ryan@etheridgelaw.com>
                          Subject: RE: WSOU Investments, LLC
                          d/b/a Brazos Licensing and
                          Development v. Google LLC, Cause
                          Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐
                          cv‐573, 6:20‐cv‐575, 6:20‐cv‐576,
                          6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐
                          583, 6:20‐cv‐584, and 6:20‐cv‐585



                          Hi Mike,



                          I had hoped to have you a draft of a
                          consolidation proposal by
                          tomorrow. With the holidays, it is
                          taking just a little longer than I had
                          hoped, but I do anticipate having the
                          proposal ready to circulate to you by
                          end of the day tomorrow, Thursday
                          morning at the very latest.


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                          Re: an M&C call, I will work on
                          clearing some times that work for me,
                          my co‐counsel, my local counsel, and
                          with counsel for WSOU in the Google
                          case and I’ll propose a few times
                          tomorrow for Thursday afternoon or
                          on Friday. If there are any good
                          windows either day that work for
                          your team, please let me know and I’ll
                          start by clearing those times.



                          Best regards,

                          Morgan




                          Morgan E. Pietz

                          PIETZ & SHAHRIARI, LLP

                          6700 S. Centinela Ave., 2nd Floor

                          Culver City, CA 90230

                          morgan@pstrials.com

                          (310) 424-5557




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                          MAILING ADDRESS




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                          distribution or use of the
                                   43
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                          contents of this message is
                          prohibited. If you have
                          received this transmission in
                          error, please destroy it and
                          notify us immediately at the
                          telephone number above.




                          From: Mike Jones
                          <mikejones@potterminton.com>
                          Sent: Tuesday, January 4, 2022 4:00
                          PM
                          To: Morgan Pietz
                          <morgan@pstrials.com>; Dan
                          MacLemore
                          <maclemore@thetexasfirm.com>
                          Cc: caribou@matters.warrenlex.com;
                          WSOU‐Google@jonesday.com;
                          WSOUPOTTER GROUP
                          <WSOUGoogle@potterminton.com>;
                          IPTeam
                          <IPTeam@etheridgelaw.com>; CA‐
                          BrazosTrials@carterarnett.com; Rob
                          Millimet <Rob@stantonllp.com>;
                          Julie Goerlinger <julie@pstrials.com>;
                          Mike Jones
                          <mikejones@potterminton.com>;
                          Admin <admin@pstrials.com>; Diego
                          Salazar <salazar@thetexasfirm.com>;
                          Suzanne Miles
                          <Suzanne_Miles@txwd.uscourts.gov>
                          ; Kristie Davis
                          <Kristie_Davis@txwd.uscourts.gov>;
                          mark@swclaw.com; Jim Etheridge
                          <jim@etheridgelaw.com>; Ryan
                          Loveless <ryan@etheridgelaw.com>
                          Subject: RE: WSOU Investments, LLC
                          d/b/a Brazos Licensing and
                          Development v. Google LLC, Cause
                          Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐
                          cv‐573, 6:20‐cv‐575, 6:20‐cv‐576,
                          6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐
                          583, 6:20‐cv‐584, and 6:20‐cv‐585



                          Morgan and Dan –




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                          I am confirming our meet and confer
                          telephonic conference tomorrow at
                          11:00 a.m. CT as discussed in the
                          email below. Please confirm your
                          attendance and I will send dial in
                          information first thing in the morning.



                          Thanks so much.



                          Michael E. Jones



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                          Direct dial: 903.525.2239
                          facsimile: 903.593.0846
                          mikejones@potterminton.com




                          From: Mike Jones
                          Sent: Thursday, December 23, 2021
                          12:07 PM
                          To: Morgan Pietz
                          <morgan@pstrials.com>; Dan
                          MacLemore
                          <maclemore@thetexasfirm.com>
                          Cc: caribou@matters.warrenlex.com;
                          WSOU‐Google@jonesday.com;
                          WSOUPOTTER GROUP
                          <WSOUGoogle@potterminton.com>;
                          IPTeam
                          <IPTeam@etheridgelaw.com>; CA‐
                          BrazosTrials@carterarnett.com; Rob
                          Millimet <Rob@stantonllp.com>;
                          Julie Goerlinger <julie@pstrials.com>;
                          Admin <admin@pstrials.com>; Diego
                          Salazar <salazar@thetexasfirm.com>;
                          Suzanne Miles
                                       45
Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 560 of 599

                          <Suzanne_Miles@txwd.uscourts.gov>
                          ; Kristie Davis
                          <Kristie_Davis@txwd.uscourts.gov>;
                          mark@swclaw.com; Jim Etheridge
                          <jim@etheridgelaw.com>; Ryan
                          Loveless <ryan@etheridgelaw.com>
                          Subject: RE: WSOU Investments, LLC
                          d/b/a Brazos Licensing and
                          Development v. Google LLC, Cause
                          Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐
                          cv‐573, 6:20‐cv‐575, 6:20‐cv‐576,
                          6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐
                          583, 6:20‐cv‐584, and 6:20‐cv‐585



                          Morgan and Dan,



                          Thanks for your quick
                          response. Google is available to
                          meet and confer on January 5, 2022
                          at 11:00 am central time, please
                          confirm that this works for your
                          team. At this time, we do not see
                          the need to include other third
                          parties in a meet and confer on
                          motions filed by Google, or by WSOU
                          based on subpoenas served by
                          Google. We will take a look at the
                          consolidation proposal once provided
                          to us and can reassess at that time if
                          it makes sense to invite others into
                          our discussion. As to the request
                          concerning unsealing of the hearing
                          transcript in the Microsoft matter,
                          Google does not oppose any such
                          request but does not agree that doing
                          so is necessary for the Court to hear
                          argument and resolve the three
                          pending motions at hand.



                          Happy Holidays.




                          Michael E. Jones
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                          facsimile: 903.593.0846
                          mikejones@potterminton.com




                          From: Morgan Pietz
                          <morgan@pstrials.com>
                          Sent: Wednesday, December 22,
                          2021 6:07 PM
                          To: Mike Jones
                          <mikejones@potterminton.com>;
                          Dan MacLemore
                          <maclemore@thetexasfirm.com>
                          Cc: caribou@matters.warrenlex.com;
                          WSOU‐Google@jonesday.com;
                          WSOUPOTTER GROUP
                          <WSOUGoogle@potterminton.com>;
                          IPTeam
                          <IPTeam@etheridgelaw.com>; CA‐
                          BrazosTrials@carterarnett.com; Rob
                          Millimet <Rob@stantonllp.com>;
                          Julie Goerlinger <julie@pstrials.com>;
                          Admin <admin@pstrials.com>; Diego
                          Salazar <salazar@thetexasfirm.com>;
                          Suzanne Miles
                          <Suzanne_Miles@txwd.uscourts.gov>
                          ; Kristie Davis
                          <Kristie_Davis@txwd.uscourts.gov>;
                          mark@swclaw.com; Jim Etheridge
                          <jim@etheridgelaw.com>; Ryan
                          Loveless <ryan@etheridgelaw.com>
                          Subject: RE: WSOU Investments, LLC
                          d/b/a Brazos Licensing and
                          Development v. Google LLC, Cause
                          Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐
                          cv‐573, 6:20‐cv‐575, 6:20‐cv‐576,
                          6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐
                          583, 6:20‐cv‐584, and 6:20‐cv‐585

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                          Hi Mike,



                          We are available to meet and confer
                          with you on this anytime January 5th
                          or later.



                          Between now and then, I plan to
                          circulate a proposal as to
                          consolidation of certain WSOU cases
                          for the limited purpose of third party
                          discovery. Which, as Dan indicated in
                          his letter, is something we’d like to
                          see resolved at the same time as
                          Google’s three motions to compel (all
                          recently transferred in from
                          Delaware) and WSOU’s motion for a
                          protective order (filed in W.D. Tex.
                          originally). I’d like for you to have a
                          chance to review the particulars of
                          our proposal, which I will be working
                          on next week, and for us to confer
                          about that on the same call.



                          Query whether you’d like counsel for
                          ZTE, Dell, and HPE to also participate
                          in the call, since they have also all
                          subpoenaed my clients, and some of
                          them are writing meet and confer
                          letters threatening still further
                          motions related to my clients (beyond
                          the six or seven already‐filed motions
                          I can count so far)? They’ll need to be
                          a part of the consolidation discussion,
                          in any event, but I’m happy to have a
                          separate call with only Google first, if
                          you so desire.



                          Further, can I assume that Google will
                          join in our request that WSOU and
                          Microsoft un‐seal the relevant
                          discovery tables and excerpts of the
                          transcript from the sealed hearing at
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                          which Microsoft’s motion to compel
                          discovery related to BP Funding and
                          Terrier was denied? When Ms. Kash
                          and I argued the motions to compel
                          in Delaware, we did so without being
                          able to explain to Judge Burke exactly
                          what was at issue and what was
                          decided in the Microsoft
                          proceedings. I don’t believe it makes
                          sense for us to have another hearing
                          on these issues without knowing
                          exactly what was decided in
                          Microsoft and it being clear for all to
                          see and discuss. I presume Google
                          agrees?



                          Please stay tuned for a proposal from
                          me as to consolidation. Let me know
                          whether Google joins in our request
                          as to unsealing the Microsoft
                          proceedings related to my
                          clients. And I look forward to
                          speaking with you in the new year.



                          Best regards,
                          Morgan




                          Morgan E. Pietz

                          PIETZ & SHAHRIARI, LLP

                          6700 S. Centinela Ave., 2nd Floor

                          Culver City, CA 90230

                          morgan@pstrials.com

                          (310) 424-5557




                                   49
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                          telephone number above.




                          From: Mike Jones
                          <mikejones@potterminton.com>
                          Sent: Wednesday, December 22,
                          2021 1:51 PM
                          To: Dan MacLemore
                          <maclemore@thetexasfirm.com>
                          Cc: Mike Jones
                          <mikejones@potterminton.com>;
                          caribou@matters.warrenlex.com;
                          WSOU‐Google@jonesday.com;
                          WSOUPOTTER GROUP
                          <WSOUGoogle@potterminton.com>;
                          IPTeam
                          <IPTeam@etheridgelaw.com>; CA‐
                          BrazosTrials@carterarnett.com;
                          Morgan Pietz
                          <morgan@pstrials.com>; Rob
                          Millimet <Rob@stantonllp.com>;
                          Julie Goerlinger <julie@pstrials.com>;
                          Admin <admin@pstrials.com>; Diego
                          Salazar <salazar@thetexasfirm.com>;
                          Suzanne Miles
                          <Suzanne_Miles@txwd.uscourts.gov>
                          ; Kristie Davis
                          <Kristie_Davis@txwd.uscourts.gov>;
                          mark@swclaw.com; Jim Etheridge
                                  50
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                          <jim@etheridgelaw.com>; Ryan
                          Loveless <ryan@etheridgelaw.com>
                          Subject: WSOU Investments, LLC
                          d/b/a Brazos Licensing and
                          Development v. Google LLC, Cause
                          Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐
                          cv‐573, 6:20‐cv‐575, 6:20‐cv‐576,
                          6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐
                          583, 6:20‐cv‐584, and 6:20‐cv‐585



                          Mr. MacLemore:



                          Good afternoon. I am sending this
                          email to all recipients of Jeffrey
                          Gunnell’s email of December 21,
                          2021 at 3:30 p.m., as well as to Jim
                          Etheridge and Ryan Loveless. If any
                          recipient feels it should be forward to
                          someone else, please let me know
                          and I will be happy to do so.



                          As you know, in Mr. Gunnell’s email,
                          the Court instructed us to meet and
                          confer regarding: (1) Google’s
                          motions to compel BP Funding Trust
                          and Terrier SSC, LLC; and (2) WSOU’s
                          motion for protective order. We are
                          available on December 28 between
                          9:00 a.m. and noon CST, December
                          29 between 11:00 a.m. and 2:00 p.m.
                          CST, and December 30 between 9:00
                          a.m. and 2:00 p.m. CST.



                          Please let us know when you are
                          available during this time.



                          Thank you.



                          Michael E. Jones

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                                                         Direct dial: 903.525.2239
                                                         facsimile: 903.593.0846
                                                         mikejones@potterminton.com




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                                                                      52
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 EXHIBIT 12
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Morgan Pietz

From:                Morgan Pietz
Sent:                Tuesday, January 11, 2022 8:38 AM
To:                  Jen Kash
Cc:                  Dan MacLemore; caribou@matters.warrenlex.com; WSOU-Google@jonesday.com; Mike Jones;
                     WSOUPOTTER GROUP; IPTeam; CA-BrazosTrials@carterarnett.com; Rob Millimet; Julie Goerlinger;
                     Admin; Diego Salazar; mark@swclaw.com; Jim Etheridge; Ryan Loveless
Subject:             RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
                     6:20-cv-571, 6:20-cv-572, 6:20-cv-573, 6:20-cv-575, 6:20-cv-576, 6:20-cv-579, 6:20-cv-580, 6:20-
                     cv-583, 6:20-cv-584, and 6:20-cv-585


Jen,

Thanks for this response noting that Google “would not oppose appropriate consolidation as long as it would not delay
Google’s right to obtain this important discovery” and for sending me earlier yesterday the 30(b)(6) deposition notice to
WSOU and identifying the topics on it that Google believes may be relevant to my clients, further to my several requests
for that information.

With respect to timing, I will get back to you soon.

As I’ve noted previously, the main cause of any delay here is that Google insisted on burdening my clients with motions
before multiple courts, rather than seeking to obtain the information directly from WSOU as it should have done last
fall. Below, you point out that my clients have known about the Microsoft ruling at least since October 21, 2021. But, as
described by Mr. Richins in his declaration submitted as part of the opposition to the motions to compel, Google has
known the result of the Microsoft ruling related to my clients least since Mr. Richins’ letter to Google dated September
15, 2021 (which was before Google filed all of its motions in Delaware). In other words, Google saw the handwriting on
the wall with respect to pursuing party discovery as part of the underlying case in Texas, and opted to take a detour to
Delaware hoping that it might get a different result from a different court in moving to enforce third party subpoenas
(rather than compelling party discovery). Google then opposed the motion to transfer filed by two of my clients
together with WSOU in Delaware. And it took Google several weeks to provide me with the list of relevant deposition
topics I requested in mid‐December, which you finally provided yesterday morning. So my clients are not that
sympathetic to Google’s claims of urgency.

I am going to forward this thread to counsel for the other defendants (including Google). Thanks for confirming that I
have your permission to do so.

Best regards,
Morgan




From: Jen Kash <jen@warrenlex.com>
Sent: Monday, January 10, 2022 5:40 PM
To: Morgan Pietz <morgan@pstrials.com>
Cc: Dan MacLemore <maclemore@thetexasfirm.com>; caribou@matters.warrenlex.com; WSOU‐
Google@jonesday.com; Mike Jones <mikejones@potterminton.com>; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐BrazosTrials@carterarnett.com; Rob
Millimet <Rob@stantonllp.com>; Julie Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar
<salazar@thetexasfirm.com>; mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless
                                                            1
              Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 570 of 599

<ryan@etheridgelaw.com>
Subject: Re: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos. 6:20‐cv‐571,
6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585

Morgan,

I have addressed the salient points from your email in turn below.

Discussion re: BP Funding & Terrier

You are correct that Google still intends to move forward with its motions to compel BP Funding and Terrier, and we
request that the hearing be set to occur within the month of January. Although we do not believe consolidation of any
matters is necessary or useful, we would not oppose appropriate consolidation as long as it would not delay Google’s right
to obtain this important discovery. Toward that end, we expect any motions regarding consolidation to be filed this week;
there is no reason to wait longer.

You stated in your email of January 7 that, before any hearing, you would “like to get the relevant transcript and briefing
unsealed from the Microsoft case.” As you know, Google has not seen that transcript, and has no way to know if it is
relevant. We do know, as you also know, that our subpoenas raise issues that “the Microsoft case” could not address,
including documents within BP and Terrier’s possession not held by WSOU, waiver of their objections to Google’s
subpoena, and their agreement that production in response to Google’s subpoena would not be burdensome. If your
clients believe that you should “get the relevant transcript and briefing unsealed from the Microsoft case,” you are free to
do that; you don't need Google's consent, as we are not a party in that case. That said, BP and Terrier have been aware of
“the Microsoft case” since at least October 21, 2021, when they referenced the hearing in opposition to Google’s motions
to compel and their own motion to transfer. Yet, it appears that, nearly three months later, there has been no progress
toward getting “the relevant transcript and briefing unsealed from the Microsoft case.” We are unaware of any reason for
this delay other than delay for its own sake; if we are wrong, we welcome correction.

We look forward to hearing from you promptly on this matter.

Discussion re: Aqua

We agreed that with respect to the Aqua motion to compel, we first need confirmation from Aqua as to whether or not it
has completed its production of documents, and then we will assess whether we will move forward with our motion based
on Aqua’s failure to produce negotiations with Google and/or WSOU concerning the patents-in-suit. The most pressing
issue, however, is confirming a deposition date for Aqua within the remaining discovery period in the WSOU v. Google
litigations, as fact discovery closes on February 25, 2022. I will discuss your “conditions” with the other three defendants
you listed and get back to you by the end of this week. Please note that it remains Google’s position that Aqua waived its
objections to the deposition subpoena, and Google reserves its rights to continue to assert such waiver regardless of our
efforts to reach an accommodation or compromise here.

Google does not object to you sharing this thread with counsel for the other three defendants. We are available for a
follow-up call this week, with one or more defendants if necessary.

Best regards, Jen


On Fri, Jan 7, 2022 at 9:44 PM Morgan Pietz <morgan@pstrials.com> wrote:

 [Bcc’ing Court Staff, Ms. Miles and Ms. Davis, off this thread, who I did not realize were copied previously]



 Jen,
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Nice speaking with you and everyone else today. I am not going to attempt to recap everything we discussed and all
the points made, but here are the highlights. Please let me know if I’ve summarized anything incorrectly, or if I have
omitted anything you think important.



Discussion re: BP Funding & Terrier



I expressed my view that I think the appropriate thing to happen with respect to Google’s attempt to seek discovery
related to BP Funding and Terrier is that Google should take its pending motions to compel against BP Funding and
Terrier (which have now been transferred in from Delaware) off calendar and that Google should instead begin the
process of seeking the documents it wants directly from WSOU, including by filing a motion to compel directed to
WSOU, if necessary.



You responded that from Google’s perspective the issues are different, documents from BP Funding and Terrier are key
to issues of standing, Google believes objections were waived, and there might be different documents at stake, so, in
any event, you were quite clear that Google would be moving forward on its motions as to BP Funding and Terrier and
that Google would like those two motions heard as soon as possible; your initial comment was that you’d like a hearing
“this month.”



I indicated that before we have another hearing on discovery related to BP Funding and Terrier, I’d like to get the
relevant transcript and briefing unsealed from the Microsoft case, at which Judge Albright previously addressed party
discovery related to BP Funding and Terrier. At a minimum, I’d like to get an answer from WSOU and Microsoft as to
whether they will stipulate to the unsealing of the relevant portions of the record and on what timeframe, before we
agree on a hearing date for your motions. You reiterated that Google does not oppose the unsealing of those
transcript portions, but that Google does not think anything should be delayed on that account.



As to my consolidation proposal, your initial position was that, at least with respect to inviting the other defendants to
participate at the hearing on the Google Motions, Google does “not object” to the general idea; again, as long as it does
not delay things. When I at one point explained that my proposal included a round of supplemental briefing, with the
dates for when the briefs would be due left blank, whereby any of the other defendants could add in their own two
cents about why they think Judge Albright got it wrong in Microsoft and Google should win this time around (or
whatever they want to say), with my clients and WSOU then afforded a chance to respond, you said that you would
have to take another look at my proposal as you had not initially noticed the supplemental briefing part of it.



When I asked why Google felt it needed a hearing “this month,” you mentioned that the documents might be relevant
to upcoming depositions set for February 9 (Craig Etchegoyen) and February 24 (Stu Shanus), because the documents
are purportedly relevant to the threshold issue of whether WSOU had standing to sue. At that point, I reiterated a
request I’ve made twice before, by email back before the December holidays, that Google please provide me with
copies of the relevant deposition notices, and direct me to the particular topics on those notices that Google contends
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are relevant to the documents it is seeking from my clients. You promised you would do so, and provide me both with
the notices and also identify the particular noticed topics that Google contends are relevant to my clients, sometime
next week.



I said that before I would commit to hearing timing, I want to hear what the other defendants involved in the
consolidation proposal have to say, and whether they all agree to my proposed order. One reason for that, I explained,
is that I would like the consolidation issue decided at the same time as the other “Google Motions”. I asked you to take
another look at my proposed consolidation order and indicate whether Google will agree to it as written, assuming the
other defendants are on board with it, which you said you did not want to do until the other defendants stake out their
own positions first. So, I promised that I will report back when I have obtained the other defendants’ positions about
the proposed consolidation order.



Finally, we agreed to touch base again next week with respect to timing, once you’ve sent me your deposition topics,
after we hopefully have some kind of answer from WSOU and Microsoft re: un‐sealing, and the other defendants have
weighed in about my consolidation proposal.




Discussion re: Aqua



You initially indicated that you though the Aqua motion should be on a different track from the BP Funding and Terrier
motions. Unlike with BP Funding and Terrier, the motion in Aqua is not fully briefed, because the parties had notified
the Judge in Delaware that they were cooperating and that a motion might not be necessary after all, prior the
transfers to W.D. Tex. You further indicated that you remained hopeful that perhaps motion practice could be avoided
on Aqua altogether, provided Aqua agrees to produce a witness to be deposed prior to the fact discovery cutoff, and
that Google would take up with WSOU any disputes it might have about the propriety of producing documentation
about “negotiations”, and look to WSOU to produce such documentation, rather than Aqua. I was a little bit unclear
about the part where you said you might reserve your right to refile a new motion as to Aqua, if Google does not like
how things shake out in conferring with WSOU.



In any event, to try and move things along, I made the following proposal as to Aqua, which I promised to write up and
asked you to please consider with your client and get back to me about:



    Subject to me confirming as much with my client rep, and to the following conditions, Aqua will agree to give a
    single deposition in the proposed consolidated cases:

            a. The four defendants need to coordinate a single date and time for the deposition that works for
                everyone;
            b. The four defendants need to coordinate and serve a single list of topics and cooperate as to their
                questioning;
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            c. The “main” part of the deposition will not go longer than seven hours;
            d. Since Google claims it has some special circumstances relating to Aqua’s communications with Google,
                which are subject to an NDA, concerning potential licensing of patents in suit, Aqua would agree to do
                one additional hour with Google, as to those specific topics, at which the other defendants could be
                excluded (if that is what the parties want);
            e. Finally, I would want the four defendants’ assurance that this one deposition of Aqua is going to be it,
                and that Aqua is not going to be dragged in a second time if Google or another defendant later prevails
                on some kind of motion (either the one Google already filed in Delaware, or on a new motion against
                Aqua or WSOU) if a defendant convinces Judge Albright that Google should receive “negotiation”
                documents related to Aqua in any of these cases.



The foregoing largely mirrors what I already wrote out in my proposed consolidation order, except as to that last point,
which is a concern I added after listening to your explanation of how Google intends to potentially proceed.




Question: May I Share this Thread with ZTE, Dell, and HPE?



On today’s call, you indicated that Google did not want to wait around for any of the other defendants, none of whom
were invited to join today’s call. I had proposed adding them and doing a single call, but Mike Jones indicated to me
last week that he would prefer to proceed on a separate call with just us to begin with.



To move things along with the other defendants subject to the consolidation proposal, do I have your permission to
share this recap and thread (including your response) with the counsel for the other defendants to whom I emailed the
consolidation proposal yesterday?



Bottom line is let’s see where all the defendants stand with respect to consolidation and then touch base again next
week. If we do another call, I think it probably makes sense for a next one to include counsel for all four defendants.



Have a nice weekend, everyone.



Best regards,
Morgan




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From: Mike Jones <mikejones@potterminton.com>
Sent: Wednesday, January 5, 2022 8:30 AM
To: Morgan Pietz <morgan@pstrials.com>; Mike Jones <mikejones@potterminton.com>
Cc: Dan MacLemore <maclemore@thetexasfirm.com>; caribou@matters.warrenlex.com; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; IPTeam
<IPTeam@etheridgelaw.com>; CA‐BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie
Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>; Suzanne
Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>; mark@swclaw.com; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos. 6:20‐cv‐571,
6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐
585



Morgan –



This will confirm Friday at 1:00 pm CT. I will send a calendar invite and dial in shortly.




Michael E. Jones



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Direct dial: 903.525.2239
facsimile: 903.593.0846
mikejones@potterminton.com




From: Morgan Pietz <morgan@pstrials.com>
Sent: Wednesday, January 5, 2022 10:17 AM
To: Mike Jones <mikejones@potterminton.com>
Cc: Dan MacLemore <maclemore@thetexasfirm.com>; caribou@matters.warrenlex.com; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; IPTeam
<IPTeam@etheridgelaw.com>; CA‐BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie
                                                              6
                Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 575 of 599

Goerlinger <julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>; Suzanne
Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>; mark@swclaw.com; Jim
Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: Re: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos. 6:20‐cv‐571,
6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583, 6:20‐cv‐584, and 6:20‐cv‐
585



Mike,



Friday at 11 am Pacific / 1 pm Central should work. If anyone has a conflict please advise now. I’m out of the office and
on my phone right now, so would you please be so kind as to circulate a calendar appt / dial in?



Best regards,

Morgan

Sent from my iPhone



         On Jan 5, 2022, at 7:41 AM, Mike Jones <mikejones@potterminton.com> wrote:



         Morgan,



         It is important we conduct this meet and confer this week. We are available from 9 am central until 3
         pm central time on Friday to conduct the meet and confer. Please confirm today what works in this
         window for you and the others on your side who intend to participate.




         Michael E. Jones

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         Address: 110 North College, Suite 500; Tyler TX 75702
         direct dial: 903-525-2239


         direct fax: 903-531-3939


                                                                   7
     Case 6:21-mc-01270-ADA Document 33-1 Filed 01/21/22 Page 576 of 599
office: 903-597-8311
mikejones@potterminton.com




From: Morgan Pietz <morgan@pstrials.com>
Sent: Tuesday, January 4, 2022 6:53 PM
To: Mike Jones <mikejones@potterminton.com>; Dan MacLemore <maclemore@thetexasfirm.com>
Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐
BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger
<julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>;
Suzanne Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>;
mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause
Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐
cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585



Hi Mike,



I had hoped to have you a draft of a consolidation proposal by tomorrow. With the holidays, it is taking
just a little longer than I had hoped, but I do anticipate having the proposal ready to circulate to you by
end of the day tomorrow, Thursday morning at the very latest.



Re: an M&C call, I will work on clearing some times that work for me, my co‐counsel, my local counsel,
and with counsel for WSOU in the Google case and I’ll propose a few times tomorrow for Thursday
afternoon or on Friday. If there are any good windows either day that work for your team, please let
me know and I’ll start by clearing those times.



Best regards,

Morgan




Morgan E. Pietz

PIETZ & SHAHRIARI, LLP
                                                    8
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6700 S. Centinela Ave., 2nd Floor

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From: Mike Jones <mikejones@potterminton.com>
Sent: Tuesday, January 4, 2022 4:00 PM
To: Morgan Pietz <morgan@pstrials.com>; Dan MacLemore <maclemore@thetexasfirm.com>
Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐
BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger
<julie@pstrials.com>; Mike Jones <mikejones@potterminton.com>; Admin <admin@pstrials.com>;
Diego Salazar <salazar@thetexasfirm.com>; Suzanne Miles <Suzanne_Miles@txwd.uscourts.gov>;
Kristie Davis <Kristie_Davis@txwd.uscourts.gov>; mark@swclaw.com; Jim Etheridge
<jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause
Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐
cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585



Morgan and Dan –



I am confirming our meet and confer telephonic conference tomorrow at 11:00 a.m. CT as discussed in
the email below. Please confirm your attendance and I will send dial in information first thing in the
morning.



Thanks so much.

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Michael E. Jones



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mikejones@potterminton.com




From: Mike Jones
Sent: Thursday, December 23, 2021 12:07 PM
To: Morgan Pietz <morgan@pstrials.com>; Dan MacLemore <maclemore@thetexasfirm.com>
Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐
BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger
<julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>;
Suzanne Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>;
mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause
Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐
cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585



Morgan and Dan,



Thanks for your quick response. Google is available to meet and confer on January 5, 2022 at 11:00
am central time, please confirm that this works for your team. At this time, we do not see the need to
include other third parties in a meet and confer on motions filed by Google, or by WSOU based on
subpoenas served by Google. We will take a look at the consolidation proposal once provided to us
and can reassess at that time if it makes sense to invite others into our discussion. As to the request
concerning unsealing of the hearing transcript in the Microsoft matter, Google does not oppose any
such request but does not agree that doing so is necessary for the Court to hear argument and resolve
the three pending motions at hand.



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Happy Holidays.




Michael E. Jones



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From: Morgan Pietz <morgan@pstrials.com>
Sent: Wednesday, December 22, 2021 6:07 PM
To: Mike Jones <mikejones@potterminton.com>; Dan MacLemore <maclemore@thetexasfirm.com>
Cc: caribou@matters.warrenlex.com; WSOU‐Google@jonesday.com; WSOUPOTTER GROUP
<WSOUGoogle@potterminton.com>; IPTeam <IPTeam@etheridgelaw.com>; CA‐
BrazosTrials@carterarnett.com; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger
<julie@pstrials.com>; Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>;
Suzanne Miles <Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>;
mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: RE: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause
Nos. 6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐
cv‐583, 6:20‐cv‐584, and 6:20‐cv‐585



Hi Mike,



We are available to meet and confer with you on this anytime January 5th or later.



Between now and then, I plan to circulate a proposal as to consolidation of certain WSOU cases for the
limited purpose of third party discovery. Which, as Dan indicated in his letter, is something we’d like to

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see resolved at the same time as Google’s three motions to compel (all recently transferred in from
Delaware) and WSOU’s motion for a protective order (filed in W.D. Tex. originally). I’d like for you to
have a chance to review the particulars of our proposal, which I will be working on next week, and for
us to confer about that on the same call.



Query whether you’d like counsel for ZTE, Dell, and HPE to also participate in the call, since they have
also all subpoenaed my clients, and some of them are writing meet and confer letters threatening still
further motions related to my clients (beyond the six or seven already‐filed motions I can count so
far)? They’ll need to be a part of the consolidation discussion, in any event, but I’m happy to have a
separate call with only Google first, if you so desire.



Further, can I assume that Google will join in our request that WSOU and Microsoft un‐seal the
relevant discovery tables and excerpts of the transcript from the sealed hearing at which Microsoft’s
motion to compel discovery related to BP Funding and Terrier was denied? When Ms. Kash and I
argued the motions to compel in Delaware, we did so without being able to explain to Judge Burke
exactly what was at issue and what was decided in the Microsoft proceedings. I don’t believe it makes
sense for us to have another hearing on these issues without knowing exactly what was decided in
Microsoft and it being clear for all to see and discuss. I presume Google agrees?



Please stay tuned for a proposal from me as to consolidation. Let me know whether Google joins in our
request as to unsealing the Microsoft proceedings related to my clients. And I look forward to speaking
with you in the new year.



Best regards,
Morgan




Morgan E. Pietz

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                                                   12
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From: Mike Jones <mikejones@potterminton.com>
Sent: Wednesday, December 22, 2021 1:51 PM
To: Dan MacLemore <maclemore@thetexasfirm.com>
Cc: Mike Jones <mikejones@potterminton.com>; caribou@matters.warrenlex.com; WSOU‐
Google@jonesday.com; WSOUPOTTER GROUP <WSOUGoogle@potterminton.com>; IPTeam
<IPTeam@etheridgelaw.com>; CA‐BrazosTrials@carterarnett.com; Morgan Pietz
<morgan@pstrials.com>; Rob Millimet <Rob@stantonllp.com>; Julie Goerlinger <julie@pstrials.com>;
Admin <admin@pstrials.com>; Diego Salazar <salazar@thetexasfirm.com>; Suzanne Miles
<Suzanne_Miles@txwd.uscourts.gov>; Kristie Davis <Kristie_Davis@txwd.uscourts.gov>;
mark@swclaw.com; Jim Etheridge <jim@etheridgelaw.com>; Ryan Loveless <ryan@etheridgelaw.com>
Subject: WSOU Investments, LLC d/b/a Brazos Licensing and Development v. Google LLC, Cause Nos.
6:20‐cv‐571, 6:20‐cv‐572, 6:20‐cv‐573, 6:20‐cv‐575, 6:20‐cv‐576, 6:20‐cv‐579, 6:20‐cv‐580, 6:20‐cv‐583,
6:20‐cv‐584, and 6:20‐cv‐585



Mr. MacLemore:



Good afternoon. I am sending this email to all recipients of Jeffrey Gunnell’s email of December 21,
2021 at 3:30 p.m., as well as to Jim Etheridge and Ryan Loveless. If any recipient feels it should be
forward to someone else, please let me know and I will be happy to do so.



As you know, in Mr. Gunnell’s email, the Court instructed us to meet and confer regarding: (1)
Google’s motions to compel BP Funding Trust and Terrier SSC, LLC; and (2) WSOU’s motion for
protective order. We are available on December 28 between 9:00 a.m. and noon CST, December 29
between 11:00 a.m. and 2:00 p.m. CST, and December 30 between 9:00 a.m. and 2:00 p.m. CST.



Please let us know when you are available during this time.


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Thank you.



Michael E. Jones



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mikejones@potterminton.com




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 EXHIBIT 13
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Morgan Pietz

From:              Jen Kash <jen@warrenlex.com>
Sent:              Thursday, January 20, 2022 7:56 AM
To:                Joshua Bennett
Cc:                Ellie Silberhorn; Morgan Pietz; Travis Richins; Michael Franzinger; Mark Siegmund; Brazos Trials; Greg
                   Lanier; Mike Jones; WSOU Investments LLC v. Google LLC; WSOU Investments LLC v. Google LLC;
                   WSOU Investments LLC v. Google LLC; WSOU Investments LLC v. Google LLC; WSOU-Google;
                   SidleyHPEWSOUTeam@sidley.com; Hatcher, Michael D.
Subject:           Re: WSOU Investments LLC v. Google LLC, Nos. 20-571, 20-572, 20-573, 20-575, 20-576, 20-579,
                   20-580, 20-583, 20-584, 20-585 (W.D. Texas); Google LLC v. Aqua Licensing, LLC 21-1309 (W.D.
                   Texas)


Joshua,

While WSOU has not subpoenaed Aqua Licensing, Inc for deposition, we are willing to work with WSOU
regarding the scheduling of the deposition. However, as a result of the scheduling conflicts presented by
WSOU’s calendar, and those of counsel for Google and what will likely be the complications of Mr. McMillian’s
calendar and Aqua’s counsel, we are not certain we can also continue to accommodate Mr. Pietz's request
that the deposition of Aqua be coordinated with counsel for HPE (let alone that of defendants in other WSOU
litigations which Mr. Pietz has indicated he will also seek to join). We are unaware of whether HPE is
available on any of the dates requested by WSOU.

That said, Google is available to conduct the deposition of Aqua on February 22, 2022.

Thanks, Jen


On Wed, Jan 19, 2022 at 11:09 PM Joshua Bennett <jbennett@carterarnett.com> wrote:

 Ms. Kash,



 We oppose and will move to quash (or initiate procedures under the OGP to oppose) any effort to
 obtain Aqua’s deposition on the three dates you provided. Brazos will want a seat at the
 deposition. Those dates don’t work for our team for reasons already on your calendar.



 The discovery cut off is February 25. There are plenty of other days available in the month of
 February. We propose February 14, 17, 22, or 25.




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                                   Joshua J. Bennett | Partner
                                   jbennett@carterarnett.com
                                   D: 214.550.2112
                                   F: 214.550.8185
                                   www.carterarnett.com


8150 N. Central Expressway, Suite 500, Dallas, Texas 75206

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privilege. If you have received this e‐mail in error, please delete it from your system without copying it and notify sender by reply e‐
mail, so that our records can be corrected.




From: Ellie Silberhorn <ellie@warrenlex.com>
Date: Wednesday, January 19, 2022 at 3:39 PM
To: Morgan Pietz <morgan@pstrials.com>
Cc: Travis Richins <travis@etheridgelaw.com>, Michael Franzinger <mfranzinger@sidley.com>, Mark
Siegmund <mark@waltfairpllc.com>, Brazos Trials <CA‐BrazosTrials@carterarnett.com>, Greg Lanier
<tglanier@jonesday.com>, Mike Jones <mikejones@potterminton.com>, WSOU Investments LLC v. Google
LLC <20‐571@cases.warrenlex.com>, WSOU Investments LLC v. Google LLC <20‐580@cases.warrenlex.com>,
WSOU Investments LLC v. Google LLC <20‐583@cases.warrenlex.com>, WSOU Investments LLC v. Google LLC
<20‐585@cases.warrenlex.com>, WSOU‐Google <WSOU‐Google@jonesday.com>
Subject: WSOU Investments LLC v. Google LLC, Nos. 20‐571, 20‐572, 20‐573, 20‐575, 20‐576, 20‐579, 20‐580,
20‐583, 20‐584, 20‐585 (W.D. Texas); Google LLC v. Aqua Licensing, LLC 21‐1309 (W.D. Texas)

Counsel:



Attached please find a letter from Jennifer A. Kash. Please let me know if you do not receive this attachment in good
order.



Thank you,

Ellie Silberhorn




‐‐

Ellie Silberhorn    ellie@warrenlex.com         +1 (415) 895‐2950


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Morgan Pietz

From:                Franzinger, Michael <mfranzinger@sidley.com>
Sent:                Thursday, January 20, 2022 1:37 PM
To:                  Morgan Pietz; Blythe, Andrew Philip; Sabanoglu, Kyanna; Kathir, Allen; bshelton@sheltoncoburn.com
Cc:                  Mark Siegmund; Admin; CA-BrazosTrials@carterarnett.com; Hatcher, Michael D.; Dan MacLemore;
                     Diego Salazar; Hartman, Sarah G.; IPTeam; Jim Etheridge; Julie Goerlinger; Jones, Michael E.
                     (EXTERNAL @POTTERMINTON.COM); Rob Millimet; Rousseau, Timothy J.; Ryan Loveless; Schulz,
                     Bradford; WSOU-Google@jonesday.com; Jen Kash; WSOUPOTTER GROUP;
                     caribou@matters.warrenlex.com; Butcher, Callie; *** GDC-Dell_WSOU; jbennett@carterarnett.com;
                     sbreedlove@carterarnett.com; Lionel.Lavenue@finnegan.com
Subject:             RE: WSOU Investments - Limited Purpose Consolidation as to Certain Third Party Discovery


Morgan,

Aspreviouslydiscussed,HPEdoesnotobjecttocoordinatingitsdiscoveryofyourclientswithGoogle.Wearenotsurea
formalconsolidationisneededandhavenopositionatpresentontheproposedorder.Pleaseconfirm,though,that
HPEwillreceiveacopyofalldocumentstheyproducetoGoogleandthetranscriptofanydepositiontakenofthemin
thismatter,withoutregardtowhetherHPEhassubpoenaedthemornot.Wedonotthinkitisagooduseofanyone’s
timetopreparewhatwillessentiallybeduplicatesubpoenastogetduplicateresponses(butwewilldosoifnecessary).

AstoAqua,weareavailabletoparticipateinaFebruary22deposition.

Bestregards,
Mike


MICHAEL R. FRANZINGER


SIDLEY AUSTIN LLP
+1 202 736 8583
mfranzinger@sidley.com


        From:MorganPietz<morgan@pstrials.com>
        Sent:Thursday,January20,202212:13AM
        To:Blythe,AndrewPhilip<ABlythe@gibsondunn.com>;Sabanoglu,Kyanna<KSabanoglu@gibsondunn.com>;
        Kathir,Allen<AKathir@gibsondunn.com>;bshelton@sheltoncoburn.com
        Cc:Franzinger,Michael<mfranzinger@sidley.com>;MarkSiegmund<mark@swclaw.com>;Admin
        <admin@pstrials.com>;CAͲBrazosTrials@carterarnett.com;Hatcher,MichaelD.<mhatcher@sidley.com>;Dan
        MacLemore<maclemore@thetexasfirm.com>;DiegoSalazar<salazar@thetexasfirm.com>;Hartman,SarahG.
        <SHartman@brownrudnick.com>;IPTeam<IPTeam@etheridgelaw.com>;JimEtheridge
        <jim@etheridgelaw.com>;JulieGoerlinger<julie@pstrials.com>;Jones,MichaelE.(EXTERNAL
        @POTTERMINTON.COM)<mikejones@potterminton.com>;RobMillimet<Rob@stantonllp.com>;Rousseau,
        TimothyJ.<TRousseau@brownrudnick.com>;RyanLoveless<ryan@etheridgelaw.com>;Schulz,Bradford
        <Bradford.Schulz@finnegan.com>;WSOUͲGoogle@jonesday.com;JenKash<jen@warrenlex.com>;
        WSOUPOTTERGROUP<WSOUGoogle@potterminton.com>;caribou@matters.warrenlex.com;Butcher,Callie
        <cbutcher@sidley.com>;***GDCͲDell_WSOU<GDCͲDell_WSOU@gibsondunn.com>;
        jbennett@carterarnett.com;sbreedlove@carterarnett.com;Lionel.Lavenue@finnegan.com
        Subject:RE:WSOUInvestmentsͲLimitedPurposeConsolidationastoCertainThirdPartyDiscovery

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Subpoenas Served on BP Funding Trust
Jen Kash <jen@warrenlex.com>                                                                              Tue, Oct 5, 2021 at 5:38 PM
To: Rob Millimet <Rob@stantonllp.com>
Cc: Warren Lex Project Caribou <caribou@matters.warrenlex.com>, "Egan, Brian P." <began@morrisnichols.com>, "Blumenfeld, Jack"
<JBlumenfeld@morrisnichols.com>

 Mr. Millimet,

 Thank you for your time today and for participating in what was a productive meet and confer regarding BP Funding Trust’s (“BP”) response
 to the two subpoenas served by Google on September 8, 2021.

 As discussed on our call, Google is willing to postpone filing any motion to compel on either the subpoena for documents or deposition in
 light of BP’s agreement to provide the documents it believes it has in its possession by October 15, 2021. The categories of documents
 that we discussed, and you agreed to produce on behalf of BP, are as follows:

      1. Any documents or communications (including email) leading up to and including the loan or security agreement entered into by and
         between BP and WSOU Investments, LLC, or its affiliates (collectively “WSOU”) in or around May of 2019.
      2. The security or loan agreement itself between BP and WSOU.
      3. Any documents (including forwarded communication) provided to BP by WSOU at any time regarding the assets securing the loan,
         inclusive of any documents provided to BP by counsel for WSOU. This would include any valuations or opinions regarding any of
         the assets/patents inclusive of things like market analysis, licensing forecasts or strength of one or more patents in the portfolio. We
         agreed that BP would not have to provide a privilege log, at this time, reflecting communications it had with its own outside counsel
         regarding these assets.
      4. Any documents or communications (including email) leading up to and including the transfer or sale of the security interest or loan
         with WSOU to a third party in or around January of 2020. These would include communications with WSOU and/or with a third
         party.
      5. The official agreement or instrument executed in conveying the WSOU loan or security agreement to the third party.

 While not discussed during the call, we would also like to request that BP produce any documents or communications with WSOU after
 January 2020, in the unlikely event any such communications exist.

 We further agreed to postpone the question of whether or not Google would proceed with a deposition of BP until after the documents had
 been produced on October 15, 2021 and Google had an opportunity to assess whether a deposition was necessary at that time.

 I have attached a copy of the protective order entered in the underlying actions so that BP can designate its documents with its desired
 level of confidentiality. Please confirm in writing that I have accurately reflected the agreement between BP and Google as it applies to
 BP’s response to the subpoenas.

 I am available to discuss further at your convenience, or to answer any questions, during this process.

 Very truly yours, Jen

 --
 Jen Kash
 Partner, Warren Lex LLP
 2261 Market Street, No. 606
 San Francisco, CA, 94114
 1-415-895-2923
 jen@warrenlex.com

      Protective Order.pdf
      334K
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Morgan Pietz

From:                Morgan Pietz
Sent:                Thursday, November 11, 2021 2:58 PM
To:                  Kathir, Allen; Sabanoglu, Kyanna
Cc:                  Barry Shelton; Travis Richins; Rob Millimet; Julie Goerlinger; Admin; bhershkowitz@gibsondunn.com;
                     brosenthal@gibsondunn.com; ptrochia@gibsondunn.com; vallahyarzadeh@gibsondunn.com;
                     ablythe@gibsondunn.com; ewhitcher@gibsondunn.com; jschung@gibsondunn.com;
                     ehsin@gibsondunn.com; riwahashi@gibsondunn.com; BBarnes@gibsondunn.com
Subject:             RE: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.
Attachments:         2021.11.11 - Ltr re Dell Subpoena to BasePoint Administrative LLC.pdf; 2021.11.11 - Basepoint
                     Administrative LLC Objection to Dell EMC Subpoena.pdf; Docket Report and ECF No. 92 in W.D. Tex.
                     No. 6-20-460-ADA.pdf


Counsel,

In response to the below email thread, please see the attached letter, objections being served by this email, and a copy
of the docket report and proposed order referenced in the letter.

Best regards,
Morgan


Morgan E. Pietz
PIETZ & SHAHRIARI, LLP
9454 Wilshire Blvd., Ste. 310
Beverly Hills, CA 90212
morgan@pstrials.com
(310) 424-5557

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From: Morgan Pietz
Sent: Thursday, November 11, 2021 7:34 AM
To: Kathir, Allen <AKathir@gibsondunn.com>; Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; Rob Millimet
<Rob@stantonllp.com>; Barry Shelton <bshelton@sheltoncoburn.com>
Subject: RE: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.

Hi Allen,

We’ll be in touch with a substantive update later today.

Best regards,
Morgan

From: Kathir, Allen <AKathir@gibsondunn.com>
Sent: Thursday, November 11, 2021 6:17 AM
                                                            1
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To: Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; Rob Millimet <Rob@stantonllp.com>; Barry Shelton
<bshelton@sheltoncoburn.com>
Cc: Morgan Pietz <morgan@pstrials.com>
Subject: RE: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.

Hi Rob and Morgan,

Nice to meet both of you. I’m following up on the below.

Thanks,
Allen


Allen Kathir

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
200 Park Avenue, New York, NY 10166-0193
Tel +1 212.351.6282 • Fax +1 212.817.9382
AKathir@gibsondunn.com • www.gibsondunn.com



From: Sabanoglu, Kyanna
Sent: Friday, November 5, 2021 5:25 PM
To: Rob Millimet <Rob@stantonllp.com>; Barry Shelton <bshelton@sheltoncoburn.com>
Cc: Kathir, Allen <AKathir@gibsondunn.com>; Morgan Pietz <morgan@pstrials.com>
Subject: RE: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.

Hello Rob,

Nice to meet you through email. We look forward to speaking with you and your team early next week.

Warmest Regards,

Kyanna Sabanoglu

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
200 Park Avenue, New York, NY 10166-0193
Tel +1 212.351.3880 • Fax +1 212.716.0880
KSabanoglu@gibsondunn.com • www.gibsondunn.com



From: Rob Millimet <Rob@stantonllp.com>
Sent: Thursday, November 4, 2021 4:21 PM
To: Barry Shelton <bshelton@sheltoncoburn.com>
Cc: Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; Kathir, Allen <AKathir@gibsondunn.com>; Morgan Pietz
<morgan@pstrials.com>
Subject: RE: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.

[WARNING: External Email]
Thanks Barry.

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In the month or so since I sent you the email below, circumstances have changed and new facts have come to light. I
presume you are aware of this, because I understand that Google and Dell are claiming to be in a joint defense with each
other in connection with the WSOU litigation. So, I’m sure you are aware of the subpoena proceedings that Google
initiated in Delaware.

My co‐counsel in those proceedings Morgan Pietz (cc’d) and I will be in touch with your team early next week. We can
address at that time whether and to what extent any deal can still be reached.

Thank you.

ROBERT M. MILLIMET
Attorney

STANTON LLP
D 214 996 0218
O 972 233 2300
stantonllp.com

From: Barry Shelton <bshelton@sheltoncoburn.com>
Sent: Wednesday, November 3, 2021 10:49 PM
To: Rob Millimet <Rob@stantonllp.com>
Cc: Sabanoglu, Kyanna <KSabanoglu@gibsondunn.com>; Kathir, Allen <AKathir@gibsondunn.com>
Subject: RE: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.

Rob,

We have an agreement. I’ve copied Kyanna Sabanoglu and Allen Kathir of Gibson Dunn, who will be your primary
contacts going forward. Thanks,

Barry

From: Rob Millimet <Rob@stantonllp.com>
Sent: Friday, October 8, 2021 10:59 AM
To: Barry Shelton <bshelton@sheltoncoburn.com>
Subject: RE: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.

Hi Barry. I have now been retained in connection with your subpoena in the above‐referenced matter. As previously
discussed, the subpoena was not served on the correct party. Nonetheless, I write in an attempt to try to reach an
agreement on an efficient and not unduly burdensome response to your third‐party subpoena. I have reached the
following agreement for responding to a similar subpoena issued by Google LLC in its litigation with WSOU. Please let me
know if we can have a similar agreement for your subpoena.

The lender to WSOU (“BasePoint”) and WSOU executed their lending relationship in May 2019. In January 2020,
BasePoint assigned the loan to a third party. As a result, BasePoint lacks responsive documents following the assignment
except as to its requests for indemnification and to be held harmless for its costs in responding to subpoenas. In light of
the foregoing, BasePoint will agree to produce the following categories of documents:

    1. Any documents or communications (including email) leading up to and including the loan or security agreement
       entered into by and between BasePoint and WSOU in May of 2019.
    2. The security or loan agreement itself between BasePoint and WSOU.
    3. Any documents (including forwarded communication) provided to BasePoint by WSOU at any time regarding the
       assets securing the loan, inclusive of any documents provided to BasePoint by counsel for WSOU. This would
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       include any valuations or opinions regarding any of the assets/patents, inclusive of things like market analysis,
       licensing forecasts or strength of one or more patents in the portfolio. BasePoint does not have to provide a
       privilege log, at this time, reflecting communications it had with its own outside counsel regarding these assets.
    4. Any documents or communications (including email) leading up to and including the transfer or sale of the
       security interest or loan with WSOU to a third party in January of 2020. These would include communications
       with WSOU and/or with a third party.
    5. The official agreement or instrument executed in conveying the WSOU loan or security agreement to the third
       party.
    6. Any documents or communications between BasePoint and WSOU concerning the loan or the patents after
       January 2020, but not any documents or communications related to the subpoenas themselves or BasePoint’s
       requests for indemnification or to be held harmless.

As to your request for a deposition, BasePoint will agree to revisit the need for one after you receive and assess the
above documents.

Finally, this agreement seeks to avoid the need to present any arguments to the Court, but should that need arise,
neither your clients nor BasePoint have waived or released any arguments through our discussions and agreements.

Please let me know if we have an agreement. Thank you.

ROBERT M. MILLIMET
Attorney

STANTON LLP
D 214 996 0218
O 972 233 2300
stantonllp.com

From: Barry Shelton <bshelton@sheltoncoburn.com>
Sent: Friday, October 1, 2021 2:25 PM
To: Rob Millimet <Rob@stantonllp.com>
Subject: RE: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.

Thanks, Rob, most of my morning is free Monday but a few people have asked for availability. Can you call around 8:30‐
9 CT at 512‐517‐9998? What do you mean by a new subpoena?

Barry

From: Rob Millimet <Rob@stantonllp.com>
Sent: Friday, October 1, 2021 2:03 PM
To: Barry Shelton <bshelton@sheltoncoburn.com>
Subject: BasePoint/WSOU Investments v. Dell Technologies, Inc., et al.

Hi Barry. I am writing to you from my work account in connection with the above‐referenced matter. Please let me know
when you have a few minutes early next week to discuss a new subpoena. I have spoken, and will be further speaking,
with BasePoint and should be in a position at that time to discuss moving forward on the discovery sought by the prior
subpoena.

Thank you for your patience.

ROBERT M. MILLIMET
Attorney


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STANTON LLP
D 214 996 0218
O 972 233 2300
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6700 S. Centinela Ave., Second Floor, Playa Vista, CA 90230
www.pstrials.com t: (310) 424-5557 f: (310) 597-4626

                                                                          Morgan E. Pietz
                                                                     morgan@pstrials.com
                                                                      November 11, 2021
VIA ELECTRONIC MAIL

 Kyanna Sabanoglu KSabanoglu@gibsondunn.com
 Allen Kathir     AKathir@gibsondunn.com


Re:
       BasePoint Administrative, LLC’s Objections to Third Party Subpoena
       WSOU Investments, LLC v. Dell Tech., Inc., et al., W.D. Tex. No. 6:20-cv-475, etc.

Dear Kyanna and Allen,

Please find attached written objections and responses to the subpoena that
Defendants Dell Technologies, Inc., Dell, Inc., and EMC Corporation (“Dell”) served on
BasePoint Administrative, LLC, in connection with its litigation against WSOU in the
Western District of Texas.

As my co-counsel Mr. Millimet noted in his email of 10/8, referencing an earlier
conversation between him and Mr. Shelton, Dell’s subpoena was not served on the
correct entity. The proper entity for service was the lender, BP Funding Trust.

Of more concern than the ‘wrong entity’ issue, is the fact that our clients have now
become aware of—indeed, unhappily embroiled in—disputes between WSOU and
certain defendants it has sued for patent infringement in the Western District of Texas,
including Microsoft and Google, about the same documents that Dell has also now
requested through the instant subpoena.

As you are probably aware, the “agreement for responding to a similar subpoena
issued by Google LLC in its litigation with WSOU,” which Mr. Millimet mentioned in his
10/8 email, has been set aside. The reason why, was because WSOU informed us that
Microsoft recently sought these very same documents set out in Mr. Millimet’s 10/8
email, in party discovery it propounded on WSOU, and that Microsoft filed a motion to
compel production, which we understand was then denied by Judge Albright. WSOU
notified us that it was filing a motion for a protective order concerning these documents
in the Western District of Texas.

Google knew that Judge Albright had denied the motion to obtain the very same
discovery from WSOU in party discovery in the Microsoft case, because WSOU informed
Google of this in a letter. When Mr. Millimet initially reached a deal with Google, he
was unaware of all this, and Google failed to mention it.

After WSOU informed us of the ruling in the Microsoft case, and further indicated it
would be seeking a protective order in Texas, and explained that the effort to obtain
documents from BP Funding Trust was really an attempted end run around Judge


CONFIDENTIAL                                                                    Page 1 of 3
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BasePoint Administrative, LLC’s Objections to Third Party Subpoena
November 11, 2021

Albright’s prior ruling about these documents in the Microsoft case, Mr. Millimet
indicated he would need to talk all this over with our client.

Google responded to Mr. Millimet’s hesitation (which was more than appropriate under
the change in circumstances) by declaring an emergency, rushing into court in
Delaware (the place for compliance with the subpoena) to file a motion to compel, in
which Google renounced the prior agreement Mr. Millimet mentioned in his 10/8 email
below, and sought to compel BP Funding Trust to produce all of the documents
requested in Google’s plainly overbroad subpoena. Google moved to compel
depositions while ignoring the prior agreement to discuss the need for deposition(s)
after receipt of the documents.

We opposed Google’s motion to compel, setting out all the above, and asked the
Delaware court to transfer all the subpoena-related proceedings back to Judge
Albright in Texas per Rule 45(f). WSOU’s motion for a protective order concerning these
documents in Texas, Google’s motion to compel production of them in Delaware, and
a joint motion to transfer Google’s motion to compel back to Texas under Rule 45(f) are
all still pending.

We understand from WSOU’s counsel, that Google and Dell claim to be in a joint
defense agreement. So, I assume you are aware of all of this. Further, Mr. Shelton, your
co-counsel who signed the instant subpoena on BasePoint Administrative for Dell, is also
local counsel for Microsoft. We understand that Mr. Shelton was present at the hearing
at which Judge Albright denied this same discovery in the Microsoft cases. Please see
the attached docket report and ECF notice, indicating that Mr. Shelton was the person
tasked with writing up a proposed order memorializing Judge Albright’s discovery ruling
denying Microsoft’s motion to compel as to the BP Funding documents.

BP Funding has also now been subpoenaed by yet another defendant, called ZTE,
which served an identical subpoena to the one previously served by Google.

Our client’s bottom line is this: Dell, Google, ZTE, and anyone else, all need to work this
out directly with WSOU before Judge Albright in Texas. I understand Judge Albright
expressed concerns about relevance and burden. A party propounding a subpoena
on a third party has an affirmative duty to minimize burden on that third party, and
should generally seek discovery from a party before burdening a third party. As far as I
am aware, this has not yet been done here by Dell, and we are not willing to step past
the requirement that Dell make a serious, good faith effort to work all this out with WSOU
directly, including by going before Judge Alright, if necessary, before burdening our
client, a third party who made a loan years ago that has long since been paid off, with
producing documents or testimony.

We are happy to discuss this matter with you further. But we are not going to be
producing any documents or witnesses at this time for the reasons set out above and in
the attached objections to the subpoena.




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November 11, 2021

Best regards,




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Enclosure(s):

2021.11.11 - Basepoint Administrative LLC Objection to Dell EMC Subpoena

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